Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 1 of 247




                         Tab E
             Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 2 of 247


                                                                                                      Original
                                                                                                     EDLA Civil Claim      Claim
          Plaintiff     Plaintiff First    Original Case                                               Action Filed with Filed with
         Last Name          Name              Caption                  Originating Court              Number      BP?     GCCF?
 1      Au            James               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 2      Bui           Khang               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 3      Bui           Amy                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 4      Bui           Bach                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 5      Bui           Ban                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 6      Bui           Chanh               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 7      Bui           Dien                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 8      Bui           David               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 9      Bui           Dien                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 10     Bui           Michael             Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 11     Bui           Tuan                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 12     Bui           Kelly               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 13     Bui           Hai                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 14     Bui           Phong               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 15     Bui           Myanh               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 16     Bui           Chinh               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 17     Bui           Peter               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 18     Bui           Kelly               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 19     Bui           Thuy                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 20     Bui           Linda               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 21     Bui           Lim                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 22     Bui           Liem                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 23     Bui           Lam                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 24     Bui           Khanh               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 25     Bui           Gui                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 26     Bui           Brian               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 27     Cao           Tai                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 28     Cao           Jimmy               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 29     Cao           Hung                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 30     Cao           Long                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 31     Cao           Yue                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 32     Cao           Samantha            Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 33     Cao           Hung                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 34     Cao           Shuxin              Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 35     Cao           Manh                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 36     Cao           Dien                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 37     Cao           Bob                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 38     Cao           Loan                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 39     Cao           Steve               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 40     Cao           Loc                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 41     Cao           Richard             Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 42     Cao           Long                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 43     Chi           Thach               Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 44     Chung         Horace              Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 45     Cu            Minh                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 46     Dang          Christina           Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 47     Dang          Ngoc                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 48     Dang          Ashley              Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 49     Dang          Rich                Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 50     Dang          Anthony             Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 51     Dang          Anthony             Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 52     Dang          Hai                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 53     Dang          Anh                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No
 54     Dang          Rim                 Doanh Tran, et al TX
                                                            vs. -BP
                                                                  District
                                                                    Exploration
                                                                           Court -and
                                                                                   Harris
                                                                                      Production,
                                                                                          County Inc.10-4228
                                                                                                      et al    No        No

Tab E                                                                                                                  Page 1 of 246
               Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 3 of 247

 55     Dang        My           Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 56     Dang        Cindy        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 57     Dang        Dieu         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 58     Dang        James        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 59     Dang        Hoang        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 60     Dang        Hien         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 61     Dang        Tuan         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 62     Dang        T            Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 63     Dang        Hiep         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 64     Dang        Too          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 65     Dang        Yen          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 66     Dang        Thuy         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 67     Dang        Luong        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 68     Dao         Giao         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 69     Dao         Tony         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 70     Dao         Huan         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 71     Diep        Minh         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 72     Diep        Minh         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 73     Diep        Tong         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 74     Diep        Peter        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 75     Diep        Loc          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
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                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 76     Dinh        Michael      Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 77     Dinh        Patrick      Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 78     Dinh        Phuong       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
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                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 79     Dinh        Thanh        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
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                                                                  Court -and
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                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 80     Dinh        Thomas       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 81     Dinh        Yao          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
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                                                                  Court -and
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                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 82     Dinh        Trinh        Doanh Tran, et al TX
                                                   vs. -BP
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                                                                  Court -and
                                                                          Harris
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                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 83     Dinh        Hon          Doanh Tran, et al TX
                                                   vs. -BP
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                                                                  Court -and
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                                                                                 County Inc.10-4228
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 84     Dinh        Ken          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 85     Dinh        Danh         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
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                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
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 86     Dinh        Michael      Doanh Tran, et al TX
                                                   vs. -BP
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                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 87     Dinh        Tu           Doanh Tran, et al TX
                                                   vs. -BP
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                                                                  Court -and
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                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 88     Dinh        Tony         Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
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                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 89     Dinh        Khanh        Doanh Tran, et al TX
                                                   vs. -BP
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                                                                  Court -and
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                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 90     Dinh        Tommy        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 91     Dinh        Yao          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 92     Dinh        An           Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 93     Dinh        Hoang        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 94     Dinh        Tony         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 95     Dinh        Toan         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 96     Dinh        Mui          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 97     Dinh        Tuan         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 98     Do          Jay          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 99     Do          Cheryl       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 100    Do          Jimmie       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 101    Do          Tran         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 102    Do          Hector       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 103    Doa         Bruce        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 104    Doan        Thuan        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 105    Doan        Edward       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 106    Doan        Ellis        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 107    Doan        Thanhoung    Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 108    Doan        Duong        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 109    Doan        Richard      Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 110    Doan        Chuck        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 111    Doan        Diem         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 112    Doan        Diem         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No
 113    Doan        Donald       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No    No

Tab E                                                                                                      Page 2 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 4 of 247

 114    Doan     Mimi         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 115    Doan     Phuong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 116    Doan     Nguyet       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 117    Doan     Mattie       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 118    Doan     Trinh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 119    Doan     Chuck        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 120    Doan     Ling         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 121    Doan     Carrie       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 122    Doan     Kim          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 123    Doan     Kim          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 124    Doan     Karen        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 125    Doan     Trang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 126    Dung     Liem         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 127    Dung     Nguyen       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 128    Duong    Ho           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 129    Duong    Phuong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 130    Duong    Hai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 131    Duong    Vinh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 132    Duong    Huong        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 133    Ha       Mary         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 134    Ha       Cam          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 135    Han      Tan          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 136    Han      Bong         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 137    Han      My           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 138    Han      Kong         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 139    Hanh     Lee          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 140    Hanh     Lee          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 141    Ho       David        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 142    Ho       Dennis       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 143    Ho       Nhan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 144    Ho       Kevin        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 145    Ho       Loc          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 146    Ho       My           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 147    Ho       Thu          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 148    Ho       Tai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 149    Ho       Vong         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 150    Ho       Tai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 151    Ho       Van          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 152    Ho       My           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 153    Ho       Vong         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 154    Ho       Si           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 155    Ho       Yull         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 156    Ho       Tina         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 157    Ho       Tenny        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 158    Ho       Tek          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 159    Ho       Thi          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 160    Ho       Loc          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 161    Ho       Tony         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 162    Ho       Loc          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 163    Ho       Tai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 164    Ho       Tony         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 165    Ho       Man          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 166    Hoang    Michael      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 167    Hoang    Tuyen        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 168    Hoang    Paul         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 169    Hoang    Tommy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 170    Hoang    Rosa         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 171    Hoang    Vincent      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 172    Hoang    Vinh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No

Tab E                                                                                                   Page 3 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 5 of 247

 173    Hoang    Ho           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 174    Hoang    Van          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 175    Hoang    Toni         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 176    Hoang    Tommy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 177    Hoang    Lien         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 178    Hoang    Khanh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 179    Hoang    Mai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 180    Hoang    Jesse        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 181    Hoang    Min          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 182    Hoang    Minh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 183    Hoang    Michael      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 184    Hoang    Hue          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 185    Hoang    Le           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 186    Hoang    Lemy         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 187    Hoang    Lien         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 188    Hoang    Christina    Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 189    Hoang    Ty           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 190    Hoang    Casey        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 191    Hoang    Lisa         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 192    Hoang    Maria        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 193    Hoang    Phillip      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 194    Hoang    Phillip      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 195    Hoang    Lynda        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 196    Hoang    Quyen        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 197    Hoang    B            Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 198    Hong     Thuoc        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 199    Hong     Dac          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 200    Hong     Nguyen       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 201    Hong     William      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 202    Hu       Pham         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 203    Hue      Trung        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 204    Huy      Bui          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 205    Huynh    Viet         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 206    Huynh    Thi          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 207    Huynh    Daphne       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 208    Huynh    But          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 209    Huynh    Yen          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 210    Huynh    Diep         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 211    Huynh    Hon          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 212    Huynh    Kathy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 213    Huynh    Kathy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 214    Huynh    Hai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 215    Huynh    Coa          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 216    Huynh    Debbie       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 217    Huynh    Bang         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 218    Huynh    Hal          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 219    Huynh    Binh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 220    Huynh    Dat          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 221    Huynh    Debbie       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 222    Huynh    Chieu        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 223    Huynh    Ann          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 224    Huynh    Ba           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 225    Huynh    Chinh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 226    Huynh    Jenny        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 227    Huynh    Van          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 228    Huynh    Thanh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 229    Huynh    Quan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 230    Huynh    Thong        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 231    Huynh    Bang         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No

Tab E                                                                                                   Page 4 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 6 of 247

 232    Huynh    Van          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 233    Huynh    Phuong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 234    Huynh    Thong        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 235    Huynh    Phuong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 236    Huynh    Phoung       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 237    Huynh    Phillip      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 238    Huynh    Xinh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 239    Huynh    Phanh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 240    Huynh    Phong        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 241    Huynh    Thanh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 242    Huynh    Son          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 243    Huynh    Minh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 244    Kim      Hee          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 245    Kim      Dee          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 246    Kim      Hun          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 247    Kim      Jee          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 248    Kim      Eung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 249    Ky       Le           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 250    La       Fridge       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 251    La       Paz          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 252    Lai      Janice       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 253    Lam      Lui          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 254    Lam      Leeann       Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 255    Lam      Jason        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 256    Lam      Kit          Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
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 257    Lam      James        Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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 258    Lam      James        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
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 259    Lam      Andrew       Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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 260    Lam      Alvelu       Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No    No
 261    Lam      Yip          Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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                                                                                          et al    No    No
 262    Lam      Dung         Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 263    Lam      Pamela       Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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                                                                                          et al    No    No
 264    Lam      Chuong       Doanh Tran, et al TX
                                                vs. -BP
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 265    Lam      Tam          Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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 266    Lam      Ton          Doanh Tran, et al TX
                                                vs. -BP
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 267    Lam      Andrew       Doanh Tran, et al TX
                                                vs. -BP
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 268    Lam      Ty           Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No    No
 269    Lam      Dinh         Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 270    Lam      Hien         Doanh Tran, et al TX
                                                vs. -BP
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 271    Le       Tony         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 272    Le       Judy         Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
                                                                              County Inc.10-4228
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 273    Le       Dat          Doanh Tran, et al TX
                                                vs. -BP
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 274    Le       Von          Doanh Tran, et al TX
                                                vs. -BP
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 275    Le       Hoang        Doanh Tran, et al TX
                                                vs. -BP
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                                                                              County Inc.10-4228
                                                                                          et al    No    No
 276    Le       Khanh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 277    Le       Kien         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 278    Le       Thuan        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 279    Le       Thu          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 280    Le       Hai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 281    Le       Hang         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 282    Le       Hoang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 283    Le       Binh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 284    Le       Nhi          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 285    Le       Hoa          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 286    Le       Ngoc         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 287    Le       Nhan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 288    Le       Mckinney     Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 289    Le       Thu          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 290    Le       Tim          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No

Tab E                                                                                                   Page 5 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 7 of 247

 291    Le       Ngoc         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 292    Le       Thang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 293    Le       Tony         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 294    Le       Tam          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 295    Le       Danny        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 296    Le       Robert       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 297    Le       Hong         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 298    Le       Yumi         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 299    Le       Huy          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 300    Le       Alex         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 301    Le       Hoa          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 302    Le       Cindy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 303    Le       Thanh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 304    Le       Ba           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 305    Le       Derek        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 306    Le       Long         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 307    Le       Al           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 308    Le       Julie        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 309    Le       Long         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 310    Le       Lawerence    Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 311    Le       Nina         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 312    Le       Hang         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 313    Le       An           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 314    Le       Tra          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 315    Le       Lou          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 316    Le       Dan          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 317    Le       Tuyet        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 318    Le       Ai           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 319    Le       Nhan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 320    Le       Lyndsey      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 321    Le       Bichtan      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 322    Le       Catherine    Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 323    Le       Derek        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 324    Le       Dan          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 325    Le       Dung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 326    Le       Catherine    Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 327    Le       R.t          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 328    Le       Khang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 329    Le       Sang         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 330    Le       Dung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 331    Ln       Ngoc         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 332    Lu       Poena        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 333    Lu       Andy         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 334    Lu       Chang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 335    Lu       Te           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 336    Lu       Tao          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 337    Lu       Jalomo       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 338    Lu       Ngoc         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 339    Lu       Te           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 340    Lua      Pha          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 341    Luong    Mandy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 342    Luong    Hua          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 343    Ly       Quyen        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 344    Mai      Jessica      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 345    Mai      Le           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 346    Ml       Thuy         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 347    Ngo      Wuang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 348    Ngo      Evelyn       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 349    Ngo      Peter        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No

Tab E                                                                                                   Page 6 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 8 of 247

 350    Ngo      Peter        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 351    Ngo      Lai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 352    Ngo      Lai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 353    Ngo      Dale         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 354    Ngoc     Ngo          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 355    Nguyen   Kim          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 356    Nguyen   Hong         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 357    Nguyen   Hung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 358    Nguyen   Huy          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 359    Nguyen   Jimmy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 360    Nguyen   Hung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 361    Nguyen   Hue          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 362    Nguyen   Kevin        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 363    Nguyen   Cynthia      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 364    Nguyen   Nhun         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 365    Nguyen   Nick         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 366    Nguyen   Liem         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 367    Nguyen   Madison      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 368    Nguyen   Lynn         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 369    Nguyen   Phong        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 370    Nguyen   Liem         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 371    Nguyen   Manh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 372    Nguyen   Linh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 373    Nguyen   Manh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 374    Nguyen   Linh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 375    Nguyen   Minh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 376    Nguyen   Nga          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 377    Nguyen   Mike         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 378    Nguyen   Ngan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 379    Nguyen   Nhund        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 380    Nguyen   Tam          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 381    Nguyen   Thua         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 382    Nguyen   Tung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 383    Nguyen   Phung        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 384    Nguyen   Phuong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 385    Nguyen   Hoa          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 386    Nguyen   Evelyn       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 387    Nguyen   Duoc         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 388    Nguyen   Doreen       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 389    Nguyen   Son          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 390    Nguyen   Thinh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 391    Nguyen   Thang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 392    Nguyen   Van          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 393    Nguyen   Dat          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 394    Nguyen   David        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 395    Nguyen   Brandon      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 396    Nguyen   Diane        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 397    Nguyen   Dinh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 398    Nguyen   Dominick     Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 399    Nguyen   Nhut         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 400    Nguyen   Andy         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 401    Nguyen   Robert       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 402    Nguyen   Khang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 403    Nguyen   John         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 404    Nguyen   Johnson      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 405    Nguyen   David        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 406    Nguyen   Tuan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 407    Nguyen   Brandon      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 408    Nguyen   Dat          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No

Tab E                                                                                                   Page 7 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 9 of 247

 409    Nguyen   Darrel       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 410    Nguyen   Dominick     Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 411    Nguyen   Kevin        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 412    Nguyen   Duoc         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 413    Nguyen   Khoa         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 414    Nguyen   Ninh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 415    Nguyen   Micheal      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 416    Nguyen   Paul         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 417    Nguyen   Hoa          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 418    Nguyen   Hung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 419    Nguyen   Hung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 420    Nguyen   Hung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 421    Nguyen   Micheal      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 422    Nguyen   Ha           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 423    Nguyen   Thuy         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 424    Nguyen   Tien         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 425    Nguyen   Tracy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 426    Nguyen   Trinh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 427    Nguyen   Troy         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 428    Nguyen   Duc          Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 429    Nguyen   Dung         Doanh Tran, et al TX
                                                vs. -BP
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 430    Nguyen   Duy          Doanh Tran, et al TX
                                                vs. -BP
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                                                               Court -and
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 431    Nguyen   Nhu          Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 432    Nguyen   Minh         Doanh Tran, et al TX
                                                vs. -BP
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 433    Nguyen   Be           Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 434    Nguyen   Quang        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 435    Nguyen   Danny        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 436    Nguyen   Kevin        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 437    Nguyen   Jefferson    Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 438    Nguyen   Jerry        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 439    Nguyen   Lan          Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 440    Nguyen   Jimmy        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 441    Nguyen   Nhan         Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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 442    Nguyen   Phuong       Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 443    Nguyen   Richard      Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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 444    Nguyen   Cuong        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
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                                                                                          et al    No    No
 445    Nguyen   B            Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 446    Nguyen   Sandy        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 447    Nguyen   Trinh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 448    Nguyen   Thanh        Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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                                                                                          et al    No    No
 449    Nguyen   David        Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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 450    Nguyen   Tony         Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No    No
 451    Nguyen   David        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
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 452    Nguyen   Binh         Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 453    Nguyen   Bao          Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 454    Nguyen   Amanda       Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
                                                                              County Inc.10-4228
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 455    Nguyen   Tony         Doanh Tran, et al TX
                                                vs. -BP
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 456    Nguyen   Adam         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                                                          et al    No    No
 457    Nguyen   Hai          Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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 458    Nguyen   Hang         Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No    No
 459    Nguyen   Buo          Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 460    Nguyen   Jeannie      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 461    Nguyen   Cilia        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
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                                                                                          et al    No    No
 462    Nguyen   Kim          Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 463    Nguyen   Oanh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 464    Nguyen   Tuan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 465    Nguyen   Khanh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 466    Nguyen   Mery         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No
 467    Nguyen   Christine    Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No    No

Tab E                                                                                                   Page 8 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 10 of 247

 468    Nguyen   Hal         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 469    Nguyen   Anh         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 470    Nguyen   Hoa         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 471    Nguyen   Sinh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 472    Nguyen   Kevin       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 473    Nguyen   Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 474    Nguyen   Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 475    Nguyen   Hanh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 476    Nguyen   Jr          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 477    Nguyen   Kevin       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 478    Nguyen   Kevin       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 479    Nguyen   Kenny       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 480    Nguyen   Thi         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 481    Nguyen   Lang        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 482    Nguyen   Michael     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 483    Nguyen   Kim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 484    Nguyen   Mai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 485    Nguyen   Emilyann    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 486    Nguyen   Giabinh     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 487    Nguyen   Dang        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 488    Nguyen   Tren        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 489    Nguyen   Tren        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 490    Nguyen   Tinh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 491    Nguyen   Di          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 492    Nguyen   Daisy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 493    Nguyen   Khanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 494    Nguyen   Kong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 495    Nguyen   Kyle        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 496    Nguyen   Nhu         Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 497    Nguyen   Nancy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 498    Nguyen   Nancy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 499    Nguyen   Neil        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 500    Nguyen   Long        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 501    Nguyen   Mitchell    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 502    Nguyen   Mitchell    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 503    Nguyen   Thao        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 504    Nguyen   Nham        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 505    Nguyen   Sonhum      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 506    Nguyen   Myhanh      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 507    Nguyen   Peter       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 508    Nguyen   Michelle    Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 509    Nguyen   Quang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 510    Nguyen   Tammy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 511    Nguyen   Mai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 512    Nguyen   Phuc        Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 513    Nguyen   Michelle    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 514    Nguyen   Phuong      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 515    Nguyen   Tony        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 516    Nguyen   Sanh        Doanh Tran, et al TX
                                               vs. -BP
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                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 517    Nguyen   James       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 518    Nguyen   Tan         Doanh Tran, et al TX
                                               vs. -BP
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                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 519    Nguyen   Nancy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 520    Nguyen   Tony        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 521    Nguyen   Nga         Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 522    Nguyen   Nan         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 523    Nguyen   Tan         Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 524    Nguyen   Nam         Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 525    Nguyen   Ngoc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No
 526    Nguyen   Dung        Doanh Tran, et al TX
                                               vs. -BP
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                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No    No

Tab E                                                                                                  Page 9 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 11 of 247

 527    Nguyen   T           Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 528    Nguyen   Thinh       Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 529    Nguyen   Tony        Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 530    Nguyen   Brian       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 531    Nguyen   B           Doanh Tran, et al TX
                                               vs. -BP
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                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 532    Nguyen   Hal         Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 533    Nguyen   Tony        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 534    Nguyen   Anh         Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 535    Nguyen   Hung        Doanh Tran, et al TX
                                               vs. -BP
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                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 536    Nguyen   Hieu        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
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                                                                                         et al    No     No
 537    Nguyen   Hieu        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
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                                                                                         et al    No     No
 538    Nguyen   Chuong      Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 539    Nguyen   Bnh         Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 540    Nguyen   Dawn        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 541    Nguyen   Ann         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 542    Nguyen   Dung        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 543    Nguyen   Brendon     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 544    Nguyen   Thinh       Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 545    Nguyen   Alana       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 546    Nguyen   Janelle     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 547    Nguyen   Gilbert     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 548    Nguyen   Bich        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 549    Nguyen   Kent        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 550    Nguyen   Kevin       Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 551    Nguyen   Chau        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 552    Nguyen   Hoang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 553    Nguyen   Thin        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 554    Nguyen   Jr          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 555    Nguyen   John        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 556    Nguyen   Justin      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 557    Nguyen   Trung       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 558    Nguyen   David       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 559    Nguyen   Steve       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 560    Nguyen   Diemhong    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 561    Nguyen   Diep        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 562    Nguyen   Giau        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 563    Nguyen   Giao        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 564    Nguyen   Duong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 565    Nguyen   Tan         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 566    Nguyen   Mai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 567    Nguyen   Mai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 568    Nguyen   Mai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 569    Nguyen   Mary        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 570    Nguyen   Ly          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 571    Nguyen   Agatha      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 572    Nguyen   Dk          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 573    Nguyen   Nghia       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 574    Nguyen   Kohg        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 575    Nguyen   Peter       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 576    Nguyen   Thong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 577    Nguyen   Ngoc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 578    Nguyen   Ngoc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 579    Nguyen   Oanh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 580    Nguyen   Phoenix     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 581    Nguyen   Chastity    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 582    Nguyen   Ny          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 583    Nguyen   Heather     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 584    Nguyen   Thai        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 585    Nguyen   Nancy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No

Tab E                                                                                                  Page 10 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 12 of 247

 586    Nguyen   Lien        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 587    Nguyen   Hai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 588    Nguyen   Ky          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 589    Nguyen   Kim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 590    Nguyen   Ngoc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 591    Nguyen   Son         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 592    Nguyen   Thao        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 593    Nguyen   Ngoc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 594    Nguyen   Nicole      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 595    Nguyen   Nam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 596    Nguyen   Nam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 597    Nguyen   Dao         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 598    Nguyen   Fanie       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 599    Nguyen   Huy         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 600    Nguyen   Dana        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 601    Nguyen   Danny       Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 602    Nguyen   Hang        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 603    Nguyen   Tan         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 604    Nguyen   Kelvin      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 605    Nguyen   An          Doanh Tran, et al TX
                                               vs. -BP
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                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 606    Nguyen   Katrina     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 607    Nguyen   Hanh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 608    Nguyen   Chi         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 609    Nguyen   Chi         Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 610    Nguyen   Hong        Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 611    Nguyen   Dung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 612    Nguyen   Hank        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 613    Nguyen   Duc         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 614    Nguyen   Cam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 615    Nguyen   Cindy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 616    Nguyen   Ha          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 617    Nguyen   Thu         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 618    Nguyen   Bac         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 619    Nguyen   Hai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 620    Nguyen   Hieu        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 621    Nguyen   Hanh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 622    Nguyen   Dee         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 623    Nguyen   Hanh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 624    Nguyen   Dung        Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 625    Nguyen   Hai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 626    Nguyen   Dung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 627    Nguyen   Francis     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 628    Nguyen   Hai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 629    Nguyen   Ha          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 630    Nguyen   Hung        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 631    Nguyen   Jane        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 632    Nguyen   Christine   Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
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 633    Nguyen   Dung        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
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                                                                                         et al    No     No
 634    Nguyen   Dung        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
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                                                                                         et al    No     No
 635    Nguyen   Fom         Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 636    Nguyen   Franklin    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 637    Nguyen   Dean        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 638    Nguyen   Mai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 639    Nguyen   Maitran     Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 640    Nguyen   Giang       Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
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 641    Nguyen   Giang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 642    Nguyen   Giang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 643    Nguyen   Jeffrey     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 644    Nguyen   Liza        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No

Tab E                                                                                                  Page 11 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 13 of 247

 645    Nguyen   Huong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 646    Nguyen   Dlen        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 647    Nguyen   Ba          Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 648    Nguyen   Hoa         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 649    Nguyen   Anna        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 650    Nguyen   Chad        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 651    Nguyen   Jennifer    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 652    Nguyen   Jimmy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 653    Nguyen   Binh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 654    Nguyen   Thanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 655    Nguyen   Catherine   Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 656    Nguyen   Joseph      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 657    Nguyen   Joseph      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 658    Nguyen   Chinh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 659    Nguyen   Chau        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 660    Nguyen   Kim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 661    Nguyen   Kim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 662    Nguyen   Kim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 663    Nguyen   Kim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 664    Nguyen   Lyn         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 665    Nguyen   Lynn        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 666    Nguyen   Lynn        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 667    Nguyen   Mai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 668    Nguyen   Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 669    Nguyen   David       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 670    Nguyen   Dat         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 671    Nguyen   Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 672    Nguyen   Oanh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 673    Nguyen   Peter       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 674    Nguyen   My          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 675    Nguyen   Huy         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 676    Nguyen   Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 677    Nguyen   Joanne      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 678    Nguyen   Phuc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 679    Nguyen   Sue         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 680    Nguyen   Suu         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 681    Nguyen   Janie       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 682    Nguyen   My          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 683    Nguyen   Daisy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 684    Nguyen   Thanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 685    Nguyen   Hoa         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 686    Nguyen   Michelle    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 687    Nguyen   Su          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 688    Nguyen   Jackson     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 689    Nguyen   Trung       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 690    Nguyen   Chau        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 691    Nguyen   Chinh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 692    Nguyen   Cuong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 693    Nguyen   Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 694    Nguyen   Thai        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 695    Nguyen   Lan         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 696    Nguyen   Gunt        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 697    Nguyen   Thai        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 698    Nguyen   Phong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 699    Nguyen   Ngan        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 700    Nguyen   Phien       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 701    Nguyen   Nga         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 702    Nguyen   Pan         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 703    Nguyen   Duc         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No

Tab E                                                                                                  Page 12 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 14 of 247

 704    Nguyen   Cathy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 705    Nguyen   Thanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 706    Nguyen   Hai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 707    Nguyen   Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 708    Nguyen   Man         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 709    Nguyen   Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 710    Nguyen   Thanh       Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 711    Nguyen   Ngoan       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 712    Nguyen   Ngoc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 713    Nguyen   Thanh       Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 714    Nguyen   Chuong      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 715    Nguyen   Alan        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 716    Nguyen   Nhan        Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 717    Nguyen   An          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 718    Nguyen   Gilbert     Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 719    Nguyen   Giana       Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 720    Nguyen   Dzu         Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 721    Nguyen   Hanna       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 722    Nguyen   Diana       Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 723    Nguyen   Huy         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 724    Nguyen   Jenny       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 725    Nguyen   Peter       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 726    Nguyen   Kevin       Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 727    Nguyen   Binh        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
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                                                                                         et al    No     No
 728    Nguyen   Bindhe      Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 729    Nguyen   Bzumg       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 730    Nguyen   Chinh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 731    Nguyen   Irck        Doanh Tran, et al TX
                                               vs. -BP
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                                                                         Production,
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                                                                                         et al    No     No
 732    Nguyen   Cuong       Doanh Tran, et al TX
                                               vs. -BP
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                                                                                         et al    No     No
 733    Nguyen   Cindy       Doanh Tran, et al TX
                                               vs. -BP
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                                                                                         et al    No     No
 734    Nguyen   Mai         Doanh Tran, et al TX
                                               vs. -BP
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 735    Nguyen   Thang       Doanh Tran, et al TX
                                               vs. -BP
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                                                                                         et al    No     No
 736    Nguyen   Diem        Doanh Tran, et al TX
                                               vs. -BP
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 737    Nguyen   Tam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 738    Nguyen   Cuong       Doanh Tran, et al TX
                                               vs. -BP
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                                                                                         et al    No     No
 739    Nguyen   Dong        Doanh Tran, et al TX
                                               vs. -BP
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 740    Nguyen   Diep        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 741    Nguyen   Cong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 742    Nguyen   Cu          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 743    Nguyen   Daniel      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 744    Nguyen   Tan         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 745    Nguyen   Kim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 746    Nguyen   Kim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 747    Nguyen   Long        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 748    Nguyen   Long        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 749    Nguyen   Mai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 750    Nguyen   Long        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 751    Nguyen   Thuloan     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 752    Nguyen   Thanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 753    Nguyen   Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 754    Nguyen   Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 755    Nguyen   Lilly       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 756    Nguyen   Victor      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 757    Nguyen   Vu          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 758    Nguyen   Andrew      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 759    Nguyen   Andy        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 760    Nguyen   Audrey      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 761    Nguyen   Andy        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 762    Nguyen   Anh         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No

Tab E                                                                                                  Page 13 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 15 of 247

 763    Nguyen   Anh          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 764    Nguyen   Anh          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 765    Nguyen   Ashley       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 766    Nguyen   Le           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 767    Nguyen   Tammy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 768    Nguyen   Jr           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 769    Nguyen   Myle         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 770    Nguyen   Minh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 771    Nguyen   Hoi          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 772    Nguyen   Hoang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 773    Nguyen   Mary         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 774    Nguyen   Hoan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 775    Nguyen   Kim          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 776    Nguyen   Nga          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 777    Nguyen   Janie        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 778    Nguyen   Quyen        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 779    Nguyen   Nhut         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 780    Nguyen   Quang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 781    Nguyen   Hoa          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 782    Nguyen   Suu          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 783    Nguyen   Binh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 784    Nguyen   Anne         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 785    Nguyen   Dzung        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 786    Nguyen   Nghi         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 787    Nguyen   Ha           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 788    Nguyen   Ha           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 789    Nguyen   Hal          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 790    Nguyen   Binh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 791    Nguyen   Jason        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 792    Nguyen   Hai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 793    Nguyen   Hai          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 794    Nguyen   Jacqueline   Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 795    Nguyen   Ha           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 796    Nguyen   Duong        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 797    Nguyen   Duong        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 798    Nguyen   Diem         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 799    Nguyen   Henry        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 800    Nguyen   Anh          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 801    Nguyen   Canderia     Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 802    Nguyen   Hong         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 803    Nguyen   Dawn         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 804    Nguyen   Hieu         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 805    Nguyen   Andy         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 806    Nguyen   Hung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 807    Nguyen   Carolyn      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 808    Nguyen   Anthony      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 809    Nguyen   Binh         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 810    Nguyen   Catherine    Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 811    Nguyen   Daniel       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 812    Nguyen   Cung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 813    Nguyen   Micheal      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 814    Nguyen   Ly           Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 815    Nguyen   Loc          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 816    Nguyen   Long         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 817    Nguyen   Long         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 818    Nguyen   Dung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 819    Nguyen   Dung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 820    Nguyen   Dung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 821    Nguyen   Dung         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No

Tab E                                                                                                   Page 14 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 16 of 247

 822    Nguyen   David       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 823    Nguyen   Douglas     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 824    Nguyen   Eddie       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 825    Nguyen   Dung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 826    Nguyen   Nhut        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 827    Nguyen   Hien        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 828    Nguyen   Quyen       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 829    Nguyen   Linus       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 830    Nguyen   Sanh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 831    Nguyen   Michelle    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 832    Nguyen   Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 833    Nguyen   Hoa         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 834    Nguyen   Hoang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 835    Nguyen   Quang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 836    Nguyen   Nhan        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 837    Nguyen   Nan         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 838    Nguyen   Peter       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 839    Nguyen   Hoai        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 840    Nguyen   Nam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 841    Nguyen   Jeri        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 842    Nguyen   Kahn        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 843    Nguyen   Quyen       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 844    Nguyen   Tu          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 845    Nguyen   Danny       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 846    Nguyen   Ida         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 847    Nguyen   Hong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 848    Nguyen   Luoc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 849    Nguyen   Luoc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 850    Nguyen   Han         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 851    Nguyen   Hoa         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 852    Nguyen   Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 853    Nguyen   James       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 854    Nguyen   Heather     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 855    Nguyen   My          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 856    Nguyen   Thai        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 857    Nguyen   Hong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 858    Nguyen   Phillip     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 859    Oham     Huynh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 860    Ohan     Tri         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 861    Pham     Buttons     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 862    Pham     Giao        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 863    Pham     Ha          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 864    Pham     Hau         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 865    Pham     David       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 866    Pham     Dat         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 867    Pham     Daniel      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 868    Pham     Anh         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 869    Pham     Daniel      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 870    Pham     Anh         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 871    Pham     Houng       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 872    Pham     Ut          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 873    Pham     Quyen       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 874    Pham     Le          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 875    Pham     Hanh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 876    Pham     Lon         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 877    Pham     Aitu        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 878    Pham     Lon         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 879    Pham     Dao         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 880    Pham     Hoan        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No

Tab E                                                                                                  Page 15 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 17 of 247

 881    Pham     Hieu        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 882    Pham     Henry       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 883    Pham     Jean        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 884    Pham     Kennedy     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 885    Pham     Jimmy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 886    Pham     James       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 887    Pham     Jack        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 888    Pham     Joseph      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 889    Pham     Hoa         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 890    Pham     Hoa         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 891    Pham     Thien       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 892    Pham     Khuyen      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 893    Pham     Khuyen      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 894    Pham     Mhunj       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 895    Pham     Khoi        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 896    Pham     Khanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 897    Pham     Keiu        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 898    Pham     Jerry       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 899    Pham     Young       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 900    Pham     Hieu        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 901    Pham     Hoa         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 902    Pham     Huy         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 903    Pham     Joseph      Doanh Tran, et al TX
                                               vs. -BP
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                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 904    Pham     Iam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 905    Pham     Peter       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 906    Pham     Huong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 907    Pham     Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 908    Pham     Hung        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 909    Pham     Hung        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 910    Pham     Hung        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 911    Pham     Hoa         Doanh Tran, et al TX
                                               vs. -BP
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                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 912    Pham     Phuong      Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 913    Pham     Huy         Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 914    Pham     Trinh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 915    Pham     Peter       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 916    Pham     Kiet        Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 917    Pham     Ken         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 918    Pham     Johnathan   Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 919    Pham     Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 920    Pham     Mong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 921    Pham     My          Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 922    Pham     Michael     Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 923    Pham     Michael     Doanh Tran, et al TX
                                               vs. -BP
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 924    Pham     Michael     Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 925    Pham     Mike        Doanh Tran, et al TX
                                               vs. -BP
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                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 926    Pham     Martha      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 927    Pham     Mara        Doanh Tran, et al TX
                                               vs. -BP
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 928    Pham     Henry       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                                             County Inc.10-4228
                                                                                         et al    No     No
 929    Pham     Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 930    Pham     Kristy      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 931    Pham     Michael     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 932    Pham     Henry       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 933    Pham     Martha      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 934    Pham     Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 935    Pham     Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 936    Pham     Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 937    Pham     Lon         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 938    Pham     Long        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 939    Pham     Pete        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No

Tab E                                                                                                  Page 16 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 18 of 247

 940    Pham     James       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 941    Pham     Hy          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 942    Pham     Hue         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 943    Pham     John        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 944    Pham     Hue         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 945    Pham     Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 946    Pham     Huong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 947    Pham     Hiep        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 948    Pham     Huong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 949    Pham     John        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 950    Pham     Lam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 951    Pham     Hue         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 952    Pham     John        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 953    Pham     Vanessa     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 954    Pham     Van         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 955    Pham     Kenny       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 956    Pham     Kevin       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 957    Pham     Khanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 958    Pham     Kenny       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 959    Pham     Khanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 960    Pham     Khanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 961    Pham     Kary        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 962    Pham     Ken         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 963    Pham     Mylinh      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 964    Pham     My          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 965    Pham     Mytran      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 966    Pham     Ming        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 967    Pham     Minj        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 968    Pham     Mit         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 969    Pham     Michael     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 970    Pham     Michael     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 971    Pham     Michael     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 972    Pham     Michael     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 973    Pham     Michelle    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 974    Pham     Michelle    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 975    Pham     Mike        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 976    Pham     Dai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 977    Pham     Man         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 978    Pham     Tommy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 979    Pham     Mong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 980    Pham     Hanh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 981    Pham     Peter       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 982    Pham     Madden      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 983    Pham     Jessica     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 984    Pham     Cuong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 985    Pham     Michael     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 986    Pham     Loi         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 987    Pham     Jay         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 988    Pham     Maria       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 989    Pham     Hong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 990    Pham     Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 991    Pham     Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 992    Pham     Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 993    Pham     Hoang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 994    Pham     Hoa         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 995    Pham     Hong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 996    Pham     Henry       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 997    Pham     Jimmie      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 998    Pham     Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No

Tab E                                                                                                  Page 17 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 19 of 247

 999    Pham     Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1000   Pham     Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1001   Pham     Tracy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1002   Pham     Chien       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1003   Pham     Jane        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1004   Pham     Kevin       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1005   Pham     Mark        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1006   Pham     Sans        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1007   Pham     Truong      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1008   Pham     Mark        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1009   Pham     Man         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1010   Pham     Khoa        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1011   Pham     Beim        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1012   Pham     Mi          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1013   Pham     Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1014   Pham     Pan         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1015   Pham     Huong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1016   Pham     Huong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1017   Pham     Hiem        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1018   Pham     Johnathan   Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1019   Pham     Harry       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1020   Pham     Kennedy     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1021   Pham     James       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1022   Pham     Paul        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1023   Pham     Arnold      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1024   Pham     Khung       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1025   Pham     Jody        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1026   Pham     Kateline    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1027   Pham     Mikey       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1028   Pham     Kiet        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1029   Pham     Huyen       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1030   Pham     Kiet        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1031   Pham     Kienvan     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1032   Pham     Kiet        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1033   Pham     Tran        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1034   Pham     Huu         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1035   Pham     Dinh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1036   Pham     Marice      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1037   Pham     Chuan       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1038   Pham     Khoi        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1039   Pham     John        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1040   Pham     Loi         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1041   Pham     Wai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1042   Pham     Loi         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1043   Pham     Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1044   Pham     Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1045   Pham     John        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1046   Pham     Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1047   Pham     Ailinh      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1048   Phan     Bao         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1049   Phan     Cu          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1050   Phan     Dung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1051   Phan     Huy         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1052   Phan     Ci          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1053   Phan     Lang        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1054   Phan     Thanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1055   Phan     Duc         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1056   Phan     Kam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1057   Phan     Jeff        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No

Tab E                                                                                                  Page 18 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 20 of 247

 1058   Phan     Lam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1059   Phan     Hai         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1060   Phan     Ly          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1061   Phan     Psoc        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1062   Phan     Daril       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1063   Phan     Let         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1064   Phan     Diep        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1065   Phan     Hung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1066   Phan     Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1067   Phan     Manh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1068   Quach    Lam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1069   Quach    Maria       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1070   Quach    Lan         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1071   Ta       Hong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1072   Ta       Hong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1073   Ta       Williams    Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1074   Ta       Jimmy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1075   Ta       Henry       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1076   Ta       Huy         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1077   Ta       Sean        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1078   Ta       Tuan        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1079   Ta       Sean        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1080   Ta       Sam         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1081   Tam      Nguyen      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1082   Tang     Jimmy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1083   Tang     Mark        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1084   Tang     David       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1085   Tang     Gim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1086   Tang     David       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1087   Tang     Jin         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1088   Tang     J           Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1089   Tang     Datena      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1090   Tang     Thanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1091   Tang     Jimmy       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1092   Thai     Brandon     Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1093   Thanh    Tram        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1094   The      Dao         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1095   Thi      Thien       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1096   Thi      Nguyen      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1097   Thi      Thach       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1098   Thi      Nong        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1099   Thi      Tram        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1100   Thu      Nguyen      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1101   Tram     Le          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1102   Tran     Diem        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1103   Tran     Nick        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1104   Tran     Steve       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1105   Tran     Luke        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
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                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1106   Tran     Ly          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1107   Tran     Joseph      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1108   Tran     Hun         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1109   Tran     Huy         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1110   Tran     Jack        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1111   Tran     Kieu        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1112   Tran     Kim         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1113   Tran     Andrew      Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1114   Tran     Tu          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1115   Tran     Viet        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1116   Tran     Minh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No

Tab E                                                                                                  Page 19 of 246
               Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 21 of 247

 1117   Tran         Tom         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1118   Tran         Tram        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1119   Tran         Vinh        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1120   Tran         Thanh       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1121   Tran         Hoang       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1122   Tran         Phuong      Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1123   Tran         Sam         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1124   Tran         Trung       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1125   Tran         Henry       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1126   Tran         Nhan        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1127   Tran         Cam         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1128   Tran         Michele     Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1129   Tran         Adam        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1130   Tran         Chanh       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1131   Tran         Linda       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1132   Tran         Nga         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1133   Tran         Bich        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1134   Tran         Sue         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1135   Tran         Phuong      Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1136   Tran         Lynn        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1137   Tran         Kelvin      Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1138   Tran         Melody      Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1139   Tran         Tu          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1140   Tran         Anh         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1141   Tran         C           Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1142   Tran         Hang        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1143   Tran         Tom         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1144   Tran         Tom         Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1145   Tran         Thong       Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1146   Tran         Joe         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1147   Tran         Goe         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1148   Tran         Jaclynn     Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1149   Tran         Phuc        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1150   Tran         Phuc        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
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                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1151   Tran         Felipe      Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1152   Tran         Paul        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1153   Tran         Benjamin    Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1154   Tran         Vick        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1155   Tran         Vy          Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1156   Tran         Johnson     Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
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                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1157   Tran         Kathalyn    Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1158   Tran         Vo          Doanh Tran, et al TX
                                                   vs. -BP
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                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1159   Tran         Hieu        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
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                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1160   Tran         Nga         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
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                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1161   Tran         Khuong      Doanh Tran, et al TX
                                                   vs. -BP
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                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1162   Tran         Tay         Doanh Tran, et al TX
                                                   vs. -BP
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                                                                  Court -and
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                                                                                 County Inc.10-4228
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 1163   Tran         Hong        Doanh Tran, et al TX
                                                   vs. -BP
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                                                                  Court -and
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                                                                             Production,
                                                                                 County Inc.10-4228
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 1164   Tran         Andy        Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
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                                                                             Production,
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                                                                                             et al    No     No
 1165   Tran         Quynh       Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1166   Tran         Minh        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1167   Tran         Glen        Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
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                                                                                             et al    No     No
 1168   Tran         Minh        Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1169   Tran         Han         Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1170   Tran         Chang       Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1171   Tran         Hien        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1172   Tran         Duc         Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1173   Tran         Paul        Doanh Tran, et al TX
                                                   vs. -BP
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                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1174   Tran         Vincent     Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No
 1175   Tran         Xuan        Doanh Tran, et al TX
                                                   vs. -BP
                                                         District
                                                           Exploration
                                                                  Court -and
                                                                          Harris
                                                                             Production,
                                                                                 County Inc.10-4228
                                                                                             et al    No     No

Tab E                                                                                                      Page 20 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 22 of 247

 1176   Tran      Thuan       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1177   Tran      Thu         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1178   Tran      Ly          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1179   Tran      Thang       Doanh Tran, et al TX
                                                vs. -BP
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                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1180   Tran      Tan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1181   Tran      Linh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1182   Tran      Ling        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1183   Tran      Hoc         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1184   Tran      Han         Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1185   Tran      Duy         Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No     No
 1186   Tran      Ba          Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
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 1187   Tran      Hieu        Doanh Tran, et al TX
                                                vs. -BP
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                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1188   Tran      Hen         Doanh Tran, et al TX
                                                vs. -BP
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 1189   Tran      Hoang       Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1190   Tran      Tan         Doanh Tran, et al TX
                                                vs. -BP
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                                                                              County Inc.10-4228
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 1191   Tran      Maria       Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1192   Tran      Nhan        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1193   Tran      Thomas      Doanh Tran, et al TX
                                                vs. -BP
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                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1194   Tran      Thai        Doanh Tran, et al TX
                                                vs. -BP
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                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1195   Tran      Thao        Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1196   Tran      Hien        Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No     No
 1197   Tran      Wendy       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
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                                                                                          et al    No     No
 1198   Tran      Hai         Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No     No
 1199   Tran      Rex         Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No     No
 1200   Tran      Mark        Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No     No
 1201   Tran      My          Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No     No
 1202   Tran      Tuyet       Doanh Tran, et al TX
                                                vs. -BP
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                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1203   Tran      Phuong      Doanh Tran, et al TX
                                                vs. -BP
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                                                                          Production,
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 1204   Tran      Hoa         Doanh Tran, et al TX
                                                vs. -BP
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 1205   Tran      Ha          Doanh Tran, et al TX
                                                vs. -BP
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 1206   Tran      Thang       Doanh Tran, et al TX
                                                vs. -BP
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                                                                                          et al    No     No
 1207   Tran      Hoa         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1208   Tran      Paul        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1209   Tran      Bien        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1210   Tran      Luong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1211   Tran      Ray         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1212   Tran      Andy        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1213   Tran      Kim         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1214   Tran      Ky          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1215   Tran      An          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1216   Tran      Jessy       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1217   Tran      Thu         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1218   Tran      Bam         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1219   Tran      Liem        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1220   Tran      Lang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1221   Tran      Nam         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1222   Tran      Hao         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1223   Tran      Thanh       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1224   Tran      Minh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1225   Tran      Minh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1226   Tran      Thao        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1227   Tran      Thomas      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1228   Tran      Thuan       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1229   Tran      Thung       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1230   Tran      Dac         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1231   Trang     Au          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1232   Trang     Phuong      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1233   Trang     Huyen       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1234   Trieu     Mike        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No

Tab E                                                                                                   Page 21 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 23 of 247

 1235   Trieu     Ngo         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1236   Trinh     Phong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1237   Trinh     Quoc        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1238   Trinh     Danh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1239   Trinh     Dan         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1240   Trinh     Quoc        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1241   Trinh     Phung       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1242   Trinh     Don         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1243   Trinh     Phuong      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1244   Trinh     Huong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1245   Trinh     Huong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1246   Troung    Minh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1247   Troung    Ming        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1248   Troung    Minh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1249   Troung    Matt        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1250   Troung    Mat         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1251   Trung     Hoang       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1252   Trung     Phi         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1253   Trung     Hung        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1254   Truong    Duyen       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1255   Truong    Maah        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1256   Truong    Marie       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1257   Truong    Kim         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1258   Truong    Ha          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1259   Truong    Estella     Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1260   Truong    Vi          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1261   Truong    Vu          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1262   Truong    Nghia       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1263   Tuyet     Minh        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1264   Van       Allen       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1265   Van       Debluoor    Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1266   Van       To          Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1267   Van       Nguyen      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1268   Vo        Shirley     Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1269   Vo        Tuan        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1270   Vo        Jim         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1271   Vo        Duc         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1272   Vo        Van         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1273   Vo        Tranh       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1274   Vo        Tuan        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1275   Vo        Tam         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1276   Vu        Bang        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1277   Vu        Anthony     Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1278   Vu        Quang       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1279   Vu        Trang       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1280   Vu        Harley      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1281   Vu        Hieu        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1282   Vu        Frank       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1283   Vu        Peter       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1284   Vu        Dung        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1285   Vu        Trang       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1286   Vu        Duke        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1287   Vu        Tommy       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1288   Vu        Tim         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1289   Vu        Duke        Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1290   Vu        Tao         Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1291   Vu        Huong       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1292   Vu        Andrew      Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No
 1293   Vu        Quyen       Doanh Tran, et al TX
                                                vs. -BP
                                                      District
                                                        Exploration
                                                               Court -and
                                                                       Harris
                                                                          Production,
                                                                              County Inc.10-4228
                                                                                          et al    No     No

Tab E                                                                                                   Page 22 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 24 of 247

 1294   Vu       Quyen       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1295   Vu       Quynh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1296   Vu       Bui         Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1297   Vu       Brian       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1298   Vu       Thang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1299   Vu       Quang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1300   Vu       Ninh        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1301   Vu       Dung        Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1302   Vu       Do          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1303   Vu       Thang       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1304   Vuong    Huong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1305   Vuong    Kevin       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1306   Vuong    Huong       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1307   Vuong    Thanh       Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1308   Vuong    Jr          Doanh Tran, et al TX
                                               vs. -BP
                                                     District
                                                       Exploration
                                                              Court -and
                                                                      Harris
                                                                         Production,
                                                                             County Inc.10-4228
                                                                                         et al    No     No
 1309   Le       Tom         Nguyen, et al v. BP,
                                               USDC
                                                  PLC Southern
                                                       et al     District of Texas     10-4230    No     No
 1310   Le       Thuy        Nguyen, et al v. BP,
                                               USDC
                                                  PLC Southern
                                                       et al     District of Texas     10-4230    No     No
 1311   Nguyen   Dieu        Nguyen, et al v. BP,
                                               USDC
                                                  PLC Southern
                                                       et al     District of Texas     10-4230    No     No
 1312   Nguyen   Men         Nguyen, et al v. BP,
                                               USDC
                                                  PLC Southern
                                                       et al     District of Texas     10-4230    No     No
 1313   Trinh    Luan        Nguyen, et al v. BP,
                                               USDC
                                                  PLC Southern
                                                       et al     District of Texas     10-4230    No     No
 1314   Au       Tuyet       Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1315   Bui      Hoa         Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1316   Cao      Brandy      Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1317   Chen     Yunmei      Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1318   Cho      Chong       Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1319   Crow     Gladys      Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1320   Crow     Gary        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1321   Dang     Huong       Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1322   Dang     Phuong      Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1323   Dang     Van         Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1324   Dang     Tony        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1325   Dinh     Khuyen      Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1326   Do       Lien        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1327   Do       Em          Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1328   Doan     Susan       Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1329   Hiep     Bao         Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1330   Hoang    Lieu        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1331   Hoang    Nghia       Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1332   Hoang    Toan        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1333   Hoang    Vuong       Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1334   Hoang    On          Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1335   Hong     Kristy      Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1336   Huynh    Hiep        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1337   Huynh    Sang        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1338   Huynh    Tai         Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1339   Lam      Vui         Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1340   Lam      Mieu        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1341   Le       Tam         Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1342   Le       Vinh        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1343   Le       Luyen       Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1344   Le       Dung        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1345   Le       Anh         Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1346   Le       Kiem        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1347   Le       Hong        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1348   Le       Nhung       Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1349   Le       Hung        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1350   Le       Chau        Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1351   Le       Cindy       Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No
 1352   Le       Hoa         Tran et al v. BP Exploration
                                               USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al 10-4231    No     No

Tab E                                                                                                  Page 23 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 25 of 247

 1353   Le       Phuong      Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1354   Le       Hai         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1355   Ly       Paul        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1356   Nguyen   Hanh        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1357   Nguyen   Lien        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1358   Nguyen   Hanh        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1359   Nguyen   Tuan        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1360   Nguyen   Hanh        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1361   Nguyen   Lien        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1362   Nguyen   Kim         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1363   Nguyen   Lien        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1364   Nguyen   Roger       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1365   Nguyen   Bang        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1366   Nguyen   Hang        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1367   Nguyen   Kim         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1368   Nguyen   Cindy       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1369   Nguyen   William     Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1370   Nguyen   Hong        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1371   Nguyen   Kimberly    Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1372   Nguyen   Hanh        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1373   Nguyen   Tuyet       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1374   Nguyen   Hieu        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1375   Nguyen   Van         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1376   Nguyen   Loc         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1377   Nguyen   Tony        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1378   Nguyen   Nhanh       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1379   Nguyen   Billy       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1380   Nguyen   Phat        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1381   Nguyen   Lan         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1382   Nguyen   Carolyn     Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1383   Nguyen   Hope        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1384   Nguyen   Ai          Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1385   Nguyen   Thuy        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1386   Nguyen   Vuong       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1387   Nguyen   Jesse       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1388   Nguyen   Sang        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1389   Nguyen   Phat        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1390   Nguyen   Vinh        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1391   Nguyen   Paulina     Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1392   Nguyen   Kim         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1393   Nguyen   Lien        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1394   Nguyen   Dung        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1395   Nguyen   Viet        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1396   Nguyen   Julie       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1397   Nguyen   Janet       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1398   Nguyen   Oanh        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1399   Nguyen   Mary        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1400   Nguyen   Lien        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1401   Nguyen   Hien        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1402   Nguyen   Nhien       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1403   Nguyen   Tuan        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1404   Nguyen   Linda       Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1405   Nguyen   Phat        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1406   Nguyen   Tu          Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1407   Nguyen   Bao         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1408   Nguyen   Lien        Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1409   Nguyen   Mai         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1410   Nguyen   Dan         Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No
 1411   Nguyen   Lawrence    Tran et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                             Texas
                                                                                et al   10-4231   No     No

Tab E                                                                                                  Page 24 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 26 of 247

 1412   Nguyen    Albert      Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1413   Nguyen    Davis       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1414   Nguyen    Minh        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1415   Nguyen    Huy         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1416   Nguyen    Kim         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1417   Ngyyen    Lynda       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1418   Pham      Quang       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1419   Pham      William     Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1420   Pham      Bich        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1421   Pham      Ha          Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1422   Quach     Phuong      Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1423   Tra       Lam         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1424   Tran      Men         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1425   Tran      Sang        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1426   Tran      Sam         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1427   Tran      Thu         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1428   Tran      Men         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1429   Tran      Cong        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1430   Tran      Van         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1431   Tran      Nhung       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1432   Tran      Sang        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1433   Tran      Marie       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1434   Tran      Tam         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1435   Tran      Liep        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1436   Tran      Lee         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1437   Tran      Min         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1438   Tran      Minh        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1439   Trieu     Lorie       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1440   Trinh     Dung        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1441   Truong    Tu          Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1442   Truong    Nguyen      Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1443   Vo        Hoang       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1444   Vo        Jenny       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1445   Vo        Tan         Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1446   Vo        Michael     Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1447   Vu        Thomas      Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1448   Vu        Hoang       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1449   Vu        Oanh        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1450   Vu        Trang       Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1451   Vu        Hung        Tran et al v. BP Exploration
                                                 USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                              Texas
                                                                                 et al    10-4231   No     No
 1452   Atallah   Raiv        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1453   Atallah   Abeer       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1454   Banh      Hai         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1455   Bui       Kim         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                              Inc et al   10-4232   No     No
 1456   Bui       Thi         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                              Inc et al   10-4232   No     No
 1457   Bui       Ngu         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1458   Bui       Hoa         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                              Inc et al   10-4232   No     No
 1459   Bui       Thu         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
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 1460   Bui       Hung        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1461   Bui       Chau        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                              Inc et al   10-4232   No     No
 1462   Bui       Thiep       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1463   Bui       Thu         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                              Inc et al   10-4232   No     No
 1464   Bui       Nhan        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                              Inc et al   10-4232   No     No
 1465   Bui       Chu         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                              Inc et al   10-4232   No     No
 1466   Bui       Peter       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1467   Bui       Chuong      Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1468   Bui       Lanann      Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1469   Bui       Daniel      Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No
 1470   Bui       Ngan        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                              Inc et al   10-4232   No     No

Tab E                                                                                                    Page 25 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 27 of 247

 1471   Bui        Mary          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1472   Bui        Michael       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1473   Bui        Michael       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1474   Bui        Michael       Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1475   Bui        Thien         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1476   Bui        Lacruz        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1477   Bui        Michael       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1478   Cao        Kieu          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1479   Cao        Dung          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1480   Cao        Chien         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1481   Cao        Kieu          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1482   Cao        Cuong         Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1483   Cao        Cuong         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1484   Cao        Bao           Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1485   Cao        Suons         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1486   Chassion   Kirk          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1487   Chau       Minh          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1488   Chau       Robert        Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1489   Chau       Robert        Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1490   Chu        Pei           Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1491   Chu        Le            Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1492   Chu        Fred          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1493   Chu        Phuoc         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1494   Chung      Agnes         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1495   Chung      Ham           Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1496   Chung      Mai           Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1497   Culeiman   Jamal         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1498   Cuong      Phong         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1499   Dang       Tony          Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1500   Dang       Quoc          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1501   Dang       Xe            Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1502   Dang       David         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1503   Dang       Nhat          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1504   Dang       Lynn          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1505   Dang       Michael       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1506   Dang       Long          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1507   Dang       Thai          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1508   Dang       Huyen         Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1509   Dang       Son           Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1510   Dang       Kathy         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1511   Dang       Thai          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1512   Dang       Nga           Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                                Inc et al   10-4232   No     No
 1513   Dang       Nena          Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1514   Danh       Vien          Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1515   Dao        Nhung         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1516   Dao        Dinh          Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1517   Dao        Chung         Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                                Inc et al   10-4232   No     No
 1518   Dinh       Trai          Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1519   Dinh       Christopher   Tran, et al v. BP Exploration
                                                    USDC Southern
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 1520   Dinh       Hieu          Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                                Inc et al   10-4232   No     No
 1521   Dinh       Huu           Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1522   Dinh       Huynh         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1523   Dinh       Thay          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
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                                                                                Inc et al   10-4232   No     No
 1524   Dinh       Vu            Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                                Inc et al   10-4232   No     No
 1525   Dinh       Christopher   Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1526   Dinh       Thoa          Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 1527   Dinh       Hieu          Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                                Inc et al   10-4232   No     No
 1528   Dinh       Tuyet         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
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                                                                                Inc et al   10-4232   No     No
 1529   Dinh       Trinh         Tran, et al v. BP Exploration
                                                    USDC Southern
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Tab E                                                                                                      Page 26 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 28 of 247

 1530   Dinh     Pha         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1531   Dinh     Bich        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1532   Dinh     Giang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1533   Dinh     Viet        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1534   Dinh     Nghia       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1535   Dinh     Nhan        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1536   Dinh     Tina        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1537   Do       Hai         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1538   Do       Duc         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1539   Do       Dominic     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1540   Do       Yen         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1541   Do       Thim        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1542   Do       Nhan        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1543   Do       Tu          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1544   Do       Henry       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1545   Do       Theresa     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1546   Do       Nicole      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1547   Do       Huy         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1548   Do       Kevin       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1549   Do       Thoung      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1550   Do       Becky       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1551   Do       Tho         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1552   Do       Jr          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1553   Do       Binh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1554   Doan     Tweety      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1555   Doan     Son         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1556   Doan     Thuy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1557   Doan     Thuy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1558   Doan     Trang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1559   Doan     Thang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1560   Doan     A           Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1561   Doan     Hiep        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1562   Doan     Theresa     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1563   Doan     Ann         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1564   Doan     A           Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1565   Doan     Thuy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1566   Doan     Julie       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1567   Doan     Vickie      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1568   Doan     Cathy       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1569   Doan     Dinh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1570   Dong     Tu          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1571   Duong    Tam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1572   Duong    Tuan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1573   Duong    Tam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1574   Duong    Nanette     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1575   Duong    Tony        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1576   Duong    April       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1577   Ha       Thao        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1578   Ha       Nicholas    Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1579   Ha       Minh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1580   Ha       Minh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1581   Ha       Hai         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1582   Ha       Nhat        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1583   Ha       Nhat        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1584   Ha       Cong        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1585   Ha       Hai         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1586   Ha       Lowell      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1587   Ha       Kevin       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1588   Ha       Danh        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
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Tab E                                                                                                  Page 27 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 29 of 247

 1589   Ha       Q             Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1590   Han      Thieu         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1591   Ho       Dinh          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1592   Ho       Christopher   Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1593   Ho       Chi           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1594   Ho       Du            Tran, et al v. BP Exploration
                                                  USDC Southern
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                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1595   Ho       Hoa           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1596   Ho       Kimberly      Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1597   Ho       Nguyen        Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1598   Ho       Chi           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1599   Ho       Victory       Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1600   Ho       Victory       Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1601   Ho       Du            Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1602   Ho       Tina          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1603   Ho       Tram          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1604   Ho       Chi           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1605   Ho       Khoa          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1606   Ho       Quoc          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1607   Ho       Kevin         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1608   Ho       Lieu          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1609   Ho       Hanh          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1610   Hoa      Diemo         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1611   Hoang    Ba            Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1612   Hoang    Tuyen         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1613   Hoang    Linda         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1614   Hoang    Phi           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1615   Hoang    Tony          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1616   Hoang    Uyen          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1617   Hoang    Kim           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1618   Hoang    Thanh         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1619   Hoang    Anh           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1620   Hoang    Anh           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1621   Hoang    Bao           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1622   Hoang    Tony          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1623   Hoang    Janine        Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1624   Hoang    Janine        Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1625   Hoang    Khan          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1626   Hoang    Khanh         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1627   Hoang    Ngo           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1628   Hoang    Tri           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1629   Hoang    Thanh         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1630   Hoang    Rachel        Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1631   Hoang    Hieu          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1632   Hoang    Jim           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1633   Hoang    Linda         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1634   Huynh    Ceilyn        Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1635   Huynh    Kim           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1636   Huynh    Can           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1637   Huynh    Minh          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1638   Huynh    Dung          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1639   Huynh    Het           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1640   Huynh    Phuong        Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1641   Huynh    Sophi         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1642   Huynh    Thi           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1643   Huynh    Ly            Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1644   Huynh    Linda         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1645   Huynh    Kim           Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1646   Huynh    Hoang         Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
                                                                              Inc et al   10-4232   No     No
 1647   Huynh    Kieu          Tran, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                  District of Texas
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Tab E                                                                                                    Page 28 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 30 of 247

 1648   Huynh     John        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 1649   Huynh     John        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1650   Ibrahim   Ahlam       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1651   Ibrahim   Jamal       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1652   Jodah     Naser       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1653   Jodah     Wasa        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1654   Kha       Dunh        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1655   Kim       Ju          Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1656   Kim       Dan         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1657   Kim       Jay         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1658   Kim       Huong       Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1659   Kim       Jay         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1660   Kim       Allena      Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1661   Kim       Charles     Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1662   La        Cong        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1663   Lam       Hui         Tran, et al v. BP Exploration
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1664   Lam       James       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1665   Lam       Kien        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1666   Lam       James       Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1667   Lam       Ken         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1668   Lam       Sam         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1669   Lam       Quy         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1670   Lam       Siem        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1671   Lam       Chinh       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1672   Lam       Hanh        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1673   Lam       Hien        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1674   Lam       Hong        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1675   Lam       May         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1676   Lam       Cui         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1677   Lam       Danh        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1678   Lam       Linh        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1679   Lam       Xuong       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1680   Lam       Son         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1681   Lam       Vu          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1682   Le        Duong       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1683   Le        Duc         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1684   Le        Khanh       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1685   Le        Phuong      Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1686   Le        Huyen       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1687   Le        Dawn        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1688   Le        Enhi        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1689   Le        Christine   Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1690   Le        Holly       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1691   Le        Huong       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1692   Le        Hien        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1693   Le        Nguyet      Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1694   Le        Thanh       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1695   Le        Hoang       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1696   Le        Sao         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1697   Le        Thu         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1698   Le        Kenny       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1699   Le        Kim         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1700   Le        Tuyen       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1701   Le        Tuyen       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1702   Le        Trang       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1703   Le        Hai         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1704   Le        Elizabeth   Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1705   Le        Jimmy       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 1706   Le        Lac         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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Tab E                                                                                                   Page 29 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 31 of 247

 1707   Le        Christine     Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1708   Le        Tho           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1709   Le        P             Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1710   Le        Mai           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1711   Le        Nghinh        Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1712   Le        Thieu         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1713   Le        Anh           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1714   Le        Khoa          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1715   Le        Mai           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1716   Le        Myla          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1717   Le        Marie         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1718   Le        Ben           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1719   Le        Tuan          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1720   Le        Nga           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1721   Le        Trinh         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1722   Le        Nguyet        Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1723   Le        Thuy          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1724   Le        Trac          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1725   Le        Trac          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1726   Le        Anthony       Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1727   Le        Andy          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1728   Le        Thanh         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1729   Le        Monica        Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1730   Le        Ly            Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1731   Le        Hon           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1732   Le        Ly            Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1733   Le        Thu           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1734   Le        Ngoc          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1735   Le        Hoang         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1736   Le        Elizabeth     Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1737   Le        An            Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1738   Le        Loan          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1739   Le        Leelizabeth   Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1740   Le        Tam           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1741   Le        Steven        Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1742   Le        Tommy         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1743   Le        Duc           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1744   Le        Ben           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1745   Le        My            Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1746   Le        Khoa          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1747   Le        Sherrie       Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1748   Le        Sang          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1749   Le        Loc           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1750   Le        Phuoc         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1751   Le        Thanh         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1752   Lee       Stanley       Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1753   Long      Brittany      Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1754   Long      Amanda        Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1755   Lu        Thuan         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1756   Luc       Anna          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1757   Luc       Don           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1758   Luc       Don           Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1759   Luc       Gwendolyn     Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1760   Luc       Kerry         Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1761   Luc       Donald        Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1762   Luc       Gwendolyn     Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1763   Luong     Hien          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1764   Luong     Ngoc          Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
                                                                               Inc et al   10-4232   No     No
 1765   Ly        Kaitlyn       Tran, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                   District of Texas
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Tab E                                                                                                     Page 30 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 32 of 247

 1766   Ly       Kevin       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1767   Ly       Bruce       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1768   Ly       Hung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1769   Ly       Quyen       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1770   Ly       Quyen       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1771   Ly       Cui         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1772   Ly       Long        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1773   Ly       Pam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1774   Ly       Thanh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1775   Ly       Giva        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1776   Ly       Hai         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1777   Ly       Gina        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1778   Ly       Andi        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1779   Ly       Kevin       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1780   Mai      Cu          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1781   Mai      Kieu        Tran, et al v. BP Exploration
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1782   Mai      Cu          Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1783   Mai      Dung        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1784   Mai      Lam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1785   Mai      Liem        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1786   Mai      Kimmi       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1787   Ngo      Duc         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1788   Ngo      Lien        Tran, et al v. BP Exploration
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                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1789   Ngo      Anthony     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1790   Ngo      Gina        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1791   Ngo      Tina        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1792   Ngo      Khiem       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1793   Nguyen   Anh         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1794   Nguyen   Toi         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1795   Nguyen   Hai         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1796   Nguyen   Quy         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1797   Nguyen   Francis     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1798   Nguyen   Hien        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1799   Nguyen   Cindy       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1800   Nguyen   Kelly       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1801   Nguyen   Hung        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1802   Nguyen   Tam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1803   Nguyen   Johnny      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1804   Nguyen   Suan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1805   Nguyen   Ngoc        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1806   Nguyen   Ba          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1807   Nguyen   Anh         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1808   Nguyen   Am          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1809   Nguyen   Cuong       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1810   Nguyen   Giang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1811   Nguyen   Nam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1812   Nguyen   Amy         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1813   Nguyen   Lam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1814   Nguyen   Hung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1815   Nguyen   Thanh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1816   Nguyen   Thuha       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1817   Nguyen   Va          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1818   Nguyen   Uyen        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1819   Nguyen   Valerie     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1820   Nguyen   Christian   Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1821   Nguyen   Long        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1822   Nguyen   Charlie     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1823   Nguyen   Thuy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1824   Nguyen   Tony        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No

Tab E                                                                                                  Page 31 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 33 of 247

 1825   Nguyen   Troung      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1826   Nguyen   Hank        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1827   Nguyen   Bich        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1828   Nguyen   Bon         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1829   Nguyen   Brenda      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1830   Nguyen   Canh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1831   Nguyen   Dung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1832   Nguyen   Dung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1833   Nguyen   Francis     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1834   Nguyen   Lien        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1835   Nguyen   Uyen        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1836   Nguyen   Uyen        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1837   Nguyen   Bolee       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1838   Nguyen   Vi          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1839   Nguyen   Winston     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1840   Nguyen   Xuan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1841   Nguyen   Cynthia     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1842   Nguyen   Cuong       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1843   Nguyen   Devillier   Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1844   Nguyen   Nhe         Tran, et al v. BP Exploration
                                                USDC Southern
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 1845   Nguyen   Hung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1846   Nguyen   Mao         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1847   Nguyen   My          Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1848   Nguyen   Myhanh      Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1849   Nguyen   Nhung       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1850   Nguyen   Phan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1851   Nguyen   Quang       Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1852   Nguyen   Quang       Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1853   Nguyen   Huyen       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1854   Nguyen   Coy         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1855   Nguyen   Kevin       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1856   Nguyen   Hai         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1857   Nguyen   Hai         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1858   Nguyen   Anh         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1859   Nguyen   Anh         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1860   Nguyen   Buck        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1861   Nguyen   Anh         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1862   Nguyen   Chau        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1863   Nguyen   My          Tran, et al v. BP Exploration
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1864   Nguyen   Chanh       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1865   Nguyen   Hao         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1866   Nguyen   Hoan        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1867   Nguyen   Thung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1868   Nguyen   Ho          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1869   Nguyen   Jim         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1870   Nguyen   Loan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1871   Nguyen   Linda       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1872   Nguyen   Linh        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1873   Nguyen   Ngoc        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1874   Nguyen   Tung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1875   Nguyen   Hal         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1876   Nguyen   Hal         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1877   Nguyen   Cecilia     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1878   Nguyen   Christina   Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1879   Nguyen   Binh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1880   Nguyen   Cecilia     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1881   Nguyen   Qanh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1882   Nguyen   Peter       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1883   Nguyen   Phuong      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No

Tab E                                                                                                  Page 32 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 34 of 247

 1884   Nguyen   Quan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1885   Nguyen   Thoa        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1886   Nguyen   Huong       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1887   Nguyen   Trung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1888   Nguyen   Quang       Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1889   Nguyen   Quang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1890   Nguyen   Sin         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1891   Nguyen   Thinh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1892   Nguyen   Do          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1893   Nguyen   Dat         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1894   Nguyen   Matthew     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1895   Nguyen   Sherry      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1896   Nguyen   Melissa     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1897   Nguyen   Anh         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1898   Nguyen   Nen         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1899   Nguyen   Hoa         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1900   Nguyen   Thang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1901   Nguyen   Vu          Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1902   Nguyen   Yenloan     Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1903   Nguyen   Anna        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1904   Nguyen   Sao         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1905   Nguyen   Giang       Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1906   Nguyen   Anh         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1907   Nguyen   Hai         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1908   Nguyen   An          Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1909   Nguyen   Hoang       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1910   Nguyen   Christina   Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1911   Nguyen   Brenda      Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1912   Nguyen   Tha         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1913   Nguyen   Hiep        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1914   Nguyen   Hieu        Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 1915   Nguyen   Ho          Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1916   Nguyen   Henry       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1917   Nguyen   Boa         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1918   Nguyen   Christian   Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1919   Nguyen   David       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1920   Nguyen   Don         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1921   Nguyen   Cung        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1922   Nguyen   Bich        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1923   Nguyen   Kim         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1924   Nguyen   Mai         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1925   Nguyen   Thuong      Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1926   Nguyen   Lisa        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1927   Nguyen   Long        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1928   Nguyen   Jon         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1929   Nguyen   Joseph      Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1930   Nguyen   Jimmy       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1931   Nguyen   Julia       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 1932   Nguyen   Hoa         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1933   Nguyen   Hoang       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1934   Nguyen   Ket         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 1935   Nguyen   Khang       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1936   Nguyen   Ledung      Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1937   Nguyen   Si          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1938   Nguyen   Kristy      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1939   Nguyen   Hong        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1940   Nguyen   Quoc        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1941   Nguyen   Steve       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1942   Nguyen   Steve       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No

Tab E                                                                                                  Page 33 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 35 of 247

 1943   Nguyen   Eugene      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1944   Nguyen   Gioi        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1945   Nguyen   Francis     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1946   Nguyen   Duc         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1947   Nguyen   Duc         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1948   Nguyen   Eric        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1949   Nguyen   Eugene      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1950   Nguyen   Mai         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1951   Nguyen   Mai         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1952   Nguyen   Ngoc        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1953   Nguyen   Thap        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1954   Nguyen   Chung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1955   Nguyen   Con         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1956   Nguyen   Thang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1957   Nguyen   Linda       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1958   Nguyen   Thomas      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1959   Nguyen   John        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1960   Nguyen   Robert      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1961   Nguyen   Huong       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1962   Nguyen   Trung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1963   Nguyen   Trung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1964   Nguyen   Quang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1965   Nguyen   Khang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1966   Nguyen   Elvis       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1967   Nguyen   Jack        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1968   Nguyen   Man         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1969   Nguyen   Quan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1970   Nguyen   Man         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1971   Nguyen   Michael     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1972   Nguyen   Minh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1973   Nguyen   Nghe        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1974   Nguyen   Danny       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1975   Nguyen   Hoang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1976   Nguyen   Danny       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1977   Nguyen   Hong        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1978   Nguyen   Minh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1979   Nguyen   Julie       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1980   Nguyen   Hien        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1981   Nguyen   Melanie     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1982   Nguyen   Mike        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1983   Nguyen   Ngoc        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1984   Nguyen   Kim         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1985   Nguyen   Donald      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1986   Nguyen   Kiet        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1987   Nguyen   Diep        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1988   Nguyen   Anne        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1989   Nguyen   Dung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1990   Nguyen   Dat         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1991   Nguyen   Dung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1992   Nguyen   Muoi        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1993   Nguyen   Amy         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1994   Nguyen   Thien       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1995   Nguyen   Phan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1996   Nguyen   Quang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1997   Nguyen   Paul        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1998   Nguyen   Ngo         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 1999   Nguyen   Ngoc        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2000   Nguyen   Thuc        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2001   Nguyen   Thuy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No

Tab E                                                                                                  Page 34 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 36 of 247

 2002   Nguyen   Nam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2003   Nguyen   Hung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2004   Nguyen   Kim         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2005   Nguyen   Bong        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2006   Nguyen   Hoai        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2007   Nguyen   Thien       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2008   Nguyen   Thu         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2009   Nguyen   Thu         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2010   Nguyen   Tho         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2011   Nguyen   Lisa        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2012   Nguyen   Lisa        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2013   Nguyen   Si          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2014   Nguyen   Chunky      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2015   Nguyen   Hunz        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2016   Nguyen   Helen       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2017   Nguyen   Joanna      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2018   Nguyen   Lee         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2019   Nguyen   Lisa        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2020   Nguyen   Henry       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2021   Nguyen   Henry       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2022   Nguyen   Hin         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2023   Nguyen   Hoanh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2024   Nguyen   Lan         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2025   Nguyen   Pham        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2026   Nguyen   Steve       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2027   Nguyen   Joanna      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2028   Nguyen   Vuong       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2029   Nguyen   Bach        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2030   Nguyen   David       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2031   Nguyen   Lan         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2032   Nguyen   Lang        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2033   Nguyen   Lang        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2034   Nguyen   Larry       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2035   Nguyen   Thanh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2036   Nguyen   Chan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2037   Nguyen   Chang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2038   Nguyen   Cuong       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2039   Nguyen   Christian   Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2040   Nguyen   Melanie     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2041   Nguyen   P           Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2042   Nguyen   Andy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2043   Nguyen   Diana       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2044   Nguyen   Phuong      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2045   Nguyen   Toan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2046   Nguyen   Diana       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2047   Nguyen   James       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2048   Nguyen   Thap        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2049   Nguyen   Thien       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2050   Nguyen   Non         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2051   Nguyen   Huyen       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2052   Nguyen   Doi         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2053   Nguyen   Doi         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2054   Nguyen   Dong        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2055   Nguyen   Bich        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2056   Nguyen   Joseph      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2057   Nguyen   Bobby       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2058   Nguyen   Ngoc        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2059   Nguyen   Binh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2060   Nguyen   Lucy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No

Tab E                                                                                                  Page 35 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 37 of 247

 2061   Nguyen   Bay         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2062   Nguyen   Khiet       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2063   Nguyen   Bobby       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2064   Nguyen   Ba          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2065   Nguyen   Kim         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2066   Nguyen   Lisa        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2067   Nguyen   Hien        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2068   Nguyen   Long        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2069   Nguyen   Duc         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2070   Nguyen   Ngan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2071   Nguyen   Duy         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2072   Nguyen   Hai         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2073   Nguyen   Michelle    Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2074   Nguyen   Minh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2075   Nguyen   Ngoan       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2076   Nguyen   Steven      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2077   Nguyen   Andrew      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2078   Nguyen   Andrew      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2079   Nguyen   Chiz        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2080   Nguyen   Chris       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2081   Nguyen   Andy        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2082   Nguyen   Andrew      Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2083   Nguyen   Phong       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2084   Nguyen   Phuong      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2085   Nguyen   Dung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2086   Nguyen   Kim         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2087   Nguyen   Pauline     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2088   Nguyen   Qui         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2089   Nguyen   Linh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2090   Nguyen   Nga         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2091   Nguyen   Minh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2092   Nguyen   Loc         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2093   Nguyen   Ted         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2094   Nguyen   Dong        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2095   Nguyen   Thien       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2096   Nguyen   Sanh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2097   Nguyen   Sau         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2098   Nguyen   Thuan       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2099   Nguyen   Trung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2100   Nguyen   Tien        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2101   Nguyen   Cu          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2102   Nguyen   Cu          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2103   Nguyen   Xuyen       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2104   Nguyen   Jo          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2105   Nguyen   Tuyet       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2106   Nguyen   Jimmy       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 2107   Nguyen   Thuy        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2108   Nguyen   Hoang       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2109   Nguyen   Hoa         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 2110   Nguyen   Duong       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 2111   Nguyen   Donny       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 2112   Nguyen   Anh         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 2113   Nguyen   Khoa        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2114   Nguyen   Gloria      Tran, et al v. BP Exploration
                                                USDC Southern
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 2115   Nguyen   Thang       Tran, et al v. BP Exploration
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2116   Nguyen   Dung        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2117   Nguyen   Dang        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2118   Nguyen   Hang        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2119   Nguyen   Huong       Tran, et al v. BP Exploration
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Tab E                                                                                                  Page 36 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 38 of 247

 2120   Nguyen   Tien        Tran, et al v. BP Exploration
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 2121   Nguyen   Viet        Tran, et al v. BP Exploration
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 2122   Nguyen   Ho          Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2123   Nguyen   Tanya       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2124   Nguyen   Tai         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2125   Nguyen   Ngoc        Tran, et al v. BP Exploration
                                                USDC Southern
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 2126   Nguyen   Thai        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2127   Nguyen   Nhan        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2128   Nguyen   Thanh       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2129   Nguyen   Tien        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2130   Nguyen   Oanh        Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2131   Nguyen   Nu          Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2132   Nguyen   Tan         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2133   Nguyen   Tai         Tran, et al v. BP Exploration
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 2134   Nguyen   Nga         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2135   Nguyen   Thao        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2136   Nguyen   Thana       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2137   Nguyen   Thien       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2138   Nguyen   My          Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2139   Nguyen   Thanh       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2140   Nguyen   Nhan        Tran, et al v. BP Exploration
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2141   Nguyen   Xau         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2142   Nguyen   Vu          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2143   Nguyen   Kimloan     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2144   Nguyen   Kim         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2145   Nguyen   Ha          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2146   Nguyen   Phuong      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2147   Nguyen   Kim         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2148   Nguyen   Hanh        Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2149   Nguyen   Tai         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2150   Nguyen   Steven      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2151   Nguyen   Trinh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2152   Nguyen   Quan        Tran, et al v. BP Exploration
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2153   Nguyen   Trini       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2154   Nguyen   Nick        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2155   Nguyen   Rachel      Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2156   Nguyen   Thanh       Tran, et al v. BP Exploration
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2157   Nguyen   Long        Tran, et al v. BP Exploration
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2158   Nguyen   Tony        Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2159   Nguyen   Fong        Tran, et al v. BP Exploration
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2160   Nguyen   Ngoc        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2161   Nguyen   Fong        Tran, et al v. BP Exploration
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                                                           and Production,
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                                                                            Inc et al   10-4232   No     No
 2162   Nguyen   Pauline     Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2163   Nguyen   Ha          Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2164   Nguyen   Ha          Tran, et al v. BP Exploration
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 2165   Nguyen   Nga         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2166   Nguyen   Dat         Tran, et al v. BP Exploration
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 2167   Nguyen   Tri         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2168   Nguyen   Vu          Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2169   Nguyen   Van         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2170   Nguyen   Eung        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2171   Nguyen   Yen         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2172   Nguyen   Vi          Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2173   Nguyen   Hai         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2174   Nguyen   Han         Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2175   Nguyen   Phung       Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2176   Nguyen   Thanh       Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2177   Nguyen   Rosa        Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2178   Nguyen   Kim         Tran, et al v. BP Exploration
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Tab E                                                                                                  Page 37 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 39 of 247

 2179   Nguyen   Tai         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2180   Nguyen   Thai        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2181   Nguyen   Uyen        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2182   Nguyen   Cuong       Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2183   Nguyen   Ted         Tran, et al v. BP Exploration
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                                                                            Inc et al   10-4232   No     No
 2184   Nguyen   Cathy       Tran, et al v. BP Exploration
                                                USDC Southern
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 2185   Nguyen   Tien        Tran, et al v. BP Exploration
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 2186   Nguyen   Allen       Tran, et al v. BP Exploration
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 2187   Nguyen   Linda       Tran, et al v. BP Exploration
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 2188   Nguyen   Andy        Tran, et al v. BP Exploration
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 2189   Nguyen   Britny      Tran, et al v. BP Exploration
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 2190   Nguyen   Tan         Tran, et al v. BP Exploration
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 2191   Nguyen   Bung        Tran, et al v. BP Exploration
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 2192   Nguyen   Ted         Tran, et al v. BP Exploration
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 2193   Nguyen   An          Tran, et al v. BP Exploration
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 2194   Nguyen   Lisa        Tran, et al v. BP Exploration
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 2195   Nguyen   Cuong       Tran, et al v. BP Exploration
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 2196   Nguyen   Andy        Tran, et al v. BP Exploration
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 2197   Nguyen   Melanie     Tran, et al v. BP Exploration
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 2198   Nguyen   Khanh       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                            Inc et al   10-4232   No     No
 2199   Nguyen   James       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2200   Nguyen   Hoang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2201   Nguyen   Khanh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2202   Nguyen   Kim         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2203   Ninh     Anh         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2204   Pam      Tuan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2205   Pham     Tuyet       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2206   Pham     Dinh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2207   Pham     Leanne      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2208   Pham     Hiep        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2209   Pham     Sony        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2210   Pham     Huu         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2211   Pham     Duong       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2212   Pham     Minh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2213   Pham     Mary        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2214   Pham     Thanh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2215   Pham     Doung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2216   Pham     Ky          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2217   Pham     Kimyen      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2218   Pham     Mooung      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2219   Pham     Tue         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2220   Pham     Dung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2221   Pham     Valerie     Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2222   Pham     Liem        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2223   Pham     Thai        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2224   Pham     Nguyen      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2225   Pham     Son         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2226   Pham     Thai        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2227   Pham     Nhan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2228   Pham     Nhuan       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2229   Pham     Huu         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2230   Pham     Du          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2231   Pham     Thai        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2232   Pham     Quang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2233   Pham     Trung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2234   Pham     Trung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2235   Pham     Minh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2236   Pham     Binh        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2237   Pham     Thanh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No

Tab E                                                                                                  Page 38 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 40 of 247

 2238   Pham     Joseph      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2239   Pham     Knich       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2240   Pham     Tung        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2241   Pham     Tam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2242   Pham     Khich       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2243   Pham     Gai         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2244   Pham     Trang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2245   Pham     Tommy       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2246   Pham     Tu          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2247   Phan     An          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2248   Phan     Bay         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2249   Phan     Quyen       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2250   Phan     Trung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2251   Phan     Kimberly    Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2252   Phan     Huy         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2253   Phan     Truong      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2254   Phan     Thanh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2255   Phan     Ben         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2256   Phan     Hora        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2257   Phan     Quyen       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2258   Phan     Duc         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2259   Phan     Trung       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2260   Phan     Huy         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2261   Phan     Thai        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2262   Phan     Joseph      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2263   Phuong   Thanh       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2264   Quach    Julie       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2265   Quach    Du          Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2266   Quach    Hung        Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2267   Quach    Thuy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2268   Sharif   Majdi       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2269   Sharif   Maha        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2270   T        Xuan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2271   Ta       Son         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2272   Tang     Nhi         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2273   Tang     Quang       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2274   Tang     Nhi         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2275   Tang     Quang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2276   Tang     Thuy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2277   Tang     Thuy        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2278   Thai     Nghia       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2279   Thai     Nghia       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2280   Thai     Thao        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2281   Thai     Kevin       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2282   Thai     Kim         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2283   Thai     Phan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2284   Thai     Lam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2285   Thai     Diem        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2286   Thai     Diem        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2287   Thuy     Tran        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2288   Ton      Cathy       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2289   Ton      Kristy      Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2290   Tram     Thang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2291   Tram     Ngan        Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2292   Tram     Thang       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2293   Tram     Tam         Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2294   Tran     Duyen       Tran, et al v. BP Exploration
                                                USDC Southern
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                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2295   Tran     Tommy       Tran, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No
 2296   Tran     Thao        Tran, et al v. BP Exploration
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                                                           and Production,
                                                                District of Texas
                                                                            Inc et al   10-4232   No     No

Tab E                                                                                                  Page 39 of 246
               Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 41 of 247

 2297   Tran         Nguyen      Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2298   Tran         Chi         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2299   Tran         Mary        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2300   Tran         Teresa      Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2301   Tran         Hung        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2302   Tran         Anthony     Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2303   Tran         David       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2304   Tran         Phuc        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2305   Tran         Sang        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2306   Tran         Mai         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2307   Tran         Angle       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2308   Tran         Andrew      Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2309   Tran         Huong       Tran, et al v. BP Exploration
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                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2310   Tran         Coi         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2311   Tran         Mai         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2312   Tran         Tham        Tran, et al v. BP Exploration
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                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2313   Tran         Tam         Tran, et al v. BP Exploration
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                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2314   Tran         Cuong       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2315   Tran         Hung        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2316   Tran         Lloyd       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2317   Tran         Loi         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2318   Tran         Han         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2319   Tran         Lily        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2320   Tran         Linh        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2321   Tran         Quang       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2322   Tran         Chin        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2323   Tran         Thang       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2324   Tran         Huey        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2325   Tran         Van         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2326   Tran         Tan         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2327   Tran         Tuan        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2328   Tran         Tuan        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2329   Tran         Nhanh       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2330   Tran         Van         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2331   Tran         Suong       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2332   Tran         An          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2333   Tran         Bau         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2334   Tran         Jonh        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2335   Tran         Dung        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2336   Tran         Tuan        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2337   Tran         Hoa         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2338   Tran         Val         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2339   Tran         Lloyd       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2340   Tran         Lisa        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2341   Tran         Roger       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2342   Tran         Loc         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2343   Tran         Jessica     Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2344   Tran         Jillie      Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2345   Tran         Ngo         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2346   Tran         On          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2347   Tran         Julie       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2348   Tran         John        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2349   Tran         Johnny      Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2350   Tran         Khiet       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2351   Tran         Tam         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2352   Tran         Wilson      Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2353   Tran         Thren       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2354   Tran         Steen       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2355   Tran         Samantha    Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No

Tab E                                                                                                      Page 40 of 246
               Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 42 of 247

 2356   Tran         Thich       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2357   Tran         Thao        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2358   Tran         Tinh        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2359   Tran         Tuan        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2360   Tran         Thi         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2361   Tran         Hoa         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2362   Tran         Annie       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2363   Tran         Cuong       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2364   Tran         Dai         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2365   Tran         Chu         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2366   Tran         Cam         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2367   Tran         Lan         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2368   Tran         Lan         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2369   Tran         Anh         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2370   Tran         Cuong       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2371   Tran         Ryan        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2372   Tran         Chi         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2373   Tran         Tony        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2374   Tran         Lein        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2375   Tran         Lily        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2376   Tran         Mai         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2377   Tran         Michelle    Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2378   Tran         Minh        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2379   Tran         Nam         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2380   Tran         Uong        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2381   Tran         Tuyet       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2382   Tran         Hoa         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2383   Tran         Billy       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2384   Tran         My          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2385   Tran         Hue         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2386   Tran         Tuyet       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2387   Tran         Tuan        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2388   Tran         Tai         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2389   Tran         Tuan        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2390   Tran         Andrew      Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2391   Tran         Roger       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2392   Tran         Hao         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2393   Tran         Cuong       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2394   Tran         Chi         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2395   Tran         Kevin       Tran, et al v. BP Exploration
                                                    USDC Southern
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                                                                                Inc et al   10-4232   No     No
 2396   Tran         Kevin       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2397   Tran         Ham         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2398   Tran         Diana       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2399   Tran         Hoa         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2400   Tran         Yen         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2401   Tran         Xuan        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2402   Tran         Linda       Tran, et al v. BP Exploration
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                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2403   Tran         Loc         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2404   Tran         Tu          Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2405   Tran         Thi         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2406   Tran         Tuong       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2407   Tran         Trinh       Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2408   Tran         Thai        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2409   Tran         Khuyen      Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2410   Tran         Jonathan    Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2411   Tran         Kim         Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2412   Tran         Krystyna    Tran, et al v. BP Exploration
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                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2413   Tran         Muoi        Tran, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No
 2414   Tran         Hieu        Tran, et al v. BP Exploration
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                                                               and Production,
                                                                    District of Texas
                                                                                Inc et al   10-4232   No     No

Tab E                                                                                                      Page 41 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 43 of 247

 2415   Tran      Huan        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2416   Tran      Tuan        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                             Inc et al   10-4232   No     No
 2417   Tran      Phung       Tran, et al v. BP Exploration
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                                                            and Production,
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                                                                             Inc et al   10-4232   No     No
 2418   Tran      Hang        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2419   Tran      Gessyca     Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2420   Tran      Tony        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2421   Tran      Vu          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2422   Tran      Long        Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2423   Tran      Tuan        Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2424   Tran      Thuy        Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2425   Tran      Ha          Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2426   Tran      Diana       Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2427   Tran      Dao         Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2428   Tran      Net         Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2429   Tran      Ben         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2430   Tran      Joe         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2431   Tran      Linda       Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2432   Tran      Tam         Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2433   Tran      Bich        Tran, et al v. BP Exploration
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2434   Tran      Tung        Tran, et al v. BP Exploration
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2435   Tran      Thanh       Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2436   Tran      Hien        Tran, et al v. BP Exploration
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2437   Tran      Hong        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2438   Tran      Jr          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2439   Tran      Michelia    Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2440   Tran      Son         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                             Inc et al   10-4232   No     No
 2441   Tran      Huong       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                             Inc et al   10-4232   No     No
 2442   Tran      Son         Tran, et al v. BP Exploration
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2443   Tran      Sanka       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2444   Tran      Huong       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2445   Tran      Anh         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2446   Tran      Kha         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2447   Tran      Hung        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2448   Tran      Thu         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2449   Tran      Sen         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2450   Tran      Shawn       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2451   Tran      Tommy       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2452   Tran      Tiffany     Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2453   Tran      Tuyet       Tran, et al v. BP Exploration
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                                                                             Inc et al   10-4232   No     No
 2454   Trang     Thanh       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2455   Trang     Ann         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2456   Trang     Kieu        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2457   Trang     Nghia       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2458   Trang     Thanh       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2459   Trang     Thanh       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2460   Trang     Tho         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2461   Trang     Ut          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2462   Trang     Ut          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2463   Trang     Tho         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2464   Trang     Kieu        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2465   Trang     Thanh       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2466   Trang     Thanh       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2467   Trang     Nghia       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2468   Trieu     Connie      Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2469   Trinh     Ken         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2470   Trinh     Dinh        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2471   Trinh     Van         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2472   Trinh     Sandy       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2473   Trinh     Sang        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No

Tab E                                                                                                   Page 42 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 44 of 247

 2474   Trinh     Thuy        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2475   Trinh     Kevin       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2476   Trinh     Anh         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2477   Trinh     Ken         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2478   Trung     Ngau        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2479   Truong    Hai         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2480   Truong    Hai         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2481   Truong    Hien        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2482   Truong    Hai         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2483   Truong    Cathy       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2484   Truong    Tommy       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2485   Truong    Due         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2486   Truong    Hung        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2487   Truong    Nga         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2488   Truong    Tamakya     Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2489   Truong    Tan         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2490   Truong    Vui         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2491   Truong    Tony        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2492   Truong    Hong        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                             Inc et al   10-4232   No     No
 2493   Tu        Bi          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2494   Tu        Truc        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2495   Tu        Victor      Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                             Inc et al   10-4232   No     No
 2496   Van       Nghia       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                             Inc et al   10-4232   No     No
 2497   Van       Valentine   Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                             Inc et al   10-4232   No     No
 2498   Van       Xe          Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2499   Vo        Lang        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2500   Vo        Xet         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2501   Vo        Dinh        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2502   Vo        Huong       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2503   Vo        Van         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2504   Vo        Thuy        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2505   Vo        Lien        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2506   Vo        Hong        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2507   Vo        Vu          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2508   Vo        Jimmy       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2509   Vo        Linda       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2510   Vo        Tim         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2511   Vo        Trang       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2512   Vo        Thu         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2513   Vo        Nahn        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2514   Vo        Thai        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2515   Vo        Tan         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2516   Vo        Hang        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2517   Vo        Hong        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2518   Vo        Lien        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2519   Vo        Loan        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2520   Vo        Huong       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2521   Vo        Hien        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2522   Vo        Hien        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2523   Vo        Hong        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2524   Vo        Loan        Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                             Inc et al   10-4232   No     No
 2525   Vo        Loan        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2526   Vo        Magnus      Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2527   Vo        Minh        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2528   Vo        Phien       Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2529   Vo        Phung       Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2530   Vo        Phuong      Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2531   Vo        Sa          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No
 2532   Vo        Loan        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                 District of Texas
                                                                             Inc et al   10-4232   No     No

Tab E                                                                                                   Page 43 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 45 of 247

 2533   Vo       David        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2534   Vo       Dung         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2535   Vo       Tan          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2536   Vo       David        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2537   Vo       Thai         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2538   Vu       Tuan         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2539   Vu       Tony         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2540   Vu       Marianne     Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2541   Vu       Becky        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2542   Vu       Hoat         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2543   Vu       Sandy        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2544   Vu       April        Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2545   Vu       Mary         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2546   Vu       Hung         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2547   Vu       Bichnga      Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                               Inc et al   10-4232   No     No
 2548   Vu       Dao          Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                               Inc et al   10-4232   No     No
 2549   Vu       Hanh         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
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                                                                               Inc et al   10-4232   No     No
 2550   Vu       Hanh         Tran, et al v. BP Exploration
                                                 USDC Southern
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                                                                               Inc et al   10-4232   No     No
 2551   Vu       Tunt         Tran, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Texas
                                                                               Inc et al   10-4232   No     No
 2552   Ao       Nhanh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2553   Bach     Charles      Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2554   Bach     Alex         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2555   Bach     Ben          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2556   Bach     Jessica      Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2557   Bach     Jacqueline   Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2558   Back     Clifford     Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2559   Bui      Lap          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2560   Bui      Nhu          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2561   Bui      Danh         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2562   Bui      Be           Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2563   Bui      Diem         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2564   Bui      Be           Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2565   Bui      Gai          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2566   Bui      Thuy         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2567   Bui      Vu           Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2568   Bui      Nhat         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2569   Bui      Hoang        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2570   Bui      Thuy         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2571   Bui      My           Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2572   Bui      Thu          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2573   Bui      Huang        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2574   Bui      Be           Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2575   Bui      Hong         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2576   Bui      Quyen        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2577   Bui      Duc          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2578   Bui      Michelle     Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2579   Bui      Jack         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2580   Bui      Brandy       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2581   Bui      Pine         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2582   Bui      Lap          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2583   Bui      Tan          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2584   Bui      Be           Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2585   Bui      Bo           Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2586   Bui      Tham         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2587   Bui      Tonga        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2588   Bui      Duyet        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2589   Bui      Thong        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2590   Bui      Cindy        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No
 2591   Bui      Brandy       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al    10-4233   No     No

Tab E                                                                                                     Page 44 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 46 of 247

 2592   Bui      Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2593   Bui      Kuang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2594   Bui      Mai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2595   Bui      Natalie     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2596   Bui      Tram        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2597   Bui      Thu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2598   Bui      Le          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2599   Bui      Tan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2600   Cahu     Oanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2601   Cao      Nguyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2602   Cao      Francisco   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2603   Cao      Nien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2604   Cao      Viet        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2605   Cao      Nguyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2606   Cao      Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2607   Cao      Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2608   Cao      Dang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2609   Cao      James       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2610   Cao      Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2611   Cao      Lenny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2612   Cao      Nguyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2613   Cao      Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2614   Cao      Tin         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2615   Cao      Phuot       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2616   Cao      Thinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2617   Cao      Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2618   Cao      Le          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2619   Cao      Hanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2620   Cao      James       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2621   Cao      Phil        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2622   Cao      Wenzhony    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2623   Cao      Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2624   Cao      Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2625   Cao      Yu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2626   Chau     Ronald      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2627   Chau     Frank       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2628   Chau     Vanessa     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2629   Chau     Khe         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2630   Chau     Giang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2631   Chau     Alice       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2632   Chau     Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2633   Chau     Chien       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2634   Chau     Rosa        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2635   Chau     Bic         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2636   Chau     Giang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2637   Chau     Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2638   Chau     Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2639   Chau     Hoa         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2640   Chau     Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2641   Chau     Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2642   Chau     Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2643   Chau     Giang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2644   Chau     Khanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2645   Chau     Chang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2646   Chau     Trang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2647   Chau     Quoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2648   Chau     Dien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2649   Chau     Lo          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2650   Chau     Hao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 45 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 47 of 247

 2651   Chau     Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2652   Chau     Esther      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2653   Chau     Meisin      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2654   Che      Tuma        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2655   Che      Gary        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2656   Che      Sang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2657   Chu      Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2658   Chu      Hallowell   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2659   Chu      Mary        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2660   Chung    Danny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2661   Chung    Chris       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2662   Chung    Hue         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2663   Chung    Doron       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2664   Chung    Jerry       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2665   Chung    Lishuang    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2666   Chung    Donnel      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2667   Chung    Marta       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2668   Chung    Jerry       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2669   Cu       Phan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2670   Dam      Paul        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2671   Dang     Phem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2672   Dang     Oanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2673   Dang     Cuong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2674   Dang     Bing        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2675   Dang     Phung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2676   Dang     Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2677   Dang     Quyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2678   Dang     Kenny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2679   Dang     Kathy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2680   Dang     Huu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2681   Dang     Vicky       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2682   Dang     Quy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2683   Dang     Tung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2684   Dang     Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2685   Dang     Dan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2686   Dang     Vu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2687   Dang     Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2688   Dang     Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2689   Dang     Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2690   Dang     Andy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2691   Dang     Sammis      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2692   Dang     Oanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2693   Dang     Loan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2694   Dang     Thong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2695   Dang     Thong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2696   Dang     Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2697   Dang     Nina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2698   Dang     Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2699   Dang     Tu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2700   Dang     Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2701   Dang     Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2702   Dang     Thomas      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2703   Dang     Tracy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2704   Dang     Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2705   Dang     Thien       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2706   Dang     Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2707   Dang     Wen         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2708   Dang     Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2709   Dang     Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 46 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 48 of 247

 2710   Danh     Dana        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2711   Danh     Tuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2712   Dao      Thien       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2713   Dao      Trang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2714   Dao      Ly          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2715   Dao      Maria       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2716   Dao      Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2717   Dao      Miguel      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2718   Dao      Laun        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2719   Dao      Luan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2720   Dao      Miguel      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2721   Dao      Duong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2722   Deam     Carl        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2723   Diep     Andrew      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2724   Dinh     Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2725   Dinh     Khanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2726   Dinh     Khanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2727   Dinh     Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2728   Dinh     Cong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2729   Dinh     Khanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2730   Dinh     Khoi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2731   Dinh     Dam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2732   Dinh     Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2733   Dinh     Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2734   Dinh     Tony        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2735   Dinh     Huy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2736   Dinh     Sue         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2737   Dinh     Jack        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2738   Dinh     Tuyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2739   Dinh     Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2740   Dinh     Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2741   Dinh     Thinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2742   Dinh     Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2743   Dinh     Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2744   Dinh     Thang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2745   Dinh     Thang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2746   Dinh     Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2747   Do       Nguyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2748   Do       My          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2749   Do       Tanya       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2750   Do       Kin         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2751   Do       Ant         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2752   Do       Michael     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2753   Do       Stacey      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2754   Do       Lang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2755   Do       Vu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2756   Do       Khoe        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2757   Do       Merrill     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2758   Do       Lang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2759   Do       Tien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2760   Do       Thiet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2761   Do       Cara        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2762   Do       Canh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2763   Do       Tu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2764   Do       Mai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2765   Do       Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2766   Do       Dinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2767   Do       Dien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2768   Do       Daniel      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 47 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 49 of 247

 2769   Do       Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2770   Do       Elsa        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2771   Do       Tu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2772   Do       Mai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2773   Do       Dien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2774   Doan     Quang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2775   Doan     Frances     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2776   Doan     Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2777   Doan     Robert      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2778   Doan     Dean        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2779   Doan     Depra       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2780   Doan     Beverly     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2781   Doan     Bia         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2782   Doan     Beverly     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2783   Doan     Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2784   Doan     Taio        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2785   Doan     Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2786   Doan     Brenda      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2787   Doan     Brenda      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2788   Doan     Jack        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2789   Doan     John        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2790   Doan     Phil        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2791   Doan     Vickie      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2792   Doan     Phung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2793   Doan     Robert      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2794   Doan     Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2795   Doan     Don         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2796   Doan     Debra       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2797   Doan     Dan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2798   Doan     Rai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2799   Doan     Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2800   Doan     Don         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2801   Doan     Amy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2802   Doan     Nhan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2803   Doan     Robert      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2804   Doan     Jon         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2805   Doan     Judith      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2806   Doan     Mary        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2807   Doan     Em          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2808   Doan     Dean        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2809   Doan     Judith      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2810   Doan     Jon         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2811   Doan     Dan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2812   Doan     Bon         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2813   Doan     Debra       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2814   Doan     Don         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2815   Doan     Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2816   Doan     Nhan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2817   Dt       Duc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2818   Du       Alwyn       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2819   Du       Chris       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2820   Duong    Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2821   Duong    Bach        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2822   Duong    Ha          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2823   Duong    Phu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2824   Duong    Regina      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2825   Duong    Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2826   Duong    Phu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2827   Duong    Phan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 48 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 50 of 247

 2828   Duong    Ha          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2829   Duong    Ann         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2830   Duong    Bach        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2831   Duong    Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2832   Duong    Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2833   Duong    Taio        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2834   Duong    Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2835   Duong    Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2836   Duong    Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2837   Duong    Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2838   Duong    Bang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2839   Duong    Bang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2840   Duong    Lien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2841   Duong    Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2842   Duong    Vu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2843   Duong    Phu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2844   Duong    Truong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2845   Duong    Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2846   Duong    Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2847   Duong    Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2848   Duong    Ngan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2849   Duong    Johnny      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2850   Duong    Jimmy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2851   Duong    Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2852   Duong    Troung      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2853   Duong    Phu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2854   Duong    Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2855   Duong    Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2856   Duong    Lien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2857   Duong    Mui         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2858   Duong    Truong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2859   Duong    Vu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2860   Duong    Levi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2861   Duong    Charles     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2862   Duong    Jim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2863   Duong    Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2864   Duong    Chien       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2865   Duong    Nhu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2866   Duong    Alex        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2867   Duong    Ut          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2868   Duong    Regina      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2869   Duong    Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2870   Duong    Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2871   Duong    Levi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2872   Duong    Truong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2873   Duong    Cu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2874   Duong    Nga         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2875   Duong    Duc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2876   Duong    June        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2877   Duong    Nga         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2878   Duong    Cu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2879   Duong    Frances     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2880   Duong    Shawna      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2881   Duong    Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2882   Duong    Francoise   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2883   Duong    Frances     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2884   Duong    Duc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2885   Duong    Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2886   Duong    Nhu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 49 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 51 of 247

 2887   Duong    Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2888   Duong    Long        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2889   Duong    Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2890   Duong    Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2891   Duong    Tinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2892   Duong    Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2893   Duong    Tinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2894   Duong    Tinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2895   Duong    Tuyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2896   Duong    Dien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2897   Duong    Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2898   Duong    Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2899   Duong    Dien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2900   Duong    Tuyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2901   Duong    Shawna      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2902   Duong    Long        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2903   Guyen    Quoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2904   Ha       Minwoo      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2905   Ha       Trinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2906   Ha       Chuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2907   Ha       Chung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2908   Ha       Chuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2909   Ha       Huynh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2910   Ha       Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2911   Ha       Brandon     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2912   Ha       Bi          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2913   Ha       Hiep        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2914   Ha       Hiep        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2915   Ha       Huynh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2916   Ha       Lee         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2917   Ha       Chung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2918   Ha       Choung      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2919   Ha       Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2920   Ha       Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2921   Ha       Eddie       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2922   Ha       Donny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2923   Ha       Toan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2924   Ha       Tuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2925   Ha       Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2926   Ha       Huynh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2927   Ha       Nguyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2928   Ha       Thu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2929   Ha       Tony        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2930   Ha       Laura       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2931   Ha       Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2932   Ha       Ayat        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2933   Ha       Diane       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2934   Ha       Uyen        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2935   Ha       Terri       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2936   Ha       Tan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2937   Ha       Diane       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2938   Ha       Don         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2939   Ha       Michael     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2940   Hai      Sang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2941   Han      Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2942   Han      Giau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2943   Han      Yuong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2944   Han      Chui        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2945   Han      Qingen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 50 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 52 of 247

 2946   Han      Mai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2947   Han      Ronald      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2948   Han      Jian        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2949   Han      Jin         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2950   Han      Katherine   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2951   Han      Katherine   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2952   Hayah    Sonny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2953   Ho       Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2954   Ho       Kenny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2955   Ho       An          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2956   Ho       Phao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2957   Ho       Ngat        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2958   Ho       Bi          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2959   Ho       Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2960   Ho       David       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2961   Ho       Nhan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2962   Ho       Tho         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2963   Ho       Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2964   Ho       Chien       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2965   Ho       John        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2966   Ho       Sam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2967   Ho       Duc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2968   Ho       Ban         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2969   Ho       Bon         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2970   Ho       Justin      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2971   Ho       Luan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2972   Ho       Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2973   Ho       Luan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2974   Ho       Chris       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2975   Ho       Lee         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2976   Ho       Khang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2977   Ho       Xiao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2978   Ho       Giau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2979   Ho       Chi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2980   Ho       Cung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2981   Ho       Nan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2982   Ho       Huu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2983   Ho       Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2984   Ho       Alex        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2985   Ho       Clarina     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2986   Ho       Anthony     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2987   Ho       Viet        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2988   Ho       Cong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2989   Ho       Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2990   Ho       Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2991   Ho       Loritta     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2992   Ho       Jane        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2993   Ho       Hieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2994   Ho       Loritta     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2995   Ho       Arben       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2996   Ho       Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2997   Ho       Phat        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2998   Ho       Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 2999   Ho       Steve       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3000   Ho       Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3001   Ho       Trung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3002   Ho       Yen         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3003   Ho       Jane        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3004   Ho       Elizabeth   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 51 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 53 of 247

 3005   Ho       Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3006   Ho       Yuet        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3007   Ho       Jin         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3008   Ho       Charlie     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3009   Ho       Nha         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3010   Ho       Yan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3011   Ho       Sonny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3012   Ho       Kang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3013   Ho       Jin         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3014   Ho       Lieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3015   Ho       Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3016   Ho       Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3017   Ho       Sonny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3018   Ho       Hieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3019   Ho       Han         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3020   Ho       Trung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3021   Ho       Kang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3022   Ho       Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3023   Ho       Em          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3024   Ho       Steve       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3025   Hoa      Le          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3026   Hoang    Chi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3027   Hoang    Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3028   Hoang    Haidang     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3029   Hoang    Phuoc       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3030   Hoang    Jenny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3031   Hoang    Tohhu       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3032   Hoang    Toan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3033   Hoang    Vivinh      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3034   Hoang    Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3035   Hoang    Tom         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3036   Hoang    Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3037   Hoang    Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3038   Hoang    Nga         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3039   Hoang    Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3040   Hoang    Sally       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3041   Hoang    Oanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3042   Hoang    Vanessa     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3043   Hoang    Cindy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3044   Hoang    Ly          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3045   Huynh    Hen         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3046   Huynh    An          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3047   Huynh    Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3048   Huynh    Dien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3049   Huynh    Dai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3050   Huynh    Bong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3051   Huynh    Oanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3052   Huynh    Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3053   Huynh    Nhi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3054   Huynh    Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3055   Huynh    Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3056   Huynh    Tay         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3057   Huynh    Chi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3058   Huynh    Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3059   Huynh    Nam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3060   Huynh    Kieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3061   Huynh    Kieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3062   Huynh    Hoa         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3063   Huynh    Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 52 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 54 of 247

 3064   Huynh    Danh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3065   Huynh    Duy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3066   Huynh    Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3067   Huynh    Oanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3068   Huynh    Dien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3069   Huynh    Niem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3070   Huynh    Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3071   Huynh    Thai        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3072   Huynh    Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3073   Huynh    Thai        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3074   Huynh    Nghia       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3075   Huynh    Dan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3076   Huynh    Chase       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3077   Huynh    Vu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3078   Huynh    Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3079   Huynh    Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3080   Huynh    Thach       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3081   Huynh    Lien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3082   Huynh    Christina   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3083   Huynh    Kahm        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3084   Huynh    Ngo         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3085   Huynh    Nghia       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3086   Huynh    Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3087   Huynh    Uyen        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3088   Huynh    Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3089   Huynh    Uyen        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3090   Huynh    Genie       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3091   Huynh    Tom         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3092   Huynh    Paul        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3093   Huynh    Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3094   Huynh    Mimi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3095   Huynh    Quoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3096   Huynh    Larry       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3097   Huynh    Trieu       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3098   Huynh    Hen         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3099   Huynh    Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3100   Huynh    Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3101   Huynh    Luy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3102   Huynh    Tot         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3103   Huynh    Cau         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3104   Huynh    Yen         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3105   Huynh    Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3106   Huynh    Myhanh      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3107   Huynh    Yen         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3108   Huynh    Tot         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3109   Huynh    Cau         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3110   Kieu     Thieu       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3111   Kim      Jaewha      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3112   Kim      Jeeyeon     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3113   Kim      Joe         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3114   Kim      Aaron       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3115   Kim      Helen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3116   Kim      Lance       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3117   Kim      Lance       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3118   Kim      Peter       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3119   Kim      Sung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3120   Kim      Park        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3121   Kim      Helen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3122   Kim      James       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 53 of 246
              Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 55 of 247

 3123   Kim         Christina   Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3124   Kim         David       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3125   Kim         David       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3126   Kim         Inbae       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3127   Kim         Bang        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3128   Kim         Mee         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3129   Kim         Han         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3130   Kim         Diana       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3131   Kim         Diana       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3132   Kim         Han         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3133   Kim         Inbae       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3134   Kim         Hyojin      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3135   Kim         Grace       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3136   Kim         Heejung     Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3137   Kim         Hee         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3138   Kim         Ci          Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3139   Kim         Giang       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3140   Kim         Minh        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3141   Kim         Myeong      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3142   Kim         Kerr        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3143   Kim         Haesook     Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3144   Kim         Brian       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3145   Kim         Brian       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3146   Kim         Jr          Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3147   Kim         Duy         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3148   Kim         Monaco      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3149   Kim         Sang        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3150   Kim         Rosa        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3151   Kim         Sang        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3152   Kim         Roger       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3153   Kim         Kathleen    Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3154   Kim         Yuong       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3155   Kim         Yung        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3156   Kim         Chi         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3157   Kim         Jung        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3158   Kim         Soon        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3159   Kim         Tae         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3160   Kim         Kevin       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3161   Kim         Sin         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3162   Kim         Dale        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3163   La          Vinh        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3164   La          Phuoc       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3165   La          Ci          Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3166   La          Rue         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3167   La          Mike        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3168   Lai         Judy        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3169   Lai         Dang        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3170   Lai         George      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3171   Lai         George      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3172   Lai         George      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3173   Lai         Celena      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3174   Lai         Celana      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3175   Lai         Linh        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3176   Lai         Judith      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3177   Lai         Kenric      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3178   Lai         Shui        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3179   Lai         Ken         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3180   Lam         Ly          Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3181   Lam         Thanh       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No

Tab E                                                                                                     Page 54 of 246
              Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 56 of 247

 3182   Lam         Tien        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3183   Lam         Ton         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3184   Lam         Mary        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3185   Lam         Tam         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3186   Lam         Tam         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3187   Lam         Minh        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3188   Lam         Minh        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3189   Lam         Cuong       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3190   Lam         Dina        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3191   Lam         Rain        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3192   Lam         Mike        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3193   Lam         Sam         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3194   Lam         Kevin       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3195   Lam         Minh        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3196   Lam         Caroline    Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3197   Lam         Cho         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3198   Lam         Oanh        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3199   Lam         Robert      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3200   Lam         Tien        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3201   Lam         Dale        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3202   Lam         Ralph       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3203   Lam         Thanh       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3204   Lam         Nga         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3205   Lam         Cao         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3206   Lam         Dale        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3207   Lam         Tho         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3208   Lam         Quan        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3209   Lam         Tai         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3210   Lam         Laurie      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3211   Lam         Luan        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3212   Lam         Rue         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3213   Lam         Lien        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3214   Lam         Ralf        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3215   Lam         Sue         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3216   Lam         Bach        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3217   Lam         Suek        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3218   Lam         Rue         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3219   Lam         Nga         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3220   Lam         Jack        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3221   Lam         Hubert      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3222   Lam         Jack        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3223   Lam         Tun         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3224   Lam         Cao         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3225   Le          Chia        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3226   Le          Tai         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3227   Le          Tham        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3228   Le          Tai         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3229   Le          Vu          Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3230   Le          Tam         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3231   Le          Lyanne      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3232   Le          V           Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3233   Le          Hung        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3234   Le          Thanh       Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3235   Le          Tan         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3236   Le          Thuy        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3237   Le          Thu         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3238   Le          Pham        Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3239   Le          Coc         Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No
 3240   Le          Daniel      Ngo, et al v. BP Exploration
                                                  USDC Southern
                                                             and Production,
                                                                   District of Inc
                                                                               Texas
                                                                                   et al   10-4233   No     No

Tab E                                                                                                     Page 55 of 246
             Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 57 of 247

 3241   Le         Mien        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3242   Le         Huan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3243   Le         Gant        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3244   Le         Hoi         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3245   Le         Cam         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3246   Le         De          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3247   Le         Diem        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3248   Le         Blanc       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3249   Le         Brandon     Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3250   Le         Lang        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3251   Le         Lien        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3252   Le         Andy        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3253   Le         Khanh       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3254   Le         Tuyen       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3255   Le         Andy        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3256   Le         Phuong      Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3257   Le         Tam         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3258   Le         K           Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3259   Le         Que         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3260   Le         Danh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3261   Le         Huan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3262   Le         Ai          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3263   Le         Elaine      Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3264   Le         Tam         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3265   Le         Hung        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3266   Le         Vanhien     Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3267   Le         Phuong      Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3268   Le         Duy         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3269   Le         Van         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3270   Le         Long        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3271   Le         Khanh       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3272   Le         Chris       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3273   Le         Thu         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3274   Le         Mimi        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3275   Le         Thanh       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3276   Le         Thu         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3277   Le         Jennifer    Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3278   Le         Hoi         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3279   Le         Joi         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3280   Le         Jean        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3281   Le         Hung        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3282   Le         Jean        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3283   Le         Quang       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3284   Le         Ngoc        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3285   Le         Thu         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3286   Le         Nga         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3287   Le         Marybeth    Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3288   Le         Don         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3289   Le         Ngoc        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3290   Le         Duc         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3291   Le         Steven      Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3292   Le         Andy        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3293   Le         Khanh       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3294   Le         Blanc       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3295   Le         Long        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3296   Le         Binh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3297   Le         Janet       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3298   Le         Ai          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 3299   Le         Anh         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No

Tab E                                                                                                    Page 56 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 58 of 247

 3300   Le        Dung        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3301   Le        Phuc        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3302   Le        Hong        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3303   Le        Danny       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3304   Le        Chris       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3305   Le        Hung        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3306   Le        Hoi         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3307   Lieu      Daniel      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3308   Lieu      Henry       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3309   Lieu      Hong        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3310   Lieu      Giang       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3311   Lieu      John        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3312   Lieu      Henry       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3313   Lo        Ann         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3314   Lo        Cuc         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3315   Lo        Michael     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3316   Lo        Selby       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3317   Lo        Yi          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3318   Lo        Fonny       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3319   Lo        Eric        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3320   Lo        Michael     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3321   Luong     Shi         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3322   Luong     Duong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3323   Luong     Mel         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3324   Luong     John        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3325   Luong     Ly          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3326   Luu       Nga         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3327   Luu       Nga         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3328   Luu       Hao         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3329   Luu       Bi          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3330   Luu       Minh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3331   Luu       Chris       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3332   Luu       Hoa         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3333   Ly        Thuang      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3334   Ly        Johnny      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3335   Ly        Michael     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3336   Ly        Nhung       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3337   Ly        Anthony     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3338   Ly        Hoa         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3339   Ly        Trinh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3340   Ly        Bane        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3341   Ly        Van         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3342   Ly        Anna        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3343   Ly        Van         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3344   Ly        Bane        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3345   Ly        Jessica     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3346   Ly        Ngoc        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3347   Mai       Beney       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3348   Mai       Biu         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3349   Mai       Hoi         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3350   Mai       Qi          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3351   Mai       Hau         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3352   Mai       Thu         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3353   Mai       Nguyen      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3354   Mai       Van         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3355   Mai       Trang       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3356   Mai       Hanh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3357   Mai       Amanda      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 3358   Mai       Evan        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No

Tab E                                                                                                   Page 57 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 59 of 247

 3359   Mai      Anges       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3360   Mai      Pat         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3361   Mai      Amanda      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3362   Mai      Tuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3363   Mai      Hoe         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3364   Mai      Cynda       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3365   Mai      Hiap        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3366   Mai      Yan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3367   Ngo      Trieu       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3368   Ngo      Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3369   Ngo      Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3370   Ngo      Leon        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3371   Ngo      Zachariah   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3372   Ngo      Hoanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3373   Ngo      Thuan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3374   Ngo      Houng       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3375   Ngo      La          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3376   Ngo      Mho         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3377   Ngo      Duc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3378   Ngo      Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3379   Ngo      Hon         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3380   Ngo      Chanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3381   Ngo      Chan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3382   Ngo      Hoanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3383   Ngo      Thinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3384   Ngo      Thong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3385   Ngo      Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3386   Ngo      Steven      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3387   Ngo      Thu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3388   Ngo      Thua        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3389   Ngo      Tanya       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3390   Ngo      Leon        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3391   Ngo      Lethuy      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3392   Ngo      Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3393   Ngo      Kevin       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3394   Ngo      Dat         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3395   Ngo      Kevin       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3396   Ngo      Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3397   Ngo      Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3398   Ngo      Yu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3399   Ngo      Thien       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3400   Ngo      Elizabeth   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3401   Ngo      Janney      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3402   Ngo      Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3403   Ngo      Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3404   Ngo      Janney      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3405   Ngo      Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3406   Ngo      David       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3407   Ngo      Glau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3408   Ngo      Bao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3409   Ngo      James       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3410   Ngoc     Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3411   Ngu      Tu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3412   Nguyeb   Ngoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3413   Nguyen   Viet        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3414   Nguyen   Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3415   Nguyen   Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3416   Nguyen   Vuong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3417   Nguyen   Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 58 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 60 of 247

 3418   Nguyen   Vivian      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3419   Nguyen   Vivian      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3420   Nguyen   Rose        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3421   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3422   Nguyen   Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3423   Nguyen   H           Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3424   Nguyen   Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3425   Nguyen   Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3426   Nguyen   Jukie       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3427   Nguyen   Kelly       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3428   Nguyen   Tif         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3429   Nguyen   Amy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3430   Nguyen   Bach        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3431   Nguyen   Lena        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3432   Nguyen   Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3433   Nguyen   Bach        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3434   Nguyen   Andy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3435   Nguyen   Kiem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3436   Nguyen   Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3437   Nguyen   Dinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3438   Nguyen   Cam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3439   Nguyen   Cao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3440   Nguyen   Chanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3441   Nguyen   Chanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3442   Nguyen   Anthony     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3443   Nguyen   Charles     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3444   Nguyen   Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3445   Nguyen   D           Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3446   Nguyen   Tina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3447   Nguyen   Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3448   Nguyen   Tony        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3449   Nguyen   Hank        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3450   Nguyen   Hang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3451   Nguyen   Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3452   Nguyen   Duy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3453   Nguyen   Giai        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3454   Nguyen   Khang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3455   Nguyen   Luc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3456   Nguyen   Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3457   Nguyen   Dang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3458   Nguyen   Hanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3459   Nguyen   Nghia       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3460   Nguyen   Ngu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3461   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3462   Nguyen   Loc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3463   Nguyen   Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3464   Nguyen   Trang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3465   Nguyen   Thuyet      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3466   Nguyen   Anthony     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3467   Nguyen   Tien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3468   Nguyen   Truong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3469   Nguyen   Truong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3470   Nguyen   Truyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3471   Nguyen   Truyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3472   Nguyen   Bill        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3473   Nguyen   Amy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3474   Nguyen   Lay         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3475   Nguyen   Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3476   Nguyen   Nhan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 59 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 61 of 247

 3477   Nguyen   Diem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3478   Nguyen   Dannie      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3479   Nguyen   Phat        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3480   Nguyen   Paula       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3481   Nguyen   Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3482   Nguyen   Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3483   Nguyen   Uyen        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3484   Nguyen   Cam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3485   Nguyen   Jennifer    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3486   Nguyen   Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3487   Nguyen   Thang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3488   Nguyen   Cong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3489   Nguyen   Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3490   Nguyen   Ty          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3491   Nguyen   Crystal     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3492   Nguyen   Crystal     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3493   Nguyen   Phillip     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3494   Nguyen   Hanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3495   Nguyen   Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3496   Nguyen   Hoa         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3497   Nguyen   Adam        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3498   Nguyen   Thich       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3499   Nguyen   Quynh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3500   Nguyen   Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3501   Nguyen   Roger       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3502   Nguyen   Sally       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3503   Nguyen   Ray         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3504   Nguyen   Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3505   Nguyen   Va          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3506   Nguyen   Quoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3507   Nguyen   Chuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3508   Nguyen   Doi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3509   Nguyen   Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3510   Nguyen   Jennifer    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3511   Nguyen   Thong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3512   Nguyen   M           Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3513   Nguyen   Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3514   Nguyen   Tieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3515   Nguyen   Suong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3516   Nguyen   Amy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3517   Nguyen   Bryan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3518   Nguyen   Andrew      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3519   Nguyen   Thong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3520   Nguyen   Cong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3521   Nguyen   Chu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3522   Nguyen   Best        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3523   Nguyen   Bich        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3524   Nguyen   David       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3525   Nguyen   Devon       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3526   Nguyen   Darren      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3527   Nguyen   Bao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3528   Nguyen   Deanna      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3529   Nguyen   Deanna      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3530   Nguyen   Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3531   Nguyen   Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3532   Nguyen   Phillip     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3533   Nguyen   Myhung      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3534   Nguyen   Douglas     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3535   Nguyen   An          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 60 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 62 of 247

 3536   Nguyen   An          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3537   Nguyen   Jennifer    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3538   Nguyen   Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3539   Nguyen   Jim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3540   Nguyen   Huy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3541   Nguyen   Anthony     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3542   Nguyen   Anthony     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3543   Nguyen   Lau         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3544   Nguyen   Anthony     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3545   Nguyen   Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3546   Nguyen   Ngocui      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3547   Nguyen   Emily       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3548   Nguyen   Kiet        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3549   Nguyen   Huy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3550   Nguyen   Trang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3551   Nguyen   Ray         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3552   Nguyen   Trac        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3553   Nguyen   Khuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3554   Nguyen   Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3555   Nguyen   Ung         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3556   Nguyen   Fuong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3557   Nguyen   Tan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3558   Nguyen   Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3559   Nguyen   Quach       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3560   Nguyen   Amy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3561   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3562   Nguyen   Catherine   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3563   Nguyen   Jason       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3564   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3565   Nguyen   Nghiep      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3566   Nguyen   My          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3567   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3568   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3569   Nguyen   Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3570   Nguyen   Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3571   Nguyen   Duyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3572   Nguyen   Tina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3573   Nguyen   Quy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3574   Nguyen   Ly          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3575   Nguyen   Hang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3576   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3577   Nguyen   Giang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3578   Nguyen   Ha          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3579   Nguyen   Giai        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3580   Nguyen   Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3581   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3582   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3583   Nguyen   Long        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3584   Nguyen   Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3585   Nguyen   Long        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3586   Nguyen   Ly          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3587   Nguyen   Uan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3588   Nguyen   Quang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3589   Nguyen   Quy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3590   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3591   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3592   Nguyen   Thai        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3593   Nguyen   Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3594   Nguyen   Ngoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 61 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 63 of 247

 3595   Nguyen   Thy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3596   Nguyen   Lana        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3597   Nguyen   Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3598   Nguyen   Lara        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3599   Nguyen   Loc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3600   Nguyen   Loc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3601   Nguyen   Tien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3602   Nguyen   Lucy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3603   Nguyen   Mora        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3604   Nguyen   Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3605   Nguyen   Lucy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3606   Nguyen   Meo         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3607   Nguyen   Suong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3608   Nguyen   Thang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3609   Nguyen   Kelly       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3610   Nguyen   Cuc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3611   Nguyen   Danny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3612   Nguyen   Duc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3613   Nguyen   Teena       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3614   Nguyen   My          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3615   Nguyen   Nga         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3616   Nguyen   Nguyet      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3617   Nguyen   Nguyet      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3618   Nguyen   Luu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3619   Nguyen   Lena        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3620   Nguyen   Luc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3621   Nguyen   Chi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3622   Nguyen   Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3623   Nguyen   Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3624   Nguyen   Khanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3625   Nguyen   Myeung      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3626   Nguyen   Branden     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3627   Nguyen   Branden     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3628   Nguyen   Alan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3629   Nguyen   Andy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3630   Nguyen   Ann         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3631   Nguyen   Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3632   Nguyen   Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3633   Nguyen   Chuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3634   Nguyen   Ai          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3635   Nguyen   Bup         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3636   Nguyen   Hoa         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3637   Nguyen   Trung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3638   Nguyen   Dinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3639   Nguyen   Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
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                                                                            Texas
                                                                                et al   10-4233   No     No
 3640   Nguyen   Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3641   Nguyen   Qui         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3642   Nguyen   Dinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3643   Nguyen   Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3644   Nguyen   Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3645   Nguyen   Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3646   Nguyen   Kai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3647   Nguyen   Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3648   Nguyen   Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3649   Nguyen   Lily        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3650   Nguyen   Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3651   Nguyen   Ti          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3652   Nguyen   Long        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3653   Nguyen   Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 62 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 64 of 247

 3654   Nguyen   Thu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3655   Nguyen   Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3656   Nguyen   Thu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3657   Nguyen   Aaron       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3658   Nguyen   Ngoan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3659   Nguyen   Anna        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3660   Nguyen   Nhung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3661   Nguyen   Vuong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3662   Nguyen   Hoan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3663   Nguyen   Khoa        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3664   Nguyen   Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3665   Nguyen   Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3666   Nguyen   Ha          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3667   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3668   Nguyen   Dai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3669   Nguyen   Dai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3670   Nguyen   Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3671   Nguyen   Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3672   Nguyen   Lien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3673   Nguyen   Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3674   Nguyen   Liem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3675   Nguyen   Tien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3676   Nguyen   Jimmy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3677   Nguyen   Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3678   Nguyen   Le          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3679   Nguyen   Uyen        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3680   Nguyen   Tony        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3681   Nguyen   Vy          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3682   Nguyen   Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3683   Nguyen   Thien       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3684   Nguyen   Nicholas    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3685   Nguyen   Pranee      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3686   Nguyen   Kenny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3687   Nguyen   Gioi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3688   Nguyen   Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3689   Nguyen   Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3690   Nguyen   Hieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3691   Nguyen   Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3692   Nguyen   Lyna        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3693   Nguyen   Louis       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3694   Nguyen   Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3695   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3696   Nguyen   Kiet        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3697   Nguyen   Luu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3698   Nguyen   John        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3699   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3700   Nguyen   Lyhau       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3701   Nguyen   Eric        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3702   Nguyen   Ha          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3703   Nguyen   Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3704   Nguyen   Josh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3705   Nguyen   Lang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3706   Nguyen   Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3707   Nguyen   Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3708   Nguyen   Nam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3709   Nguyen   Michael     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3710   Nguyen   Vien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3711   Nguyen   Manh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3712   Nguyen   Vick        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 63 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 65 of 247

 3713   Nguyen   Tho         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3714   Nguyen   Lien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3715   Nguyen   Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3716   Nguyen   Hoi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3717   Nguyen   Nhi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3718   Nguyen   Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3719   Nguyen   Thomas      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3720   Nguyen   Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3721   Nguyen   Chi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3722   Nguyen   Thu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3723   Nguyen   Thi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3724   Nguyen   Thu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3725   Nguyen   Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3726   Nguyen   Duong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3727   Nguyen   Jenny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3728   Nguyen   Huy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3729   Nguyen   Em          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3730   Nguyen   Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3731   Nguyen   Kiet        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3732   Nguyen   Kiet        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3733   Nguyen   Joshua      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3734   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3735   Nguyen   Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3736   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3737   Nguyen   Truc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3738   Nguyen   Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3739   Nguyen   Tina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3740   Nguyen   Tien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3741   Nguyen   Thy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3742   Nguyen   Thuyet      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3743   Nguyen   Thuyet      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3744   Nguyen   Thuan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3745   Nguyen   Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3746   Nguyen   Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3747   Nguyen   Chan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3748   Nguyen   Nhanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3749   Nguyen   Kevin       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3750   Nguyen   Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3751   Nguyen   Jenny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3752   Nguyen   Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3753   Nguyen   Dean        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3754   Nguyen   Hanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3755   Nguyen   Huong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3756   Nguyen   Huong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3757   Nguyen   Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3758   Nguyen   Kimmy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3759   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3760   Nguyen   Sau         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3761   Nguyen   Quach       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3762   Nguyen   Trung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3763   Nguyen   Truc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3764   Nguyen   Quynh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3765   Nguyen   Quyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3766   Nguyen   Ngoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3767   Nguyen   My          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3768   Nguyen   Melani      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3769   Nguyen   Long        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3770   Nguyen   Vui         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3771   Nguyen   Long        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 64 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 66 of 247

 3772   Nguyen   Long        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3773   Nguyen   Ngoan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3774   Nguyen   Niem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3775   Nguyen   Niem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3776   Nguyen   Nip         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3777   Nguyen   Nit         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3778   Nguyen   Patrick     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3779   Nguyen   Phat        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3780   Nguyen   Lathuy      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3781   Nguyen   Phuoc       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3782   Nguyen   Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3783   Nguyen   Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3784   Nguyen   Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3785   Nguyen   Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3786   Nguyen   Tina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3787   Nguyen   Chanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3788   Nguyen   Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3789   Nguyen   Khung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3790   Nguyen   Chuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3791   Nguyen   Coung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3792   Nguyen   Crystal     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3793   Nguyen   Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3794   Nguyen   Diep        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3795   Nguyen   Dong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3796   Nguyen   Hieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3797   Nguyen   Hieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3798   Nguyen   Tung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3799   Nguyen   Tina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3800   Nguyen   Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3801   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3802   Nguyen   Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3803   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3804   Nguyen   Tin         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3805   Nguyen   Devon       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3806   Nguyen   Trung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3807   Nguyen   Khanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3808   Nguyen   Khanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3809   Nguyen   Jim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3810   Nguyen   Andy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3811   Nguyen   Bach        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3812   Nguyen   Hiep        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3813   Nguyen   Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3814   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3815   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3816   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3817   Nguyen   Kimthoa     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3818   Nguyen   Lien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3819   Nguyen   Ly          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3820   Nguyen   Minhtam     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3821   Nguyen   Ngoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3822   Nguyen   Thi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3823   Nguyen   Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3824   Nguyen   Bill        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3825   Nguyen   Charles     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3826   Nguyen   Cong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3827   Nguyen   Bryan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3828   Nguyen   John        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3829   Nguyen   Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3830   Nguyen   Cuong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 65 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 67 of 247

 3831   Nguyen   Dan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3832   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3833   Nguyen   Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3834   Nguyen   Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3835   Nguyen   Thuyet      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3836   Nguyen   Tien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3837   Nguyen   Trenton     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3838   Nguyen   Trenton     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3839   Nguyen   Truong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3840   Nguyen   Hao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3841   Nguyen   Cam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3842   Nguyen   Cung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3843   Nguyen   Daniel      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3844   Nguyen   Canh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3845   Nguyen   Louis       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3846   Nguyen   Ken         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3847   Nguyen   Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3848   Nguyen   Daniel      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3849   Nguyen   Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3850   Nguyen   Winn        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3851   Nguyen   Bach        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3852   Nguyen   Lau         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3853   Nguyen   Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3854   Nguyen   Duong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3855   Nguyen   Dai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3856   Nguyen   Andy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3857   Nguyen   Ba          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3858   Nguyen   Huy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3859   Nguyen   Lamvien     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3860   Nguyen   Selina      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3861   Nguyen   Thomas      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3862   Nguyen   Thu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3863   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3864   Nguyen   Hal         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3865   Nguyen   Viet        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3866   Nguyen   Luc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3867   Nguyen   Mai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3868   Nguyen   Dat         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3869   Nguyen   Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3870   Nguyen   Trinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3871   Nguyen   Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3872   Nguyen   Le          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3873   Nguyen   Hau         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3874   Nguyen   Diem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3875   Nguyen   Christy     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3876   Nguyen   Thinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3877   Nguyen   Mai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3878   Nguyen   Dao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3879   Nguyen   Tan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3880   Nguyen   Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3881   Nguyen   Liem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3882   Nguyen   Yang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3883   Nguyen   Kinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3884   Nguyen   Bruce       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3885   Nguyen   Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3886   Nguyen   Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3887   Nguyen   Kich        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3888   Nguyen   Lisa        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3889   Nguyen   Jenny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 66 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 68 of 247

 3890   Nguyen   My          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3891   Nguyen   Rosemary    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3892   Nguyen   Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3893   Nguyen   Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3894   Nguyen   Khoi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3895   Nguyen   Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3896   Nguyen   Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3897   Nguyen   Hue         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3898   Nguyen   Jim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3899   Nguyen   Truc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3900   Nguyen   Truc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3901   Nguyen   Trinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3902   Nguyen   Nghia       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3903   Nguyen   Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3904   Nguyen   Det         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3905   Nguyen   Hue         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3906   Nguyen   Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3907   Nguyen   Leanne      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3908   Nguyen   Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3909   Nguyen   Chu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3910   Nguyen   Nhan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3911   Nguyen   Ngoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3912   Nguyen   Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3913   Nguyen   Nga         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3914   Nguyen   Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3915   Nguyen   Tuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3916   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3917   Nguyen   Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3918   Nguyen   Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3919   Nguyen   Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3920   Nguyen   Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3921   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3922   Nguyen   Luan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3923   Nguyen   Nick        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3924   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3925   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3926   Nguyen   Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3927   Nguyen   Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3928   Nguyen   Nhieu       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3929   Nguyen   Bich        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3930   Nguyen   Emile       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3931   Nguyen   Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3932   Nguyen   Vivian      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3933   Nguyen   Ryan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3934   Nguyen   Vu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3935   Nguyen   Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3936   Nguyen   Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3937   Nguyen   Ha          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3938   Nguyen   Ha          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3939   Nguyen   Giang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3940   Nguyen   Ethan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3941   Nguyen   Thi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3942   Nguyen   Ngan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3943   Nguyen   Tina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3944   Nguyen   Peter       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3945   Nguyen   Khanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3946   Nguyen   Khanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3947   Nguyen   Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3948   Nguyen   Tina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 67 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 69 of 247

 3949   Nguyen   Ti          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3950   Nguyen   Nghi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3951   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3952   Nguyen   Trinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3953   Nguyen   Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3954   Nguyen   Buu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3955   Nguyen   Von         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3956   Nguyen   Hiep        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3957   Nguyen   Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3958   Nguyen   Vincent     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3959   Nguyen   Uyen        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3960   Nguyen   Thu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3961   Nguyen   Johnny      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3962   Nguyen   Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3963   Nguyen   Jennie      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3964   Nguyen   Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3965   Nguyen   Tho         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3966   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3967   Nguyen   Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3968   Nguyen   Nhan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3969   Nguyen   Khuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3970   Nguyen   Huy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3971   Nguyen   Tho         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3972   Nguyen   Xuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3973   Nguyen   Xuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3974   Nguyen   Charlie     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3975   Nguyen   Brandon     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3976   Nguyen   Bich        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3977   Nguyen   Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3978   Nguyen   Henry       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3979   Nguyen   Nhan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3980   Nguyen   Tuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3981   Nguyen   Carol       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3982   Nguyen   Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3983   Nguyen   Meo         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3984   Nguyen   Ngoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3985   Nguyen   Tina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3986   Nguyen   Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3987   Nguyen   Bruce       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3988   Nguyen   Anne        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3989   Nguyen   Henry       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3990   Nguyen   Andy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3991   Nguyen   Christy     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3992   Nguyen   Neal        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3993   Nguyen   Han         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3994   Nguyen   Nick        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3995   Nguyen   Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3996   Nguyen   Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3997   Nguyen   Thao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3998   Nguyen   Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 3999   Nguyen   Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4000   Nguyen   Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4001   Nguyen   Trung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4002   Nguyen   Quynh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4003   Nguyen   Hoai        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4004   Nguyen   Hang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4005   Nguyen   Hieu        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4006   Nguyen   Dat         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4007   Nguyen   Angie       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 68 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 70 of 247

 4008   Nguyen    Don        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4009   Nguyen    Louis      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4010   Nguyen    Hoa        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4011   Nguyen    Dang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4012   Nguyen    Khai       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4013   Nguyen    Dung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4014   Nguyen    Vinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4015   Nguyen    Hang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4016   Nguyen    Teo        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4017   Nguyen    Nahn       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4018   Nguyen    Nga        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4019   Nguyen    Myhanh     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4020   Nguyen    Khanh      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4021   Nguyen    Huong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4022   Nguyen    Thich      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4023   Nguyen    Linda      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4024   Nguyen    Katie      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4025   Nguyen    Viet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4026   Nguyen    Victoria   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4027   Nguyen    Ngan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4028   Nguyen    Victoria   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4029   Nguyen    Ngoc       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4030   Nguyen    Peter      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4031   Nguyen    Tai        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4032   Nguyen    Nga        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4033   Nguyen    Huong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4034   Nguyen    Don        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4035   Nguyen    Huyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4036   Nguyen    Nga        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4037   Nguyen    Thanh      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4038   Nguyen    Kien       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4039   Nguyen    Oanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4040   Nguyenm   Thuy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4041   Nguyet    My         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4042   Nho       Phat       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4043   Pam       Kris       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4044   Pham      Thanh      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4045   Pham      An         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4046   Pham      Binh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4047   Pham      Vu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4048   Pham      Yvonne     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4049   Pham      Huyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4050   Pham      Ly         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4051   Pham      Phat       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4052   Pham      Hoi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4053   Pham      Kei        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4054   Pham      Thuy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4055   Pham      Toan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4056   Pham      Tin        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4057   Pham      Tin        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4058   Pham      Peter      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4059   Pham      Phuoc      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4060   Pham      Vy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4061   Pham      Vy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4062   Pham      Thai       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4063   Pham      Thai       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4064   Pham      Anna       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4065   Pham      Tramanh    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4066   Pham      Pierrre    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 69 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 71 of 247

 4067   Pham     Vu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4068   Pham     Vu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4069   Pham     Tuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4070   Pham     Derek       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4071   Pham     Danny       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4072   Pham     Dave        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4073   Pham     Phi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4074   Pham     Loan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4075   Pham     Huyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4076   Pham     Lynn        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4077   Pham     Ngan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4078   Pham     Gia         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4079   Pham     My          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4080   Pham     Si          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4081   Pham     Darlena     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4082   Pham     Hoan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4083   Pham     Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4084   Pham     Huong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4085   Pham     Lieng       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4086   Pham     Huong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4087   Pham     Linda       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4088   Pham     Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4089   Pham     Tin         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4090   Pham     Huyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4091   Pham     Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4092   Pham     Huyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4093   Pham     Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4094   Pham     Michael     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4095   Pham     Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4096   Pham     Darrick     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4097   Pham     Khien       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4098   Pham     Kien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4099   Pham     Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4100   Pham     Tat         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4101   Pham     Nga         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4102   Pham     Ly          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4103   Pham     Huyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4104   Pham     Dau         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4105   Pham     Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4106   Pham     Hinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4107   Pham     Nam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4108   Pham     Thay        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4109   Pham     Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4110   Pham     Chp         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4111   Pham     Duyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4112   Pham     Truyen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4113   Pham     Be          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4114   Pham     Chris       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4115   Pham     Hoi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4116   Pham     Quoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4117   Pham     Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4118   Pham     Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4119   Pham     Mi          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4120   Pham     Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4121   Pham     Hang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4122   Pham     Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4123   Pham     Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4124   Pham     Tuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4125   Pham     Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 70 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 72 of 247

 4126   Pham     Nghia       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4127   Pham     Tu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4128   Pham     Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4129   Pham     Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4130   Pham     Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4131   Pham     Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4132   Pham     Huyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4133   Pham     Ian         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4134   Pham     Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4135   Pham     Trahn       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4136   Pham     Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4137   Pham     Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4138   Pham     Bao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4139   Pham     Hang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4140   Pham     Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4141   Pham     Thang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4142   Pham     Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4143   Pham     Thang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4144   Pham     Bao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4145   Pham     Nghia       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4146   Pham     Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4147   Pham     Thong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4148   Pham     Nghia       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4149   Pham     Nancy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4150   Pham     Phi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4151   Pham     Ai          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4152   Pham     Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4153   Pham     Quoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4154   Pham     Quoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4155   Pham     Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4156   Pham     Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4157   Pham     Tu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4158   Pham     Thang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4159   Pham     Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4160   Pham     Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4161   Pham     Thomas      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4162   Pham     Cuc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4163   Pham     Hoa         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4164   Pham     Nghia       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4165   Pham     Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4166   Pham     Mai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4167   Pham     Suong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4168   Pham     Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4169   Pham     Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4170   Pham     Cuc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4171   Pham     Tam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4172   Pham     Connie      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4173   Pham     Thuy        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4174   Pham     Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4175   Phan     Tony        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4176   Phan     Kevin       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4177   Phan     Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4178   Phan     Bup         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4179   Phan     Thy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4180   Phan     Quyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4181   Phan     Micheal     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4182   Phan     Uan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4183   Phan     Tien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4184   Phan     Kenry       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 71 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 73 of 247

 4185   Phan     Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4186   Phan     Anh         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4187   Phan     Sau         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4188   Phan     Caroline    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4189   Phan     Julie       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4190   Phan     Nien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4191   Phan     Tony        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4192   Phan     Tien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4193   Phan     Trung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4194   Phan     Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4195   Phan     Cu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4196   Phan     Cu          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4197   Phan     Vien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4198   Phan     Tony        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4199   Phan     Annie       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4200   Phan     Ai          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4201   Phan     Hien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4202   Phan     Cuu         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4203   Phan     Ngoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4204   Pho      David       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4205   Pho      David       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4206   Phung    Reyanh      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4207   Phung    Reyanh      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4208   Phung    Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4209   Phung    Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4210   Phung    Diem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4211   Phung    Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4212   Phung    Qua         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4213   Phung    Vinh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4214   Phung    Diem        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4215   Phung    Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4216   Phung    Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4217   Ping     Shan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4218   Quach    Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4219   Quach    Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4220   Quach    Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4221   Quach    Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4222   Quach    Dao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4223   Quach    Ky          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4224   Quach    Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4225   Ta       Hoanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4226   Ta       Sam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4227   Ta       Vo          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4228   Ta       Trung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4229   Ta       Danh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4230   Ta       Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4231   Tahi     Hoang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4232   Tai      Van         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4233   Tai      Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4234   Tan      Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4235   Tang     Lan         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4236   Tang     Cindy       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4237   Tang     Yen         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4238   Tang     Alan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4239   Tang     Manh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4240   Tang     Wayne       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4241   Tang     Ai          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4242   Thach    Vui         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4243   Thach    Liah        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 72 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 74 of 247

 4244   Thach      Sarah      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4245   Thach      Hung       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4246   Thai       Thanh      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4247   Thai       Bryan      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4248   Thai       Quan       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4249   Thai       Thanh      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4250   Thai       Basil      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4251   Thai       Thu        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4252   Thai       Hoang      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4253   Thai       Giang      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4254   Thai       Hoang      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4255   Thang      Pham       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4256   Thanh      Ho         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4257   Thanh      Lam        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4258   Thompson   Tuyen      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4259   Thuy       Anna       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4260   Ton        Richard    Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4261   Ton        Ritchard   Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4262   Ton        Chan       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4263   Ton        Mary       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4264   Ton        Lien       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4265   Ton        Liem       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4266   Ton        Lam        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4267   Ton        Katelyn    Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4268   Ton        Kevin      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4269   Ton        Hoang      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4270   Tram       Lee        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4271   Tran       Viet       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4272   Tran       Ashley     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4273   Tran       Jenny      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4274   Tran       Linda      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4275   Tran       Hang       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4276   Tran       Hoa        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4277   Tran       Hiep       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4278   Tran       Ngoc       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4279   Tran       Anh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4280   Tran       Anh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4281   Tran       Tony       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4282   Tran       Anh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4283   Tran       Hai        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4284   Tran       Hong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4285   Tran       Khoi       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4286   Tran       Mai        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4287   Tran       Van        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4288   Tran       Tam        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4289   Tran       By         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4290   Tran       My         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4291   Tran       Hoang      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4292   Tran       Nhung      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4293   Tran       Dung       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4294   Tran       Lee        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4295   Tran       Kieu       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4296   Tran       Jason      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4297   Tran       Tim        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4298   Tran       Micheal    Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4299   Tran       Kiley      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4300   Tran       Cu         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4301   Tran       Manh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4302   Tran       Le         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No

Tab E                                                                                                   Page 73 of 246
               Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 75 of 247

 4303   Tran         Lan         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4304   Tran         Bich        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4305   Tran         Van         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4306   Tran         Phan        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4307   Tran         John        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4308   Tran         John        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4309   Tran         Huy         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4310   Tran         Uc          Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4311   Tran         Ty          Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4312   Tran         Khoa        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4313   Tran         Matt        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4314   Tran         Giao        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4315   Tran         Sy          Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4316   Tran         Tan         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4317   Tran         Luon        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4318   Tran         Vil         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4319   Tran         Sara        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4320   Tran         Tuoi        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4321   Tran         Thanh       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4322   Tran         My          Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4323   Tran         Thien       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4324   Tran         Thuc        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4325   Tran         Thuy        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4326   Tran         Thuy        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4327   Tran         Tommy       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4328   Tran         Tony        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4329   Tran         Hien        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4330   Tran         Linh        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4331   Tran         Jason       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4332   Tran         Nguyen      Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4333   Tran         Christine   Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4334   Tran         Christine   Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4335   Tran         Debora      Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4336   Tran         Mark        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4337   Tran         Christine   Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4338   Tran         Duc         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4339   Tran         Canh        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4340   Tran         Kim         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4341   Tran         Kieu        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4342   Tran         Tam         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4343   Tran         Tam         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4344   Tran         Hoa         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4345   Tran         Bien        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4346   Tran         Cam         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4347   Tran         Hoa         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4348   Tran         Tuyet       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4349   Tran         Cuc         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4350   Tran         Hoau        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4351   Tran         Lan         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4352   Tran         Phong       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4353   Tran         Ida         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4354   Tran         Kesha       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4355   Tran         Luoma       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4356   Tran         Cuong       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4357   Tran         Marta       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4358   Tran         Son         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4359   Tran         Viet        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4360   Tran         Canh        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4361   Tran         Cindy       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No

Tab E                                                                                                      Page 74 of 246
               Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 76 of 247

 4362   Tran         Khanh       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4363   Tran         Linh        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4364   Tran         Lam         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4365   Tran         Connie      Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4366   Tran         Du          Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4367   Tran         Trinity     Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4368   Tran         Tuan        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4369   Tran         Tuan        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4370   Tran         Tuan        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4371   Tran         Vincent     Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4372   Tran         Vy          Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4373   Tran         Duc         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4374   Tran         Duc         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4375   Tran         Minh        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4376   Tran         Thu         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4377   Tran         Hang        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4378   Tran         Hang        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4379   Tran         Tae         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4380   Tran         Thaison     Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4381   Tran         Thaison     Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4382   Tran         Wan         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4383   Tran         Thuy        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4384   Tran         Xuan        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4385   Tran         Tu          Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4386   Tran         Dao         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4387   Tran         Timmy       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4388   Tran         Quan        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4389   Tran         Ngan        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4390   Tran         Michael     Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4391   Tran         Khao        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4392   Tran         Hong        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4393   Tran         Ben         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4394   Tran         Dao         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4395   Tran         Duong       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4396   Tran         Mai         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4397   Tran         Minh        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4398   Tran         Mai         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4399   Tran         Van         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4400   Tran         Ida         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4401   Tran         Song        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4402   Tran         Buv         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4403   Tran         Duc         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4404   Tran         Kat         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4405   Tran         Suot        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4406   Tran         Boi         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4407   Tran         Tri         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4408   Tran         Ci          Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4409   Tran         Phuong      Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4410   Tran         Devon       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4411   Tran         Tuyet       Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4412   Tran         Dung        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4413   Tran         Dung        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4414   Tran         Nam         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4415   Tran         Inguyen     Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4416   Tran         Nam         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4417   Tran         Thoi        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4418   Tran         Uyen        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4419   Tran         Sony        Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No
 4420   Tran         Son         Ngo, et al v. BP Exploration
                                                   USDC Southern
                                                              and Production,
                                                                    District of Inc
                                                                                Texas
                                                                                    et al   10-4233   No     No

Tab E                                                                                                      Page 75 of 246
               Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 77 of 247

 4421   Tran         Quan         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4422   Tran         Tom          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4423   Tran         Priscilla    Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4424   Tran         Huy          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4425   Tran         Bich         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4426   Tran         Carolyn      Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4427   Tran         Thu          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4428   Tran         Thong        Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4429   Tran         Vin          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4430   Tran         Thanh        Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4431   Tran         Thang        Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4432   Tran         Lelang       Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4433   Tran         Lien         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4434   Tran         Linh         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4435   Tran         Hung         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4436   Tran         Hung         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4437   Tran         Ivy          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4438   Tran         Janice       Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4439   Tran         Julie        Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4440   Tran         Susan        Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4441   Tran         Ky           Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4442   Tran         Lien         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4443   Tran         Thu          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4444   Tran         Ly           Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4445   Tran         Nghia        Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4446   Tran         Savy         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4447   Tran         Ha           Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4448   Tran         Tam          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4449   Tran         Thoi         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4450   Tran         Son          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4451   Tran         Quan         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4452   Tran         Kim          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4453   Tran         My           Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4454   Tran         Thong        Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4455   Tran         Phillip      Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4456   Tran         Chi          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4457   Tran         Nguyet       Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4458   Tran         Thuy         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4459   Tran         An           Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4460   Tran         Carolyn      Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4461   Tran         Bich         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4462   Tran         Son          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4463   Tran         Duc          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4464   Tran         Thai         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4465   Tran         Catherine    Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4466   Tran         Ly           Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4467   Tran         Nghia        Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4468   Tran         Thuy         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4469   Tran         Paul         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4470   Tran         Dung         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4471   Tran         Thong        Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4472   Tran         Hai          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4473   Tran         Tom          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4474   Tran         Tom          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4475   Tran         batchtuyet   Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4476   Tran         Ty           Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4477   Tran         Luan         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4478   Tran         Thi          Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No
 4479   Tran         Viet         Ngo, et al v. BP Exploration
                                                    USDC Southern
                                                               and Production,
                                                                     District of Inc
                                                                                 Texas
                                                                                     et al   10-4233   No     No

Tab E                                                                                                       Page 76 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 78 of 247

 4480   Tran      Chu         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4481   Tran      John        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4482   Tran      Cuong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4483   Tran      Minh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4484   Tran      Nghiep      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4485   Tran      Linh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4486   Tran      Thos        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4487   Tran      Tom         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4488   Tran      Ut          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4489   Tran      Duong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4490   Tran      Jennifer    Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4491   Tran      Huy         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4492   Tran      Ty          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4493   Tran      Ut          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4494   Tran      Uyen        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4495   Tran      Huy         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4496   Tran      Priscilla   Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4497   Tran      Phillip     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4498   Tran      Nghia       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4499   Tran      Jr          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4500   Tran      Jonathan    Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4501   Trang     Kevin       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4502   Trang     Thanh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4503   Trang     Thao        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4504   Trang     Bao         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4505   Trang     Bao         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4506   Trieu     Kyle        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4507   Trieu     Ky          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4508   Trinh     Khanh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4509   Trinh     Tranh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4510   Trinh     Sarah       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4511   Trinh     Hanh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4512   Trinh     Khanh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4513   Trinh     Tom         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4514   Trinh     Phillip     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4515   Trinh     Thach       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4516   Trinh     Lyna        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4517   Trinh     Ngoc        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4518   Trinh     Hoa         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4519   Trinh     Hong        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4520   Trinh     Lyna        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4521   Trinh     Phillip     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4522   Trinh     Thach       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4523   Trinh     Tom         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4524   Trung     Van         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4525   Trung     An          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4526   Truong    Tam         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4527   Truong    Thanh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4528   Truong    Susan       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4529   Truong    Susan       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4530   Truong    Son         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4531   Truong    Hien        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4532   Truong    An          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4533   Truong    Thanh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4534   Truong    Thanh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4535   Truong    Ty          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4536   Truong    Ut          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4537   Truong    Lien        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4538   Truong    Lien        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No

Tab E                                                                                                   Page 77 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 79 of 247

 4539   Truong    Lit         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4540   Truong    Mai         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4541   Truong    Trinh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4542   Truong    Hanh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4543   Truong    Melissa     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4544   Truong    Viet        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4545   Truong    Kj          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4546   Truong    Andy        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4547   Truong    Michael     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4548   Truong    Phuong      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4549   Truong    Phuong      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4550   Truong    Rhuong      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4551   Truong    Trang       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4552   Truong    Vuong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4553   Truong    Linh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4554   Truong    Tuat        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4555   Truong    Anh         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4556   Truong    Van         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4557   Truong    Anh         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4558   Truong    Duong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4559   Truong    Bac         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4560   Truong    Dao         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4561   Truong    Long        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4562   Truong    Thong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4563   Truong    Ha          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4564   Truong    Tam         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4565   Truong    Thongt      Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4566   Truong    Trang       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4567   Truong    Thong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4568   Truong    Vick        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4569   Truong    Phuc        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4570   Truong    Hong        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4571   Truong    Linh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4572   Truong    Linh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4573   Truong    Bac         Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4574   Truong    Hang        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4575   Truong    Brandon     Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4576   Truong    Phoc        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4577   Truong    Linh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4578   Truong    Phuc        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4579   Truong    Linh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4580   Truong    Phong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4581   Truong    Thanh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4582   Truong    Thuy        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4583   Truong    Binh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4584   Truong    Erick       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4585   Truong    Jennifer    Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4586   Truong    Hanh        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4587   Truong    Victoria    Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4588   Truong    Vien        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4589   Truong    Thanh       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4590   Truong    Phong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4591   Truong    Phong       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4592   Tu        Dung        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4593   Tu        Viet        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4594   Tu        Dang        Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4595   Va        Tu          Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4596   Van       Humir       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No
 4597   Van       Mario       Ngo, et al v. BP Exploration
                                                USDC Southern
                                                           and Production,
                                                                 District of Inc
                                                                             Texas
                                                                                 et al   10-4233   No     No

Tab E                                                                                                   Page 78 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 80 of 247

 4598   Van      Deilen      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4599   Van      Hook        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4600   Van      Hise        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4601   Van      Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4602   Van      Chau        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4603   Van      Bien        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4604   Van      Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4605   Van      We          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4606   Van      Sice        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4607   Van      Thuan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4608   Van      Holt        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4609   Van      Thuan       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4610   Van      Cang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4611   Van      Mark        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4612   Van      Phung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4613   Van      Tran        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4614   Van      Ron         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4615   Van      Phan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4616   Van      Thomas      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4617   Van      Hoi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4618   Van      Peter       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4619   Vang     Cam         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4620   Vang     Bila        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4621   Vang     Diep        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4622   Vang     Bao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4623   Vinh     Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4624   Vo       Hao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4625   Vo       Deanna      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4626   Vo       Phong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4627   Vo       Thong       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4628   Vo       Duyen       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4629   Vo       Phuong      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4630   Vo       Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4631   Vo       Loan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4632   Vo       Nga         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4633   Vo       T           Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4634   Vo       Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4635   Vo       Deanne      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4636   Vo       Nga         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4637   Vo       Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4638   Vo       Gigi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4639   Vo       Binh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4640   Vo       Gigi        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4641   Vo       Nga         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4642   Vo       Ngan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4643   Vo       Uyen        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4644   Vo       Tuan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4645   Vo       Tina        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4646   Vo       Tai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4647   Vo       Chung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4648   Vo       John        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4649   Vo       Kert        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4650   Vo       Nhan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4651   Vo       Nhan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4652   Vo       Trinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4653   Vo       Austin      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4654   Vo       Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4655   Vo       Toan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4656   Vo       Linh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 79 of 246
             Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 81 of 247

 4657   Vo         Vinh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4658   Vo         Vu          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4659   Vo         Thanh       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4660   Vo         Sam         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4661   Vo         Trinh       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4662   Vo         Thanh       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4663   Vo         Uyen        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4664   Vo         Nhan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4665   Vo         John        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4666   Vo         Keit        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4667   Vo         Felicia     Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4668   Vo         Thuy        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4669   Vo         Hung        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4670   Vo         Suong       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4671   Vo         Uyen        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4672   Vo         Dong        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4673   Vo         Anh         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4674   Vo         Cong        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4675   Vo         Dong        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4676   Vo         Tuan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4677   Vo         Anh         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4678   Vo         Nga         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4679   Vo         Victor      Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4680   Vo         Vinh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4681   Vo         Nguyet      Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4682   Vo         Hanh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4683   Vo         Toan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4684   Vo         Tuy         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4685   Vo         Xuan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4686   Vo         Vu          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4687   Vo         Thanh       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4688   Vo         Minh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4689   Vo         Minh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4690   Vo         Toan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4691   Vo         Tien        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4692   Vo         Nhan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4693   Vo         Binh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4694   Vo         Vina        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4695   Vo         Thuy        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4696   Vo         Annie       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4697   Vo         Hong        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4698   Vo         Tien        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4699   Vo         Tien        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4700   Vo         Chien       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4701   Vo         Chai        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4702   Vo         Toan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4703   Vo         Yoshi       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4704   Vo         Peter       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4705   Vo         Helen       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4706   Vo         Quoc        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4707   Vo         An          Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4708   Vo         Kim         Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4709   Vo         Loan        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4710   Vo         Jimmy       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4711   Vo         Thanh       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4712   Vo         Binh        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4713   Vo         Wanda       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4714   Vo         Chai        Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No
 4715   Vo         Helen       Ngo, et al v. BP Exploration
                                                 USDC Southern
                                                            and Production,
                                                                  District of Inc
                                                                              Texas
                                                                                  et al   10-4233   No     No

Tab E                                                                                                    Page 80 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 82 of 247

 4716   Vo       Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4717   Voi      Tho         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4718   Voi      Hung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4719   Voi      Hong        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4720   Voi      Loc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4721   Vu       Victor      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4722   Vu       Tuyet       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4723   Vu       Son         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4724   Vu       Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4725   Vu       Quan        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4726   Vu       Oanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4727   Vu       Oai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4728   Vu       Nickolai    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4729   Vu       Nhung       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4730   Vu       Nguyet      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4731   Vu       Maxime      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4732   Vu       Lucile      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4733   Vu       Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4734   Vu       Kim         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4735   Vu       Hanh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4736   Vu       Dung        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4737   Vu       Do          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4738   Vu       Chi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4739   Vu       Laurent     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4740   Vu       Ho          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4741   Vu       Ho          Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4742   Vu       Manh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4743   Vu       Trinh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4744   Vu       Thom        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4745   Vu       Vhi         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4746   Vu       Kha         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4747   Vu       Hang        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4748   Vu       Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4749   Vu       Tsao        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4750   Vu       Thy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4751   Vu       Trang       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4752   Vu       Jennifer    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4753   Vu       Yolanda     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4754   Vu       Sarah       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4755   Vu       Connie      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4756   Vu       Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4757   Vu       Kevin       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4758   Vu       Hai         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4759   Vu       Samantha    Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4760   Vu       Victor      Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4761   Vu       Christine   Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4762   Vu       Yolanda     Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4763   Vu       Sarah       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4764   Vu       Ngoc        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4765   Vuong    Duc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4766   Vuong    Manh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4767   Vuong    Duc         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4768   Vuong    Hao         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4769   Vuong    Huy         Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4770   Vuong    John        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4771   Vuong    Danh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4772   Vuong    Minh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4773   Vuong    Hugh        Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No
 4774   Vuong    Thanh       Ngo, et al v. BP Exploration
                                               USDC Southern
                                                          and Production,
                                                                District of Inc
                                                                            Texas
                                                                                et al   10-4233   No     No

Tab E                                                                                                  Page 81 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 83 of 247

 4775   Vuong         Roland      Ngo, et al v. BP Exploration
                                                    USDC Southernand Production,
                                                                        District of Inc
                                                                                    Texas
                                                                                        et al     10-4233    No     No
 4776   Vuong         Hoa         Ngo, et al v. BP Exploration
                                                    USDC Southernand Production,
                                                                        District of Inc
                                                                                    Texas
                                                                                        et al     10-4233    No     No
 4777   Vuong         Ly          Ngo, et al v. BP Exploration
                                                    USDC Southernand Production,
                                                                        District of Inc
                                                                                    Texas
                                                                                        et al     10-4233    No     No
 4778   Vuong         Son         Ngo, et al v. BP Exploration
                                                    USDC Southernand Production,
                                                                        District of Inc
                                                                                    Texas
                                                                                        et al     10-4233    No     No
 4779   Vuong         Jenny       Ngo, et al v. BP Exploration
                                                    USDC Southernand Production,
                                                                        District of Inc
                                                                                    Texas
                                                                                        et al     10-4233    No     No
 4780   Vuong         Hony        Ngo, et al v. BP Exploration
                                                    USDC Southernand Production,
                                                                        District of Inc
                                                                                    Texas
                                                                                        et al     10-4233    No     No
 4781   Vy            Vovi        Ngo, et al v. BP Exploration
                                                    USDC Southernand Production,
                                                                        District of Inc
                                                                                    Texas
                                                                                        et al     10-4233    No     No
 4782   Do            Son         Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4783   Kranh         Maryann     Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4784   Krank         Saroeoun    Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4785   Le            Cuong       Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4786   Le            Pham        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4787   Le            Hang        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4788   Nguyen        My          Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4789   Nguyen        Phuong      Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4790   Nguyen        Dung        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4791   Nguyen        Dong        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4792   Nguyen        Cau         Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4793   Nguyen        Phuong      Nguyen, et al v. BP
                                                    USDC
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                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4794   Nguyen        Phuong      Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4795   Nguyen        Thomas      Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4796   Nguyen        Tony        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4797   Nguyen        Em          Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4798   Nguyen        Xuan        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4799   Pham          Tan         Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4800   Son           Nguyen      Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4801   Thai          Lim         Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4802   Thai          Thanh       Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4803   Thanh         Phan        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4804   Tran          Robert      Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4805   Tran          Giup        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4806   Tran          Hong        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4807   Tran          Oanh        Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4808   Tran          Thile       Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4809   Yann          Sarom       Nguyen, et al v. BP
                                                    USDC
                                                      Exploration
                                                             SouthernandDistrict
                                                                         Production,
                                                                                 of Texas
                                                                                        Inc et al 10-4234    No     No
 4810   Alderete      Frankie     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4811   Anderson      William     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4812   Andrade       Fernando    Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4813   Arispe        Benny       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4814   Barcot        Joseph      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4815   Barrios       Julio       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4816   Bravo         Carlos      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4817   Buchanan      Brian       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4818   Cardenas      Angel       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4819   Carrillo      Marco       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4820   Carrillo      Francisco   Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4821   Celis         Jose        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4822   Cervantes     Hipolito    Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4823   Cevantes      Juan        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4824   Chable        Luis        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4825   Chable        Armando     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4826   Chong         Jeff        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4827   Cook          Verlin      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4828   Correa        Luis        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4829   Correa        Luis        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4830   Covarrubias   Rudy        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4831   Cuellar       Seferino    Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4832   Cuong         Hoang       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No
 4833   Delarosa      Ray         Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                    County Inc.,  10-4235
                                                                                                     et al   No     No

Tab E                                                                                                             Page 82 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 84 of 247

 4834   Dominguez     Marcos        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4835   Estrada       Jose          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4836   Estrada       Armando       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4837   Estudillo     Francisco     Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4838   Featherston   Richard       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4839   Fernandez     Paul          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4840   Fernandez     Jorge         Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4841   Fierros       Miguel        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4842   Gallardo      Jose          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4843   Garcia        Carlos        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4844   Garcia        Eduardo       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4845   Garcia        Lucio         Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4846   Garcia        Ubaldo        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4847   Garcia        Rafael        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4848   Garcia        Jose          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4849   Garcia        Ramon         Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4850   Garcia        Salvador      Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4851   Garza         Matthew       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4852   Gonzales      David         Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4853   Gonzalez      Ricardo       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4854   Guajardo      Encarnacion   Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4855   Guerra        Federico      Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4856   Gutierrez     Jose          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4857   Ha-Tran       Te            Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4858   Henriguez     Hector        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4859   Hernandez     Jose          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4860   Hernandez     Pedro         Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4861   Huff          Samuel        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4862   Hurtado       Veronica      Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4863   Hurtado       Guadalupe     Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4864   Hurtado       Alfonso       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4865   Jimenez       Luis          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4866   Jimenez       Lorenzo       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4867   Juarez        German        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4868   Juarez        German        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4869   Kien          Dao           Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4870   Lee           Kenneth       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4871   Lozano        Avila         Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4872   Luu           Duc           Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4873   Maldonado     Mateo         Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4874   Mancera       Ismael        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4875   Mancera       Jesus         Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4876   Marquez       Alejandro     Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4877   Martinez      Benigno       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4878   Martinez      Joaquin       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4879   Mendoza       German        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4880   Minh          Dui           Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4881   Montero       Sylvia        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4882   Morales       Jose          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4883   Morales       Jose          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4884   Muniz         Juan          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4885   Naranjo       Oscar         Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4886   Naranjo       Justin        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4887   Nguyen        Hy            Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4888   Nguyen        Le            Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4889   Nguyen        Johnny        Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4890   Ochoa         Gerardo       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4891   Orozco        Refugio       Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No
 4892   Ortiz         Jose          Benny Arispe, et alTX
                                                        vs.- District
                                                             BP Exploration
                                                                      Court - Harris
                                                                              and Production,
                                                                                     County Inc.,
                                                                                              10-4235
                                                                                                  et al   No     No

Tab E                                                                                                          Page 83 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 85 of 247

 4893   Ovalle        Alfredo     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4894   Paniagua      Jose        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4895   Pham          Suy         Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4896   Pham          My          Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4897   Pham          Theit       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4898   Phu           Dao         Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4899   Pimienta      William     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4900   Pimienta      Damian      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4901   Pimienta      Alfonso     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4902   Portilla      Ascencion   Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4903   Ramos         Jose        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4904   Rayo          Luis        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4905   Resendiz      Celso       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4906   Rios          Jorge       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4907   Rios          Jesus       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4908   Rocha         Alfred      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4909   Rodriguez     Rafael      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4910   Roy           Lowell      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4911   Samayoa       Danubio     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4912   Sanchez       Ernesto     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4913   Sanchez       Roger       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4914   SchuenemannRichard        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4915   Segura        Victor      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4916   Spence        Kenneth     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4917   Stringo       James       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4918   Tapia         Jose        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4919   Teal          Allen       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4920   Torres        Thomas      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4921   Torres-Olguin Saul        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4922   Trahan        Clayton     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4923   Tran          Hung        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4924   Tran          Thanh       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4925   Tran          Linda       Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4926   Valdez        Flavio      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4927   Vazquez       Felipe      Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4928   Vu            John        Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4929   Williams      Gregory     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4930   Wilson        Oswaldo     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4931   Wittnbert     Timothy     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4932   Woodruff      Michael     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4933   Zamora        Alfredo     Benny Arispe, et alTX
                                                      vs.- District
                                                           BP Exploration
                                                                    Court - Harris
                                                                            and Production,
                                                                                   County Inc.,
                                                                                             10-4235
                                                                                                 et al    No     No
 4934   Bich          Le          Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4935   Bui           Phuoc       Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4936   Bui           Niwi        Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4937   Cathy         Le          Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4938   Chau          Tran        Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4939   Cindy         Le          Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4940   Cindy         Vo          Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4941   Damme         Thai        Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4942   Dan           Duyen       Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4943   Dang          Dung        Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4944   Dang          Joe         Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4945   Diep          Tran        Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4946   Dieu          Vien        Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4947   Dinh          Yen         Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4948   Doan          Ngoc        Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4949   Duong         Tam         Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4950   Duy           Mai         Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No
 4951   Hai           Nguyen      Doan V. Pham, et TXal vs.
                                                         - District
                                                            BP Exploration
                                                                    Court - Harris
                                                                             and Production,
                                                                                   County    Inc.
                                                                                             10-4238
                                                                                                  et al   No     No

Tab E                                                                                                          Page 84 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 86 of 247

 4952   Hien     Nguyen      Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4953   Hoan     Chau        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4954   Hoang    Kham        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4955   Hoang    Maria       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4956   Hoang    Khoa        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4957   Hung     Cao         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4958   Huynh    Thai        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4959   Khao     Qui         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4960   Lam      Than        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4961   Le       Xuan        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4962   Le       My          Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4963   Le       Binh        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4964   Le       Hien        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4965   Liem     Nguyen      Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4966   Lloye    Marcus      Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4967   Lu       Gzoerez     Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4968   Lu       Ching       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4969   Luyen    Vien        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4970   Mi       Thai        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4971   Muoi     Sam         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4972   Ngo      Binh        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4973   Ngo      Tuyet       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4974   Nguyen   Thang       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4975   Nguyen   Nguyet      Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4976   Nguyen   Anthony     Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4977   Nguyen   Anthony     Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4978   Nguyen   Liem        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4979   Nguyen   John        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4980   Nguyen   John        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4981   Nguyen   Chau        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4982   Nguyen   Diep        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4983   Nguyen   Lam         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4984   Nguyen   Al          Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4985   Nguyen   Andrew      Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4986   Nguyen   Cecil       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4987   Nguyen   Julie       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4988   Nguyen   Julie       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4989   Nguyen   Chan        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4990   Nguyen   Chau        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4991   Nguyen   Cuong       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4992   Nguyen   Son         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4993   Nguyen   Dung        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4994   Nguyen   Ngoc        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4995   Nguyen   Julei       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4996   Nguyen   Phuong      Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4997   Nguyen   Minh        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4998   Nguyen   Vincent     Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 4999   Nguyen   Van         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5000   Nguyen   Dung        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5001   Nguyen   Dat         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5002   Nguyen   Khanh       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5003   Nguyen   Duy         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5004   Nguyen   Danny       Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5005   Nguyen   Hoa         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5006   Nguyen   An          Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5007   Nguyen   Hue         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5008   Pham     Mai         Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5009   Pham     Tung        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No
 5010   Pham     Long        Doan V. Pham, et TX
                                              al vs.
                                                  - District
                                                     BP Exploration
                                                             Court - Harris
                                                                      and Production,
                                                                            County    Inc.
                                                                                      10-4238
                                                                                           et al   No     No

Tab E                                                                                                   Page 85 of 246
             Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 87 of 247

 5011   Pham       Linh        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5012   Pham       Thai        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5013   Pham       Kaori       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5014   Pham       Dung        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5015   Pham       Vincent     Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5016   Phan       Quyen       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5017   Phan       Tammy       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5018   Phat       Lam         Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5019   Quyen      Lyen        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5020   Son        Nguyen      Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5021   Stanfid    Dony        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5022   To         Hue         Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5023   To         Tran        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5024   Toan       Hoang       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5025   Tram       Tommy       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5026   Tran       Johnson     Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5027   Tran       A           Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5028   Trinh      Alex        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5029   Tu         Huynh       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5030   Tu         Vo          Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5031   Tuyet      Nguyen      Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5032   Van        Le          Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5033   Van        Le          Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5034   Vo         Trung       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5035   Vo         Khanh       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5036   Vu         Thuy        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5037   Vu         Sandy       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5038   Vu         Quyen       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5039   Vu         Linh        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5040   Vuong      Trang       Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5041   Yvon       Tram        Doan V. Pham, et TX
                                                al vs.
                                                    - District
                                                       BP Exploration
                                                               Court - Harris
                                                                         and Production,
                                                                              County     Inc.
                                                                                         10-4238
                                                                                              et al   No     No
 5042   Banh       Mi          Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5043   Banh       Connie      Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5044   Banh       Laura       Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5045   Banh       Lam         Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5046   Ben        Bui         Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5047   Bui        Cam         Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5048   Bui        Tai         Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5049   Bui        Dung        Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5050   Bui        Nhan        Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5051   Bui        Dang        Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5052   Bui        Minh        Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5053   Bui        Huong       Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5054   Bui        Dawn        Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5055   Bui        Cuong       Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5056   Bui        Cuong       Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5057   Bui        Lap         Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5058   Bui        Nuoi        Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5059   Bui        Thuy        Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5060   Bui        M           Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5061   Bui        Dao         Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5062   Bui        Trong       Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5063   Cao        Chau        Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5064   Cao        Duy         Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5065   Cao        Theressa    Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5066   Cao        Huy         Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5067   Cao        Hung        Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5068   Cao        Le          Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No
 5069   Cao        Nam         Xuan V. Nguyen, et
                                                USDC
                                                  al v. BP,
                                                        Southern
                                                             P.L.C.District
                                                                    et al of Texas       10-3170      No     No

Tab E                                                                                                      Page 86 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 88 of 247

 5070   Cao      Nghia         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5071   Cao      Phan          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5072   Cao      Hein          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5073   Cao      Dung          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5074   Cao      Danh          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5075   Cao      Tien          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5076   Cao      Son           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5077   Cao      Bao           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5078   Cao      Tim           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5079   Cao      Vincent       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5080   Cao      Bao           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5081   Cao      Nhiman        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5082   Cao      Billy         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5083   Cao      Hung          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5084   Cao      Khang         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5085   Cao      Khang         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5086   Cao      Francis       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5087   Cao      Emily         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5088   Cao      Phuong        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5089   Cao      Christopher   Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5090   Cao      Tam           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5091   Cao      Francis       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5092   Cao      Tuan          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5093   Chau     Frankie       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5094   Chau     Tuyen         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5095   Chau     Karetha       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5096   Chau     D             Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5097   Chau     Man           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5098   Chau     Theodore      Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5099   Chau     Jr            Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5100   Chau     Kim           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5101   Chau     Khoa          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5102   Chau     Minh          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5103   Chau     Danielle      Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5104   Che      Belle         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5105   Chou     Linda         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5106   Chu      K             Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5107   Chu      Harold        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5108   Chu      Eve           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5109   Cu       Tung          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5110   Dan      Hiep          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5111   Dang     Jimmy         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5112   Dang     Andy          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5113   Dang     Lewis         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5114   Dang     Chien         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5115   Dang     Dao           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5116   Dang     Harrison      Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5117   Dang     Fnih          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5118   Dang     Que           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5119   Dang     Duy           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5120   Dang     Binh          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5121   Dang     Anh           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5122   Dang     Hien          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5123   Dang     Andy          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5124   Dang     Chien         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5125   Dang     Andy          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5126   Dang     Dao           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5127   Dang     Cay           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5128   Dang     Nghi          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No

Tab E                                                                                              Page 87 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 89 of 247

 5129   Dang     Nhat        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5130   Dang     Duc         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5131   Dang     Cong        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5132   Dang     Liem        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5133   Dang     Hoang       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5134   Dang     Hoang       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5135   Dang     Cheiu       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5136   Dang     Mong        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5137   Dang     Hiep        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5138   Dang     H           Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5139   Dang     Dur         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5140   Dang     Huong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5141   Dang     Hoan        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5142   Dang     Dennic      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5143   Dang     Ngoc        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5144   Dang     Duyen       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5145   Dang     Daniel      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5146   Dang     David       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5147   Dang     Nhung       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5148   Dang     Phuc        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5149   Dang     Davis       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5150   Dang     Kathy       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5151   Dang     Kieu        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5152   Dang     Anh         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5153   Dang     Phu         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5154   Dang     Dennis      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5155   Dang     Ly          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5156   Dang     Lieu        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5157   Dang     Dung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5158   Dang     Hoang       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5159   Dang     Van         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5160   Dang     Mo          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5161   Dang     Hoang       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5162   Dang     Howell      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5163   Dang     Chuyen      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5164   Dang     Chuyen      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5165   Dang     Dickerson   Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5166   Dang     Huong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5167   Dang     Henry       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5168   Dang     Dung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5169   Dang     Dannis      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5170   Dang     Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5171   Dao      Huy         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5172   Dao      Xuong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5173   Dao      Thi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5174   Dao      James       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5175   Dao      Amanda      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5176   Dao      Xuong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5177   Dao      Le          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5178   Dao      Chuan       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5179   Dao      Bay         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5180   Dao      Trinity     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5181   Dao      Kristie     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5182   Dao      Kristie     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5183   Dau      Led         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5184   Diem     Tran        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5185   Dinh     Victor      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5186   Dinh     Quang       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5187   Dinh     Thuan       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No

Tab E                                                                                            Page 88 of 246
               Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 90 of 247

 5188   Dinh         Phiem       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5189   Dinh         Loc         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5190   Dinh         Chon        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5191   Dinh         Dat         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5192   Dinh         Huu         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5193   Dinh         Kham        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5194   Dinh         Cuong       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5195   Dinh         Duc         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5196   Dinh         Trang       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5197   Dinh         Vi          Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5198   Dinh         Duan        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5199   Dinh         Thah        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5200   Dinh         Lien        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5201   Do           Tho         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5202   Do           Dan         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5203   Do           Hung        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5204   Do           Chung       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5205   Do           Hung        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5206   Do           Thu         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5207   Do           Le          Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5208   Do           Hung        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5209   Do           Tuan        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5210   Do           Bao         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5211   Do           Hiep        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5212   Do           Phu         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5213   Do           Bai         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5214   Do           Van         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5215   Do           Hoa         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5216   Do           Wales       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5217   Do           Khai        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5218   Do           Lam         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5219   Do           Ai          Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5220   Do           Danh        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5221   Do           Tony        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5222   Do           Tran        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5223   Do           Kiem        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5224   Do           Tham        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5225   Do           Thuc        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5226   Do           Truong      Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5227   Do           Hung        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5228   Do           Thim        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5229   Do           Nghia       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5230   Do           Nhan        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5231   Do           N           Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5232   Do           Tauy        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5233   Do           Henry       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5234   Do           Tinh        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5235   Do           Joy         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5236   Do           Henry       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5237   Do           Yen         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5238   Do           Tim         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5239   Do           Quang       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5240   Do           Phuc        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5241   Do           Treil       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5242   Do           Kien        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5243   Do           Linda       Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5244   Do           Theo        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5245   Do           Thuy        Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No
 5246   Do           Son         Xuan V. Nguyen, et
                                                 USDC
                                                    al v. BP,
                                                          Southern
                                                              P.L.C.District
                                                                     et al of Texas   10-3170   No     No

Tab E                                                                                                Page 89 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 91 of 247

 5247   Do       Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5248   Do       Vu          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5249   Do       Truc        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5250   Do       Van         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5251   Do       Thu         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5252   Do       De          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5253   Doan     Kenny       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5254   Doan     Phuong      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5255   Doan     Tam         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5256   Doan     Trinh       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5257   Doan     Trung       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5258   Doan     Dan         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5259   Doan     Tung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5260   Doan     Kevin       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5261   Doan     David       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5262   Doan     Kevin       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5263   Doan     Tung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5264   Doan     Phoung      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5265   Doan     Kim         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5266   Doan     Vickie      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5267   Doan     Luong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5268   Doan     Mai         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5269   Doan     Phuoc       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5270   Doan     Phuong      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5271   Doan     Sau         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5272   Doan     Phuong      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5273   Doan     Tho         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5274   Doan     Tonya       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5275   Doan     Tonya       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5276   Doan     Anna        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5277   Doan     Anna        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5278   Dong     Kim         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5279   Du       Tu          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5280   Du       Tieliu      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5281   Du       Jaiayou     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5282   Du       Kimberly    Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5283   Dung     Tran        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5284   Dung     Lan         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5285   Duong    Rothira     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5286   Duong    Huong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5287   Duong    Tam         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5288   Duong    Tuan        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5289   Duong    Nan         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5290   Duong    Ap          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5291   Duong    Chameren    Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5292   Duong    Thi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5293   Duong    Kong        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5294   Duong    Binh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5295   Duong    Roger       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5296   Ha       Truc        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5297   Ha       Van         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5298   Ha       Ba          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5299   Ha       Hai         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5300   Han      Joseph      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5301   Han      Jin         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5302   Hang     Phuong      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5303   Hang     Mai         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5304   Hang     Steve       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5305   Hang     Uyen        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No

Tab E                                                                                            Page 90 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 92 of 247

 5306   Ho       Christopher   Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5307   Ho       Ty            Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5308   Ho       Brian         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5309   Ho       Christopher   Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5310   Ho       Trang         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5311   Ho       Yu            Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5312   Ho       Thanh         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5313   Ho       I             Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5314   Ho       Hubert        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5315   Ho       Khanh         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5316   Ho       D             Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5317   Ho       Mary          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5318   Ho       K             Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5319   Ho       Mary          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5320   Ho       Long          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5321   Ho       Charrier      Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5322   Ho       Lung          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5323   Ho       Dhim          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5324   Ho       Dho           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5325   Ho       Mai           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5326   Ho       Du            Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5327   Ho       Du            Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5328   Ho       Victory       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5329   Ho       Victory       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5330   Ho       Tien          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5331   Ho       Phuoc         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5332   Ho       Thanh         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5333   Ho       Joni          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5334   Ho       Phillip       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5335   Ho       Mai           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5336   Ho       O             Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5337   Ho       Quoc          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5338   Ho       Thim          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5339   Ho       Chi           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5340   Ho       Christine     Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5341   Ho       Cin           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5342   Ho       Linda         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5343   Ho       April         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5344   Ho       Thanh         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5345   Ho       Li            Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5346   Ho       Quyen         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5347   Ho       Ty            Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5348   Ho       Vat           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5349   Hoa      Viet          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5350   Hoa      Nhu           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5351   Hoang    Janine        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5352   Hoang    Luong         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5353   Hoang    Ngu           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5354   Hoang    Kiet          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5355   Hoang    Trung         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5356   Hoang    Duc           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5357   Hoang    Duyen         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5358   Hoang    Phi           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5359   Hoang    Phan          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5360   Hoang    Tri           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5361   Hoang    Tro           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5362   Hoang    Thinh         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5363   Hoang    Quan          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5364   Hoang    Phuong        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No

Tab E                                                                                              Page 91 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 93 of 247

 5365   Hoang    Ngoc        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5366   Hoang    Ngi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5367   Hoang    Nghiep      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5368   Hoang    Loc         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5369   Hoang    Bill        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5370   Hoang    Chi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5371   Hoang    Bill        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5372   Hoang    Thieu       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5373   Hoang    Thin        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5374   Hoang    Binh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5375   Hoang    Hang        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5376   Hoang    Nghia       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5377   Hoang    Anh         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5378   Hoang    Ky          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5379   Hoang    Yen         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5380   Hoang    Camtu       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5381   Hoang    Thao        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5382   Hoang    Bao         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5383   Hoang    Luong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5384   Hoang    Luc         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5385   Hoang    Vincent     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5386   Hoang    Chau        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5387   Hoang    Chau        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5388   Hoang    Chanh       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5389   Hoang    Phuoc       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5390   Hoang    Tam         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5391   Hoang    Luan        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5392   Hoang    Dominic     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5393   Hoang    Cuong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5394   Hoang    Binh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5395   Hoang    Binh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5396   Hoang    Daedinh     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5397   Hoang    Dinh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5398   Hoang    Thang       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5399   Hoang    Sac         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5400   Hoang    Quang       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5401   Hoang    Khuong      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5402   Hoang    Chau        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5403   Hoang    Ha          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5404   Hoang    Huyen       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5405   Hoang    Elizabeth   Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5406   Hoang    Son         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5407   Hoang    Thinh       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5408   Hoang    Ngan        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5409   Hoang    Hoan        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5410   Hoang    Janine      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5411   Hoang    Ba          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5412   Hoang    Lam         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5413   Hoang    Phillip     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5414   Hoang    Philip      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5415   Hoang    Henry       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5416   Hoang    Chinh       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5417   Hoang    Ky          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5418   Hoang    Tom         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5419   Hoang    Tao         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5420   Hoang    Clemmie     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5421   Hoang    Dominic     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5422   Hoang    Ngo         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5423   Hoang    Crystal     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No

Tab E                                                                                            Page 92 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 94 of 247

 5424   Hua      Xi          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5425   Hua      Na          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5426   Hua      Ky          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5427   Hua      Youxiu      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5428   Hua      Justin      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5429   Hung     Tho         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5430   Huong    Chi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5431   Huu      Ha          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5432   Huynh    Duc         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5433   Huynh    Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5434   Huynh    Dac         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5435   Huynh    Sam         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5436   Huynh    Mack        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5437   Huynh    Boa         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5438   Huynh    Lap         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5439   Huynh    No          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5440   Huynh    Dung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5441   Huynh    Phat        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5442   Huynh    Wendy       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5443   Huynh    M           Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5444   Huynh    Suma        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5445   Huynh    Long        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5446   Huynh    Tam         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5447   Huynh    Moi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5448   Huynh    Micheal     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5449   Huynh    Lanh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5450   Huynh    Ly          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5451   Huynh    Minh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5452   Huynh    Nghia       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5453   Huynh    Tam         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5454   Huynh    Chi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5455   Huynh    Dong        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5456   Huynh    Le          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5457   Huynh    Tim         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5458   Huynh    Si          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5459   Huynh    Tammy       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5460   Huynh    Minh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5461   Huynh    Hang        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5462   Huynh    Phuong      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5463   Huynh    Long        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5464   Huynh    Andrew      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5465   Huynh    Alan        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5466   Huynh    Bo          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5467   Huynh    Can         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5468   Huynh    Sanh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5469   Huynh    Thao        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5470   Huynh    Peter       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5471   Huynh    Sam         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5472   Huynh    Sonny       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5473   Huynh    Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5474   Huynh    Hai         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5475   Huynh    Chi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5476   Huynh    Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5477   Huynh    Mai         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5478   Huynh    Hanh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5479   Huynh    Hienha      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5480   Huynh    Be          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5481   Huynh    Danna       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5482   Huynh    Hanh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No

Tab E                                                                                            Page 93 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 95 of 247

 5483   Huynh    Linh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5484   Huynh    Phong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5485   Huynh    Thien       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5486   Huynh    Tim         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5487   Huynh    Van         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5488   Huynh    Vien        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5489   Huynh    Viet        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5490   Huynh    Viet        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5491   Huynh    Em          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5492   Huynh    Helen       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5493   Huynh    Son         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5494   Kho      Wing        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5495   La       Thang       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5496   La       P           Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5497   Lai      Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5498   Lai      Danny       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5499   Lai      Thai        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5500   Lai      Shih        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5501   Lai      Hoand       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5502   Lai      Danny       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5503   Lam      Loi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5504   Lam      David       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5505   Lam      Duane       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5506   Lam      Dong        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5507   Lam      Tinh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5508   Lam      Lan         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5509   Lam      Thi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5510   Lam      Tai         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5511   Lam      Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5512   Lam      Chi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5513   Lam      Tai         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5514   Lan      C           Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5515   Lan      Rayn        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5516   Lan      Darrell     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5517   Lan      Liz         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5518   Lan      J           Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5519   Lan      July        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5520   Lao      Cindy       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5521   Le       Ri          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5522   Le       Thi         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5523   Le       Nguyet      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5524   Le       Khanh       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5525   Le       Sao         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5526   Le       Phin        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5527   Le       Quynh       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5528   Le       Scott       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5529   Le       Suzanne     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5530   Le       Johnathan   Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5531   Le       Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5532   Le       Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5533   Le       Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5534   Le       Hung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5535   Le       Ninh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5536   Le       Guong       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5537   Le       Thuong      Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5538   Le       Tho         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5539   Le       Thien       Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5540   Le       Tam         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No
 5541   Le       Quoc        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No     No

Tab E                                                                                            Page 94 of 246
             Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 96 of 247

 5542   Le         Phuoc       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5543   Le         Phuoc       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5544   Le         Phi         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5545   Le         Nhi         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5546   Le         Nhi         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5547   Le         Nha         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5548   Le         Nhan        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5549   Le         Hien        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5550   Le         Tan         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5551   Le         Tan         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5552   Le         Dung        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5553   Le         Buu         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5554   Le         Cuong       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5555   Le         Kevin       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5556   Le         Sang        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5557   Le         Ho          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5558   Le         Thu         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5559   Le         Hien        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5560   Le         Sai         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5561   Le         Thanh       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5562   Le         Huong       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5563   Le         Nhi         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5564   Le         Huong       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5565   Le         Jacquline   Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5566   Le         Ky          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5567   Le         Loi         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5568   Le         Phuc        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5569   Le         Phuoc       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5570   Le         Phuong      Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5571   Le         Qui         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5572   Le         Qui         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5573   Le         Kim         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5574   Le         Khiem       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5575   Le         Kiet        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5576   Le         Kiet        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5577   Le         Jill        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5578   Le         Jill        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5579   Le         Thong       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5580   Le         Thu         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5581   Le         Thu         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5582   Le         Nam         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5583   Le         Nhan        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5584   Le         Anh         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5585   Le         Anh         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5586   Le         Dung        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5587   Le         Dinh        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5588   Le         Duc         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5589   Le         Doan        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5590   Le         Khanh       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5591   Le         Khanh       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5592   Le         Duoc        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5593   Le         Trung       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5594   Le         Ho          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5595   Le         Ngoc        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5596   Le         Debra       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5597   Le         Thuan       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5598   Le         Ho          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5599   Le         Elizabeth   Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5600   Le         An          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No

Tab E                                                                                              Page 95 of 246
             Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 97 of 247

 5601   Le         Duc         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5602   Le         Hoa         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5603   Le         Nuoi        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5604   Le         Be          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5605   Le         Thieu       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5606   Le         Thanh       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5607   Le         Sao         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5608   Le         Phin        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5609   Le         Nguyet      Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5610   Le         Hon         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5611   Le         Hien        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5612   Le         Thu         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5613   Le         Nhuan       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5614   Le         Sang        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5615   Le         Suan        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5616   Le         Phi         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5617   Le         Andrew      Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5618   Le         Thi         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5619   Le         Thao        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5620   Le         Thanh       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5621   Le         Anhdao      Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5622   Le         Anna        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5623   Le         Thanh       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5624   Le         Chieu       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5625   Le         Crystal     Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5626   Le         Chan        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5627   Le         D           Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5628   Le         Dao         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5629   Le         Hien        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5630   Le         Linda       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5631   Le         Hai         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5632   Le         Huan        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5633   Le         Huan        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5634   Le         Tai         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5635   Le         Nhat        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5636   Le         Hon         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5637   Le         Son         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5638   Le         Luom        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5639   Le         Ha          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5640   Le         Tien        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5641   Le         Thuy        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5642   Le         Hien        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5643   Le         Anh         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5644   Le         Khoa        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5645   Le         Jordan      Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5646   Le         Thu         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5647   Le         Thieu       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5648   Le         Vo          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5649   Le         Van         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5650   Le         Tong        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5651   Le         Hieu        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5652   Le         Tam         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5653   Le         Jr          Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5654   Le         Sau         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5655   Le         Hong        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5656   Le         Thang       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5657   Le         Chuan       Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5658   Le         Canh        Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No
 5659   Le         Anh         Xuan V. Nguyen, et
                                               USDC
                                                  al v. BP,
                                                        Southern
                                                            P.L.C.District
                                                                   et al of Texas   10-3170   No     No

Tab E                                                                                              Page 96 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 98 of 247

 5660   Le        Ngoc        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5661   Le        Mary        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5662   Le        Amanda      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5663   Le        Hoang       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5664   Le        Tommy       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5665   Le        Huong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5666   Le        Ho          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5667   Le        Cuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5668   Le        Binh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5669   Le        Trong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5670   Le        Minh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5671   Le        Long        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5672   Le        Linh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5673   Le        Luc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5674   Le        Lang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5675   Le        Van         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5676   Le        Zude        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5677   Le        Dung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5678   Le        Tuan        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5679   Le        Camhuong    Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5680   Le        Tam         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5681   Le        Huan        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5682   Le        Quang       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5683   Le        Billie      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5684   Le        Jimmy       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5685   Lee       Blanc       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5686   Leiu      Tam         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5687   Lieu      Sophia      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5688   Lieu      Sophia      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5689   Lieu      Sopha       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5690   Linh      Mai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5691   Lua       My          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5692   Luc       Gwendolyn   Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5693   Luc       Arleen      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5694   Luc       Gwendalyn   Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5695   luc       Donald      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5696   Luc       Don         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5697   Luc       Don         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5698   Luc       Anna        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5699   Luc       Kerry       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5700   Luong     Co          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5701   Luong     Hien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5702   Luong     Hoa         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5703   Luu       Quoc        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5704   Luu       Au          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5705   Luu       Thuy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5706   Luu       Tuynh       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5707   Luu       Suphenh     Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5708   Ly        Hien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5709   Ly        Jr          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5710   Ly        Tammy       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5711   Ly        Thai        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5712   Ly        Cuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5713   Ly        Hung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5714   Ly        Thieu       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5715   Ly        Danny       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5716   Ly        Nag         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5717   Ly        Dee         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5718   Ly        Anthony     Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No

Tab E                                                                                             Page 97 of 246
              Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 99 of 247

 5719   Ly          Thieu       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5720   Ly          Lien        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5721   Ly          Ven         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5722   Mai         Liem        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5723   Mai         Reed        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5724   Mai         Lam         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5725   Mai         Thanh       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5726   Mai         Son         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5727   Mai         Ky          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5728   Mai         Thang       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5729   Mai         Dung        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5730   Mai         Phuong      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5731   Ngo         Tam         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5732   Ngo         Hung        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5733   Ngo         Khoi        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5734   Ngo         Khiet       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5735   Ngo         Huynh       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5736   Ngo         Kho         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5737   Ngo         Thao        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5738   Ngo         Kevin       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5739   Ngo         Dung        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5740   Ngo         Hung        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5741   Ngo         David       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5742   Ngo         Chi         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5743   Ngo         Hai         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5744   Ngo         Bang        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5745   Ngo         Thao        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5746   Ngo         Hien        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5747   Ngo         Vinh        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5748   Ngo         Cam         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5749   Ngo         Hoat        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5750   Ngo         Dung        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5751   Ngo         Kevin       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5752   Ngo         Bang        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5753   Ngo         Bach        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5754   Ngo         Anthony     Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5755   Ngo         Duc         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5756   Ngo         Hoang       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5757   Ngo         Khiem       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5758   Ngo         Tiffany     Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5759   Ngo         Tam         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5760   Ngo         Thanh       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5761   Ngo         Linh        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5762   Ngo         Hung        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5763   Ngo         Lien        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5764   Ngo         Hai         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5765   Ngo         Lien        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5766   Ngo         Thi         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5767   Ngo         Hung        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5768   Ngo         Bau         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5769   Ngo         Trieu       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5770   Ngo         Truc        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5771   Ngo         Tuyen       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5772   Ngo         Thi         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5773   Ngo         Truc        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5774   Ngo         Hinh        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5775   Ngo         Minh        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5776   Ngo         Mythanh     Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No
 5777   Ngo         Lam         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No     No

Tab E                                                                                               Page 98 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 100 of 247

 5778   Ngo       Henry       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5779   Ngo       Thanh       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5780   Ngo       Tai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5781   Ngo       Hop         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5782   Ngo       Thang       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5783   Ngo       Kha         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5784   Ngo       Kiet        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5785   Ngo       Hoi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5786   Ngo       Minh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5787   Ngo       Hinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5788   Ngo       Be          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5789   Ngo       Bau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5790   Ngo       Tsong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5791   Ngo       Thi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5792   Ngo       Duc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5793   Ngo       Lien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5794   Ngo       Mai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5795   Ngo       Son         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5796   Ngo       Trieu       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5797   Ngo       Phan        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5798   Ngo       Khoi        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5799   Ngo       Kevin       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5800   Ngo       Antnee      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5801   Ngo       Phi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5802   Ngo       Hung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5803   Ngo       Jr          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5804   Ngo       Huy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5805   Ngo       Billy       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5806   Ngo       Duy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5807   Ngo       Chi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5808   Ngo       Hai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5809   Ngo       Thong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5810   Ngo       Thao        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5811   Ngo       Duc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5812   Ngo       David       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5813   Ngo       Chi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5814   Ngo       Bach        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5815   Ngo       Anthony     Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5816   Ngo       Duy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5817   Ngueyn    Minh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5818   Nguuyen   Hue         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5819   Nguy      My          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5820   Nguy      Li          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5821   Nguy      Li          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5822   Nguyehn   Nga         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5823   Nguyen    Sherry      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5824   Nguyen    Sau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5825   Nguyen    Ket         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5826   Nguyen    Khang       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5827   Nguyen    Khiem       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5828   Nguyen    Ledung      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5829   Nguyen    Bay         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5830   Nguyen    Michelle    Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5831   Nguyen    Myhanh      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5832   Nguyen    Nghe        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5833   Nguyen    Nhut        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5834   Nguyen    Phan        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5835   Nguyen    Chau        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No
 5836   Nguyen    Dung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No     No

Tab E                                                                                             Page 99 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 101 of 247

 5837   Nguyen   Cuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5838   Nguyen   Tri          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5839   Nguyen   Trich        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5840   Nguyen   Tam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5841   Nguyen   Lai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5842   Nguyen   Lai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5843   Nguyen   Lang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5844   Nguyen   Tuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5845   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5846   Nguyen   Loan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5847   Nguyen   Mao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5848   Nguyen   Karen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5849   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5850   Nguyen   May          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5851   Nguyen   Luan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5852   Nguyen   Mai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5853   Nguyen   Mau          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5854   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5855   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5856   Nguyen   Mini         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5857   Nguyen   Maily        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5858   Nguyen   Joanna       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5859   Nguyen   Chau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5860   Nguyen   Phuoc        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5861   Nguyen   Vincent      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5862   Nguyen   Phuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5863   Nguyen   Steven       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5864   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5865   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5866   Nguyen   Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5867   Nguyen   Lien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5868   Nguyen   Stephanie    Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5869   Nguyen   Ba           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5870   Nguyen   Be           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5871   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5872   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5873   Nguyen   Cali         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5874   Nguyen   Vinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5875   Nguyen   Kevin        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5876   Nguyen   Thi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5877   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5878   Nguyen   Phuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5879   Nguyen   Linh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5880   Nguyen   Jennie       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5881   Nguyen   Jane         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5882   Nguyen   Sam          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5883   Nguyen   Thuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5884   Nguyen   Kevin        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5885   Nguyen   Maria        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5886   Nguyen   Khanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5887   Nguyen   Jorge        Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5888   Nguyen   Phong        Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5889   Nguyen   Thang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5890   Nguyen   Phu          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
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                                                                  et al of Texas   10-3170   No      No
 5891   Nguyen   Muu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5892   Nguyen   Tam          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5893   Nguyen   Thien        Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5894   Nguyen   Rosie        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5895   Nguyen   Margurite    Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 100 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 102 of 247

 5896   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5897   Nguyen   Giang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
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                                                                  et al of Texas   10-3170   No      No
 5898   Nguyen   Tam          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5899   Nguyen   Thuy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5900   Nguyen   Luyen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5901   Nguyen   Bung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5902   Nguyen   Hin          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5903   Nguyen   Thanh        Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5904   Nguyen   Dev          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5905   Nguyen   Dung         Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5906   Nguyen   Nien         Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5907   Nguyen   Nam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5908   Nguyen   Thi          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5909   Nguyen   Thoung       Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5910   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5911   Nguyen   Sam          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5912   Nguyen   Quang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5913   Nguyen   Phouc        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5914   Nguyen   Nu           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5915   Nguyen   Nam          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5916   Nguyen   Khimh        Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5917   Nguyen   Lan          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5918   Nguyen   Lam          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5919   Nguyen   Hau          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5920   Nguyen   Tam          Xuan V. Nguyen, et
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                                                 al v. BP,
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                                                                  et al of Texas   10-3170   No      No
 5921   Nguyen   Khiet        Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5922   Nguyen   Thuhang      Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5923   Nguyen   Linh         Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5924   Nguyen   Sam          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5925   Nguyen   Sam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5926   Nguyen   Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5927   Nguyen   Que          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5928   Nguyen   Tam          Xuan V. Nguyen, et
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                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5929   Nguyen   Tam          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5930   Nguyen   Hung         Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5931   Nguyen   Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5932   Nguyen   Van          Xuan V. Nguyen, et
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                                                 al v. BP,
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 5933   Nguyen   Mai          Xuan V. Nguyen, et
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                                                                  et al of Texas   10-3170   No      No
 5934   Nguyen   Thanh        Xuan V. Nguyen, et
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                                                                  et al of Texas   10-3170   No      No
 5935   Nguyen   Karin        Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5936   Nguyen   Dianna       Xuan V. Nguyen, et
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                                                 al v. BP,
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                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5937   Nguyen   Danny        Xuan V. Nguyen, et
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                                                                  et al of Texas   10-3170   No      No
 5938   Nguyen   Davis        Xuan V. Nguyen, et
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                                                 al v. BP,
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                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5939   Nguyen   Soi          Xuan V. Nguyen, et
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                                                                  et al of Texas   10-3170   No      No
 5940   Nguyen   Ran          Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
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                                                                  et al of Texas   10-3170   No      No
 5941   Nguyen   Benjamin     Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5942   Nguyen   Tinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5943   Nguyen   Toan         Xuan V. Nguyen, et
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                                                                  et al of Texas   10-3170   No      No
 5944   Nguyen   Toan         Xuan V. Nguyen, et
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                                                                  et al of Texas   10-3170   No      No
 5945   Nguyen   Tuyet        Xuan V. Nguyen, et
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                                                 al v. BP,
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                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5946   Nguyen   Tro          Xuan V. Nguyen, et
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                                                 al v. BP,
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                                                                  et al of Texas   10-3170   No      No
 5947   Nguyen   Xuan         Xuan V. Nguyen, et
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                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5948   Nguyen   Chinh        Xuan V. Nguyen, et
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                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5949   Nguyen   Diana        Xuan V. Nguyen, et
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                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5950   Nguyen   Thoa         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5951   Nguyen   Myha         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5952   Nguyen   Sen          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5953   Nguyen   Suel         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5954   Nguyen   Chuck        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 101 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 103 of 247

 5955   Nguyen   Heather      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5956   Nguyen   Lisa         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5957   Nguyen   Li           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5958   Nguyen   An           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5959   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5960   Nguyen   Mary         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5961   Nguyen   Melissa      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5962   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5963   Nguyen   Ba           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5964   Nguyen   Huy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5965   Nguyen   Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5966   Nguyen   Bon          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5967   Nguyen   Bon          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5968   Nguyen   Sao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5969   Nguyen   Quang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5970   Nguyen   Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5971   Nguyen   Duy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5972   Nguyen   Steven       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5973   Nguyen   Dai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5974   Nguyen   D            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5975   Nguyen   Vui          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5976   Nguyen   Trung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5977   Nguyen   Uyen         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5978   Nguyen   Van          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5979   Nguyen   Hue          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5980   Nguyen   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5981   Nguyen   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5982   Nguyen   Bay          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5983   Nguyen   Barry        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5984   Nguyen   Andrew       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5985   Nguyen   Thu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5986   Nguyen   Kiet         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5987   Nguyen   Hoang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5988   Nguyen   Muoi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5989   Nguyen   Knox         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5990   Nguyen   Chau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5991   Nguyen   Joseph       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5992   Nguyen   Joseph       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5993   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5994   Nguyen   Marie        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5995   Nguyen   Dennis       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5996   Nguyen   Quan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5997   Nguyen   Toan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5998   Nguyen   Tuyet        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 5999   Nguyen   Helen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6000   Nguyen   Nam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6001   Nguyen   Nam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6002   Nguyen   Thich        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6003   Nguyen   Phuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6004   Nguyen   Loan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6005   Nguyen   Chris        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6006   Nguyen   Phuoc        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6007   Nguyen   Sharon       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6008   Nguyen   Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6009   Nguyen   Phung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6010   Nguyen   Thach        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6011   Nguyen   Van          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6012   Nguyen   Tay          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6013   Nguyen   Teri         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 102 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 104 of 247

 6014   Nguyen   Thang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6015   Nguyen   Linh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6016   Nguyen   Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6017   Nguyen   Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6018   Nguyen   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6019   Nguyen   Chris        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6020   Nguyen   Marcia       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6021   Nguyen   Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6022   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6023   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6024   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6025   Nguyen   Tuanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6026   Nguyen   Vy           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6027   Nguyen   Huu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6028   Nguyen   Huu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6029   Nguyen   Lam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6030   Nguyen   Hue          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6031   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6032   Nguyen   Tan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6033   Nguyen   Da           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6034   Nguyen   Bass         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6035   Nguyen   Andy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6036   Nguyen   Tho          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6037   Nguyen   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6038   Nguyen   Dang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6039   Nguyen   Julie        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6040   Nguyen   Anthony      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6041   Nguyen   Anthony      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6042   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6043   Nguyen   Bach         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6044   Nguyen   Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6045   Nguyen   Lalan        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6046   Nguyen   Amy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6047   Nguyen   Nam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6048   Nguyen   Namdu        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6049   Nguyen   A            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6050   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6051   Nguyen   Bach         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6052   Nguyen   Bao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6053   Nguyen   Bo           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6054   Nguyen   Bac          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6055   Nguyen   Bao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6056   Nguyen   Bay          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6057   Nguyen   Quang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6058   Nguyen   F            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6059   Nguyen   Dat          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6060   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6061   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6062   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6063   Nguyen   Le           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6064   Nguyen   Jim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6065   Nguyen   Brenda       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6066   Nguyen   Ly           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6067   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6068   Nguyen   Khuyen       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6069   Nguyen   Chat         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6070   Nguyen   Chau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6071   Nguyen   Dan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6072   Nguyen   Danh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 103 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 105 of 247

 6073   Nguyen   E            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6074   Nguyen   Betty        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6075   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6076   Nguyen   Thuan        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6077   Nguyen   Chuck        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6078   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6079   Nguyen   Hal          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6080   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6081   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6082   Nguyen   Hong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6083   Nguyen   Thuyet       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6084   Nguyen   Mong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6085   Nguyen   Mong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6086   Nguyen   Phong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6087   Nguyen   Peter        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6088   Nguyen   Phuoc        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6089   Nguyen   Pamela       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6090   Nguyen   Pho          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6091   Nguyen   Phong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6092   Nguyen   Phong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6093   Nguyen   Han          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6094   Nguyen   Hien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6095   Nguyen   Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6096   Nguyen   Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6097   Nguyen   Viet         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6098   Nguyen   Voc          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6099   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6100   Nguyen   Trang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6101   Nguyen   Toi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6102   Nguyen   Loan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6103   Nguyen   Nhan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6104   Nguyen   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6105   Nguyen   Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6106   Nguyen   Quang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6107   Nguyen   Sam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6108   Nguyen   Steven       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6109   Nguyen   Thuy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6110   Nguyen   Long         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6111   Nguyen   Tuucem       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6112   Nguyen   Hao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6113   Nguyen   Lee          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6114   Nguyen   Kerry        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6115   Nguyen   Xieu         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6116   Nguyen   Xieu         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6117   Nguyen   Dang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6118   Nguyen   Xuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6119   Nguyen   Sang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6120   Nguyen   Amy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6121   Nguyen   Khanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6122   Nguyen   Steve        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6123   Nguyen   Doa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6124   Nguyen   Denny        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6125   Nguyen   David        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6126   Nguyen   Diep         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6127   Nguyen   Hoan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6128   Nguyen   Hoan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6129   Nguyen   Thang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6130   Nguyen   Kinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6131   Nguyen   Phuc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 104 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 106 of 247

 6132   Nguyen   Anthony      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6133   Nguyen   Sophia       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6134   Nguyen   Nhan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6135   Nguyen   Tam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6136   Nguyen   Chau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6137   Nguyen   Thao         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6138   Nguyen   Maria        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6139   Nguyen   Quy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6140   Nguyen   Thiet        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6141   Nguyen   Nguyet       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6142   Nguyen   Ngoc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6143   Nguyen   Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6144   Nguyen   Thinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6145   Nguyen   Kevin        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6146   Nguyen   Diana        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6147   Nguyen   Diem         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6148   Nguyen   Dang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6149   Nguyen   Phong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6150   Nguyen   Thinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6151   Nguyen   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6152   Nguyen   Hong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6153   Nguyen   Doan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6154   Nguyen   M            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6155   Nguyen   Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6156   Nguyen   Lily         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6157   Nguyen   Marne        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6158   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6159   Nguyen   Quc          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6160   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6161   Nguyen   Hat          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6162   Nguyen   Hang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6163   Nguyen   Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6164   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6165   Nguyen   Dennis       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6166   Nguyen   Tai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6167   Nguyen   Helen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6168   Nguyen   Quang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6169   Nguyen   Phat         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6170   Nguyen   Tang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6171   Nguyen   Lam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6172   Nguyen   Lam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6173   Nguyen   Chu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6174   Nguyen   Bang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6175   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6176   Nguyen   Mai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6177   Nguyen   Joanna       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6178   Nguyen   Tam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6179   Nguyen   Kiem         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6180   Nguyen   Katheria     Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6181   Nguyen   Mai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6182   Nguyen   Marguerite   Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6183   Nguyen   Peter        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6184   Nguyen   My           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6185   Nguyen   Thim         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6186   Nguyen   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6187   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6188   Nguyen   Tri          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6189   Nguyen   Xi           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6190   Nguyen   Winston      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 105 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 107 of 247

 6191   Nguyen   Ut           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6192   Nguyen   Chau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6193   Nguyen   Thien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6194   Nguyen   Thi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6195   Nguyen   Dang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6196   Nguyen   Quan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6197   Nguyen   Khoi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6198   Nguyen   Marcia       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6199   Nguyen   Chung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6200   Nguyen   Lam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6201   Nguyen   Lam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6202   Nguyen   An           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6203   Nguyen   Doan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6204   Nguyen   D            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6205   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6206   Nguyen   Canh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6207   Nguyen   An           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6208   Nguyen   Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6209   Nguyen   Hai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6210   Nguyen   Michelle     Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6211   Nguyen   Bao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6212   Nguyen   Truong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6213   Nguyen   Vincent      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6214   Nguyen   Vi           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6215   Nguyen   Trung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6216   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6217   Nguyen   Tuyen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6218   Nguyen   Lanny        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6219   Nguyen   Johnny       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6220   Nguyen   Johnny       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6221   Nguyen   Chau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6222   Nguyen   Su           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6223   Nguyen   Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6224   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6225   Nguyen   Quy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6226   Nguyen   Linh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6227   Nguyen   Tuyet        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6228   Nguyen   Muoi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6229   Nguyen   Kevin        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6230   Nguyen   Tam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6231   Nguyen   Thomas       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6232   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6233   Nguyen   Quan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6234   Nguyen   Thi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6235   Nguyen   Misa         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6236   Nguyen   Phuc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6237   Nguyen   Phung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6238   Nguyen   Phung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6239   Nguyen   Thieu        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6240   Nguyen   Thu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6241   Nguyen   Ryan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6242   Nguyen   Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6243   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6244   Nguyen   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6245   Nguyen   Henry        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6246   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6247   Nguyen   Que          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6248   Nguyen   Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6249   Nguyen   Mimi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 106 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 108 of 247

 6250   Nguyen   Luc          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6251   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6252   Nguyen   Hang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6253   Nguyen   Hat          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6254   Nguyen   Long         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6255   Nguyen   Phat         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6256   Nguyen   Loan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6257   Nguyen   Maria        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6258   Nguyen   Loan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6259   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6260   Nguyen   Luc          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6261   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6262   Nguyen   Phuoc        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6263   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6264   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6265   Nguyen   Tai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6266   Nguyen   Hue          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6267   Nguyen   Sang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6268   Nguyen   Bay          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6269   Nguyen   Helen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6270   Nguyen   Hoang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6271   Nguyen   Quyen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6272   Nguyen   Linda        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6273   Nguyen   Sam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6274   Nguyen   Thai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6275   Nguyen   Toan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6276   Nguyen   Trung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6277   Nguyen   Nhanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6278   Nguyen   Thoa         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6279   Nguyen   Me           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6280   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6281   Nguyen   Thuy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6282   Nguyen   Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6283   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6284   Nguyen   Truc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6285   Nguyen   Cong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6286   Nguyen   Angela       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6287   Nguyen   Benjamin     Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6288   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6289   Nguyen   Yen          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6290   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6291   Nguyen   Lam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6292   Nguyen   Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6293   Nguyen   Lynda        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6294   Nguyen   Joseph       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6295   Nguyen   Terri        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6296   Nguyen   Terri        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6297   Nguyen   Tung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6298   Nguyen   Alex         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6299   Nguyen   Larry        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6300   Nguyen   Long         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6301   Nguyen   Peter        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6302   Nguyen   Mien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6303   Nguyen   Nghiem       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6304   Nguyen   Hunz         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6305   Nguyen   Mai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6306   Nguyen   Tam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6307   Nguyen   Phat         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6308   Nguyen   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 107 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 109 of 247

 6309   Nguyen   Mai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6310   Nguyen   Thi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6311   Nguyen   Ra           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6312   Nguyen   Sang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6313   Nguyen   Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6314   Nguyen   John         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6315   Nguyen   Cong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6316   Nguyen   Linh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6317   Nguyen   Anthony      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6318   Nguyen   Cua          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6319   Nguyen   Adron        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6320   Nguyen   An           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6321   Nguyen   Candace      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6322   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6323   Nguyen   Mao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6324   Nguyen   Ngoc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6325   Nguyen   Khen         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6326   Nguyen   Khanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6327   Nguyen   Julie        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6328   Nguyen   Bac          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6329   Nguyen   Lam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6330   Nguyen   Andrew       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6331   Nguyen   Alexis       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6332   Nguyen   Amy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6333   Nguyen   Dan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6334   Nguyen   Toan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6335   Nguyen   Tan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6336   Nguyen   Cuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6337   Nguyen   Tue          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6338   Nguyen   Tuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6339   Nguyen   Nga          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6340   Nguyen   Nghi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6341   Nguyen   Nghi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6342   Nguyen   Nghiem       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6343   Nguyen   Khien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6344   Nguyen   Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6345   Nguyen   Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6346   Nguyen   Thuyet       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6347   Nguyen   Chau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6348   Nguyen   Elisabeth    Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6349   Nguyen   H            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6350   Nguyen   Heikeem      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6351   Nguyen   John         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6352   Nguyen   Derek        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6353   Nguyen   The          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6354   Nguyen   Thi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6355   Nguyen   Thien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6356   Nguyen   Sau          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6357   Nguyen   Mui          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6358   Nguyen   Victoria     Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6359   Nguyen   Mi           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6360   Nguyen   Tam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6361   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6362   Nguyen   Peter        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6363   Nguyen   Toan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6364   Nguyen   Hoai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6365   Nguyen   Thuan        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6366   Nguyen   Than         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6367   Nguyen   Thao         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 108 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 110 of 247

 6368   Nguyen   Thao         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6369   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6370   Nguyen   Tuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6371   Nguyen   Nhung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6372   Nguyen   Thien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6373   Nguyen   Uyen         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6374   Nguyen   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6375   Nguyen   Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6376   Nguyen   Si           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6377   Nguyen   Si           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6378   Nguyen   Vinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6379   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6380   Nguyen   Be           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6381   Nguyen   Nancy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6382   Nguyen   Ra           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6383   Nguyen   Ngoc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6384   Nguyen   Nhu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6385   Nguyen   Mai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6386   Nguyen   Ricky        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6387   Nguyen   Ngoc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6388   Nguyen   Lien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6389   Nguyen   La           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6390   Nguyen   Ti           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6391   Nguyen   Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6392   Nguyen   Mary         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6393   Nguyen   Huy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6394   Nguyen   Hoan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6395   Nguyen   Hue          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6396   Nguyen   Ut           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6397   Nguyen   Dam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6398   Nguyen   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6399   Nguyen   Kien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6400   Nguyen   Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6401   Nguyen   Chinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6402   Nguyen   Trinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6403   Nguyen   Tom          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6404   Nguyen   Nien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6405   Nguyen   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6406   Nguyen   Jimmy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6407   Nguyen   Ba           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6408   Nguyen   Innis        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6409   Nguywn   Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6410   Pham     My           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6411   Pham     Hy           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6412   Pham     Nhai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6413   Pham     Em           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6414   Pham     Van          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6415   Pham     Paul         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6416   Pham     Q            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6417   Pham     Vinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6418   Pham     Trung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6419   Pham     Robin        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6420   Pham     Tan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6421   Pham     Huy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6422   Pham     L            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6423   Pham     Biet         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6424   Pham     Chung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6425   Pham     Duong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6426   Pham     John         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 109 of 246
          Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 111 of 247

 6427   Pham    Julie        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6428   Pham    Lan          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6429   Pham    Son          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6430   Pham    Cuong        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6431   Pham    Tan          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6432   Pham    Tam          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6433   Pham    Dung         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6434   Pham    Duc          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6435   Pham    Chin         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6436   Pham    Toan         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6437   Pham    Tue          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6438   Pham    Thai         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6439   Pham    Hien         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6440   Pham    Hoa          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6441   Pham    Hoi          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6442   Pham    Huynh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6443   Pham    Jacqueline   Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6444   Pham    Josephin     Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6445   Pham    Katie        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6446   Pham    Biet         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6447   Pham    Hai          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6448   Pham    Dung         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6449   Pham    Bach         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6450   Pham    Tri          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6451   Pham    Trung        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6452   Pham    Dong         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6453   Pham    Diem         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6454   Pham    Bob          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6455   Pham    Su           Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6456   Pham    Robin        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6457   Pham    Son          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6458   Pham    Tan          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6459   Pham    Tram         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6460   Pham    Thinh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6461   Pham    Thinh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6462   Pham    Luan         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6463   Pham    Thuy         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6464   Pham    Duong        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6465   Pham    Quyen        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6466   Pham    Lan          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6467   Pham    Dingh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6468   Pham    Trinh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6469   Pham    Vinh         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6470   Pham    Thu          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6471   Pham    Hai          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6472   Pham    Hung         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6473   Pham    Duong        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6474   Pham    Lee          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6475   Phan    Tri          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6476   Phan    Shawn        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6477   Phan    Shawn        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6478   Phan    Thinh        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6479   Phan    Dan          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6480   Phan    Dung         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6481   Phan    Tuyen        Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6482   Phan    Yen          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6483   Phan    Tole         Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6484   Phan    Meo          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No
 6485   Phan    Huy          Xuan V. Nguyen, et
                                             USDC
                                                al v. BP,
                                                      Southern
                                                          P.L.C.District
                                                                 et al of Texas   10-3170   No      No

Tab E                                                                                            Page 110 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 112 of 247

 6486   Phan     Gina         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6487   Phan     Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6488   Phan     Tuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6489   Phan     Tuy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6490   Phan     Thi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6491   Phan     Thina        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6492   Phan     Ngoc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6493   Phan     Dan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6494   Phan     Duyen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6495   Phan     Tri          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6496   Phan     Nhan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6497   Phan     Tu           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6498   Phan     Nuoi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6499   Phan     Phi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6500   Phan     Chinn        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6501   Phan     Truoi        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6502   Phan     Dan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6503   Phan     Xuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6504   Phan     Lein         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6505   Phan     Khong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6506   Phan     Ky           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6507   Phan     Tuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6508   Phan     Hoang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6509   Phan     Chris        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6510   Phan     Chinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6511   Phan     Thu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6512   Phan     Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6513   Phan     Claire       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6514   Phan     Annie        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6515   Phan     Chi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6516   Phan     Tuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6517   Phan     Nghia        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6518   Phan     Nguia        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6519   Phan     Thinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6520   Phan     Thuy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6521   Phan     Tuyet        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6522   Phan     Meot         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6523   Phan     Nguyen       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6524   Phan     Lich         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6525   Phan     Lien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6526   Phan     Men          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6527   Phan     Hac          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6528   Phan     Van          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6529   Phan     Phuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6530   Phan     An           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6531   Phong    Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6532   Phu      Ty           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6533   Quach    Hang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6534   Quach    Hi           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6535   Quach    Phat         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6536   Ta       Kathy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6537   Ta       Huy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6538   Ta       Huy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6539   Ta       Ba           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6540   Ta       Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6541   Tang     Nguyen       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6542   Tang     Phat         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6543   Tang     Minhloan     Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6544   Tang     Chau         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 111 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 113 of 247

 6545   Tang     Thien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6546   Tang     A            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6547   Tang     Phat         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6548   Tang     M            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6549   Tang     An           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6550   Tang     Quyen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6551   Tang     Ming         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6552   Tang     Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6553   Tang     Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6554   Tang     Phat         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6555   Tang     Jim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6556   Tang     Kiet         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6557   Tang     Harry        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6558   Tang     M            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6559   Tang     Peng         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6560   Tang     Phat         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6561   Tang     Hong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6562   Tang     Jean         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6563   Thai     Hoang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6564   Thai     Phuc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6565   Thai     Hau          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6566   Thai     Linh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6567   Thai     Phuc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6568   Ton      Phuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6569   Ton      That         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6570   Ton      Nguyen       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6571   Ton      Dat          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6572   Ton      Dinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6573   Ton      Hein         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6574   Tram     Chi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6575   Tran     Huu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6576   Tran     Ben          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6577   Tran     Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6578   Tran     Muoi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6579   Tran     Krystyna     Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6580   Tran     John         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6581   Tran     Hiien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6582   Tran     Than         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6583   Tran     Linh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6584   Tran     Long         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6585   Tran     Tram         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6586   Tran     Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6587   Tran     Khoi         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6588   Tran     Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6589   Tran     Trang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6590   Tran     Quen         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6591   Tran     Nac          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6592   Tran     No           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6593   Tran     Luong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6594   Tran     Chi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6595   Tran     Hiep         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6596   Tran     Kimchi       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6597   Tran     Phuc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6598   Tran     Tuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6599   Tran     Andrew       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6600   Tran     Thomas       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6601   Tran     Long         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6602   Tran     Le           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6603   Tran     Thiet        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 112 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 114 of 247

 6604   Tran     Thu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6605   Tran     Tina         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6606   Tran     Luyen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6607   Tran     Nga          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6608   Tran     Cung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6609   Tran     Phil         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6610   Tran     Thinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6611   Tran     Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6612   Tran     Trang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6613   Tran     Yeric        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6614   Tran     Vinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6615   Tran     Jack         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6616   Tran     Hong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6617   Tran     Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6618   Tran     Anny         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6619   Tran     Loan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6620   Tran     Diep         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6621   Tran     Diep         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6622   Tran     Dinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6623   Tran     Duc          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6624   Tran     Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6625   Tran     Tinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6626   Tran     Tim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6627   Tran     Thuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6628   Tran     Tho          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6629   Tran     Thao         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6630   Tran     Terry        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6631   Tran     Tiep         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6632   Tran     Tam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6633   Tran     Tan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6634   Tran     Tao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6635   Tran     Teresa       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6636   Tran     Den          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6637   Tran     Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6638   Tran     Thien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6639   Tran     Than         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6640   Tran     Quan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6641   Tran     Dang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6642   Tran     Dang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6643   Tran     Chieu        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6644   Tran     Dan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6645   Tran     Joseph       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6646   Tran     Than         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6647   Tran     Cindy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6648   Tran     Thuy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6649   Tran     Sherri       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6650   Tran     Devin        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6651   Tran     Theresa      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6652   Tran     Alexandria   Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6653   Tran     Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6654   Tran     Dan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6655   Tran     Tien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6656   Tran     Quang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6657   Tran     Vinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6658   Tran     Dang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6659   Tran     Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6660   Tran     Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6661   Tran     Chu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6662   Tran     Suong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 113 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 115 of 247

 6663   Tran     Huan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6664   Tran     Phuoc        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6665   Tran     Bay          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6666   Tran     Phuoc        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6667   Tran     Phung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6668   Tran     Phung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6669   Tran     Phuc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6670   Tran     Nhanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6671   Tran     Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6672   Tran     Chi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6673   Tran     Cuc          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6674   Tran     Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6675   Tran     Nhan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6676   Tran     Khai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6677   Tran     Steven       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6678   Tran     David        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6679   Tran     Duy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6680   Tran     Joseph       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6681   Tran     Anne         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6682   Tran     Vicki        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6683   Tran     Tony         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6684   Tran     New          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6685   Tran     Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6686   Tran     Vy           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6687   Tran     Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6688   Tran     David        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6689   Tran     Chin         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6690   Tran     Billy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6691   Tran     Thai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6692   Tran     Cindy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6693   Tran     Tuyet        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6694   Tran     Tien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6695   Tran     Tuyet        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6696   Tran     Toan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6697   Tran     Hanh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6698   Tran     Phuc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6699   Tran     Letu         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6700   Tran     Loan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6701   Tran     Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6702   Tran     Duong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6703   Tran     Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6704   Tran     Cuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6705   Tran     Tammy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6706   Tran     Phuong       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6707   Tran     Viet         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6708   Tran     Vinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6709   Tran     Tony         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6710   Tran     Thao         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6711   Tran     Thinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6712   Tran     Luong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6713   Tran     Cuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6714   Tran     Cung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6715   Tran     Chi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6716   Tran     Can          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6717   Tran     Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6718   Tran     Tv           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6719   Tran     Vu           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6720   Tran     Kiet         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6721   Tran     Nguyen       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 114 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 116 of 247

 6722   Tran     Thomas       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6723   Tran     Huong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6724   Tran     Thong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6725   Tran     Tuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6726   Tran     Nhi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6727   Tran     Lang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6728   Tran     Lisa         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6729   Tran     Hien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6730   Tran     Loc          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6731   Tran     Khay         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6732   Tran     Thuat        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6733   Tran     Tram         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6734   Tran     Toan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6735   Tran     Linh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6736   Tran     Tran         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6737   Tran     Khai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6738   Tran     Lien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6739   Tran     Sang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6740   Tran     Myphuoc      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6741   Tran     Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6742   Tran     Tuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6743   Tran     Linh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6744   Tran     Loan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6745   Tran     Althea       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6746   Tran     Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6747   Tran     John         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6748   Tran     Duy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6749   Tran     Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6750   Tran     Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6751   Tran     Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6752   Tran     Bang         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6753   Tran     E            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6754   Tran     Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6755   Tran     Eric         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6756   Tran     Toan         Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6757   Tran     Dum          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6758   Tran     Dam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6759   Tran     David        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6760   Tran     Cuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6761   Tran     Cuu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6762   Tran     Dang         Xuan V. Nguyen, et
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                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6763   Tran     Coi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6764   Tran     Cong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6765   Tran     Cheiu        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6766   Tran     Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6767   Tran     Ban          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6768   Tran     Buu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6769   Tran     Chiem        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6770   Tran     Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6771   Tran     Cam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6772   Tran     Cat          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6773   Tran     B            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6774   Tran     Hui          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6775   Tran     Bay          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6776   Tran     Hien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6777   Tran     Ly           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6778   Tran     Bay          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6779   Tran     Khan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6780   Tran     Lilie        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 115 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 117 of 247

 6781   Tran     Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6782   Tran     Xuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6783   Tran     Xuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6784   Tran     Bao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6785   Tran     Ngo          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6786   Tran     Tanh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6787   Tran     My           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6788   Tran     Bill         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6789   Tran     Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6790   Tran     Cai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6791   Tran     Cong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6792   Tran     Paulina      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6793   Tran     Thuy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6794   Tran     Tuyen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6795   Tran     Thin         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6796   Tran     Lien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6797   Tran     My           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6798   Tran     Sharon       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6799   Tran     Nhan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6800   Tran     Rainy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6801   Tran     Sharon       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6802   Tran     Long         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6803   Trang    Hao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6804   Trang    Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6805   Trang    Kieu         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6806   Trang    Chang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6807   Trieu    Jimmie       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6808   Trieu    Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6809   Trieu    Pheny        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6810   Trinh    Phillip      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6811   Trinh    Elizabeth    Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6812   Trong    Hao          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6813   Trong    Tamakya      Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6814   Troung   Quan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6815   Troung   Quang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6816   Troung   Tan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6817   Trung    Tony         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6818   Trung    Tony         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6819   Truong   Hong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6820   Truong   Hieu         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6821   Truong   Tham         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6822   Truong   Hua          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6823   Truong   Chy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6824   Truong   Cuu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6825   Truong   Mai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6826   Truong   Tu           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6827   Truong   Thuy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6828   Truong   Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6829   Truong   Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6830   Truong   Tu           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6831   Truong   Ngoc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6832   Truong   Nguyen       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6833   Truong   Doanld       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6834   Truong   Vu           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6835   Truong   Kim          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6836   Truong   Nhu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6837   Truong   Andre        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6838   Truong   Tommy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6839   Truong   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 116 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 118 of 247

 6840   Truong   Timmy        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6841   Truong   Than         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6842   Truong   Liem         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6843   Truong   Di           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6844   Truong   Thang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6845   Truong   Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6846   Truong   Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6847   Truong   Thien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6848   Truong   Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6849   Truong   Amanda       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6850   Truong   My           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6851   Truong   Nam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6852   Truong   Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6853   Truong   Binh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6854   Truong   Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6855   Truong   Thien        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6856   Truong   Phi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6857   Truong   Phi          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6858   Truong   Sinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6859   Truong   Tuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6860   Truong   Gai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6861   Truong   Phuc         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6862   Tu       Lynn         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6863   Tu       Suong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6864   Van      Kelly        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6865   Van      Mike         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6866   Van      Leslie       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6867   Ve       My           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6868   Vo       Vu           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6869   Vo       Hach         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6870   Vo       Hein         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6871   Vo       Thuy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6872   Vo       Sac          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6873   Vo       Tung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6874   Vo       Kelly        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6875   Vo       Mong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6876   Vo       Chinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6877   Vo       Ngai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6878   Vo       Tien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6879   Vo       Yen          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6880   Vo       Cai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6881   Vo       Chin         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6882   Vo       Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6883   Vo       Tuan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6884   Vo       Huy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6885   Vo       Nhan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6886   Vo       Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6887   Vo       Hong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6888   Vo       Cuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6889   Vo       Cindi        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6890   Vo       Anh          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6891   Vo       Mark         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6892   Vo       T            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6893   Vo       Tam          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6894   Vo       Cuong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6895   Vo       Nguyen       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6896   Vo       Quytam       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6897   Vo       Tan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6898   Vo       Thanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 117 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 119 of 247

 6899   Vo       Thuy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6900   Vo       Mai          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6901   Vo       Ngai         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6902   Vo       Vinh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6903   Vo       Van          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6904   Vo       Sat          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6905   Vo       My           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6906   Vo       An           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6907   Vo       Thang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6908   Vo       Hanh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6909   Vo       Nhon         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6910   Vo       Long         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6911   Vo       Dung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6912   Vo       Quy          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6913   Vo       Dum          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6914   Vo       Chung        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6915   Vo       Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6916   Vo       Cung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6917   Vo       Katie        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6918   Vo       Mc           Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6919   Vo       Trang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6920   Vo       Mong         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6921   Vo       Heip         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6922   Vo       Hien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6923   Vo       Nghia        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6924   Vo       Nguyen       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6925   Vo       Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6926   Vo       Kent         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6927   Vo       Tan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6928   Vo       Edward       Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6929   Vo       Leicynthia   Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6930   Vo       Chinh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6931   Vo       Luan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6932   Vo       A            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6933   Vo       Minh         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6934   Vo       Phu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6935   Vo       Son          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6936   Vo       Phu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6937   Vo       Duong        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6938   Vo       Hoang        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6939   Vo       Hien         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6940   Vo       Van          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6941   Vo       Tin          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6942   Vo       Katie        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6943   Vo       Nua          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6944   Vo       Net          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6945   Vo       D            Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6946   Vo       Hoa          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6947   Vo       Huu          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6948   Vo       Huyen        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6949   Vo       Lan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6950   Vo       Khanh        Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6951   Vo       Toan         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6952   Vo       Dan          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6953   Vo       Dany         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6954   Vo       Nhon         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6955   Vo       Hung         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6956   Vo       Judy         Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No
 6957   Voung    Duc          Xuan V. Nguyen, et
                                              USDC
                                                 al v. BP,
                                                       Southern
                                                           P.L.C.District
                                                                  et al of Texas   10-3170   No      No

Tab E                                                                                             Page 118 of 246
             Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 120 of 247

 6958   Vu         Bung         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6959   Vu         Trang        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6960   Vu         Chinh        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6961   Vu         Do           Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6962   Vu         Kim          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6963   Vu         Quang        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6964   Vu         Nikki        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6965   Vu         Phuong       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6966   Vu         Christine    Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6967   Vu         Sinh         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6968   Vu         Hoat         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6969   Vu         Sac          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6970   Vu         Thu          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6971   Vu         Chien        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6972   Vu         Hoa          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6973   Vu         Holloway     Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6974   Vu         Hai          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6975   Vu         Huynh        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6976   Vu         Kelly        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6977   Vu         Luong        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6978   Vu         Duc          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6979   Vu         Du           Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6980   Vu         Tim          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6981   Vu         Tinh         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6982   Vu         Long         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6983   Vu         Hung         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6984   Vu         Ann          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6985   Vu         Lan          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6986   Vu         Ha           Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6987   Vu         Hai          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6988   Vu         Kim          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6989   Vu         Amy          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6990   Vu         Ba           Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6991   Vu         Ban          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6992   Vu         Thanh        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6993   Vu         Amanda       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6994   Vu         Dinh         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6995   Vu         Mai          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6996   Vu         Hoa          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6997   Vu         Hoa          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6998   Vu         Huy          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 6999   Vu         Ha           Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7000   Vu         Chich        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7001   Vu         Nga          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7002   Vu         Tan          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7003   Vu         Tao          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7004   Vu         Than         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7005   Vu         Than         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7006   Vu         Theresa      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7007   Vu         Tho          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7008   Vu         Minh         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7009   Vu         Nga          Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7010   Vu         Ngoc         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7011   Vu         Nhuan        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7012   Vu         Hoan         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7013   Vu         Timmy        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7014   Vu         Rosie        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7015   Vu         Vivian       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No
 7016   Vu         Viet         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                    et al of Texas   10-3170   No      No

Tab E                                                                                               Page 119 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 121 of 247

 7017   Vu           Joe        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7018   Vu           Cindy      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7019   Vu           Dat        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7020   Vu           Ban        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7021   Vu           Ben        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7022   Vu           Chau       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7023   Vu           Dinh       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7024   Vu           Cuc        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7025   Vu           Chuyen     Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7026   Vu           Chan       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7027   Vu           Ha         Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7028   Vu           Hoa        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7029   Vu           Thuy       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7030   Vu           Van        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7031   Vu           Han        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7032   Vu           Chan       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7033   Vu           Julie      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7034   Vu           Lindsay    Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7035   Vu           Thanh      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7036   Vu           Ngoan      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7037   Vu           Hien       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7038   Vu           Chein      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7039   Vu           Bichngoc   Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7040   Vu           Minhduc    Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7041   Vu           Danny      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7042   Vu           Luan       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7043   Vu           Dung       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7044   Vu           Minh       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7045   Vu           Thong      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7046   Vu           Quan       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7047   Vu           Long       Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7048   Vuong        Kevin      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7049   Vuong        Duc        Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7050   Vy           Huyen      Xuan V. Nguyen, et
                                                USDC
                                                   al v. BP,
                                                         Southern
                                                             P.L.C.District
                                                                     et al of Texas     10-3170   No      No
 7051   Au           Slay       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7052   Beaker       Karen      Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7053   Bui          Jeff       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7054   Bui          Chau       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7055   Cao          Dung       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7056   Cao          Gio        Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7057   Cao          Ban        Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7058   Chris        Ta         Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7059   Cooper       Stacy      Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7060   Dang         Thuong     Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7061   Dang         Tung       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7062   Dang         Huong      Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7063   Dang         Khang      Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7064   Dang         Michael    Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7065   Dang         Dap        Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7066   Dang         Cuc        Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7067   Dang         Dieu       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7068   Dang         Khang      Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7069   Dang         Tung       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7070   Danh         Cuc        Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7071   Dao          Giau       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7072   Dao          Vang       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7073   Dao          Cung       Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7074   Dao          Jimmy      Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No
 7075   Deogracias   Thomas     Dong Nguyen, et al
                                                USDC
                                                   v. BP,Southern
                                                          P.L.C., etDistrict
                                                                     al      of Texas   10-3171   No      No

Tab E                                                                                                  Page 120 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 122 of 247

 7076   Dieu     Vinh         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7077   Dinh     Mea          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7078   Dinh     Viet         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7079   Dinh     Duy          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7080   Do       Hoang        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7081   Do       Tam          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7082   Do       Hung         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7083   Do       Tuan         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7084   Do       Liet         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7085   Do       My           Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7086   Do       Xiu          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7087   Do       Tin          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7088   Doan     Trang        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7089   Doan     Mai          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7090   Doan     Ho           Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7091   Doan     Ngoc         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7092   Doan     Khanh        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7093   Doan     Jenny        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7094   Doan     Hoang        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7095   Doan     Susan        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7096   Doan     Thanh        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7097   Doan     Canon        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7098   Doan     Hays         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7099   Dong     Phan         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7100   Duong    Ailien       Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7101   Duong    Xuan         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7102   Duong    Ho           Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7103   Duong    Lieu         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7104   Duong    Xuan         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7105   Duong    Nhat         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7106   Duong    Tuyanh       Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7107   Duong    Tung         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7108   Ewing    Jacob        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7109   Ha       Loc          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7110   Ha       Hein         Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7111   Ha       Tinh         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7112   Ha       Rogers       Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7113   Ho       Hai          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7114   Ho       Belinda      Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7115   Ho       Buu          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7116   Ho       Hien         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7117   Ho       Lily         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7118   Ho       Chi          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7119   Ho       Huong        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7120   Hoang    Tac          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7121   Hoang    Nguyen       Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7122   Hoang    Lieu         Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7123   Hoang    Vu           Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7124   Hoang    Tiffany      Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7125   Hoang    Kevin        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7126   Hoang    Kevin        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7127   Hoang    Tiffany      Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7128   Hoang    Hoan         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7129   Hoang    Long         Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7130   Hoang    Kevin        Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7131   Hoang    Minh         Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7132   Hua      Min          Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7133   Huu      Huynh        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7134   Huynh    Hiep         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No

Tab E                                                                                                Page 121 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 123 of 247

 7135   Huynh      Minh       Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7136   Huynh      Ngo        Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7137   Huynh      Trev       Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7138   Huynh      Dung       Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7139   Huynh      Hoa        Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7140   Huynh      Hong       Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7141   Ke         Hang       Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7142   Kieu       Casmere    Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7143   Kieu       Thiet      Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7144   Lai        Hung       Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7145   Lai        Then       Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7146   Lai        Hung       Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7147   Lai        Michelle   Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7148   Lam        Thi        Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7149   Lam        Mieu       Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7150   Lam        Ty         Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7151   Lan        Hong       Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7152   Laneaux    Kendrick   Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7153   Le         Sang       Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7154   Le         Thao       Dong Nguyen, et al
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 7155   Le         My         Dong Nguyen, et al
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 7156   Le         Monica     Dong Nguyen, et al
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 7157   Le         Tuyen      Dong Nguyen, et al
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 7158   Le         Jimmy      Dong Nguyen, et al
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 7159   Le         Thanh      Dong Nguyen, et al
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 7160   Le         Don        Dong Nguyen, et al
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 7161   Le         Chau       Dong Nguyen, et al
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 7162   Le         Dang       Dong Nguyen, et al
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 7163   Le         Hang       Dong Nguyen, et al
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 7164   Le         Hieu       Dong Nguyen, et al
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 7165   Le         Hung       Dong Nguyen, et al
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 7166   Le         Kent       Dong Nguyen, et al
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 7167   Le         Dan        Dong Nguyen, et al
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 7168   Le         Dede       Dong Nguyen, et al
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 7169   Le         Duc        Dong Nguyen, et al
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 7170   Le         Sang       Dong Nguyen, et al
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 7171   Le         Jimmy      Dong Nguyen, et al
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 7172   Le         Ba         Dong Nguyen, et al
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 7173   Le         Tommy      Dong Nguyen, et al
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 7174   Le         Doug       Dong Nguyen, et al
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 7175   Le         Cung       Dong Nguyen, et al
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 7176   Lieu       Lien       Dong Nguyen, et al
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 7177   Lu         Lucy       Dong Nguyen, et al
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 7178   Luong      Minh       Dong Nguyen, et al
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 7179   Luong      Hanh       Dong Nguyen, et al
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 7180   Luong      Tony       Dong Nguyen, et al
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 7181   Luu        Viet       Dong Nguyen, et al
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 7182   Luu        Ky         Dong Nguyen, et al
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 7183   Ly         Michelle   Dong Nguyen, et al
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 7184   Ly         Chien      Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7185   Mckinnon   Nathan     Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7186   Ngo        Thanh      Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7187   Ngo        Linda      Dong Nguyen, et al
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 7188   Ngo        Tony       Dong Nguyen, et al
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 7189   Nguyen     Kim        Dong Nguyen, et al
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 7190   Nguyen     Hong       Dong Nguyen, et al
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 7191   Nguyen     No         Dong Nguyen, et al
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 7192   Nguyen     Chau       Dong Nguyen, et al
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 7193   Nguyen     Thuong     Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No

Tab E                                                                                                Page 122 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 124 of 247

 7194   Nguyen   Dung         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
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 7195   Nguyen   Hung         Dong Nguyen, et al
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 7196   Nguyen   Ha           Dong Nguyen, et al
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 7197   Nguyen   Nang         Dong Nguyen, et al
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 7198   Nguyen   Hang         Dong Nguyen, et al
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 7199   Nguyen   Janet        Dong Nguyen, et al
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 7200   Nguyen   Jesse        Dong Nguyen, et al
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 7201   Nguyen   Dong         Dong Nguyen, et al
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 7202   Nguyen   Nhung        Dong Nguyen, et al
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 7203   Nguyen   Dinh         Dong Nguyen, et al
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 7204   Nguyen   James        Dong Nguyen, et al
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 7205   Nguyen   Twain        Dong Nguyen, et al
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 7206   Nguyen   Giang        Dong Nguyen, et al
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 7207   Nguyen   Phuoc        Dong Nguyen, et al
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 7208   Nguyen   Ray          Dong Nguyen, et al
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 7209   Nguyen   Thuan        Dong Nguyen, et al
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 7210   Nguyen   Thanh        Dong Nguyen, et al
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 7211   Nguyen   Thanh        Dong Nguyen, et al
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 7212   Nguyen   Thiet        Dong Nguyen, et al
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 7213   Nguyen   Thuan        Dong Nguyen, et al
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 7214   Nguyen   Michelle     Dong Nguyen, et al
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 7215   Nguyen   Mau          Dong Nguyen, et al
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 7216   Nguyen   Hung         Dong Nguyen, et al
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 7217   Nguyen   Huyen        Dong Nguyen, et al
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 7218   Nguyen   Thuy         Dong Nguyen, et al
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 7219   Nguyen   Tina         Dong Nguyen, et al
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 7220   Nguyen   Trong        Dong Nguyen, et al
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 7221   Nguyen   Thanh        Dong Nguyen, et al
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 7222   Nguyen   Tuan         Dong Nguyen, et al
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 7223   Nguyen   Tung         Dong Nguyen, et al
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 7224   Nguyen   Tung         Dong Nguyen, et al
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 7225   Nguyen   Thu          Dong Nguyen, et al
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 7226   Nguyen   Thuy         Dong Nguyen, et al
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 7227   Nguyen   Than         Dong Nguyen, et al
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 7228   Nguyen   Phung        Dong Nguyen, et al
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 7229   Nguyen   Phuc         Dong Nguyen, et al
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 7230   Nguyen   Phu          Dong Nguyen, et al
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 7231   Nguyen   Hoa          Dong Nguyen, et al
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 7232   Nguyen   Maria        Dong Nguyen, et al
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 7233   Nguyen   Le           Dong Nguyen, et al
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 7234   Nguyen   Hung         Dong Nguyen, et al
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 7235   Nguyen   Lan          Dong Nguyen, et al
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 7236   Nguyen   David        Dong Nguyen, et al
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 7237   Nguyen   Bong         Dong Nguyen, et al
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 7238   Nguyen   Hung         Dong Nguyen, et al
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 7239   Nguyen   Kim          Dong Nguyen, et al
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 7240   Nguyen   John         Dong Nguyen, et al
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 7241   Nguyen   Cindy        Dong Nguyen, et al
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 7242   Nguyen   Dung         Dong Nguyen, et al
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 7243   Nguyen   Dung         Dong Nguyen, et al
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 7244   Nguyen   Carl         Dong Nguyen, et al
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 7245   Nguyen   Doc          Dong Nguyen, et al
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 7246   Nguyen   Phu          Dong Nguyen, et al
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 7247   Nguyen   Amy          Dong Nguyen, et al
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 7248   Nguyen   Thuy         Dong Nguyen, et al
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 7249   Nguyen   Thuong       Dong Nguyen, et al
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 7250   Nguyen   Charles      Dong Nguyen, et al
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 7251   Nguyen   Hoant        Dong Nguyen, et al
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 7252   Nguyen   Hao          Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No

Tab E                                                                                                Page 123 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 125 of 247

 7253   Nguyen   Ann          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7254   Nguyen   Thanh        Dong Nguyen, et al
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 7255   Nguyen   Holly        Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7256   Nguyen   Hoi          Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7257   Nguyen   Sen          Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7258   Nguyen   Tam          Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7259   Nguyen   Bien         Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7260   Nguyen   Anthony      Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7261   Nguyen   Paulina      Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7262   Nguyen   Tan          Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7263   Nguyen   Quan         Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7264   Nguyen   Phuoc        Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7265   Nguyen   Ngan         Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7266   Nguyen   Linda        Dong Nguyen, et al
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 7267   Nguyen   Phi          Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7268   Nguyen   Hoa          Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7269   Nguyen   Hue          Dong Nguyen, et al
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 7270   Nguyen   Hue          Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7271   Nguyen   Dung         Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7272   Nguyen   Mai          Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7273   Nguyen   Linda        Dong Nguyen, et al
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 7274   Nguyen   Michael      Dong Nguyen, et al
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 7275   Nguyen   Mai          Dong Nguyen, et al
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 7276   Nguyen   Erica        Dong Nguyen, et al
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 7277   Nguyen   Duc          Dong Nguyen, et al
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 7278   Nguyen   Thao         Dong Nguyen, et al
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 7279   Nguyen   Robert       Dong Nguyen, et al
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 7280   Nguyen   Khanh        Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7281   Nguyen   B            Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7282   Nguyen   David        Dong Nguyen, et al
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 7283   Nguyen   Tung         Dong Nguyen, et al
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 7284   Nguyen   Daniel       Dong Nguyen, et al
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 7285   Nguyen   Huong        Dong Nguyen, et al
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 7286   Nguyen   Ranita       Dong Nguyen, et al
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 7287   Nguyen   Ly           Dong Nguyen, et al
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 7288   Nguyen   Tuyet        Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7289   Nguyen   Hoang        Dong Nguyen, et al
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 7290   Nguyen   Buc          Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7291   Nguyen   Phil         Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7292   Nguyen   Vuoney       Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7293   Nguyen   Mike         Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7294   Nguyen   Tao          Dong Nguyen, et al
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 7295   Nguyen   Bryan        Dong Nguyen, et al
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 7296   Nguyen   Van          Dong Nguyen, et al
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 7297   Nguyen   Bao          Dong Nguyen, et al
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 7298   Nguyen   Rachel       Dong Nguyen, et al
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 7299   Nguyen   Quy          Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7300   Nguyen   Phap         Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7301   Nguyen   Steven       Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7302   Nguyen   Julia        Dong Nguyen, et al
                                              USDC
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7303   Nguyen   Linh         Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7304   Nguyen   Linda        Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7305   Nguyen   Khanh        Dong Nguyen, et al
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 7306   Nguyen   Kim          Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7307   Nguyen   My           Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7308   Nguyen   Thanh        Dong Nguyen, et al
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 7309   Nguyen   Cuc          Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7310   Nguyen   Philia       Dong Nguyen, et al
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                                                                   al      of Texas   10-3171   No      No
 7311   Nguyen   P            Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No

Tab E                                                                                                Page 124 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 126 of 247

 7312   Nguyen     Holly       Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7313   Nguyen     Manh        Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7314   Pham       Tommy       Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7315   Pham       Thucuc      Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7316   Pham       Quy         Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7317   Pham       Voung       Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7318   Pham       David       Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7319   Phan       Stan        Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7320   Phan       Dat         Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7321   Phan       Nghia       Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7322   Phan       Thanh       Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7323   Phan       William     Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7324   Phan       Liem        Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7325   Phan       Joseph      Dong Nguyen, et al
                                               USDC
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7326   Phan       Quang       Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7327   Prentice   Jonathan    Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7328   Prentice   Melonie     Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7329   Sprouse    Clarence    Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7330   Sprouse    Andy        Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7331   Swartz     Richard     Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7332   Thai       Hiep        Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7333   Thai       Meng        Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7334   Thai       Thomas      Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7335   Thai       Paul        Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7336   Thanh      Eugene      Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7337   Thien      La          Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7338   To         Timmy       Dong Nguyen, et al
                                               USDC
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7339   To         Hai         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7340   To         Hai         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7341   Tran       Hai         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7342   Tran       Bryan       Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7343   Tran       Chieu       Dong Nguyen, et al
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                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7344   Tran       Lam         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7345   Tran       Hiep        Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7346   Tran       Maria       Dong Nguyen, et al
                                               USDC
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7347   Tran       Dai         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7348   Tran       Ha          Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7349   Tran       Nhung       Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7350   Tran       Giao        Dong Nguyen, et al
                                               USDC
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7351   Tran       Tam         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7352   Tran       Joe         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7353   Tran       My          Dong Nguyen, et al
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                                                         P.L.C., etDistrict
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 7354   Tran       Huyen       Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7355   Tran       Hue         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7356   Tran       Thuy        Dong Nguyen, et al
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 7357   Tran       Tho         Dong Nguyen, et al
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 7358   Tran       Khanh       Dong Nguyen, et al
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 7359   Tran       Thuyen      Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7360   Tran       Amy         Dong Nguyen, et al
                                               USDC
                                                  v. BP,Southern
                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7361   Tran       Giao        Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7362   Tran       Khai        Dong Nguyen, et al
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                                                         P.L.C., etDistrict
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 7363   Tran       Sa          Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7364   Tran       Sai         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
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 7365   Tran       Quy         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
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 7366   Tran       Hang        Dong Nguyen, et al
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 7367   Tran       Hiep        Dong Nguyen, et al
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                                                         P.L.C., etDistrict
                                                                    al      of Texas   10-3171   No      No
 7368   Tran       Van         Dong Nguyen, et al
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                                                         P.L.C., etDistrict
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 7369   Tran       T           Dong Nguyen, et al
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 7370   Tran       Ngoc        Dong Nguyen, et al
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                                                  v. BP,Southern
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                                                                    al      of Texas   10-3171   No      No

Tab E                                                                                                 Page 125 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 127 of 247

 7371   Tran     Hong         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
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 7372   Tran     Nga          Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7373   Tran     Ha           Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7374   Tran     Cindy        Dong Nguyen, et al
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 7375   Tran     Hop          Dong Nguyen, et al
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 7376   Tran     Phi          Dong Nguyen, et al
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 7377   Tran     Sa           Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7378   Tran     Quang        Dong Nguyen, et al
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                                                        P.L.C., etDistrict
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 7379   Tran     Tuan         Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7380   Tran     Nina         Dong Nguyen, et al
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                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7381   Tran     Kimmy        Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7382   Tran     Tho          Dong Nguyen, et al
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                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7383   Tran     Sang         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7384   Tran     Lo           Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7385   Tran     Phouc        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7386   Tran     Long         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7387   Tran     Cindy        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7388   Tran     Nhieu        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7389   Tran     Nga          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7390   Tran     Phillip      Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7391   Tran     Bac          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7392   Tran     Danny        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7393   Tran     Ha           Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7394   Tran     Huy          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7395   Tran     Xuyen        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7396   Tran     Hieu         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7397   Tran     Yen          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7398   Tran     Yen          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7399   Tran     Toan         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7400   Tran     Anthony      Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7401   Tran     James        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7402   Tran     James        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7403   Trang    Jen          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7404   Trieu    Tam          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7405   Trieu    Hiep         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7406   Trieu    Ly           Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7407   Trieu    Raven        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7408   Trinh    Chau         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7409   Trinh    Jenny        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7410   Troung   Minh         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7411   Truong   Dang         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7412   Truong   Hang         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7413   Truong   Mimi         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7414   Truong   Minh         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7415   Tu       Muoi         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7416   Van      Reo          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7417   Vav      Hoa          Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7418   Viet     Limin        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7419   Vo       Oi           Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7420   Vo       Hauh         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7421   Vo       Tria         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7422   Vo       Quan         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7423   Vo       Johny        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7424   Vo       Hong         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7425   Vo       Hieu         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7426   Vo       Misty        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7427   Vo       Xien         Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7428   Vo       Candi        Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No
 7429   Vo       Robinson     Dong Nguyen, et al
                                              USDC
                                                 v. BP,Southern
                                                        P.L.C., etDistrict
                                                                   al      of Texas   10-3171   No      No

Tab E                                                                                                Page 126 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 128 of 247

 7430   Vo          Hai         Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7431   Vo          Hai         Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7432   Vo          Son         Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7433   Vo          Bao         Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7434   Vu          Tommy       Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7435   Vu          Tommy       Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7436   Vu          Khamnancy   Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7437   Vu          Roan        Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7438   Vu          Song        Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7439   Vu          Priscilla   Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7440   Vu          Hiep        Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7441   Vu          Hoai        Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7442   Vu          Khiem       Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7443   Vu          Thomas      Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7444   Vu          Hung        Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7445   Ziegenfus   Mark        Dong Nguyen, et alUSDC
                                                    v. BP,Southern
                                                           P.L.C., etDistrict
                                                                      al      of Texas   10-3171   No      No
 7446   Bui         Lam         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7447   Bui         Dung        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7448   Bui         Truyen      Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7449   Bui         Nam         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7450   Bui         Thy         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7451   Bui         Thang       Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7452   Bui         Dung        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7453   Bui         Dwyane      Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7454   Bui         Oscar       Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7455   Bui         Dwayne      Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7456   Bui         Duyen       Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7457   Bui         Hoa         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7458   Bui         Huong       Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7459   Chu         Ihn         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7460   Chu         Nathan      Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7461   Chu         Chi         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7462   Chu         Stephen     Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7463   Chy         Jonathan    Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7464   D           Celinh      Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7465   Da          Duc         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7466   Dang        Nam         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7467   Dang        Hieu        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7468   Dang        Lien        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7469   Dang        Tuyet       Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7470   Dang        Xuan        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7471   Dang        Billy       Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7472   Dao         Van         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7473   Dao         Vang        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7474   Dao         Luy         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7475   Dao         Vang        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7476   Dao         Luy         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7477   Dao         Veary       Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7478   Diep        Bao         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7479   Diep        Duy         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7480   Diep        Bao         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7481   Diep        Dee         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7482   Diep        Danh        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7483   Diep        Son         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7484   Diep        Son         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7485   Diep        Danh        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7486   Dinh        Lien        Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7487   Dinh        Mai         Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No
 7488   Dinh        Quyen       Thum M. Le, et al USDC
                                                  v. BP, P.L.C.,
                                                         Southernet District
                                                                    al        of Texas   10-3172   No      No

Tab E                                                                                                   Page 127 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 129 of 247

 7489   Dinh     Quyen        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7490   Dinh     Phiem        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7491   Dinh     Lieu         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7492   Dinh     Johnny       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7493   Dinh     Binh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7494   Dinh     Son          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7495   Do       Liem         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7496   Do       Tuan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7497   Do       Hien         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7498   Do       Hieu         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7499   Do       Hoang        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7500   Do       Kenny        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7501   Do       Trat         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7502   Do       Ngoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7503   Do       Phi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7504   Do       Minh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7505   Do       Hung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7506   Do       Son          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7507   Do       Chau         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7508   Do       Anh          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7509   Do       Cam          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7510   Do       Bethanie     Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7511   Do       Toni         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7512   Do       Tuan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7513   Do       Anh          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7514   Doan     Doris        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7515   Doan     Quang        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7516   Doan     Thi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7517   Doan     Nguyen       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7518   Doan     Oanh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7519   Dong     Cu           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7520   Dong     Ngoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7521   Dong     Kim          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7522   Dong     A            Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7523   Dong     Nhu          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7524   Dong     Nhu          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7525   Dong     Cely         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7526   Dong     Ngoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7527   Dong     Lien         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7528   Duong    Doan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7529   Duong    Hoang        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7530   Duong    Nikki        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7531   Duong    Hanh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7532   Duong    An           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7533   Duong    Hung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7534   Ha       Hai          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7535   Ha       C            Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7536   Ha       Yeung        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7537   Ha       Hao          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7538   Ha       Hyun         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7539   Han      Sang         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7540   Hien     Dang         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7541   Ho       Vinh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7542   Ho       Hong         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7543   Ho       Lien         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7544   Hoang    Duong        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7545   Hoang    Thuong       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7546   Hoang    Duong        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7547   Hoang    Hong         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No

Tab E                                                                                                Page 128 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 130 of 247

 7548   Hoang    Dung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7549   Hoang    Kimberly     Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7550   Hoang    Huy          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7551   Hoang    Khai         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7552   Hoang    Hung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7553   Hoang    Kimberly     Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7554   Hoang    An           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7555   Hoang    Anne         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7556   Hoang    Dung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7557   Hoang    Khiem        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7558   Hoang    Hoa          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7559   Hoang    Khiem        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7560   Hoang    John         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7561   Hoang    Hien         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7562   Hoang    Tuoi         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7563   Hoang    Khanh        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7564   Hoang    Khai         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7565   Hoang    Hong         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7566   Hoang    Hoa          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7567   Hoang    Anthony      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7568   Hon      Yenn         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7569   Hong     An           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7570   Huynh    Dong         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7571   Huynh    Thai         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7572   Huynh    Lori         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7573   Huynh    Thang        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7574   Huynh    Thi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7575   Huynh    Thuan        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7576   Huynh    Gom          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7577   Huynh    Anhtuan      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7578   Huynh    Kimberly     Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7579   Huynh    Sama         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7580   Huynh    Trai         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7581   Huynh    Tuyet        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7582   Huynh    Thy          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7583   Huynh    Tony         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7584   Kim      Suk          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7585   La       Linda        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7586   La       Jennifer     Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7587   Lam      Hoai         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7588   Lam      Brian        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7589   Lam      Thi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7590   Lam      Aimee        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7591   Lam      Jenny        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7592   Lam      Nlen         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7593   Lam      Minh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7594   Lam      Tuan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7595   Lam      Sumki        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7596   Lam      Manfong      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7597   Lam      San          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7598   Lam      Sum          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7599   Lam      Tina         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7600   Lam      Senh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7601   Lam      Tina         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7602   Lan      Mai          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7603   Le       De           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7604   Le       Hong         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7605   Le       Thao         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7606   Le       Thy          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No

Tab E                                                                                                Page 129 of 246
              Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 131 of 247

 7607   Le          Thu          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7608   Le          Thu          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7609   Le          Kim          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7610   Le          Mot          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7611   Le          Nghia        Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7612   Le          Yen          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7613   Le          Ngoc         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7614   Le          Loan         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7615   Le          Hang         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7616   Le          Khan         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7617   Le          Nho          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7618   Le          Giap         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7619   Le          Bay          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7620   Le          Anh          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7621   Le          Bich         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7622   Le          Duyen        Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7623   Le          Giap         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7624   Le          Diana        Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7625   Le          Bao          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7626   Le          Loan         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7627   Le          Mong         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7628   Le          Kinh         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7629   Le          Be           Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7630   Le          Ba           Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7631   Le          Hong         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7632   Le          Thang        Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7633   Le          Trong        Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7634   Le          Ashley       Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7635   Le          De           Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7636   Le          Minh         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7637   Le          Eric         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7638   Le          Kim          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7639   Le          Ngo          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7640   Le          Tuan         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7641   Le          Tu           Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7642   Le          Ut           Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7643   Le          Tran         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7644   Le          Tram         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7645   Le          Toan         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7646   Le          Tony         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7647   Le          Bu           Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7648   Le          Thu          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7649   Le          Suu          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7650   Le          De           Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7651   Le          Hung         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7652   Le          Linda        Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7653   Le          Vien         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7654   Le          Vinh         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7655   Le          Vinh         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7656   Le          Phao         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7657   Le          Hung         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7658   Le          Hien         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7659   Le          Hoang        Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7660   Le          Kim          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7661   Le          Hai          Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7662   Le          Hong         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7663   Le          Anthony      Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7664   Lee         Tommy        Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No
 7665   Lee         Sang         Thum M. Le, et al USDC
                                                   v. BP, P.L.C.,
                                                          Southernet District
                                                                     al       of Texas   10-3172   No      No

Tab E                                                                                                   Page 130 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 132 of 247

 7666   Lee      Thomas       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7667   Lee      Tony         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7668   Lee      Jr           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7669   Lee      Ann          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7670   Lee      Angela       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7671   Lee      Andrew       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7672   Lee      Alberta      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7673   Lee      Alan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7674   Lu       Lap          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7675   Lu       Tuong        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7676   Lu       Minstrel     Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7677   Lu       Yuwei        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7678   Lu       Chien        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7679   Luc      Beverly      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7680   Luong    Loc          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7681   Luong    Khanh        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7682   Luong    Kimlong      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7683   Luong    Kim          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7684   Luong    Khanh        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7685   Ly       Hung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7686   Ly       Chau         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7687   Ly       Chau         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7688   Ly       Lyarnong     Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7689   Ly       Ashley       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7690   Ly       Noevv        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7691   Ly       Lsau         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7692   Ly       Dung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7693   Ly       Phoung       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7694   Ly       Sui          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7695   Ly       Song         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7696   Ly       Sui          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7697   Ly       Chau         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7698   Mai      Dinh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7699   Mai      Lisa         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7700   Mai      Man          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7701   Mai      Man          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7702   Mai      Mau          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7703   Mai      Minh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7704   Mai      Dina         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7705   Mai      Barbara      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7706   Mai      Trang        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7707   Mai      Terry        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7708   Mai      Nhiem        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7709   Minh     Huynh        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7710   Ngo      La           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7711   Ngo      Jr           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7712   Ngo      Kevin        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7713   Ngo      An           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7714   Ngo      Bon          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7715   Ngo      Thi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7716   Ngo      Quoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7717   Ngo      Phuong       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7718   Ngo      Nhut         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7719   Ngo      Dao          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7720   Ngo      Camthu       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7721   Ngo      Myle         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7722   Ngo      Ngoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7723   Ngo      Bon          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7724   Ngo      Long         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No

Tab E                                                                                                Page 131 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 133 of 247

 7725   Ngo      Huongq       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7726   Ngo      Loan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7727   Ngo      Tinh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7728   Ngo      Nhut         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7729   Ngo      Dao          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7730   Ngo      Kieu         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7731   Ngo      Nhuhoa       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7732   Ngo      Camthu       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7733   Nguyen   An           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7734   Nguyen   Peter        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7735   Nguyen   Dai          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7736   Nguyen   Diem         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7737   Nguyen   Phuoc        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7738   Nguyen   Nixon        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7739   Nguyen   Luan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7740   Nguyen   Diem         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7741   Nguyen   Phoung       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7742   Nguyen   Douc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7743   Nguyen   My           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7744   Nguyen   Vinny        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7745   Nguyen   Karen        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7746   Nguyen   Kelly        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7747   Nguyen   Quoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7748   Nguyen   Hoa          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7749   Nguyen   Hung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7750   Nguyen   Huu          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7751   Nguyen   Hai          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7752   Nguyen   Lee          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7753   Nguyen   M            Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7754   Nguyen   Thi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7755   Nguyen   Thinh        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7756   Nguyen   Frank        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7757   Nguyen   Cam          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7758   Nguyen   Binh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7759   Nguyen   Tina         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7760   Nguyen   Tommy        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7761   Nguyen   Cat          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7762   Nguyen   Vinh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7763   Nguyen   An           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7764   Nguyen   Loc          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7765   Nguyen   Ann          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7766   Nguyen   Tommy        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7767   Nguyen   Cindy        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7768   Nguyen   Danny        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7769   Nguyen   Thanh        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7770   Nguyen   Trinh        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7771   Nguyen   Tram         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7772   Nguyen   Nghia        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7773   Nguyen   Lam          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7774   Nguyen   Houng        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7775   Nguyen   Anthony      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7776   Nguyen   Camtu        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7777   Nguyen   Von          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7778   Nguyen   Nghia        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7779   Nguyen   Sarah        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7780   Nguyen   Tu           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7781   Nguyen   To           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7782   Pham     Thoi         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7783   Pham     Hoai         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No

Tab E                                                                                                Page 132 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 134 of 247

 7784   Pham     Cong         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7785   Pham     Tuyet        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7786   Pham     Tong         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7787   Pham     Thoi         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7788   Phan     Devan        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7789   Phap     Dang         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7790   Phu      Lisa         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7791   Ta       Trang        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7792   Ta       Hung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7793   Ta       Hung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7794   Ta       Rosie        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7795   Tan      Shihpin      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7796   Tan      Shih         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7797   Tan      Arshad       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7798   Tang     Hang         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7799   Tang     Hang         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7800   Thai     Ngoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7801   Thai     Ngoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7802   Thanh    Hoang        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7803   Tong     Jian         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7804   Tran     Tu           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7805   Tran     Thuy         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7806   Tran     Oanh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7807   Tran     Thai         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7808   Tran     Tap          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7809   Tran     Tam          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7810   Tran     Sua          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7811   Tran     Linh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7812   Tran     Bryan        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7813   Tran     Bach         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7814   Tran     Anh          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7815   Tran     H            Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7816   Tran     Chi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7817   Tran     Tai          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7818   Tran     Tho          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7819   Tran     Nghia        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7820   Tran     Minh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7821   Tran     Ngan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7822   Tran     Trinh        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7823   Tran     Thai         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7824   Tran     Nhan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7825   Tran     Ninh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7826   Tran     Quan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7827   Tran     Van          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7828   Tran     Minh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7829   Tran     Loan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7830   Tran     Christina    Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7831   Tran     David        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7832   Tran     David        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7833   Tran     Chi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7834   Tran     Chvong       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7835   Tran     Duy          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7836   Tran     Dien         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7837   Tran     Dung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7838   Tran     John         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7839   Tran     Crong        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7840   Trinh    My           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7841   Trinh    Thuan        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7842   Trinh    Kim          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No

Tab E                                                                                                Page 133 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 135 of 247

 7843   Trinh    Loan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7844   Trinh    Do           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7845   Tron     Dung         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7846   Troung   San          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7847   Troung   Am           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7848   Trung    Phan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7849   Truong   Trang        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7850   Truong   Phan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7851   Tu       O            Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7852   Uong     Kim          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7853   Van      Ryeln        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7854   Van      Devender     Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7855   Van      Akon         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7856   Van      Atta         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7857   Vo       Thuan        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7858   Vo       Nhan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7859   Vo       Be           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7860   Vo       Ngoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7861   Vo       Hoa          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7862   Vo       Thuy         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7863   Vo       Duc          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7864   Vo       Be           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7865   Vo       Dang         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7866   Vo       Huy          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7867   Vo       Tan          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7868   Vo       Tong         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7869   Vo       Trai         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7870   Vo       Tuyet        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7871   Vo       Ann          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7872   Vo       Phi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7873   Vo       Hieu         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7874   Vo       Son          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7875   Vo       Kim          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7876   Vo       Linh         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7877   Vo       Kim          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7878   Vo       Ngoc         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7879   Vo       Nhan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7880   Vo       Tan          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7881   Vo       Vincent      Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7882   Vo       Phuoc        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7883   Vo       Tha          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7884   Vo       Duc          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7885   Vo       Ut           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7886   Vo       Nhiem        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7887   Vo       Hoa          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7888   Vo       Son          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7889   Vo       Sherry       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7890   Vo       Tam          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7891   Vo       Thu          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7892   Vo       Thong        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7893   Vo       Jean         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7894   Vo       Duc          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7895   Vo       Hoa          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7896   Vo       Dang         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7897   Vo       Tan          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7898   Vo       Calvin       Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7899   Vo       Ta           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7900   Vo       Nham         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7901   Vo       Hao          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No

Tab E                                                                                                Page 134 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 136 of 247

 7902   Vo       Hieu         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7903   Vo       Hao          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7904   Vo       Hoa          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7905   Vo       Thanh        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7906   Vo       Nho          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7907   Vo       Nhiem        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7908   Vo       Nhung        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7909   Vo       Phi          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7910   Vo       Son          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7911   Vo       Be           Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7912   Vo       Hieu         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7913   Vo       Nhan         Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7914   Vo       Hao          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7915   Vo       Nhung        Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7916   Vu       Hoa          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7917   Vuong    Hai          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7918   Vuong    Hai          Thum M. Le, et al USDC
                                                v. BP, P.L.C.,
                                                       Southernet District
                                                                  al       of Texas   10-3172   No      No
 7919   Andour   Le           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7920   Bang     Nina         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7921   Bui      Van          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7922   Bui      Thanh        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7923   Bui      Thao         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7924   Bui      Alexander    Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7925   Bui      Thanh        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7926   Bui      Hoang        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7927   Bui      Hien         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7928   Bui      Giang        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7929   Bui      Dung         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7930   Bui      Cam          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7931   Bui      Sanh         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7932   Bui      Thorton      Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7933   Bui      Tuyen        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7934   Bui      Van          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7935   Bui      Thien        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7936   Bui      Oai          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7937   Bui      Minh         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7938   Bui      Ky           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7939   Bui      The          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7940   Bui      Phuc         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7941   Bui      Phao         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7942   Bui      Anh          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7943   Bui      Tuoi         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7944   Bui      Linh         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7945   Bui      Son          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7946   Bui      Tung         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7947   Cac      William      Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7948   Cao      Sonny        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7949   Cao      Sonny        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7950   Cao      Calvin       Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7951   Cao      On           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7952   Cao      Thinh        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7953   Cao      Thien        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7954   Cao      Hong         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7955   Cao      Helena       Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7956   Cao      Guoan        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7957   Cao      Chuanhai     Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7958   Cao      Thien        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7959   Cao      Vanon        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 7960   Cao      Thuan        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No

Tab E                                                                                                Page 135 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 137 of 247

 7961   Cao      Thao         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7962   Cao      Tony         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7963   Cao      Etena        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7964   Chai     Phuoc        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7965   Chau     Liem         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7966   Chau     Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7967   Chau     Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7968   Chau     Ty           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7969   Chau     Duc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7970   Chau     Buol         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7971   Chau     Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7972   Chau     Luong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7973   Chau     Tiffany      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7974   Chu      Lam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7975   Chu      Hong         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7976   Chu      Janine       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7977   Chui     Richard      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7978   Chung    Joseph       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7979   Chung    John         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7980   Chung    John         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7981   Dae      Yen          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7982   Dam      Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7983   Dam      Bau          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7984   Dam      Doake        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7985   Dam      Nam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7986   Dang     Kep          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7987   Dang     Thong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7988   Dang     Minh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7989   Dang     Bong         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7990   Dang     Oue          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7991   Dang     Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7992   Dang     Phoung       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7993   Dang     Tran         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7994   Dang     Thomas       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7995   Dang     Duong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7996   Dang     Henry        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7997   Dao      Khanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7998   Dao      Hein         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 7999   Dau      Cuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8000   Dau      Hoang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8001   Dau      Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8002   Dau      Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8003   Dau      Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8004   Diep     Khoa         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8005   Diep     My           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8006   Diep     Tho          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8007   Diep     Chong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8008   Diep     Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8009   Diep     Tracey       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8010   Diep     Lynn         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8011   Diep     Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8012   Diep     Tuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8013   Diep     Lynn         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8014   Diep     John         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8015   Diep     Hieu         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8016   Diep     Lynn         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8017   Diep     Lynn         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8018   Diep     Kenny        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8019   Dinh     Bang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 136 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 138 of 247

 8020   Dinh     Nga          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8021   Dinh     Phu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8022   Dinh     Giau         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8023   Dinh     Chau         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8024   Dinh     Chau         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8025   Dinh     Tam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8026   Dinh     Phu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8027   Dinh     Boi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8028   Dinh     Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8029   Dinh     Dorothy      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8030   Do       Kimmi        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8031   Do       Du           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8032   Do       Ha           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8033   Do       Thai         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8034   Do       R            Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8035   Do       Thi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8036   Do       Dan          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8037   Do       Tuyen        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8038   Do       Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8039   Do       Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8040   Do       Thy          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8041   Do       Tracy        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8042   Do       Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8043   Do       Mui          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8044   Do       Vinh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8045   Do       Uyen         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8046   Do       Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8047   Do       Phuc         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8048   Do       Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8049   Do       Suong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8050   Do       Paul         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8051   Do       Tai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8052   Do       Thao         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8053   Do       Danh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8054   Do       Tracy        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8055   Do       Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8056   Do       Vu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8057   Do       Van          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8058   Do       Lu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8059   Do       Mark         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8060   Do       Howard       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8061   Do       Tramanh      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8062   Do       Paul         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8063   Do       Suong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8064   Do       Anh          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8065   Do       Hoang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8066   Do       Anh          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8067   Do       Ut           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8068   Doan     Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8069   Doan     Linda        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8070   Doan     Kiamy        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8071   Doan     A            Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8072   Doan     Tin          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8073   Doan     Bao          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8074   Doan     Ben          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8075   Doan     Ben          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8076   Doan     Jeff         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8077   Doan     Binh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8078   Doan     Hoa          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 137 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 139 of 247

 8079   Doan     Anhhong      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8080   Doan     Sybrian      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8081   Doan     Ngoc         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8082   Doan     Donald       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8083   Doan     Charles      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8084   Doan     Barbara      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8085   Doan     Allen        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8086   Doan     Jason        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8087   Doan     Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8088   Doan     Hue          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8089   Doan     Michael      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8090   Doan     Linda        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8091   Doan     Jerry        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8092   Doan     Stanley      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8093   Doan     Thomas       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8094   Doan     Tuyet        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8095   Doan     Dean         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8096   Doan     Dean         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8097   Doan     Stanley      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8098   Doan     Hong         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8099   Doan     Shirley      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8100   Doan     Trinh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8101   Doan     Thomas       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8102   Doan     Donald       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8103   Doan     Gregory      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8104   Doan     Dennis       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8105   Doung    Thoi         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8106   Du       Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8107   Du       Sanh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8108   Du       Joseph       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8109   Du       Rowland      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8110   Du       Lac          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8111   Duong    Quang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8112   Duong    Trieu        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8113   Duong    Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8114   Duong    Justin       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8115   Duong    Linda        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8116   Duong    Lana         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8117   Duong    Hoa          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8118   Duong    Hoa          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8119   Duong    Hanh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8120   Duong    Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8121   Duong    Mimi         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8122   Duong    Loc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8123   Duong    Charles      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8124   Duong    Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8125   Duong    Charles      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8126   Duong    Charles      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8127   Duong    Tom          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8128   Duong    Ton          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8129   Duong    Tuyet        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8130   Duong    Thoi         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8131   Duong    Duy          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8132   Duong    Hue          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8133   Duong    Tony         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8134   Duong    Lisa         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8135   Duong    William      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8136   Duong    Zion         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8137   Duong    Quang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 138 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 140 of 247

 8138   Duong    Cheryl       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8139   Duong    Christine    Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8140   Duong    Ngov         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8141   Duong    Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8142   Duong    Harry        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8143   Duong    Phuc         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8144   Duong    Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8145   Duong    Du           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8146   Duong    Tho          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8147   Duong    Thoai        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8148   Duong    Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8149   Duong    Gloria       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8150   Duong    Ta           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8151   Duong    Tuanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8152   Duong    Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8153   Duong    Tony         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8154   Duong    Nhut         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8155   Duong    Nhut         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8156   Duong    Linda        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8157   Duong    Lan          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8158   Duong    Hue          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8159   Duong    Quang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8160   Duong    Nhan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8161   Duong    Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8162   Ha       Samuel       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8163   Ha       Myung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8164   Ha       Tuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8165   Ha       Sai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8166   Han      Angela       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8167   Ho       Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8168   Ho       Huyen        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8169   Ho       Huyen        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8170   Ho       Henry        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8171   Ho       Duc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8172   Ho       Duc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8173   Ho       Yao          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8174   Ho       Nga          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8175   Ho       Chien        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8176   Ho       Chien        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8177   Ho       Phat         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8178   Ho       Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8179   Ho       Teum         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8180   Ho       Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8181   Ho       Ret          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8182   Ho       Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8183   Ho       Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8184   Ho       Michael      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8185   Ho       Wendy        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8186   Ho       Mai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8187   Ho       Danny        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8188   Ho       Justin       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8189   Ho       Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8190   Ho       Dot          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8191   Ho       Tho          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8192   Ho       Danny        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8193   Ho       Doi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8194   Ho       Quynh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8195   Ho       Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8196   Ho       Sonny        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 139 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 141 of 247

 8197   Ho       Shue         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8198   Ho       Bon          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8199   Ho       Curtis       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8200   Ho       Tien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8201   Hoang    David        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8202   Hoang    Thien        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8203   Hoang    Van          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8204   Hoang    Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8205   Hoang    Van          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8206   Hoang    Sinh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8207   Hoang    Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8208   Hoang    Peter        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8209   Hoang    Nanh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8210   Hoang    Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8211   Hoang    Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8212   Hoang    Nguyen       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8213   Hoang    Phuoc        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8214   Hoang    Paul         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8215   Hoang    D            Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8216   Hong     Kong         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8217   Hong     Ni           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8218   Huynh    Song         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8219   Huynh    Loan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8220   Huynh    Anh          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8221   Huynh    Anthony      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8222   Huynh    Mai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8223   Huynh    Bong         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8224   Huynh    Bich         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8225   Huynh    Chi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8226   Huynh    Lily         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8227   Huynh    Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8228   Huynh    Erin         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8229   Jo       Jasmine      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8230   Kieu     Thuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8231   Kim      Dedorah      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8232   Kim      David        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8233   Kim      Chelsea      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8234   Kim      Charles      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8235   Kim      Ann          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8236   Kim      Ann          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8237   Kim      Bob          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8238   Kim      Dee          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8239   Kim      Ha           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8240   Kim      Gail         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8241   Kim      Hee          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8242   Kim      Chan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8243   Kim      Christina    Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8244   Kim      Choon        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8245   Kim      Choon        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8246   Kim      Chae         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8247   Kim      Chong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8248   Kim      Calvin       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8249   Kim      Abe          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8250   Kim      Daniel       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8251   Kim      Hee          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8252   Kim      Hayoung      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8253   Kim      Hi           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8254   Kim      Hea          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8255   Kim      Hac          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 140 of 246
          Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 142 of 247

 8256   Kim     Darrick      Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8257   Kim     Charles      Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8258   Kim     Christine    Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8259   Kim     Dong         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8260   Kim     Harry        Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8261   Kim     Dok          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8262   Kim     Do           Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8263   Kim     Alena        Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8264   Kim     Hee          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8265   Kim     Eun          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8266   Kim     Euna         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8267   Kim     Thuy         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8268   Kim     Michael      Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8269   Kim     Deoksoon     Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8270   Kim     Suksoo       Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8271   Kim     Evan         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8272   Kim     Eun          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8273   Kim     Daeryeong    Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8274   La      Anna         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8275   La      Roberto      Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8276   La      Sherry       Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8277   La      Chris        Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8278   Lac     Lien         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8279   Lai     Chau         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8280   Lam     Hoanh        Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8281   Lam     Vanh         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8282   Lam     Kandice      Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8283   Lam     Khoa         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8284   Lam     Huong        Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8285   Lam     Cristi       Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8286   Lam     Claudette    Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8287   Lam     Dric         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8288   Lan     Ken          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8289   Le      Duc          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8290   Le      Linh         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8291   Le      Thu          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8292   Le      Hanh         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8293   Le      Hang         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8294   Le      Chan         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8295   Le      Tinh         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8296   Le      John         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8297   Le      Long         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8298   Le      Kim          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8299   Le      Lily         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8300   Le      Thi          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8301   Le      Thinh        Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8302   Le      Vinh         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8303   Le      Marchant     Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8304   Le      Hoa          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8305   Le      Cau          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8306   Le      Hieu         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8307   Le      Chot         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8308   Le      Marchant     Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8309   Le      Cham         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8310   Le      Thomas       Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8311   Le      Hung         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8312   Le      Hung         Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8313   Le      Hai          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No
 8314   Le      Hoa          Duc Truong Le, etUSDC
                                              al v. BP,
                                                     Southern
                                                        P.L.C., District
                                                                et al of Texas   10-3173   No      No

Tab E                                                                                           Page 141 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 143 of 247

 8315   Le       Hao          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8316   Le       Dang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8317   Le       Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8318   Le       Quyen        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8319   Le       Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8320   Le       Thiet        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8321   Le       Tam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8322   Le       Jennifer     Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8323   Le       Amy          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8324   Le       Sanh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8325   Le       Cheng        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8326   Le       Duang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8327   Le       Danh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8328   Le       Ginger       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8329   Le       Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8330   Le       Leandre      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8331   Le       Luc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8332   Le       Yen          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8333   Le       Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8334   Le       Kathy        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8335   Le       Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8336   Le       Mary         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8337   Le       Mary         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8338   Le       Ken          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8339   Le       Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8340   Le       Giang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8341   Le       Kimso        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8342   Le       Blanc        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8343   Le       Kimerly      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8344   Le       Huong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8345   Le       May          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8346   Le       Du           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8347   Le       Duc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8348   Le       Mai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8349   Le       Hanh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8350   Le       Thuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8351   Le       Phat         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8352   Le       Loan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8353   Lieu     Ty           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8354   Lu       Priore       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8355   Luc      Mai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8356   Luong    Xuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8357   Luong    Thong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8358   Luong    Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8359   Luong    Ngo          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8360   Luong    Sung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8361   Luong    Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8362   Luong    Tom          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8363   Luong    Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8364   Luong    Hanh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8365   Luong    Tam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8366   Luong    Nga          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8367   Luong    Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8368   Luong    Van          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8369   Luong    John         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8370   Luong    Dennis       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8371   Luu      Vy           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8372   Luu      Victor       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8373   Luu      Jimmi        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 142 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 144 of 247

 8374   Luu      Thang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8375   Luu      Gia          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8376   Luu      Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8377   Luu      Thang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8378   Luu      Thong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8379   Luu      Chi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8380   Luu      Phat         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8381   Luu      Kist         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8382   Luu      Tuyetnhung   Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8383   Luu      Julie        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8384   Luu      Tu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8385   Luu      Thang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8386   Luu      Thai         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8387   Luu      Sach         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8388   Luu      Michelle     Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8389   Luu      Scott        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8390   Luu      Mau          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8391   Luu      Henry        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8392   Luu      David        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8393   Luu      Nicholas     Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8394   Luu      Nhon         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8395   Luu      Gia          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8396   Luu      Tran         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8397   Luu      Marie        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8398   Luu      Daniel       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8399   Luu      Lean         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8400   Luu      Scott        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8401   Ly       Tung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8402   Ly       Khuyen       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8403   Ly       Khend        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8404   Ly       Huy          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8405   Ly       Dil          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8406   Ly       Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8407   Ly       Eam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8408   Ly       Chuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8409   Ly       Christine    Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8410   Ly       Lyanne       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8411   Ly       Bui          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8412   Mai      Mary         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8413   Mai      Jackie       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8414   Mai      Alan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8415   Mai      Hoc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8416   Mai      Minh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8417   Mai      Bich         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8418   Mai      Tuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8419   Mai      Tuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8420   Mai      Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8421   Nghiem   Xuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8422   Nghiem   Tam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8423   Ngo      Trung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8424   Ngo      Ut           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8425   Ngo      Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8426   Ngo      Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8427   Ngo      Hang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8428   Ngo      Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8429   Ngo      Trung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8430   Ngo      Diem         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8431   Ngo      Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8432   Ngo      Hong         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 143 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 145 of 247

 8433   Ngo      Charlie      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8434   Ngo      Thien        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8435   Ngo      Trinh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8436   Ngo      Ho           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8437   Ngo      Thy          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8438   Ngo      Diem         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8439   Ngo      Dzung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8440   Ngo      Diem         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8441   Ngo      Phuc         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8442   Nguy     Terera       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8443   Nguyen   Linh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8444   Nguyen   Huu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8445   Nguyen   Charolette   Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8446   Nguyen   Tan          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8447   Nguyen   Nguyet       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8448   Nguyen   Ngoc         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8449   Nguyen   Phong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8450   Nguyen   Charlie      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8451   Nguyen   Phong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8452   Nguyen   Linda        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8453   Nguyen   Loi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8454   Nguyen   Si           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8455   Nguyen   Bich         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8456   Nguyen   William      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8457   Nguyen   Maria        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8458   Nguyen   Chi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8459   Nguyen   Henry        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8460   Nguyen   Hang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8461   Nguyen   Giang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8462   Nguyen   Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8463   Nguyen   Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8464   Nguyen   Hoa          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8465   Nguyen   Hoang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8466   Nguyen   Hoang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8467   Nguyen   Hoang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8468   Nguyen   Hop          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8469   Nguyen   Hue          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8470   Nguyen   Lam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8471   Nguyen   Chuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8472   Nguyen   Anna         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8473   Nguyen   Diem         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8474   Nguyen   Derek        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8475   Nguyen   Duong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8476   Nguyen   Duong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8477   Nguyen   Ven          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8478   Nguyen   Vanthu       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8479   Nguyen   Wen          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8480   Nguyen   Van          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8481   Nguyen   Lay          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8482   Nguyen   Lee          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8483   Nguyen   Thao         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8484   Nguyen   Chieu        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8485   Nguyen   Anson        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8486   Nguyen   Ba           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8487   Nguyen   Ca           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8488   Nguyen   Tuyen        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8489   Nguyen   Sang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8490   Nguyen   Sang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8491   Nguyen   Sang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 144 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 146 of 247

 8492   Nguyen   Molly        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8493   Nguyen   Nancy        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8494   Nguyen   Marigold     Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8495   Nguyen   Mustang      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8496   Nguyen   Lynn         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8497   Nguyen   Ly           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8498   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8499   Nguyen   Renee        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8500   Nguyen   Lee          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8501   Nguyen   Lien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8502   Nguyen   Tina         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8503   Nguyen   Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8504   Nguyen   Quang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8505   Nguyen   Quang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8506   Nguyen   Na           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8507   Nguyen   Toung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8508   Nguyen   Tony         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8509   Nguyen   Mung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8510   Nguyen   Minh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8511   Nguyen   Muoi         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8512   Nguyen   N            Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8513   Nguyen   Nam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8514   Nguyen   Nam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8515   Nguyen   Nem          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8516   Nguyen   Holly        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8517   Nguyen   Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8518   Nguyen   Nhion        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8519   Nguyen   Nhung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8520   Nguyen   Nhung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8521   Nguyen   Nha          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8522   Nguyen   Nguyen       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8523   Nguyen   Tin          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8524   Nguyen   Marie        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8525   Nguyen   Dai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8526   Nguyen   Loc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8527   Nguyen   Minh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8528   Nguyen   Suyen        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8529   Nguyen   Scott        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8530   Nguyen   Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8531   Nguyen   Hiep         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8532   Nguyen   Hoang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8533   Nguyen   Tuoi         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8534   Nguyen   Minh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8535   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8536   Nguyen   Tran         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8537   Nguyen   Trung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8538   Nguyen   Ngoc         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8539   Nguyen   Ngoc         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8540   Nguyen   Ngoc         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8541   Nguyen   Nha          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8542   Nguyen   Nha          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8543   Nguyen   Trung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8544   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8545   Nguyen   Loan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8546   Nguyen   Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8547   Nguyen   Ddouc        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8548   Nguyen   Lai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8549   Nguyen   La           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8550   Nguyen   Ky           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 145 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 147 of 247

 8551   Nguyen   Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8552   Nguyen   Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8553   Nguyen   Huong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8554   Nguyen   John         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8555   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8556   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8557   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8558   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8559   Nguyen   Du           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8560   Nguyen   Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8561   Nguyen   Hoa          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8562   Nguyen   Hien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8563   Nguyen   Hien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8564   Nguyen   Hien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8565   Nguyen   Henry        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8566   Nguyen   Anh          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8567   Nguyen   Dzung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8568   Nguyen   Duy          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8569   Nguyen   Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8570   Nguyen   Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8571   Nguyen   Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8572   Nguyen   Phu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8573   Nguyen   Nhan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8574   Nguyen   Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8575   Nguyen   Bay          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8576   Nguyen   Anna         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8577   Nguyen   Dinh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8578   Nguyen   Gao          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8579   Nguyen   Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8580   Nguyen   Tram         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8581   Nguyen   Anh          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8582   Nguyen   Cam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8583   Nguyen   Lai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8584   Nguyen   Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8585   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8586   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8587   Nguyen   Leduc        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8588   Nguyen   Le           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8589   Nguyen   Lam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8590   Nguyen   Bich         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8591   Nguyen   Yen          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8592   Nguyen   Nghia        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8593   Nguyen   Thi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8594   Nguyen   Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8595   Nguyen   Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8596   Nguyen   Tuyet        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8597   Nguyen   Elizabeth    Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8598   Nguyen   Tommy        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8599   Nguyen   Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8600   Nguyen   Tau          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8601   Nguyen   Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8602   Nguyen   Tho          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8603   Nguyen   Le           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8604   Nguyen   Thahn        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8605   Nguyen   Tim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8606   Nguyen   Thai         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8607   Nguyen   Tri          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8608   Nguyen   Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8609   Nguyen   Quang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 146 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 148 of 247

 8610   Nguyen   Mary         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8611   Nguyen   Long         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8612   Nguyen   Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8613   Nguyen   Chinh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8614   Nguyen   Ven          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8615   Nguyen   Bang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8616   Nguyen   Chau         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8617   Nguyen   Nhan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8618   Nguyen   Tu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8619   Nguyen   Tuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8620   Nguyen   Tuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8621   Nguyen   Tuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8622   Nguyen   Tuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8623   Nguyen   Tuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8624   Nguyen   Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8625   Nguyen   Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8626   Nguyen   Son          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8627   Nguyen   Su           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8628   Nguyen   Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8629   Nguyen   Loi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8630   Nguyen   T.s          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8631   Nguyen   Long         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8632   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8633   Nguyen   Thai         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8634   Nguyen   Joseph       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8635   Nguyen   Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8636   Nguyen   Vu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8637   Nguyen   Trinh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8638   Nguyen   Joe          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8639   Nguyen   Lam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8640   Nguyen   Xoa          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8641   Nguyen   Toan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8642   Nguyen   Trong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8643   Nguyen   Trinh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8644   Nguyen   Tien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8645   Nguyen   Tin          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8646   Nguyen   Renee        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8647   Nguyen   Virginia     Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8648   Nguyen   Toan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8649   Nguyen   Anh          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8650   Nguyen   Nhung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8651   Nguyen   Tuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8652   Nguyen   Nga          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8653   Nguyen   Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8654   Nguyen   Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8655   Nguyen   Tuyen        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8656   Nguyen   Tuyen        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8657   Nguyen   Minh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8658   Nguyen   Trong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8659   Nguyen   Phong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8660   Nguyen   Quan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8661   Nguyen   Phong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8662   Nguyen   Phong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8663   Nguyen   Trong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8664   Nguyen   John         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8665   Nguyen   Ky           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8666   Nguyen   Dave         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8667   Nguyen   Ha           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8668   Nguyen   Giang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 147 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 149 of 247

 8669   Nguyen   Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8670   Nguyen   Diem         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8671   Nguyen   Dai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8672   Nguyen   M            Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8673   Nguyen   Mai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8674   Nguyen   Brandon      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8675   Nguyen   Tom          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8676   Nguyen   Lai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8677   Nguyen   Trung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8678   Nguyen   Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8679   Nguyen   Thoi         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8680   Nguyen   Towy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8681   Nguyen   Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8682   Nguyen   Thao         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8683   Nguyen   Luan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8684   Nguyen   Long         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8685   Nguyen   Trang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8686   Nguyen   Tam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8687   Nguyen   Tam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8688   Nguyen   Tam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8689   Nguyen   Thinh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8690   Nguyen   Thien        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8691   Nguyen   Hong         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8692   Nguyen   Kay          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8693   Nguyen   Kierra       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8694   Nguyen   Maria        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8695   Nguyen   Huy          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8696   Nguyen   Jr           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8697   Nguyen   Vinh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8698   Nguyen   Ha           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8699   Nguyen   Vang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8700   Nguyen   Tan          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8701   Nguyen   Trinh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8702   Nguyen   Cuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8703   Nguyen   Cach         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8704   Nguyen   Bao          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8705   Nguyen   Bao          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8706   Nguyen   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8707   Pham     Lawon        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8708   Pham     Binh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8709   Pham     Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8710   Pham     Xuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8711   Pham     Hien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8712   Pham     Diem         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8713   Pham     Cam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8714   Pham     Cam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8715   Pham     Bang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8716   Pham     Rachel       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8717   Pham     Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8718   Pham     Khanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8719   Pham     Huong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8720   Pham     Hoa          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8721   Pham     Han          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8722   Pham     Duc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8723   Pham     Tu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8724   Pham     Tien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8725   Pham     Tim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8726   Pham     Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8727   Pham     Tam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 148 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 150 of 247

 8728   Pham     Thomas       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8729   Pham     Van          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8730   Pham     Vanessa      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8731   Pham     Diep         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8732   Pham     Ha           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8733   Pham     Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8734   Pham     Nam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8735   Pham     Ben          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8736   Pham     Tam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8737   Pham     Christy      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8738   Pham     Cuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8739   Pham     Jimmy        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8740   Pham     Johnny       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8741   Pham     Linh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8742   Pham     Loanne       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8743   Pham     Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8744   Pham     Truyen       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8745   Pham     Phong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8746   Phan     Di           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8747   Phan     Dat          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8748   Phan     Brenda       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8749   Phan     Thi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8750   Phung    Hien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8751   Phung    Tran         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8752   Quach    Lien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8753   Ta       Francisco    Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8754   Ta       Alyssa       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8755   Ta       Dzung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8756   Ta       Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8757   Ta       Nguyen       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8758   Ta       Khanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8759   Tang     Seng         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8760   Tang     Hang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8761   Tang     Hue          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8762   Tang     Len          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8763   Tang     Joanna       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8764   Tang     Lang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8765   Tang     Gary         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8766   Tang     Quy          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8767   Tang     Xen          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8768   Tang     Sou          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8769   Tang     Yiu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8770   Thach    Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8771   Thach    Chea         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8772   Thai     Giang        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8773   Thai     Tuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8774   Thanh    Phan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8775   Ton      Mary         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8776   Ton      Richard      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8777   Ton      Hong         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8778   Ton      Richard      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8779   Ton      Nam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8780   Tra      Biet         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8781   Tra      Michael      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8782   Tran     Bot          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8783   Tran     Dung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8784   Tran     Elvis        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8785   Tran     Due          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8786   Tran     Chung        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 149 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 151 of 247

 8787   Tran     Tony          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8788   Tran     Tony          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8789   Tran     Tieu          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8790   Tran     Thanh         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8791   Tran     Tap           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8792   Tran     Tom           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8793   Tran     Tuan          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8794   Tran     Trang         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8795   Tran     Kim           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8796   Tran     Long          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8797   Tran     Son           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8798   Tran     Son           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8799   Tran     Susan         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8800   Tran     Huong         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8801   Tran     Huong         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8802   Tran     Tung          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8803   Tran     Tung          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8804   Tran     Tuyet         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8805   Tran     Viet          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8806   Tran     Thien         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8807   Tran     Thien         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8808   Tran     Thiam         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8809   Tran     Thanhphoung   Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8810   Tran     Thanh         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8811   Tran     Christine     Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8812   Tran     Cao           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8813   Tran     Bryan         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8814   Tran     Vuong         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8815   Tran     Bryan         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8816   Tran     Thinh         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8817   Tran     Thomas        Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8818   Tran     Thu           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8819   Tran     Thu           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8820   Tran     Tien          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8821   Tran     Tran          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8822   Tran     Timmy         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8823   Tran     Thuy          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8824   Tran     Tien          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8825   Tran     Toan          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8826   Tran     Toan          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8827   Tran     Trang         Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8828   Tran     Tony          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8829   Tran     Vi            Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8830   Tran     Thu           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8831   Tran     Soi           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8832   Tran     Soi           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8833   Tran     Sanh          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8834   Tran     Son           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8835   Tran     Sinh          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8836   Tran     Sinh          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8837   Tran     Tam           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8838   Tran     Hien          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8839   Tran     Bat           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8840   Tran     Any           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8841   Tran     Ai            Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8842   Tran     Anh           Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8843   Tran     Tien          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8844   Tran     Mark          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No
 8845   Tran     Huan          Duc Truong Le, etUSDC
                                                al v. BP,
                                                       Southern
                                                          P.L.C., District
                                                                  et al of Texas   10-3173   No      No

Tab E                                                                                             Page 150 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 152 of 247

 8846   Tran     David        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8847   Tran     Henry        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8848   Tran     Hieu         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8849   Tran     Tai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8850   Tran     Johnson      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8851   Tran     An           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8852   Tran     Jimmy        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8853   Tran     Ban          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8854   Tran     Ba           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8855   Tran     Agnes        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8856   Tran     Vuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8857   Tran     Huy          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8858   Tran     Vu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8859   Tran     Giao         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8860   Tran     Luong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8861   Tran     Mai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8862   Tran     Lisa         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8863   Tran     Truc         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8864   Tran     Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8865   Tran     Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8866   Tran     Tap          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8867   Tran     Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8868   Tran     Bich         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8869   Tran     Dien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8870   Tran     Yen          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8871   Tran     Angie        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8872   Tran     Lam          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8873   Tran     Vu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8874   Tran     Bot          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8875   Tran     Chau         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8876   Tran     Chinh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8877   Tran     Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8878   Tran     Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8879   Tran     Hai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8880   Tran     Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8881   Tran     Dai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8882   Tran     Phoung       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8883   Tran     Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8884   Tran     Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8885   Tran     P            Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8886   Tran     Phap         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8887   Tran     Cuc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8888   Tran     Heidi        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8889   Tran     Preston      Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8890   Tran     Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8891   Tran     Thu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8892   Tran     Tien         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8893   Tran     Bich         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8894   Tran     Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8895   Tran     Nhut         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8896   Tran     Nghiep       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8897   Tran     Jack         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8898   Tran     Vu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8899   Tran     Dep          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8900   Tran     Cuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8901   Tran     Dat          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8902   Tran     Dang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8903   Tran     Xuan         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8904   Tran     Vuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 151 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 153 of 247

 8905   Tran     Vuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8906   Tran     Vuong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8907   Tran     Thong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8908   Tran     Trinh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8909   Tran     Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8910   Tran     Ben          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8911   Tran     Gioi         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8912   Trang    Huot         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8913   Trieu    Minh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8914   Trieu    Lynda        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8915   Trieu    Nhu          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8916   Trieu    Yen          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8917   Trieu    Yen          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8918   Trieu    Victor       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8919   Trinh    Paul         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8920   Trinh    Khanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8921   Trinh    Kimanh       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8922   Trinh    Ktanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8923   Trinh    Long         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8924   Trinh    Minh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8925   Trinh    Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8926   Trinh    Hieu         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8927   Trinh    Minh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8928   Trinh    An           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8929   Trinh    Duc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8930   Trinh    Thong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8931   Troung   Binh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8932   Troung   Thuy         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8933   Troung   Linda        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8934   Troung   No           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8935   Trung    Ghek         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8936   Truong   Lang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8937   Truong   Hinh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8938   Truong   Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8939   Truong   Dat          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8940   Truong   Loc          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8941   Truong   Nguyen       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8942   Truong   Sanh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8943   Truong   Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8944   Truong   Thanh        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8945   Truong   Chi          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8946   Truong   Hung         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8947   Truong   Kimtuyen     Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8948   Truong   Tai          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8949   Truong   Lang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8950   Truong   Lang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8951   Truong   Phong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8952   Truong   Tu           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8953   Truong   Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8954   Truong   Hoai         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8955   Truong   Hiep         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8956   Truong   Phuong       Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8957   Truong   Hanh         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8958   Truong   Vang         Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8959   Truong   Phong        Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8960   Truong   Tri          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8961   Truong   Kim          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8962   Truong   An           Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No
 8963   Truong   Sau          Duc Truong Le, etUSDC
                                               al v. BP,
                                                      Southern
                                                         P.L.C., District
                                                                 et al of Texas   10-3173   No      No

Tab E                                                                                            Page 152 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 154 of 247

 8964   Truong    Loc         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8965   Truong    Thanh       Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8966   Truong    Vivian      Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8967   Truong    Hung        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8968   Truong    Hung        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8969   Truong    Jenny       Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8970   Truong    Tai         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8971   Truong    Hang        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8972   Truong    Thanh       Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8973   Truong    Thanh       Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8974   Truong    Tung        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8975   Truong    Tommy       Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8976   Truong    Tien        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8977   Truong    Hien        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8978   Truongs   Nho         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8979   Truoung   Lau         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8980   Tu        Bin         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8981   Tu        Bin         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8982   Tu        Han         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8983   Tu        Chuong      Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8984   Tuong     Ha          Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8985   Van       Nam         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8986   Van       Asten       Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8987   Van       Norman      Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8988   Van       Mi          Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8989   Van       Mary        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8990   Van       Ly          Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8991   Van       Ly          Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8992   Van       Thu         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8993   Van       Coc         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8994   Van       Asten       Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8995   Vo        Han         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8996   Vo        Truc        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8997   Vo        Xuan        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8998   Vo        Kuan        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 8999   Vo        Han         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9000   Vo        Lin         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9001   Vo        Bruce       Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9002   Vo        Tuoi        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9003   Vo        Truc        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9004   Vu        Huan        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9005   Vu        Dao         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9006   Vu        Cung        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9007   Vu        Luong       Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9008   Vu        Ao          Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9009   Vu        Tien        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9010   Vuong     Vu          Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9011   Vuong     Van         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9012   Vuong     Yan         Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9013   Vuong     Minh        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9014   Vuong     Quoc        Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9015   Vuong     Sa          Duc Truong Le, etUSDC
                                                al v. BP,
                                                        Southern
                                                          P.L.C., District
                                                                  et al of Texas      10-3173   No      No
 9016   Bui       Liem        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9017   Bui       Cuong       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9018   Bui       Hong        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9019   Bui       Jessica     Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9020   Bui       Khiem       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9021   Bui       Kim         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9022   Bui       Ai          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 153 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 155 of 247

 9023   Bui      Binh         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9024   Bui      Niem         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9025   Bui      Thang        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9026   Bui      Long         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9027   Bui      Lac          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9028   Bui      Phuong       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9029   Bui      Kimyen       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9030   Bui      Ly           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9031   Bui      Duc          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9032   Bui      Thanh        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9033   Bui      Kimchi       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9034   Chan     Chung        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9035   Che      April        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9036   Chu      Liping       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9037   Chu      Mav          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9038   Chu      Mia          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9039   Chu      Nelson       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9040   Chu      Norman       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9041   Chu      Shawn        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9042   Chu      Shawn        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9043   Chu      Shun         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9044   Chu      Sophia       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9045   Chu      Stefanie     Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9046   Chu      Dave         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9047   Chu      Andrew       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9048   Chu      Chituma      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9049   Chu      Stephanie    Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9050   Chu      Stephanie    Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9051   Chu      Stephanie    Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9052   Chu      Steve        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9053   Chu      Teching      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9054   Chu      Ted          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9055   Chu      Thanh        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9056   Chu      Thuc         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9057   Chu      Tony         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9058   Chu      Susan        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9059   Chu      Edward       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9060   Chu      James        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9061   Chu      Jui          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9062   Chu      Tsuyi        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9063   Chu      Wendy        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9064   Chu      Won          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9065   Chu      Yen          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9066   Chu      Yvonne       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9067   Chu      Yvonne       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9068   Chu      Allen        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9069   Chu      Shelby       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9070   Dai      Ling         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9071   Dam      Nary         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9072   Dam      Ly           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9073   Dam      Ly           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9074   Dam      Lam          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9075   Dam      Valli        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9076   Dam      Derek        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9077   Dam      Lam          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9078   Dan      Ortega       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9079   Dan      Roxana       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9080   Dan      B            Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9081   Dang     Ana          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 154 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 156 of 247

 9082   Dang     Anh          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9083   Dang     Ty           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9084   Dang     Taylor       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9085   Dang     Rosana       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9086   Dang     Phat         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9087   Dang     Dong         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9088   Dang     Dinh         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9089   Dang     Geoffrey     Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9090   Dang     Danny        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9091   Dang     Chien        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9092   Dinh     Cong         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9093   Dinh     Chien        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9094   Dinh     Thu          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9095   Dinh     Vincent      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9096   Dinh     Cu           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9097   Dinh     Ba           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9098   Dinh     Nhan         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9099   Dinh     Ba           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9100   Dinh     Thinh        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9101   Dinh     Linh         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9102   Dinh     Hong         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9103   Do       Betty        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9104   Do       Eric         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9105   Do       Long         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9106   Do       Danh         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9107   Do       Cuong        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9108   Do       Yi           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9109   Do       Huy          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9110   Doan     David        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9111   Doan     Wilson       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9112   Doan     Toan         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9113   Doan     Quang        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9114   Du       Hulping      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9115   Du       Liping       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9116   Du       Zaiqun       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9117   Du       Ha           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9118   Dung     Lam          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9119   Duong    Paul         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9120   Duong    Tuan         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9121   Duong    Sang         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9122   Duong    Phuong       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9123   Duong    Thi          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9124   Ha       Dung         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9125   Ha       Bich         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9126   Han      Dale         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9127   Han      Alice        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9128   Han      Chong        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9129   Han      Chieu        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9130   Han      Dennis       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9131   Han      Cuong        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9132   Hau      Denny        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9133   Hau      Chang        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9134   Ho       Spencer      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9135   Ho       T            Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9136   Ho       Huu          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9137   Ho       Chin         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9138   Ho       Bong         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9139   Ho       Hy           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9140   Ho       Howard       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 155 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 157 of 247

 9141   Ho       Jeffrey      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9142   Ho       Robert       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9143   Ho       Chin         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9144   Ho       Meo          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9145   Ho       Quoc         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9146   Ho       Vince        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9147   Hoa      Le           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9148   Hoang    Hoa          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9149   Hoang    Vien         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9150   Hoang    Thinh        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9151   Hoang    Qmy          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9152   Hoang    K            Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9153   Hoang    Khau         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9154   Hoang    Diem         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9155   Hoang    Nga          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9156   Hoang    Pham         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9157   Hoang    Thuong       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9158   Hua      Ling         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9159   Hua      Thuy         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9160   Hua      Le           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9161   Huynh    Arlene       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9162   La       Pally        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9163   La       Tony         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9164   La       Tony         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9165   Lac      Ha           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9166   Lac      Thung        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9167   Lac      Suan         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9168   Lac      Xuan         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9169   Lac      Suan         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9170   Lai      Khanh        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9171   Lai      Kwok         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9172   Lai      Sang         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9173   Lam      Sabrina      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9174   Lam      Ha           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9175   Lam      Dung         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9176   Lam      Tia          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9177   Lam      Doi          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9178   Lam      Hue          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9179   Lam      Hea          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9180   Lam      Steven       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9181   Lam      Yvet         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9182   Lam      Lam          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9183   Lam      Martha       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9184   Lam      Thien        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9185   Lam      Buu          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9186   Lam      Susanna      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9187   Lam      Jeffry       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9188   Lam      Man          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9189   Lam      Kwok         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9190   Lam      Mai          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9191   Lam      Benjamin     Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9192   Lam      Freeman      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9193   Lam      Do           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9194   Lam      Rung         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9195   Lam      Sio          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9196   Lam      Stacy        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9197   Lam      Van          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9198   Lam      Tonya        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9199   Lan      Phys         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 156 of 246
               Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 158 of 247

 9200   Le           Kim          Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9201   Le           Con          Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9202   Le           Kha          Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9203   Le           Di           Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9204   Le           Dung         Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9205   Le           Giang        Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9206   Le           Mai          Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9207   Le           Steve        Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9208   Le           My           Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
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 9209   Le           Phung        Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9210   Le           Yen          Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9211   Le           In           Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9212   Le           Tan          Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9213   Le           Vinh         Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9214   Le           Quyen        Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
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 9215   Le           Quyen        Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9216   Le           Man          Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
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 9217   Le           Man          Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9218   Le           Sang         Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9219   Le           Duoc         Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9220   Le           Tuan         Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
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 9221   Le           Quang        Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9222   Le           Cuong        Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9223   Le           Sang         Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9224   Le           Yosef        Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9225   Le           Thomas       Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9226   Le           Nguyet       Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9227   Le           Thy          Shun Y. Chu, et alUSDC
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 9228   Le           Phung        Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9229   Le           Duc          Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9230   Le           Daniel       Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9231   Le           Cuong        Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9232   Le           Van          Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9233   Le           An           Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
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 9234   Le           Sieu         Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9235   Le           Sam          Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9236   Le           Ka           Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9237   Le           Lien         Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9238   Le           Tiet         Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
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 9239   Le           Pn           Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9240   Le           An           Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9241   Le           Khanh        Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9242   Le           Hoa          Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9243   Le           Julie        Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
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 9244   Le           Lan          Shun Y. Chu, et alUSDC
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 9245   Le           Lan          Shun Y. Chu, et alUSDC
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 9246   Le           Anh          Shun Y. Chu, et alUSDC
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 9247   Le           Zy           Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9248   Le           Ninamyhanh   Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9249   Le           Hung         Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9250   Le           Phuong       Shun Y. Chu, et alUSDC
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 9251   Le           Khoi         Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
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 9252   Le           Kim          Shun Y. Chu, et alUSDC
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 9253   Le           Eva          Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
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 9254   Lieu         Minh         Shun Y. Chu, et alUSDC
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 9255   Lieu         Minh         Shun Y. Chu, et alUSDC
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 9256   Lieu         Soang        Shun Y. Chu, et alUSDC
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                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9257   Lieu         Chung        Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No
 9258   Lieu         Peter        Shun Y. Chu, et alUSDC
                                                     v. BP, Southern
                                                            P.L.C., etDistrict
                                                                      al       of Texas   10-3174   No      No

Tab E                                                                                                    Page 157 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 159 of 247

 9259   Lieu     Ket          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9260   Lieu     Linh         Shun Y. Chu, et alUSDC
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 9261   Lieu     C            Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9262   Lieu     Cindy        Shun Y. Chu, et alUSDC
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 9263   Lieu     Soang        Shun Y. Chu, et alUSDC
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 9264   Liew     Minh         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
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                                                                  al       of Texas   10-3174   No      No
 9265   Luc      Tom          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
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 9266   Luc      Khi          Shun Y. Chu, et alUSDC
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 9267   Luong    Be           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
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 9268   Luong    An           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
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 9269   Luong    Lan          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9270   Luong    Lan          Shun Y. Chu, et alUSDC
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 9271   Luu      Duoc         Shun Y. Chu, et alUSDC
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 9272   Luu      Minh         Shun Y. Chu, et alUSDC
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 9273   Luu      Lien         Shun Y. Chu, et alUSDC
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 9274   Luu      Theresa      Shun Y. Chu, et alUSDC
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 9275   Ly       Vuong        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
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 9276   Ly       Vu           Shun Y. Chu, et alUSDC
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 9277   Ly       Onmy         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9278   Ly       Hong         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9279   Ly       Lien         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9280   Mai      Lan          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9281   Mai      Vanh         Shun Y. Chu, et alUSDC
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 9282   Mai      Thui         Shun Y. Chu, et alUSDC
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 9283   Mai      Quoc         Shun Y. Chu, et alUSDC
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 9284   Mai      Nhien        Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9285   Ngiyen   Cam          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9286   Ngo      Aniana       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9287   Ngo      Matthew      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9288   Ngo      Bao          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9289   Nguyen   Maria        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9290   Nguyen   Thi          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9291   Nguyen   Dung         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
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 9292   Nguyen   Luan         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9293   Nguyen   Tay          Shun Y. Chu, et alUSDC
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 9294   Nguyen   Si           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9295   Nguyen   Ann          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9296   Nguyen   Quynh        Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9297   Nguyen   Thao         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9298   Nguyen   Toan         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9299   Nguyen   Tai          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9300   Nguyen   P            Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9301   Nguyen   Pat          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9302   Nguyen   Quynh        Shun Y. Chu, et alUSDC
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 9303   Nguyen   Thien        Shun Y. Chu, et alUSDC
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 9304   Nguyen   Cam          Shun Y. Chu, et alUSDC
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 9305   Nguyen   Thanh        Shun Y. Chu, et alUSDC
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 9306   Nguyen   Ho           Shun Y. Chu, et alUSDC
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 9307   Nguyen   Hieu         Shun Y. Chu, et alUSDC
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 9308   Nguyen   Huy          Shun Y. Chu, et alUSDC
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 9309   Nguyen   Quon         Shun Y. Chu, et alUSDC
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 9310   Nguyen   Bob          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9311   Nguyen   Binh         Shun Y. Chu, et alUSDC
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 9312   Nguyen   Lang         Shun Y. Chu, et alUSDC
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 9313   Nguyen   Christin     Shun Y. Chu, et alUSDC
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 9314   Nguyen   Tam          Shun Y. Chu, et alUSDC
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 9315   Nguyen   Dennis       Shun Y. Chu, et alUSDC
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 9316   Nguyen   Phuong       Shun Y. Chu, et alUSDC
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 9317   Nguyen   Hai          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 158 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 160 of 247

 9318   Nguyen   Toai         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9319   Nguyen   Nham         Shun Y. Chu, et alUSDC
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 9320   Nguyen   Hong         Shun Y. Chu, et alUSDC
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 9321   Nguyen   Ngoc         Shun Y. Chu, et alUSDC
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 9322   Nguyen   Nha          Shun Y. Chu, et alUSDC
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 9323   Nguyen   Tra          Shun Y. Chu, et alUSDC
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 9324   Nguyen   Luong        Shun Y. Chu, et alUSDC
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 9325   Nguyen   Chinh        Shun Y. Chu, et alUSDC
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 9326   Nguyen   Xavier       Shun Y. Chu, et alUSDC
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 9327   Nguyen   Yen          Shun Y. Chu, et alUSDC
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 9328   Nguyen   Cam          Shun Y. Chu, et alUSDC
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 9329   Nguyen   James        Shun Y. Chu, et alUSDC
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 9330   Nguyen   Vy           Shun Y. Chu, et alUSDC
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 9331   Nguyen   Xuan         Shun Y. Chu, et alUSDC
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 9332   Nguyen   Peter        Shun Y. Chu, et alUSDC
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 9333   Nguyen   Thanh        Shun Y. Chu, et alUSDC
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 9334   Nguyen   Chau         Shun Y. Chu, et alUSDC
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 9335   Nguyen   Caroline     Shun Y. Chu, et alUSDC
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 9336   Nguyen   Cang         Shun Y. Chu, et alUSDC
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 9337   Nguyen   Viet         Shun Y. Chu, et alUSDC
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 9338   Nguyen   Toan         Shun Y. Chu, et alUSDC
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 9339   Nguyen   Hal          Shun Y. Chu, et alUSDC
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 9340   Nguyen   Chris        Shun Y. Chu, et alUSDC
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 9341   Nguyen   Thanh        Shun Y. Chu, et alUSDC
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 9342   Nguyen   Stacy        Shun Y. Chu, et alUSDC
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 9343   Nguyen   Quoc         Shun Y. Chu, et alUSDC
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 9344   Nguyen   Misa         Shun Y. Chu, et alUSDC
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 9345   Nguyen   Nam          Shun Y. Chu, et alUSDC
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 9346   Nguyen   Ai           Shun Y. Chu, et alUSDC
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 9347   Nguyen   Huong        Shun Y. Chu, et alUSDC
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 9348   Nguyen   Nam          Shun Y. Chu, et alUSDC
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 9349   Nguyen   Hai          Shun Y. Chu, et alUSDC
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 9350   Nguyen   Hao          Shun Y. Chu, et alUSDC
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 9351   Nguyen   Tong         Shun Y. Chu, et alUSDC
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 9352   Nguyen   Loan         Shun Y. Chu, et alUSDC
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 9353   Nguyen   Tin          Shun Y. Chu, et alUSDC
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 9354   Nguyen   Duy          Shun Y. Chu, et alUSDC
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 9355   Nguyen   De           Shun Y. Chu, et alUSDC
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 9356   Nguyen   Thuc         Shun Y. Chu, et alUSDC
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 9357   Nguyen   Thuy         Shun Y. Chu, et alUSDC
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 9358   Nguyen   Thuoc        Shun Y. Chu, et alUSDC
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 9359   Nguyen   Thuy         Shun Y. Chu, et alUSDC
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 9360   Nguyen   Dathan       Shun Y. Chu, et alUSDC
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 9361   Nguyen   Dean         Shun Y. Chu, et alUSDC
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 9362   Nguyen   Debbie       Shun Y. Chu, et alUSDC
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 9363   Nguyen   David        Shun Y. Chu, et alUSDC
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 9364   Nguyen   Dung         Shun Y. Chu, et alUSDC
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 9365   Nguyen   Lam          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9366   Nguyen   Kimmy        Shun Y. Chu, et alUSDC
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 9367   Nguyen   Tom          Shun Y. Chu, et alUSDC
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 9368   Nguyen   Hong         Shun Y. Chu, et alUSDC
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 9369   Nguyen   Minh         Shun Y. Chu, et alUSDC
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 9370   Nguyen   Nghi         Shun Y. Chu, et alUSDC
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 9371   Nguyen   Ba           Shun Y. Chu, et alUSDC
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 9372   Nguyen   Thi          Shun Y. Chu, et alUSDC
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 9373   Nguyen   Thuan        Shun Y. Chu, et alUSDC
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 9374   Nguyen   Sung         Shun Y. Chu, et alUSDC
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 9375   Nguyen   Physon       Shun Y. Chu, et alUSDC
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 9376   Nguyen   Nam          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 159 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 161 of 247

 9377   Nguyen   Phe          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9378   Nguyen   Hoang        Shun Y. Chu, et alUSDC
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 9379   Nguyen   Terri        Shun Y. Chu, et alUSDC
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 9380   Nguyen   Thien        Shun Y. Chu, et alUSDC
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 9381   Nguyen   Jenny        Shun Y. Chu, et alUSDC
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 9382   Nguyen   Leyen        Shun Y. Chu, et alUSDC
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 9383   Nguyen   Tha          Shun Y. Chu, et alUSDC
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 9384   Nguyen   Tumai        Shun Y. Chu, et alUSDC
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 9385   Nguyen   James        Shun Y. Chu, et alUSDC
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 9386   Nguyen   Hong         Shun Y. Chu, et alUSDC
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 9387   Nguyen   Ut           Shun Y. Chu, et alUSDC
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 9388   Nguyen   Chi          Shun Y. Chu, et alUSDC
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 9389   Nguyen   Chien        Shun Y. Chu, et alUSDC
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 9390   Nguyen   Duc          Shun Y. Chu, et alUSDC
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 9391   Nguyen   Thi          Shun Y. Chu, et alUSDC
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 9392   Nguyen   Bruce        Shun Y. Chu, et alUSDC
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 9393   Nguyen   Thi          Shun Y. Chu, et alUSDC
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 9394   Nguyen   Christine    Shun Y. Chu, et alUSDC
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 9395   Nguyen   Duchien      Shun Y. Chu, et alUSDC
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 9396   Nguyen   Phong        Shun Y. Chu, et alUSDC
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 9397   Nguyen   Minh         Shun Y. Chu, et alUSDC
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 9398   Nguyen   Phong        Shun Y. Chu, et alUSDC
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 9399   Nguyen   Vu           Shun Y. Chu, et alUSDC
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 9400   Nguyen   Chung        Shun Y. Chu, et alUSDC
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 9401   Nguyen   Liza         Shun Y. Chu, et alUSDC
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 9402   Nguyen   Loc          Shun Y. Chu, et alUSDC
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 9403   Nguyen   Hiep         Shun Y. Chu, et alUSDC
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 9404   Nguyen   Gail         Shun Y. Chu, et alUSDC
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 9405   Nguyen   Toni         Shun Y. Chu, et alUSDC
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 9406   Nguyen   A            Shun Y. Chu, et alUSDC
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 9407   Nguyen   A            Shun Y. Chu, et alUSDC
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 9408   Nguyen   Thien        Shun Y. Chu, et alUSDC
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 9409   Nguyen   Hang         Shun Y. Chu, et alUSDC
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 9410   Nguyen   Linh         Shun Y. Chu, et alUSDC
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 9411   Nguyen   Mary         Shun Y. Chu, et alUSDC
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 9412   Nguyen   Thomas       Shun Y. Chu, et alUSDC
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 9413   Nguyen   Huyen        Shun Y. Chu, et alUSDC
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 9414   Nguyen   Roberta      Shun Y. Chu, et alUSDC
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 9415   Nguyen   Paul         Shun Y. Chu, et alUSDC
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 9416   Nguyen   Andrew       Shun Y. Chu, et alUSDC
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 9417   Nguyen   Veanh        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9418   Nguyen   Luan         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9419   Nguyen   Luc          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9420   Nguyen   Anh          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9421   Nguyen   Iive         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9422   Nguyen   Evan         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9423   Nguyen   Jenny        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9424   Nguyen   Chau         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9425   Nguyen   Chau         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9426   Nguyen   Thang        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9427   Nguyen   Dan          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9428   Nguyen   Thuoc        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9429   Nguyen   Thinh        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9430   Nguyen   Vu           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9431   Nguyen   Remang       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9432   Nguyen   Dunz         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9433   Nguyen   Thom         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9434   Nguyen   Tam          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9435   Nguyen   Thuc         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 160 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 162 of 247

 9436   Nguyen   Sue          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9437   Nguyen   Nhien        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9438   Nguyen   Giang        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9439   Nguyen   Ha           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9440   Nguyen   Mary         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9441   Nguyen   Hung         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9442   Nguyen   Thuan        Shun Y. Chu, et alUSDC
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 9443   Nguyen   Tony         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9444   Nguyen   Toan         Shun Y. Chu, et alUSDC
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 9445   Nguyen   Lac          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9446   Nguyen   Chien        Shun Y. Chu, et alUSDC
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 9447   Nguyen   Nam          Shun Y. Chu, et alUSDC
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 9448   Nguyen   Chien        Shun Y. Chu, et alUSDC
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 9449   Nguyen   Hanh         Shun Y. Chu, et alUSDC
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 9450   Nguyen   Hai          Shun Y. Chu, et alUSDC
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 9451   Nguyen   Chau         Shun Y. Chu, et alUSDC
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 9452   Nguyen   Toan         Shun Y. Chu, et alUSDC
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 9453   Nguyen   Peter        Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9454   Nguyen   Diem         Shun Y. Chu, et alUSDC
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 9455   Nguyen   Thuy         Shun Y. Chu, et alUSDC
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 9456   Nguyen   Tien         Shun Y. Chu, et alUSDC
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 9457   Nguyen   Diem         Shun Y. Chu, et alUSDC
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 9458   Nguyen   Margaret     Shun Y. Chu, et alUSDC
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 9459   Nguyen   Hong         Shun Y. Chu, et alUSDC
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 9460   Nguyen   My           Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9461   Nguyen   Tin          Shun Y. Chu, et alUSDC
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 9462   Nguyen   Bich         Shun Y. Chu, et alUSDC
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 9463   Nguyen   Nam          Shun Y. Chu, et alUSDC
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 9464   Nguyen   Dang         Shun Y. Chu, et alUSDC
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 9465   Nguyen   Sy           Shun Y. Chu, et alUSDC
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 9466   Nguyen   Thuan        Shun Y. Chu, et alUSDC
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 9467   Nguyen   Chinh        Shun Y. Chu, et alUSDC
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 9468   Nguyen   Lat          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9469   Nguyen   Hung         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9470   Pam      Deirdre      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9471   Pha      Don          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9472   Pham     Hiep         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9473   Pham     Dong         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9474   Pham     Nhi          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9475   Pham     Xuan         Shun Y. Chu, et alUSDC
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 9476   Pham     Phong        Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9477   Pham     Quan         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9478   Pham     Han          Shun Y. Chu, et alUSDC
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 9479   Pham     Thanh        Shun Y. Chu, et alUSDC
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 9480   Pham     Hoa          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9481   Pham     Steven       Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9482   Pham     Thanh        Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9483   Pham     Nguyet       Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9484   Pham     John         Shun Y. Chu, et alUSDC
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 9485   Pham     Hiep         Shun Y. Chu, et alUSDC
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 9486   Pham     Jacqueline   Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9487   Pham     Thanh        Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9488   Pham     Nam          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9489   Pham     Mai          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9490   Pham     Ngoc         Shun Y. Chu, et alUSDC
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 9491   Pham     Jacqueline   Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9492   Pham     Tony         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9493   Pham     Touch        Shun Y. Chu, et alUSDC
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 9494   Pham     Kim          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 161 of 246
          Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 163 of 247

 9495   Pham    Lee          Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
                                                                 al       of Texas   10-3174   No      No
 9496   Pham    Huong        Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
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 9497   Pham    Thanh        Shun Y. Chu, et alUSDC
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 9498   Pham    Ngoc         Shun Y. Chu, et alUSDC
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 9499   Pham    Vu           Shun Y. Chu, et alUSDC
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 9500   Pham    Mauanh       Shun Y. Chu, et alUSDC
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 9501   Pham    Vuong        Shun Y. Chu, et alUSDC
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 9502   Pham    Nang         Shun Y. Chu, et alUSDC
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 9503   Pham    David        Shun Y. Chu, et alUSDC
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 9504   Pham    Katie        Shun Y. Chu, et alUSDC
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                                                       P.L.C., etDistrict
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 9505   Pham    Tuoi         Shun Y. Chu, et alUSDC
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 9506   Pham    Mai          Shun Y. Chu, et alUSDC
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 9507   Pham    Vo           Shun Y. Chu, et alUSDC
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 9508   Pham    Bai          Shun Y. Chu, et alUSDC
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 9509   Pham    Truong       Shun Y. Chu, et alUSDC
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                                                       P.L.C., etDistrict
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 9510   Pham    Chuong       Shun Y. Chu, et alUSDC
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                                                       P.L.C., etDistrict
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 9511   Pham    Thiet        Shun Y. Chu, et alUSDC
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 9512   Pham    Mai          Shun Y. Chu, et alUSDC
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 9513   Pham    Lee          Shun Y. Chu, et alUSDC
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 9514   Pham    Jennifer     Shun Y. Chu, et alUSDC
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 9515   Pham    Hiep         Shun Y. Chu, et alUSDC
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 9516   Pham    Hien         Shun Y. Chu, et alUSDC
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 9517   Pham    Hien         Shun Y. Chu, et alUSDC
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 9518   Pham    Hoai         Shun Y. Chu, et alUSDC
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 9519   Pham    Hiep         Shun Y. Chu, et alUSDC
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 9520   Pham    Hien         Shun Y. Chu, et alUSDC
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 9521   Pham    Hiep         Shun Y. Chu, et alUSDC
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 9522   Pham    Hein         Shun Y. Chu, et alUSDC
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 9523   Pham    Han          Shun Y. Chu, et alUSDC
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 9524   Pham    Dong         Shun Y. Chu, et alUSDC
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 9525   Pham    Don          Shun Y. Chu, et alUSDC
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 9526   Pham    David        Shun Y. Chu, et alUSDC
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 9527   Pham    Thuy         Shun Y. Chu, et alUSDC
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 9528   Pham    Angela       Shun Y. Chu, et alUSDC
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 9529   Pham    Steve        Shun Y. Chu, et alUSDC
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 9530   Pham    Tao          Shun Y. Chu, et alUSDC
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 9531   Pham    Phuong       Shun Y. Chu, et alUSDC
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 9532   Pham    Chi          Shun Y. Chu, et alUSDC
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 9533   Pham    Loc          Shun Y. Chu, et alUSDC
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 9534   Pham    Julie        Shun Y. Chu, et alUSDC
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 9535   Pham    David        Shun Y. Chu, et alUSDC
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 9536   Pham    Dau          Shun Y. Chu, et alUSDC
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 9537   Pham    Chuong       Shun Y. Chu, et alUSDC
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 9538   Pham    Dauth        Shun Y. Chu, et alUSDC
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 9539   Pham    Phong        Shun Y. Chu, et alUSDC
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 9540   Pham    Nguyet       Shun Y. Chu, et alUSDC
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 9541   Phan    Calvin       Shun Y. Chu, et alUSDC
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 9542   Phan    Ngoanh       Shun Y. Chu, et alUSDC
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 9543   Phan    Phuc         Shun Y. Chu, et alUSDC
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 9544   Phan    My           Shun Y. Chu, et alUSDC
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 9545   Phan    Hao          Shun Y. Chu, et alUSDC
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 9546   Phan    Han          Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
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 9547   Phan    Dat          Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
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 9548   Phan    Mike         Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
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 9549   Phan    Duong        Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
                                                                 al       of Texas   10-3174   No      No
 9550   Phan    Gloria       Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
                                                                 al       of Texas   10-3174   No      No
 9551   Phan    Thu          Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
                                                                 al       of Texas   10-3174   No      No
 9552   Phan    Tuan         Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
                                                                 al       of Texas   10-3174   No      No
 9553   Phan    Sanh         Shun Y. Chu, et alUSDC
                                                v. BP, Southern
                                                       P.L.C., etDistrict
                                                                 al       of Texas   10-3174   No      No

Tab E                                                                                               Page 162 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 164 of 247

 9554   Phan     Cam          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9555   Phan     Quyen        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9556   Pu       Angel        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9557   Ta       San          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9558   Ta       Hieu         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9559   Ta       My           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9560   Ta       Pat          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9561   Ta       Hien         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9562   Tai      Mary         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9563   Tang     Chi          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9564   Tang     Xio          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9565   Tang     Xao          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9566   Tang     Huanbin      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9567   Tang     Phoung       Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9568   Tang     Yen          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9569   Tang     George       Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9570   Tang     Emily        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9571   Tang     Wing         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9572   Tang     Dau          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9573   Tang     Bess         Shun Y. Chu, et alUSDC
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 9574   Tang     Jenny        Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9575   Tang     Tiah         Shun Y. Chu, et alUSDC
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 9576   Tang     Limei        Shun Y. Chu, et alUSDC
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 9577   Tang     Ju           Shun Y. Chu, et alUSDC
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 9578   Tang     Dau          Shun Y. Chu, et alUSDC
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 9579   Tang     Phu          Shun Y. Chu, et alUSDC
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 9580   Thai     Nghiep       Shun Y. Chu, et alUSDC
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 9581   Thai     Hoang        Shun Y. Chu, et alUSDC
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 9582   Thi      Huyen        Shun Y. Chu, et alUSDC
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 9583   Ton      Thanh        Shun Y. Chu, et alUSDC
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                                                                  al       of Texas   10-3174   No      No
 9584   Tra      Suzanne      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
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 9585   Tran     T            Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9586   Tran     Ann          Shun Y. Chu, et alUSDC
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 9587   Tran     Phong        Shun Y. Chu, et alUSDC
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 9588   Tran     Oanh         Shun Y. Chu, et alUSDC
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 9589   Tran     Yen          Shun Y. Chu, et alUSDC
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 9590   Tran     Tri          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9591   Tran     Nga          Shun Y. Chu, et alUSDC
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 9592   Tran     Hau          Shun Y. Chu, et alUSDC
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 9593   Tran     Phat         Shun Y. Chu, et alUSDC
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 9594   Tran     Nghia        Shun Y. Chu, et alUSDC
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 9595   Tran     Leyen        Shun Y. Chu, et alUSDC
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 9596   Tran     Hanh         Shun Y. Chu, et alUSDC
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 9597   Tran     Hai          Shun Y. Chu, et alUSDC
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 9598   Tran     Trang        Shun Y. Chu, et alUSDC
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 9599   Tran     Sinh         Shun Y. Chu, et alUSDC
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 9600   Tran     Quang        Shun Y. Chu, et alUSDC
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 9601   Tran     Hai          Shun Y. Chu, et alUSDC
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 9602   Tran     Doc          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9603   Tran     Dat          Shun Y. Chu, et alUSDC
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 9604   Tran     Biet         Shun Y. Chu, et alUSDC
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 9605   Tran     Khanh        Shun Y. Chu, et alUSDC
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 9606   Tran     T            Shun Y. Chu, et alUSDC
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 9607   Tran     Manh         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9608   Tran     Kim          Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9609   Tran     Linda        Shun Y. Chu, et alUSDC
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 9610   Tran     Thau         Shun Y. Chu, et alUSDC
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 9611   Tran     Thi          Shun Y. Chu, et alUSDC
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 9612   Tran     Thi          Shun Y. Chu, et alUSDC
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                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 163 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 165 of 247

 9613   Tran     Thao         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9614   Tran     Ai           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No
 9615   Tran     Soel         Shun Y. Chu, et alUSDC
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                                                                  al       of Texas   10-3174   No      No
 9616   Tran     Nicolas      Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
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 9617   Tran     Quyen        Shun Y. Chu, et alUSDC
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 9618   Tran     Hanh         Shun Y. Chu, et alUSDC
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 9619   Tran     Kimberly     Shun Y. Chu, et alUSDC
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 9620   Tran     Sakylin      Shun Y. Chu, et alUSDC
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 9621   Tran     Sa           Shun Y. Chu, et alUSDC
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 9622   Tran     Quoc         Shun Y. Chu, et alUSDC
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 9623   Tran     Sinh         Shun Y. Chu, et alUSDC
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 9624   Tran     Ngoc         Shun Y. Chu, et alUSDC
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 9625   Tran     Bao          Shun Y. Chu, et alUSDC
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 9626   Tran     Minh         Shun Y. Chu, et alUSDC
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 9627   Tran     Hoang        Shun Y. Chu, et alUSDC
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 9628   Tran     Hiep         Shun Y. Chu, et alUSDC
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 9629   Tran     Minh         Shun Y. Chu, et alUSDC
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 9630   Tran     Hien         Shun Y. Chu, et alUSDC
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 9631   Tran     Ngan         Shun Y. Chu, et alUSDC
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 9632   Tran     Peter        Shun Y. Chu, et alUSDC
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 9633   Tran     Linh         Shun Y. Chu, et alUSDC
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 9634   Tran     Hung         Shun Y. Chu, et alUSDC
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 9635   Tran     Lien         Shun Y. Chu, et alUSDC
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 9636   Tran     Tien         Shun Y. Chu, et alUSDC
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 9637   Tran     Toan         Shun Y. Chu, et alUSDC
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 9638   Tran     Anh          Shun Y. Chu, et alUSDC
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 9639   Tran     My           Shun Y. Chu, et alUSDC
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 9640   Tran     Chien        Shun Y. Chu, et alUSDC
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 9641   Tran     Chinh        Shun Y. Chu, et alUSDC
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 9642   Tran     Chinh        Shun Y. Chu, et alUSDC
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 9643   Tran     Chien        Shun Y. Chu, et alUSDC
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 9644   Tran     Hue          Shun Y. Chu, et alUSDC
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 9645   Tran     Thao         Shun Y. Chu, et alUSDC
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 9646   Tran     Tan          Shun Y. Chu, et alUSDC
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 9647   Tran     Phoung       Shun Y. Chu, et alUSDC
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 9648   Tran     Tung         Shun Y. Chu, et alUSDC
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 9649   Tran     Jimmy        Shun Y. Chu, et alUSDC
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 9650   Tran     Hieu         Shun Y. Chu, et alUSDC
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 9651   Tran     Hoang        Shun Y. Chu, et alUSDC
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 9652   Tran     Hoai         Shun Y. Chu, et alUSDC
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 9653   Tran     Leyen        Shun Y. Chu, et alUSDC
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 9654   Tran     Senda        Shun Y. Chu, et alUSDC
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 9655   Tran     Son          Shun Y. Chu, et alUSDC
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 9656   Tran     Al           Shun Y. Chu, et alUSDC
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 9657   Tran     Phillip      Shun Y. Chu, et alUSDC
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 9658   Tran     Nam          Shun Y. Chu, et alUSDC
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 9659   Tran     Hai          Shun Y. Chu, et alUSDC
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 9660   Tran     Hai          Shun Y. Chu, et alUSDC
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 9661   Tran     Ha           Shun Y. Chu, et alUSDC
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 9662   Tran     Ha           Shun Y. Chu, et alUSDC
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 9663   Tran     Duc          Shun Y. Chu, et alUSDC
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 9664   Tran     Quoc         Shun Y. Chu, et alUSDC
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 9665   Tran     Quang        Shun Y. Chu, et alUSDC
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 9666   Tran     Vien         Shun Y. Chu, et alUSDC
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 9667   Tran     Vien         Shun Y. Chu, et alUSDC
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 9668   Tran     Nhung        Shun Y. Chu, et alUSDC
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 9669   Tran     Brenda       Shun Y. Chu, et alUSDC
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 9670   Tran     Canh         Shun Y. Chu, et alUSDC
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 9671   Tran     Nhan         Shun Y. Chu, et alUSDC
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                                                        P.L.C., etDistrict
                                                                  al       of Texas   10-3174   No      No

Tab E                                                                                                Page 164 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 166 of 247

 9672   Tran     Nancy          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9673   Tran     Tuyet          Shun Y. Chu, et alUSDC
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 9674   Tran     Tu             Shun Y. Chu, et alUSDC
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 9675   Tran     Soel           Shun Y. Chu, et alUSDC
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 9676   Tran     Hien           Shun Y. Chu, et alUSDC
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 9677   Tran     Hong           Shun Y. Chu, et alUSDC
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 9678   Tran     Hoi            Shun Y. Chu, et alUSDC
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 9679   Tran     Thao           Shun Y. Chu, et alUSDC
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 9680   Tran     Ngoc           Shun Y. Chu, et alUSDC
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                                                                    al       of Texas   10-3174   No      No
 9681   Tran     Nghia          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9682   Tran     Bach           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9683   Tran     Anh            Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9684   Tran     Phuc           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9685   Tran     Diane          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9686   Tran     Krystin        Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9687   Tran     Phuong         Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9688   Tran     Vincent        Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9689   Tran     T              Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9690   Tran     Brenda         Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9691   Tran     V              Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9692   Tran     Anh            Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9693   Tran     Kha            Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9694   Tran     Oai            Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9695   Tran     Thu            Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9696   Tran     Nga            Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9697   Tran     Phillip        Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9698   Tran     Christina      Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9699   Tran     Christine      Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9700   Tran     Ny             Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9701   Tran     Tuan           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9702   Tran     No             Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9703   Tran     Sy             Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9704   Tran     Trung          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9705   Tran     Huynh          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9706   Tran     Kavin          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9707   Tran     Sifrance       Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9708   Trinh    Huong          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9709   Trinh    Bo             Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9710   Trinh    Kelly          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9711   Trinh    Thai           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9712   Trran    N              Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9713   Trung    Phu            Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9714   Truong   Phan           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9715   Truong   Ro             Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9716   Truong   Dong           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9717   Truong   Hoai           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9718   Tu       Thuan          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9719   Van      Vincent        Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9720   Van      Youphinphone   Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9721   Van      Pelt           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9722   Van      Lear           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9723   Van      Toris          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9724   Van      Aacken         Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9725   Van      Gladys         Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9726   Van      Hook           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9727   Van      D              Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9728   Van      Toria          Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9729   Van      Valkenburg     Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No
 9730   Van      Todd           Shun Y. Chu, et alUSDC
                                                   v. BP, Southern
                                                          P.L.C., etDistrict
                                                                    al       of Texas   10-3174   No      No

Tab E                                                                                                  Page 165 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 167 of 247

 9731   Van      Natillee     Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9732   Van      Yolanda      Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9733   Van      Vo           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9734   Vo       Do           Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9735   Vo       Henry        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9736   Vo       Hong         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9737   Vo       Minh         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9738   Vo       Mai          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9739   Vo       Hai          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9740   Vo       Hoang        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9741   Vo       Dao          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9742   Vo       Hang         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9743   Vo       Hoa          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9744   Vo       Dong         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9745   Vo       James        Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9746   Vuong    Dat          Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9747   Vuong    Bach         Shun Y. Chu, et alUSDC
                                                 v. BP, Southern
                                                         P.L.C., etDistrict
                                                                   al       of Texas       10-3174       No      No
 9748   Alan     Nguyen       Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9749   Au       Linda        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9750   Au       Linda        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9751   Au       Robert       Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9752   Ba       Tran         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9753   Ba       Pham         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9754   Bai      Jenny        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9755   Bui      Cuong        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9756   Bui      Hien         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9757   Bui      Cuong        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9758   Bui      Dung         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9759   Bui      Hanh         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9760   Bui      Tu           Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9761   Bui      Trong        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9762   Bui      Phoi         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9763   Bui      Lyly         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9764   Bui      Mirna        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9765   Bui      Khue         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9766   Bui      Hung         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9767   Bui      Thanh        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9768   Bui      Phong        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9769   Bui      Doan         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9770   Bui      Thuy         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9771   Bui      Sy           Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9772   Bui      Cuong        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9773   Bui      Johnny       Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9774   Bui      Tommy        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9775   Bui      Anh          Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9776   Bui      Ann          Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9777   Bui      Mylinh       Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9778   Bui      An           Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9779   Bui      Thuy         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9780   Bui      Janie        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9781   Bui      Khang        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9782   Bui      Michael      Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9783   Bui      Chien        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9784   Bui      Trang        Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9785   Bui      Liem         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9786   Bui      Nhon         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9787   Bui      Manh         Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9788   Bui      Michael      Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 9789   Bui      Hoa          Tran Ngoc Dung, etTXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No

Tab E                                                                                                         Page 166 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 168 of 247

 9790   Bui      Thi          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9791   Bui      Truong       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9792   Bui      Anh          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9793   Bui      John         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9794   Bui      Anh          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9795   Bui      Anh          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9796   Bui      An           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9797   Bui      Linh         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9798   Bui      Ha           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9799   Bui      Hung         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9800   Bui      Dai          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9801   Bui      Jennifer     Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9802   Bui      Myan         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9803   Bui      Hien         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9804   Bui      Bryan        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9805   Bui      Suong        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9806   Bui      Quoc         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9807   Bui      Hoang        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9808   Bui      Loc          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9809   Bui      Tracy        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9810   Cao      Anna         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9811   Cao      Chau         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9812   Cao      Long         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9813   Cao      Hua          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9814   Cao      Anna         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9815   Cao      Anna         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9816   Cao      Lianhong     Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9817   Cao      Hoan         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9818   Cao      Hui          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9819   Cao      Lian         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9820   Cao      Lin          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9821   Cao      Qi           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9822   Cao      Peter        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9823   Cao      Nhien        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9824   Cao      Kimberly     Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9825   Chanh    Nguyen       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9826   Chau     Allan        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9827   Chin     Yee          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9828   Choh     Pham         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9829   Chu      Nick         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9830   Chu      Tsun         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9831   Chu      Lina         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9832   Chu      Annie        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9833   Chu      Susan        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9834   Coio     Jia          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9835   Cong     Pham         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9836   D        Pham         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9837   Dan      Mark         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9838   Dang     Kim          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9839   Dang     Hanh         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9840   Dang     Kim          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9841   Dang     Khuyen       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9842   Dang     Chieu        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9843   Dang     Chieu        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9844   Dang     Christina    Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9845   Dang     My           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9846   Dang     Lou          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9847   Dang     Minh         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9848   Dang     Danny        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No

Tab E                                                                                                      Page 167 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 169 of 247

 9849   Dang     Hau          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9850   Dang     Hau          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9851   Dang     Hieu         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9852   Dang     Hung         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9853   Dang     John         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9854   Dang     Huu          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9855   Dang     Phuoc        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9856   Dang     Phap         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9857   Dang     Tan          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9858   Dang     Joe          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9859   Dang     Thanh        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9860   Dang     Bang         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9861   Dang     Tho          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9862   Dang     Bryan        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9863   Dang     Quyen        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9864   Dang     Huong        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9865   Dang     Ngo          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9866   Dang     Minh         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9867   Dang     Qui          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9868   Dang     Quynh        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9869   Dang     Lam          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9870   Dang     Johnathan    Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9871   Dang     Kevin        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9872   Dao      Xuan         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9873   Dao      Tuy          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9874   Dao      Thi          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9875   Dao      Anh          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9876   Dao      Belinda      Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9877   Dao      Jim          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9878   Dao      Phuong       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9879   Dao      Mua          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9880   Dao      Brandi       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9881   Diem     Nguyen       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9882   Diep     Bui          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9883   Dinh     Kieu         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9884   Dinh     Leann        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9885   Dinh     Hoi          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9886   Dinh     Thoa         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9887   Dinh     Truong       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9888   Dinh     Ngo          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9889   Dinh     Vu           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9890   Dinh     Tamson       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9891   Dinh     Du           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9892   Dinh     Phuong       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9893   Dinh     Tam          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9894   Dinh     Duc          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9895   Dinh     Bao          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9896   Dinh     Thien        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9897   Dinh     Than         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9898   Dinh     Derek        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9899   Dinh     Thao         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9900   Dinh     Tiffany      Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9901   Dinh     Viet         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9902   Dinh     Peter        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9903   Dinh     Vu           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9904   Dinh     Anh          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9905   Dinh     Tuy          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9906   Dinh     Dujuan       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9907   Dinh     Anh          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No

Tab E                                                                                                      Page 168 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 170 of 247

 9908   Dinh     Ngoc         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9909   Dinh     Vu           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9910   Dinh     Chi          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9911   Dinh     Thu          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9912   Dinh     Tom          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9913   Dinh     Toan         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9914   Dinh     Anh          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9915   Do       Son          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9916   Do       Anh          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9917   Do       Trong        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9918   Do       Than         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9919   Do       Giang        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9920   Do       Vuvi         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9921   Do       Tuyet        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9922   Do       Lan          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9923   Do       Hieu         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9924   Do       Ngoc         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9925   Do       Luyen        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9926   Do       Lao          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9927   Do       Vu           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9928   Do       Dong         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9929   Do       Nahn         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9930   Do       Cuong        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9931   Doan     Clive        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9932   Doul     Pham         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9933   Dung     Tran         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9934   Dung     Lai          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9935   Duong    Duc          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9936   Duong    Juom         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9937   Duong    Luom         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9938   Duong    Mau          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9939   Duong    Jimmy        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9940   Duong    Nga          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9941   Duong    Hogn         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9942   Duong    Phuc         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9943   Duong    Jimmy        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9944   Duong    Ba           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9945   Duong    Brian        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9946   Duong    Cindy        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9947   Duong    Danny        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9948   Duong    Danny        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9949   Duong    My           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9950   Duong    Quang        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9951   Giao     Phan         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9952   Ha       Bon          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9953   Ha       Susan        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9954   Hanh     Le           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9955   Hien     Pham         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9956   Hiep     Pham         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9957   Ho       K            Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9958   Ho       Phoung       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9959   Ho       Uyen         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9960   Ho       Ayun         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9961   Ho       Janet        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9962   Ho       Y            Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9963   Ho       Quy          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9964   Ho       Phung        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9965   Ho       Oanh         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 9966   Ho       Oanh         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No

Tab E                                                                                                      Page 169 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 171 of 247

 9967    Ho       Nho          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9968    Ho       Myung        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9969    Ho       Kim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9970    Ho       Hoang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9971    Ho       Edward       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9972    Ho       Liem         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9973    Ho       Thao         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9974    Ho       Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9975    Ho       Tracy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9976    Ho       Wayne        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9977    Ho       Wayne        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9978    Ho       Edward       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9979    Ho       Henry        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9980    Ho       Thuathien    Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9981    Ho       Jimmy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9982    Ho       Quyen        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9983    Ho       Buong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9984    Ho       Felix        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9985    Ho       Amy          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9986    Ho       Cher         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9987    Hoang    Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9988    Hoang    Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9989    Hoang    Huong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9990    Hoang    John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9991    Hoang    Saphira      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9992    Hoang    Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9993    Hoang    Tientahi     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9994    Hoang    Huy          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9995    Hoang    Thomas       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9996    Hoang    Vu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9997    Hoang    Thy          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9998    Hong     Tai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 9999    Hung     Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10000   Huong    Dang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10001   Huong    Pham         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10002   Huyng    Lang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10003   Huynh    Nga          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10004   Huynh    Peter        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10005   Huynh    Mike         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10006   Huynh    Mike         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10007   Huynh    Huyen        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10008   Huynh    John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10009   Huynh    John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10010   Huynh    Antoni       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10011   Huynh    Carol        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10012   Huynh    Angy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10013   Huynh    Tan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10014   Huynh    Christine    Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10015   Huynh    Kim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10016   Huynh    My           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10017   Huynh    Phong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10018   Huynh    Elizabeth    Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10019   Huynh    Le           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10020   Huynh    Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10021   Huynh    Khen         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10022   Huynh    Chien        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10023   Huynh    Benny        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10024   Huynh    Tot          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10025   Huynh    Sang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 170 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 172 of 247

 10026   Huynh    Sang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10027   Huynh    Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10028   Huynh    Robert       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10029   Huynh    Nhat         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10030   Huynh    Thi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10031   Huynh    Sentsi       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10032   Huynh    Ni           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10033   Huynh    Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10034   Huynh    Mindy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10035   Huynh    Mike         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10036   Huynh    Dung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10037   Huynh    Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10038   Huynh    Andy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10039   Huynh    Andy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10040   Huynh    Vuong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10041   Huynh    Hien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10042   Huynh    Hieu         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10043   Huynh    Hieu         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10044   Huynh    Laura        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10045   Huynh    Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10046   Huynh    Elizabeth    Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10047   Huyuh    Sonny        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10048   K        Luu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10049   Kieu     Peter        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10050   Kim      Nguyen       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10051   La       James        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10052   Lam      Sung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10053   Lam      Hoanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10054   Lam      Chun         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10055   Lam      Andy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10056   Lam      Kien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10057   Lam      My           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10058   Lam      Phat         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10059   Lam      Phuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10060   Lam      Pik          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10061   Lam      Richard      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10062   Lam      Foong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10063   Lam      Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10064   Lam      Michelle     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10065   Lam      Thomas       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10066   Lam      Carol        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10067   Lam      Andy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10068   Lam      Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10069   Lam      Tracy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10070   Lam      Hue          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10071   Lam      Tracy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10072   Lam      Victor       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10073   Lam      Victor       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10074   Lam      Wilfred      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10075   Lam      Wing         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10076   Lam      Keith        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10077   Lam      Phuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10078   Lam      Ngoc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10079   Lam      Michelle     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10080   Lam      Wing         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10081   Lam      Allan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10082   Lam      Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10083   Lam      On           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10084   Lam      Ninh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 171 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 173 of 247

 10085   Lam     Marylyn      Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10086   Lam     Thang        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10087   Lam     Shing        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10088   Lam     Hung         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10089   Lam     Hung         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10090   Lam     Jennifer     Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10091   Lam     Kon          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10092   Lam     Ken          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10093   Lam     Tammy        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10094   Lam     Tammy        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10095   Lam     Andy         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10096   Lam     Andy         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10097   Lam     Chi          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10098   Lam     David        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10099   Lam     Trung        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10100   Lao     Dennis       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10101   Ld      Miner        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10102   Le      Phuong       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10103   Le      Thu          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10104   Le      Mckinney     Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10105   Le      Nhan         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10106   Le      David        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10107   Le      Khanh        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10108   Le      My           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10109   Le      Vinh         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10110   Le      Ana          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10111   Le      Christine    Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10112   Le      Hue          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10113   Le      Tom          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10114   Le      An           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10115   Le      Christine    Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10116   Le      Linda        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10117   Le      Ha           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10118   Le      Ngoc         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10119   Le      Phouc        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10120   Le      Lien         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10121   Le      Hau          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10122   Le      Hung         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10123   Le      Hung         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10124   Le      Minh         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10125   Le      Tot          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10126   Le      Nhan         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10127   Le      Tho          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10128   Le      Hoa          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10129   Le      Tri          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10130   Le      Tien         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10131   Le      Ba           Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10132   Le      Duc          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10133   Le      Elvis        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10134   Le      Man          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10135   Le      That         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10136   Le      Bobby        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10137   Le      Victoria     Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10138   Le      Dung         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10139   Le      Bay          Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10140   Le      Kevin        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10141   Le      Trung        Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10142   Le      Thia         Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No
 10143   Le      Robert       Tran Ngoc Dung, et
                                              TXal- v.
                                                    District
                                                       BP Exploration
                                                             Court - Harris
                                                                       and County
                                                                            Production, 10-3178
                                                                                        Inc., et al   No      No

Tab E                                                                                                      Page 172 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 174 of 247

 10144   Le       Vui          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10145   Le       Ha           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10146   Le       Glian        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10147   Le       Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10148   Le       Hong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10149   Le       Huy          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10150   Le       Su           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10151   Le       Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10152   Le       Anne         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10153   Le       Ngoan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10154   Le       Dieu         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10155   Le       Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10156   Le       E            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10157   Le       Chau         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10158   Le       Cuong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10159   Le       Noi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10160   Le       Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10161   Le       Ngu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10162   Le       Hong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10163   Le       Phan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10164   Le       Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10165   Le       John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10166   Le       Katie        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10167   Le       Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10168   Le       Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10169   Le       Kevin        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10170   Le       Havan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10171   Le       Hien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10172   Le       Hien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10173   Le       Hau          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10174   Le       Happy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10175   Le       Bao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10176   Le       Dung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10177   Le       Thi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10178   Le       Chantal      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10179   Le       Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10180   Le       Phuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10181   Le       Nhut         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10182   Le       Luong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10183   Le       Liem         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10184   Le       Ton          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10185   Le       Huyen        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10186   Le       Sa           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10187   Le       Ragge        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10188   Le       Richard      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10189   Le       Billy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10190   Le       Dung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10191   Le       Dang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10192   Le       Jim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10193   Le       Huy          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10194   Lee      Jason        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10195   Ln       Coi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10196   Loc      Hong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10197   Long     Thien        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10198   Lu       Quan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10199   Lu       Xijil        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10200   Lu       Cuong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10201   Lu       Shan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10202   Lu       Dori         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 173 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 175 of 247

 10203   Luong    Quan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10204   Luong    Johnny       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10205   Luong    Hien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10206   Luong    L            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10207   Luu      Vi           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10208   Luu      Vincent      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10209   Luu      Huy          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10210   Luu      Chan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10211   Luu      Hannah       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10212   Luu      Truc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10213   Luu      N            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10214   Luu      Dinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10215   Ly       Hoang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10216   Ly       Keo          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10217   Ly       Kaosoheng    Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10218   Ly       Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10219   Ly       Lan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10220   Ly       Jimmy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10221   Ly       John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10222   Ly       Thang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10223   Ly       John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10224   Ly       Bich         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10225   Ly       Kim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10226   Ly       Jimmy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10227   Ly       Dung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10228   Ly       Tuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10229   Ly       Tu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10230   Mai      Hai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10231   Mai      Ivan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10232   Mai      Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10233   Mai      Ly           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10234   Mai      Trach        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10235   Mai      Co           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10236   Mai      Hong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10237   Man      Ly           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10238   Manh     Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10239   Manh     Dao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10240   Na       Nguyen       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10241   Ngan     Huynh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10242   Nghiem   Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10243   Ngo      Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10244   Ngo      Nancy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10245   Ngo      Tai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10246   Ngo      Tau          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10247   Ngo      Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10248   Ngo      Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10249   Ngo      Tina         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10250   Ngo      Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10251   Ngo      Dawson       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10252   Ngo      The          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10253   Ngo      Cang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10254   Ngo      Hao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10255   Ngo      Dang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10256   Ngo      Dale         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10257   Ngo      Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10258   Ngo      Lo           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10259   Ngo      Duc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10260   Ngo      Guidry       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10261   Ngo      Lovan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 174 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 176 of 247

 10262   Ngo      Maxie        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10263   Ngo      Nancy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10264   Ngo      Nancy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10265   Ngo      Tai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10266   Ngo      Son          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10267   Ngoc     Nghia        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10268   Nguyen   Tuyet        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10269   Nguyen   Nghiep       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10270   Nguyen   Tuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10271   Nguyen   David        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10272   Nguyen   David        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10273   Nguyen   Dinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10274   Nguyen   Dan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10275   Nguyen   Hanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10276   Nguyen   Hoang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10277   Nguyen   Dung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10278   Nguyen   Di           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10279   Nguyen   Dinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10280   Nguyen   Duc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10281   Nguyen   Tiffany      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10282   Nguyen   Uy           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10283   Nguyen   Han          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10284   Nguyen   Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10285   Nguyen   Bao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10286   Nguyen   Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10287   Nguyen   Lo           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10288   Nguyen   Luan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10289   Nguyen   Nghiem       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10290   Nguyen   Larry        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10291   Nguyen   Muoi         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10292   Nguyen   Nhan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10293   Nguyen   Loc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10294   Nguyen   Phuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10295   Nguyen   Dat          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10296   Nguyen   The          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10297   Nguyen   Peter        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10298   Nguyen   Phuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10299   Nguyen   Thao         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10300   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10301   Nguyen   Jennifer     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10302   Nguyen   Viet         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10303   Nguyen   Kathy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10304   Nguyen   John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10305   Nguyen   Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10306   Nguyen   Tien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10307   Nguyen   Tam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10308   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10309   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10310   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10311   Nguyen   Tu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10312   Nguyen   Tu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10313   Nguyen   Thay         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10314   Nguyen   Truc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10315   Nguyen   Trieu        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10316   Nguyen   Me           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10317   Nguyen   Tai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10318   Nguyen   Mai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10319   Nguyen   Nhuan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10320   Nguyen   Ut           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 175 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 177 of 247

 10321   Nguyen   Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10322   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10323   Nguyen   Hat          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10324   Nguyen   Diep         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10325   Nguyen   Deip         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10326   Nguyen   Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10327   Nguyen   Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10328   Nguyen   Hong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10329   Nguyen   Huong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10330   Nguyen   Huyen        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10331   Nguyen   Anthony      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10332   Nguyen   Ann          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10333   Nguyen   An           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10334   Nguyen   Ba           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10335   Nguyen   Bac          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10336   Nguyen   Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10337   Nguyen   Mai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10338   Nguyen   Michael      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10339   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10340   Nguyen   Danh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10341   Nguyen   Dat          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10342   Nguyen   Denise       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10343   Nguyen   Bac          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10344   Nguyen   Bac          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10345   Nguyen   Bao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10346   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10347   Nguyen   Ngoc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10348   Nguyen   Nga          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10349   Nguyen   Mong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10350   Nguyen   Cuc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10351   Nguyen   Kim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10352   Nguyen   Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10353   Nguyen   Thien        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10354   Nguyen   T            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10355   Nguyen   Steven       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10356   Nguyen   Hai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10357   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10358   Nguyen   Hau          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10359   Nguyen   Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10360   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10361   Nguyen   Noon         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10362   Nguyen   He           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10363   Nguyen   Loan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10364   Nguyen   Phai         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10365   Nguyen   Hien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10366   Nguyen   Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10367   Nguyen   Le           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10368   Nguyen   Chuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10369   Nguyen   Cindy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10370   Nguyen   Chuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10371   Nguyen   Ut           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10372   Nguyen   Wuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10373   Nguyen   Quan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10374   Nguyen   Shamyra      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10375   Nguyen   Nelda        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10376   Nguyen   Munoi        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10377   Nguyen   Michael      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10378   Nguyen   Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10379   Nguyen   Quoc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 176 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 178 of 247

 10380   Nguyen   Billy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10381   Nguyen   Bensan       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10382   Nguyen   Anh          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10383   Nguyen   An           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10384   Nguyen   Thuan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10385   Nguyen   Tuong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10386   Nguyen   Duy          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10387   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10388   Nguyen   Buu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10389   Nguyen   Ba           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10390   Nguyen   Bang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10391   Nguyen   Duong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10392   Nguyen   Daniel       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10393   Nguyen   Coc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10394   Nguyen   Tuoi         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10395   Nguyen   Bu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10396   Nguyen   Cuong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10397   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10398   Nguyen   Dung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10399   Nguyen   Ai           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10400   Nguyen   Cay          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10401   Nguyen   An           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10402   Nguyen   Boi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10403   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10404   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10405   Nguyen   Dung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10406   Nguyen   Chi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10407   Nguyen   Binh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10408   Nguyen   Bobby        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10409   Nguyen   Boi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10410   Nguyen   Bong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10411   Nguyen   Ba           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10412   Nguyen   Cang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10413   Nguyen   Canh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10414   Nguyen   Doat         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10415   Nguyen   Nga          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10416   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10417   Nguyen   Tan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10418   Nguyen   Loi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10419   Nguyen   Hanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10420   Nguyen   Giang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10421   Nguyen   Gai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10422   Nguyen   Trinh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10423   Nguyen   Tien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10424   Nguyen   Trung        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10425   Nguyen   Eileen       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10426   Nguyen   Hanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10427   Nguyen   Hanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10428   Nguyen   Hao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10429   Nguyen   Hanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10430   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10431   Nguyen   Kohler       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10432   Nguyen   Thi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10433   Nguyen   Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10434   Nguyen   Thuc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10435   Nguyen   Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10436   Nguyen   Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10437   Nguyen   Phong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10438   Nguyen   Thi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 177 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 179 of 247

 10439   Nguyen   Elizabeth    Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10440   Nguyen   Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10441   Nguyen   Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10442   Nguyen   Mo           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10443   Nguyen   Kim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10444   Nguyen   H            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10445   Nguyen   Ha           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10446   Nguyen   Ha           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10447   Nguyen   Hac          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10448   Nguyen   Tan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10449   Nguyen   Duong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10450   Nguyen   Thuc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10451   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10452   Nguyen   Giau         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10453   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10454   Nguyen   Kenny        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10455   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10456   Nguyen   Mary         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10457   Nguyen   Vinnie       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10458   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10459   Nguyen   Katie        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10460   Nguyen   Nuoi         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10461   Nguyen   Phi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10462   Nguyen   Son          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10463   Nguyen   Jimmy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10464   Nguyen   Phu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10465   Nguyen   Lien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10466   Nguyen   Cuc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10467   Nguyen   Richard      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10468   Nguyen   Hon          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10469   Nguyen   Nhieu        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10470   Nguyen   Cach         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10471   Nguyen   Khen         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10472   Nguyen   Tung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10473   Nguyen   Don          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10474   Nguyen   Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10475   Nguyen   D            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10476   Nguyen   Dang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10477   Nguyen   Anh          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10478   Nguyen   Chuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10479   Nguyen   Audrey       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10480   Nguyen   Jackie       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10481   Nguyen   Linda        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10482   Nguyen   Dan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10483   Nguyen   Danny        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10484   Nguyen   Pat          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10485   Nguyen   Si           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10486   Nguyen   Oanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10487   Nguyen   Maria        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10488   Nguyen   Betty        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10489   Nguyen   Jessica      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10490   Nguyen   Tam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10491   Nguyen   Anh          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10492   Nguyen   Chanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10493   Nguyen   Luu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10494   Nguyen   C            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10495   Nguyen   Phiem        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10496   Nguyen   Joe          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10497   Nguyen   Joseph       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 178 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 180 of 247

 10498   Nguyen   Lisa         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10499   Nguyen   Hai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10500   Nguyen   Johnny       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10501   Nguyen   Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10502   Nguyen   Vo           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10503   Nguyen   An           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10504   Nguyen   Ngoc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10505   Nguyen   Chau         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10506   Nguyen   Binh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10507   Nguyen   Linda        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10508   Nguyen   Cuong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10509   Nguyen   Ut           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10510   Nguyen   Son          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10511   Nguyen   Son          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10512   Nguyen   Sonny        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10513   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10514   Nguyen   Loren        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10515   Nguyen   Chi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10516   Nguyen   Tram         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10517   Nguyen   Cong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10518   Nguyen   Hanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10519   Nguyen   Nga          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10520   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10521   Nguyen   Cung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10522   Nguyen   Anh          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10523   Nguyen   Tammy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10524   Nguyen   Tien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10525   Nguyen   Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10526   Nguyen   John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10527   Nguyen   D            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10528   Nguyen   K            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10529   Nguyen   Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10530   Nguyen   Mon          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10531   Nguyen   Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10532   Nguyen   Gary         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10533   Nguyen   Hot          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10534   Nguyen   Chuoi        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10535   Nguyen   Sally        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10536   Nguyen   Liem         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10537   Nguyen   Rosa         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10538   Nguyen   Lan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10539   Nguyen   Thang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10540   Nguyen   Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10541   Nguyen   Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10542   Nguyen   Lan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10543   Nguyen   Ru           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10544   Nguyen   Joanna       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10545   Nguyen   Hai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10546   Nguyen   Nghia        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10547   Nguyen   John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10548   Nguyen   Joanna       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10549   Nguyen   Steven       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10550   Nguyen   Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10551   Nguyen   Hoan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10552   Nguyen   Thi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10553   Nguyen   Eleane       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10554   Nguyen   Nghia        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10555   Nguyen   Trieu        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10556   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 179 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 181 of 247

 10557   Nguyen   Thang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10558   Nguyen   Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10559   Nguyen   Hoang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10560   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10561   Nguyen   My           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10562   Nguyen   Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10563   Nguyen   Hoce         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10564   Nguyen   Thomas       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10565   Nguyen   Quan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10566   Nguyen   Lin          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10567   Nguyen   Ngoc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10568   Nguyen   Ky           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10569   Nguyen   Lieu         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10570   Nguyen   Sonnie       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10571   Nguyen   Son          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10572   Nguyen   Phuoc        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10573   Nguyen   Luu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10574   Nguyen   Eleen        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10575   Nguyen   Thien        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10576   Nguyen   Terry        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10577   Nguyen   Tan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10578   Nguyen   Giale        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10579   Nguyen   Hac          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10580   Nguyen   Eileen       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10581   Nguyen   Larry        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10582   Nguyen   Phong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10583   Nguyen   Khiem        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10584   Nguyen   Joseph       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10585   Nguyen   Mary         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10586   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10587   Nguyen   Jenny        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10588   Nguyen   Jennie       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10589   Nguyen   Nhung        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10590   Nguyen   Donna        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10591   Nguyen   Jessica      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10592   Nguyen   Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10593   Nguyen   Niem         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10594   Nguyen   Jody         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10595   Nguyen   Loan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10596   Nguyen   My           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10597   Nguyen   Nam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10598   Nguyen   Chau         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10599   Nguyen   Ellene       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10600   Nguyen   Huan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10601   Nguyen   Tien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10602   Nguyen   Thi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10603   Nguyen   Giang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10604   Nguyen   Susan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10605   Nguyen   Elizabeth    Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10606   Nguyen   Sang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10607   Nguyen   Man          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10608   Nguyen   James        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10609   Nguyen   Kathy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10610   Nguyen   Hiep         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10611   Nguyen   Thomas       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10612   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10613   Nguyen   Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10614   Nguyen   B            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10615   Nguyen   Ngoc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 180 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 182 of 247

 10616   Nguyen   Khang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10617   Nguyen   Jimmy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10618   Nguyen   Duc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10619   Nguyen   Peter        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10620   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10621   Nguyen   Jacqueline   Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10622   Nguyen   Que          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10623   Nguyen   My           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10624   Nguyen   Gail         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10625   Nguyen   Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10626   Nguyen   Phuc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10627   Nguyen   Duc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10628   Nguyen   Eddie        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10629   Nguyen   Steve        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10630   Nguyen   Tam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10631   Nguyen   Tam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10632   Nguyen   Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10633   Nguyen   Donna        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10634   Nguyen   Lap          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10635   Nguyen   Lap          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10636   Nguyen   H            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10637   Nguyen   Hanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10638   Nguyen   Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10639   Nguyen   Thai         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10640   Nguyen   Quang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10641   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10642   Nguyen   Mary         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10643   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10644   Nguyen   Phong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10645   Nguyen   Huong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10646   Nguyen   Sam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10647   Nguyen   Mai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10648   Nguyen   Huong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10649   Nguyen   Bang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10650   Nguyen   Chau         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10651   Nguyen   Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10652   Nguyen   Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10653   Nguyen   Don          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10654   Nguyen   Xuyen        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10655   Nguyen   Truong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10656   Nguyen   Binh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10657   Nguyen   Hy           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10658   Nguyen   Louis        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10659   Nguyen   Nam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10660   Nguyen   N            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10661   Nguyen   Lehong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10662   Nguyen   An           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10663   Nguyen   Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10664   Nguyen   Dat          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10665   Nguyen   Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10666   Nguyen   Kha          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10667   Nguyen   Vu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10668   Nguyen   Nga          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10669   Nguyen   Tuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10670   Nguyen   Johnny       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10671   Nguyen   Tho          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10672   Nguyen   Vu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10673   Nguyen   Thuan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10674   Nguyen   Tina         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 181 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 183 of 247

 10675   Nguyen   Nhung        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10676   Nguyen   Jonathan     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10677   Nguyen   Thom         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10678   Nguyen   Tieng        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10679   Nguyen   Jonathan     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10680   Nguyen   Dinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10681   Nguyen   Chen         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10682   Nguyen   Toan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10683   Nguyen   Phuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10684   Nguyen   Quang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10685   Nguyen   Quang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10686   Nguyen   Jamie        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10687   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10688   Nguyen   Thao         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10689   Nguyen   Khien        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10690   Nguyen   Larry        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10691   Nguyen   Lap          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10692   Nguyen   Sao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10693   Nguyen   Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10694   Nguyen   Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10695   Nguyen   Hu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10696   Nguyen   Tung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10697   Nguyen   Huong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10698   Nguyen   Sonnie       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10699   Nguyen   Trang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10700   Nguyen   Trung        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10701   Nguyen   Nam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10702   Nguyen   Quang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10703   Nguyen   Dung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10704   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10705   Nguyen   Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10706   Nguyen   Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10707   Nguyen   Khanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10708   Nguyen   Phat         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10709   Nguyen   Coang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10710   Nguyen   Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10711   Nguyen   Billy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10712   Nguyen   Than         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10713   Nguyen   Thomas       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10714   Nguyen   Thach        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10715   Nguyen   Duke         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10716   Nguyen   Vinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10717   Nguyen   Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10718   Nguyen   Be           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10719   Nguyen   Trang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10720   Nguyen   Ly           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10721   Nguyen   Ly           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10722   Nguyen   Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10723   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10724   Nguyen   Thi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10725   Nguyen   Chuoi        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10726   Nguyen   Ronald       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10727   Nguyen   Rosa         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10728   Nguyen   Bobby        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10729   Nguyen   Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10730   Nguyen   Duc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10731   Nguyen   Lanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10732   Nguyen   Don          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10733   Nguyen   Nga          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 182 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 184 of 247

 10734   Nguyen   Loe          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10735   Nguyen   M            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10736   Nguyen   Tot          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10737   Nguyen   Bincente     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10738   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10739   Nguyen   Hoan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10740   Nguyen   Lap          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10741   Nguyen   Duy          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10742   Nguyen   Jonathan     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10743   Nguyen   Tuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10744   Nguyen   Hill         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10745   Nguyen   Trang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10746   Nguyen   Tu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10747   Nguyen   Trung        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10748   Nguyen   Julie        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10749   Nguyen   Yen          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10750   Nguyen   Monique      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10751   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10752   Nguyen   Don          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10753   Nguyen   Ngo          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10754   Nguyen   Phan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10755   Nguyen   Linh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10756   Nguyen   Khanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10757   Nguyen   Ba           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10758   Nguyen   Bau          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10759   Nguyen   Dana         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10760   Nguyen   Lamle        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10761   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10762   Nguyen   Kimberly     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10763   Nguyen   Tuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10764   Nguyen   Lieu         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10765   Nguyen   Paul         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10766   Nguyen   Vui          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10767   Nguyen   Nho          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10768   Nguyen   Bui          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10769   Nguyen   Thinh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10770   Nguyen   Ai           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10771   Nguyen   Le           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10772   Nguyen   Linh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10773   Nguyen   Liem         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10774   Nguyen   Mydung       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10775   Nguyen   Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10776   Nguyen   Vince        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10777   Nguyen   Lisa         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10778   Nguyen   Son          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10779   Nguyen   Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10780   Nguyen   Jerry        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10781   Nguyen   Ngoc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10782   Nguyen   Lan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10783   Nguyen   Truong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10784   Nguyen   Anh          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10785   Nguyen   The          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10786   Nguyen   Anh          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10787   Nguyen   Kiet         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10788   Nguyen   Thoan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10789   Nguyen   Ricky        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10790   Nguyen   Ricky        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10791   Nguyen   Thom         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10792   Nguyen   Thi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 183 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 185 of 247

 10793   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10794   Nguyen   Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10795   Nguyen   Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10796   Nguyen   Quang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10797   Nguyen   Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10798   Nguyen   Hoang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10799   Nguyen   Tong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10800   Nguyen   Tam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10801   Nguyen   Hoang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10802   Nguyen   Ly           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10803   Nguyen   Lang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10804   Nguyen   Lan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10805   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10806   Nguyen   Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10807   Nguyen   Son          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10808   Nguyen   Son          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10809   Nguyen   Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10810   Nguyen   Menh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10811   Nguyen   Gam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10812   Nguyen   Le           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10813   Nguyen   Vui          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10814   Nguyen   Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10815   Nguyen   Vy           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10816   Nguyen   Truong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10817   Nguyen   Hien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10818   Nguyen   Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10819   Nguyen   Vy           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10820   Nguyen   Xuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10821   Nguyen   Kelly        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10822   Nguyen   Nien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10823   Nguyen   Doc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10824   Nguyen   Quyen        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10825   Nguyen   Dung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10826   Nguyen   Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10827   Nguyen   B            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10828   Nguyen   Tanya        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10829   Nguyen   Carol        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10830   Nguyen   Rosa         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10831   Nguyen   Cu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10832   Nguyen   Ali          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10833   Nguyen   An           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10834   Nguyen   Be           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10835   Nguyen   Canh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10836   Nguyen   Dau          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10837   Nguyen   Michael      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10838   Nguyn    Hien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10839   Pham     David        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10840   Pham     Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10841   Pham     Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10842   Pham     Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10843   Pham     Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10844   Pham     John         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10845   Pham     Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10846   Pham     Hien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10847   Pham     Mung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10848   Pham     Tho          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10849   Pham     Tu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10850   Pham     Ban          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10851   Pham     Khoi         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 184 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 186 of 247

 10852   Pham     Diem          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10853   Pham     Nancy         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10854   Pham     Reim          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10855   Pham     Jessica       Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10856   Pham     An            Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10857   Pham     Huynh         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10858   Pham     Steve         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10859   Pham     Nisa          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10860   Pham     Thanh         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10861   Pham     Huan          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10862   Pham     Duc           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10863   Pham     Phi           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10864   Pham     Vi            Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10865   Pham     Pho           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10866   Pham     Doan          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10867   Pham     Lang          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10868   Pham     Calvin        Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10869   Pham     Hai           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10870   Pham     Hien          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10871   Pham     Nick          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10872   Pham     Pho           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10873   Pham     Bien          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10874   Pham     Nga           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10875   Pham     Tam           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10876   Phan     Nham          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10877   Phan     Villa         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10878   Phan     Giao          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10879   Phan     Thanh         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10880   Phan     Ging          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10881   Phan     Binh          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10882   Phan     Giao          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10883   Phan     Johnny        Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10884   Phan     Hung          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10885   Phan     David         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10886   Phan     Tam           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10887   Phan     Nam           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10888   Phan     Huy           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10889   Phan     Lisa          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10890   Phong    Tony          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10891   Phoug    Mah           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10892   Phu      Dao           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10893   Phu      Ta            Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10894   Q        Nguyen        Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10895   Quach    Tong          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10896   Que      Tran          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10897   R        Luu           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10898   Ta       Yen           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10899   Ta       Yen           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10900   Ta       Dary          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10901   Ta       B             Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10902   Tai      Hua           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10903   Tai      Chu           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10904   Tai      Kwongyu       Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10905   Tai      Chiongsherg   Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10906   Tai      Chionsheng    Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10907   Tan      Hung          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10908   Tang     Hoang         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10909   Thach    Hoang         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 10910   Thai     Tao           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No

Tab E                                                                                                        Page 185 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 187 of 247

 10911   Thai     Huynh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10912   Thanh    Cao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10913   Thanh    Tran         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10914   Thanh    Thong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10915   Thu      Van          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10916   To       Ngau         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10917   Tra      Hang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10918   Tram     Khiet        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10919   Tram     Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10920   Tran     Khanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10921   Tran     Hong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10922   Tran     Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10923   Tran     Hui          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10924   Tran     Andy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10925   Tran     Nhan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10926   Tran     Nguyen       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10927   Tran     Kimphuong    Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10928   Tran     Maria        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10929   Tran     Oanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10930   Tran     Phuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10931   Tran     Dai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10932   Tran     Dong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10933   Tran     Brenda       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10934   Tran     Hao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10935   Tran     Dinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10936   Tran     Te           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10937   Tran     Son          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10938   Tran     Quang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10939   Tran     Bay          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10940   Tran     Xuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10941   Tran     Quang        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10942   Tran     Hao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10943   Tran     Peter        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10944   Tran     Dinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10945   Tran     Damian       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10946   Tran     Kym          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10947   Tran     Khanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10948   Tran     Hung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10949   Tran     Gaby         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10950   Tran     Ba           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10951   Tran     Chuck        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10952   Tran     Dinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10953   Tran     Giao         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10954   Tran     Giao         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10955   Tran     Hai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10956   Tran     My           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10957   Tran     My           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10958   Tran     Nga          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10959   Tran     Nhan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10960   Tran     Phuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10961   Tran     Thao         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10962   Tran     Toan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10963   Tran     Tony         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10964   Tran     Tuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10965   Tran     Bao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10966   Tran     Dt           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10967   Tran     Beatriz      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10968   Tran     Daniel       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 10969   Tran     Nha          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 186 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 188 of 247

 10970   Tran     Phat           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10971   Tran     Anh            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10972   Tran     Cuong          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10973   Tran     An             Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10974   Tran     Cao            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10975   Tran     Bau            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10976   Tran     Hung           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10977   Tran     Benson         Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10978   Tran     Dinh           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10979   Tran     Thuc           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10980   Tran     Thanh          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10981   Tran     Thoa           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10982   Tran     Qui            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10983   Tran     Du             Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10984   Tran     Nang           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10985   Tran     Bay            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10986   Tran     Hong           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10987   Tran     Pho            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10988   Tran     Dinh           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10989   Tran     Sum            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10990   Tran     Cao            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10991   Tran     Dong           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10992   Tran     Tuan           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10993   Tran     Binh           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10994   Tran     Tom            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10995   Tran     Thu            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10996   Tran     Joseph         Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10997   Tran     Tien           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10998   Tran     Tim            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 10999   Tran     Ngoc           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11000   Tran     Canha          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11001   Tran     Allison        Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11002   Tran     Donovan        Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11003   Tran     Hai            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11004   Tran     Dawnyn         Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11005   Tran     Hai            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11006   Tran     Thanh          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11007   Tran     Hung           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11008   Tran     Christophter   Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11009   Tran     Thanh          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11010   Tran     Anh            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11011   Tran     Scotty         Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11012   Tran     Ghan           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11013   Tran     Marcus         Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11014   Tran     Ba             Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11015   Tran     Cuong          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11016   Tran     Huong          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11017   Tran     Hai            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11018   Tran     Anthony        Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11019   Tran     Dieu           Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11020   Tran     Lan            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11021   Tran     Khanh          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11022   Tran     Quang          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11023   Tran     Van            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11024   Tran     Tuyen          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11025   Tran     Tuyet          Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11026   Tran     Kimanh         Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11027   Tran     Tiffany        Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No
 11028   Tran     Tan            Tran Ngoc Dung, et
                                                 TXal- v.
                                                       District
                                                          BP Exploration
                                                                Court - Harris
                                                                          and County
                                                                               Production, 10-3178
                                                                                           Inc., et al   No      No

Tab E                                                                                                         Page 187 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 189 of 247

 11029   Tran     Thuan        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11030   Tran     Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11031   Tran     Tinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11032   Tran     Dao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11033   Tran     Loan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11034   Tran     Dinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11035   Tran     Benson       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11036   Tran     Delena       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11037   Tran     Ring         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11038   Tran     Loan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11039   Tran     Amy          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11040   Tran     Chris        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11041   Tran     James        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11042   Tran     Qui          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11043   Tran     Hong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11044   Tran     Nam          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11045   Tran     Aline        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11046   Tran     Alex         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11047   Tran     Ha           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11048   Tran     Tu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11049   Tran     Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11050   Tran     Amalia       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11051   Tran     Dzunt        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11052   Tran     Haritran     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11053   Tran     Hau          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11054   Tran     Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11055   Tran     Men          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11056   Tran     Thai         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11057   Tran     Doan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11058   Tran     Nikki        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11059   Tran     Man          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11060   Tran     Victor       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11061   Tran     Tiffanie     Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11062   Tran     Peter        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11063   Tran     Harry        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11064   Tran     Andrew       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11065   Tran     David        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11066   Tran     Danh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11067   Tran     Ban          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11068   Tran     Hanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11069   Tran     Ha           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11070   Tran     Han          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11071   Tran     Duc          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11072   Tran     Due          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11073   Tran     Do           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11074   Tran     Dieu         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11075   Tran     Dinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11076   Tran     Nhugn        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11077   Tran     Steven       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11078   Trang    Vu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11079   Tri      Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11080   Trinh    Long         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11081   Trinh    Thuong       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11082   Trinh    Tro          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11083   Trinh    Cuong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11084   Troung   Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11085   Troung   Q            Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11086   Troung   Thien        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11087   Troung   Tuong        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 188 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 190 of 247

 11088   Troung   John          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11089   Troung   Hoa           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11090   Troung   Chau          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11091   Trung    Thai          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11092   Trung    Ken           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11093   Truong   Minh          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11094   Truong   Ngoc          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11095   Truong   Phuong        Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11096   Truong   Kim           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11097   Truong   Julie         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11098   Truong   Men           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11099   Truong   Kyong         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11100   Truong   Vinh          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11101   Truong   Ngan          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11102   Truong   Liem          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11103   Truong   Tong          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11104   Truong   Tommy         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11105   Truong   Alexander     Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11106   Truong   Van           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11107   Truong   Hen           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11108   Truong   Cuong         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11109   Truong   Chanh         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11110   Truong   Dung          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11111   Truong   Hang          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11112   Truong   Hen           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11113   Truong   Henry         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11114   Truong   Christopher   Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11115   Truong   Dang          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11116   Truong   Ty            Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11117   Truong   Nu            Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11118   Truong   Trung         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11119   Truong   Van           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11120   Truong   Vu            Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11121   Truong   Johnny        Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11122   Truong   Ty            Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11123   Tu       Hoang         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11124   Tu       Van           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11125   Tu       Don           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11126   Tu       Hung          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11127   Tu       Tina          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11128   Tu       Nancy         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11129   Tu       Don           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11130   Tu       Tina          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11131   V        Nguyen        Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11132   Van      Melanie       Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11133   Van      Vu            Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11134   Van      Thuy          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11135   Van      Mary          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11136   Van      Pham          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11137   Vo       Trung         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11138   Vo       C             Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11139   Vo       Dung          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11140   Vo       Oanh          Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11141   Vo       Trang         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11142   Vo       Man           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11143   Vo       Dai           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11144   Vo       Alicia        Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11145   Vo       Thanh         Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No
 11146   Vo       Thu           Tran Ngoc Dung, et
                                                TXal- v.
                                                      District
                                                         BP Exploration
                                                               Court - Harris
                                                                         and County
                                                                              Production, 10-3178
                                                                                          Inc., et al   No      No

Tab E                                                                                                        Page 189 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 191 of 247

 11147   Vo       Jackie       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11148   Vo       Quynh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11149   Vo       Tong         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11150   Vo       Khanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11151   Vo       Thao         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11152   Vo       Luan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11153   Vo       Kim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11154   Vo       Thao         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11155   Vo       Hanh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11156   Vo       Lung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11157   Vo       Mai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11158   Vo       Hao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11159   Vo       Kim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11160   Vo       Kim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11161   Vo       Dafei        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11162   Vo       Mai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11163   Vo       Tim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11164   Vo       Lonis        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11165   Vo       Vi           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11166   Vo       Richard      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11167   Vo       Bai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11168   Vo       Yen          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11169   Vo       Vu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11170   Vo       Trung        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11171   Vo       Carolyn      Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11172   Vo       Mimi         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11173   Vo       Hiep         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11174   Vo       Hoa          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11175   Vo       Tim          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11176   Vo       Hien         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11177   Vo       Truc         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11178   Vo       Doi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11179   Vo       Huyen        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11180   Vo       Ameng        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11181   Vo       Hiep         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11182   Vo       Chi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11183   Vo       David        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11184   Vo       Bao          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11185   Vo       Thu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11186   Vo       Nancy        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11187   Vo       Nhu          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11188   Vo       Hieu         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11189   Vo       Minh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11190   Vo       Nga          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11191   Vo       Dan          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11192   Voung    Phoung       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11193   Vu       Tuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11194   Vu       Tu           Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11195   Vu       Thanh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11196   Vu       Lang         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11197   Vu       Tuan         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11198   Vu       Quynh        Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11199   Vu       Nhi          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11200   Vu       Tina         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11201   Vu       Thuy         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11202   Vu       Tung         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11203   Vu       Vinh         Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11204   Vu       Thomas       Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No
 11205   Vu       Tai          Tran Ngoc Dung, et
                                               TXal- v.
                                                     District
                                                        BP Exploration
                                                              Court - Harris
                                                                        and County
                                                                             Production, 10-3178
                                                                                         Inc., et al   No      No

Tab E                                                                                                       Page 190 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 192 of 247

 11206   Vu       Thuy         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11207   Vu       Tony         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11208   Vu       Van          Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11209   Vu       Tony         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11210   Vu       Nguyen       Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11211   Vu       Quynh        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11212   Vu       Veronica     Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11213   Vu       Phuong       Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11214   Vu       Hieu         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11215   Vu       Joseph       Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11216   Vu       Michelle     Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11217   Vu       Stephen      Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11218   Vu       Henry        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11219   Vu       Heinthi      Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11220   Vu       Gwyneth      Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11221   Vu       Loan         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11222   Vu       Huong        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11223   Vu       Thu          Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11224   Vu       Lien         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11225   Vu       Dung         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11226   Vu       Dung         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11227   Vu       Vincent      Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11228   Vu       Quang        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11229   Vu       Yen          Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11230   Vu       Loan         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11231   Vu       Long         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11232   Vu       Loi          Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11233   Vu       Uyen         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11234   Vu       Kathy        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11235   Vu       Xuan         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11236   Vu       Khoa         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11237   Vu       Cuu          Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11238   Vu       Thuy         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11239   Vu       Chi          Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11240   Vu       Bang         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11241   Vu       John         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11242   Vu       Hue          Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11243   Vu       Duran        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11244   Vu       Loc          Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11245   Vu       Monique      Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11246   Vu       Thuan        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11247   Vu       Tuan         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11248   Vu       Tony         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11249   Vuong    Tommy        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11250   Vuong    Jeanne       Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11251   Vuong    Hanh         Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11252   Vuong    Connie       Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11253   Vuong    Tommy        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11254   Vuong    David        Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11255   Vuong    Phuong       Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11256   Vuong    Hoa          Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11257   Vuong    Jeanne       Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11258   Xu       Richard      Tran Ngoc Dung, et TXal- v.
                                                        District
                                                           BP Exploration
                                                                 Court - Harris
                                                                           and County
                                                                                Production, 10-3178
                                                                                            Inc., et al   No      No
 11259   Bui      Danh         Tran, et al v. BP, PLC
                                                  USDC et al
                                                           Southern District of Texas       10-3179       No      No
 11260   Bui      Trinh        Tran, et al v. BP, PLC
                                                  USDC et al
                                                           Southern District of Texas       10-3179       No      No
 11261   Bui      My           Tran, et al v. BP, PLC
                                                  USDC et al
                                                           Southern District of Texas       10-3179       No      No
 11262   Bui      Thuong       Tran, et al v. BP, PLC
                                                  USDC et al
                                                           Southern District of Texas       10-3179       No      No
 11263   Bui      Tan          Tran, et al v. BP, PLC
                                                  USDC et al
                                                           Southern District of Texas       10-3179       No      No
 11264   Bui      Micky        Tran, et al v. BP, PLC
                                                  USDC et al
                                                           Southern District of Texas       10-3179       No      No

Tab E                                                                                                          Page 191 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 193 of 247

 11265   Bui      Hanh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11266   Bui      Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11267   Bui      Cam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11268   Bui      Han          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11269   Bui      Tammy        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11270   Bui      Thuy         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11271   Bui      Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11272   Bui      Dixie        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11273   Bui      Quang        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11274   Bui      David        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11275   Bui      Tim          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11276   Bui      Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11277   Cao      Jiam         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11278   Cao      Darren       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11279   Cao      Son          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11280   Cao      Yen          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11281   Cao      Bang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11282   Cao      Hung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11283   Cao      Tin          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11284   Cao      James        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11285   Cao      Ban          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11286   Cao      Duke         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11287   Cao      Phuoc        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11288   Cao      Phil         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11289   Cao      Micahael     Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11290   Cao      Mike         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11291   Cao      Dung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11292   Cao      Dung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11293   Cao      Van          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11294   Chu      Gregory      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11295   Chu      Jim          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11296   Chung    Bill         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11297   Chung    Cathy        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11298   Chung    Iris         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11299   Chung    Lau          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11300   Chung    Paul         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11301   Dam      Hung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11302   Dam      Jill         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11303   Dam      Thuong       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11304   Dang     Thanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11305   Dang     Truong       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11306   Dang     Ricky        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11307   Dang     Gat          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11308   Dang     Vuong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11309   Dang     Linh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11310   Dang     Vinh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11311   Dang     Van          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11312   Dang     Tuan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11313   Dang     Trang        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11314   Dang     Tung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11315   Dang     Tri          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11316   Dang     Tu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11317   Dang     Kim          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11318   Dang     Han          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11319   Dang     Phap         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11320   Dang     Tien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11321   Dang     Hang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11322   Dang     Liem         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11323   Dang     Cong         Tran, et al v. BP, PLC
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Tab E                                                                                                Page 192 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 194 of 247

 11324   Dang     Luc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11325   Dang     Lai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11326   Dang     Tai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11327   Dang     Kim          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11328   Dang     Kim          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11329   Dang     Duong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11330   Dang     Bi           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11331   Dang     Chau         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11332   Dang     Duoc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11333   Dang     Duong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11334   Dang     Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11335   Dang     Danny        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11336   Dang     Max          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11337   Dang     Quy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11338   Dang     Tai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11339   Dang     Sinh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11340   Dang     Thuy         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11341   Dao      Hein         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11342   Dao      Thu          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11343   Dao      Bach         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11344   Dao      Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11345   Dao      Nguyet       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11346   Dao      Jenny        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11347   Dao      Luong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11348   Dao      Mai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11349   Dao      Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11350   Dao      Lusn         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11351   Dinh     Ky           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11352   Dinh     Tham         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11353   Dinh     Diem         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11354   Dinh     Danh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11355   Dinh     Branden      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11356   Dinh     Vu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11357   Dinh     Carl         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11358   Dinh     Tinh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11359   Dinh     Vinh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11360   Dinh     Cam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11361   Dinh     Binh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11362   Dinh     Bich         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11363   Dinh     Choi         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11364   Dinh     Quoc         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11365   Dinh     Jackie       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11366   Dinh     Jensen       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11367   Dinh     Ngoc         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11368   Dinh     Nick         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11369   Dinh     Thieu        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11370   Dinh     Viet         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11371   Dinh     Bong         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11372   Dinh     Mel          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11373   Dinh     Luu          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11374   Dinh     Duong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11375   Dinh     Lam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11376   Dinh     Duong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11377   Dinh     Khoi         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11378   Dinh     Lam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11379   Dinh     Canh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11380   Dinh     Ci           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11381   Dinh     Chan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11382   Dinh     Charlie      Tran, et al v. BP, PLC
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Tab E                                                                                                Page 193 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 195 of 247

 11383   Dinh     Chau         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11384   Dinh     Canh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11385   Dinh     Thanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11386   Dinh     Chanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11387   Dinh     Hung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11388   Dinh     Cam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11389   Dinh     Carl         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11390   Dinh     Khang        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11391   Dinh     Christan     Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11392   Dinh     Chien        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11393   Dinh     Dep          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11394   Dinh     Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11395   Dinh     Ai           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11396   Dinh     Bay          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11397   Dinh     Bich         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11398   Dinh     Chau         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11399   Dinh     Erin         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11400   Dinh     Cung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11401   Dinh     Robert       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11402   Dinh     Cuong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11403   Dinh     Sang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11404   Dinh     Chinh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11405   Dinh     Hung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11406   Dinh     Tram         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11407   Dinh     Trang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11408   Dinh     Van          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11409   Dinh     Cham         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11410   Dinh     Hieu         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11411   Dinh     Chi          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11412   Dinh     Quang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11413   Dinh     Chi          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11414   Dinh     Khanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11415   Do       Karen        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11416   Do       Quang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11417   Do       N            Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11418   Do       Nhung        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11419   Do       Huong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11420   Do       Mark         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11421   Do       Truc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11422   Do       Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11423   Do       Anh          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11424   Do       Truc         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11425   Do       Anh          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11426   Doan     Casandra     Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11427   Doan     Jenny        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11428   Doan     Hai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11429   Doan     Donald       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11430   Doan     Gregory      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11431   Doan     Nancy        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11432   Doan     Richard      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11433   Dong     Hiep         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11434   Dong     Khoi         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11435   Duong    Tony         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11436   Duong    Vu           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11437   Duong    Trang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11438   Duong    Tu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11439   Duong    Cuong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11440   Duong    Vu           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11441   Duong    Kenny        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No

Tab E                                                                                                Page 194 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 196 of 247

 11442   Duong    Ny           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11443   Duong    Khai         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11444   Duong    Duc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11445   Duong    Huu          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11446   Duong    Phong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11447   Duong    Vic          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11448   Duong    Victor       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11449   Duong    Vuong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11450   Duong    Thai         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11451   Duong    Thanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11452   Duong    Thi          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11453   Duong    Thien        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11454   Duong    Trong        Tran, et al v. BP, PLC
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 11455   Duong    Tu           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11456   Duong    Sam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11457   Duong    Steve        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11458   Duong    Steve        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11459   Duong    Shawn        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11460   Duong    Tai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11461   Duong    Tom          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11462   Duong    Tan          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11463   Duong    Dai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11464   Duong    Kha          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11465   Duong    Phong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11466   Duong    Quang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11467   Duong    Quoc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11468   Duong    Meiu         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11469   Duong    Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11470   Duong    Nghia        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11471   Duong    Cuong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11472   Duong    Luong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11473   Duong    De           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11474   Duong    Lewis        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11475   Duong    Khanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11476   Duong    Nhi          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11477   Duong    Ba           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11478   Duong    Danh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11479   Duong    Bao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11480   Duong    Cam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11481   Duong    Chau         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11482   Duong    Ying         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11483   Duong    Xuan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11484   Duong    Ken          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11485   Duong    Hanson       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11486   Duong    Christina    Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11487   Duong    Thao         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11488   Duong    Thao         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11489   Duong    Andrew       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11490   Ha       Bich         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11491   Ha       Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11492   Ha       Mike         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11493   Ha       Hoang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11494   Ha       Hoang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11495   Ha       Duc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11496   Ha       Kiet         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11497   Ha       Long         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11498   Ha       Uyen         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11499   Ha       Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11500   Ha       Huan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No

Tab E                                                                                                Page 195 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 197 of 247

 11501   Ha       Richard      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11502   Ha       Chinh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11503   Ha       Jimmy        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11504   Ha       Dam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11505   Ha       Truc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11506   Ha       Tuan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11507   Han      Deguang      Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11508   Han      Gemjuo       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11509   Han      Fran         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11510   Han      Fei          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11511   Han      Song         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11512   Han      Pong         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11513   Han      Ruth         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11514   Han      Mechee       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11515   Han      Kwang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11516   Han      Paul         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11517   Han      Chan         Tran, et al v. BP, PLC
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 11518   Han      Mi           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11519   Han      Minh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11520   Han      Jessi        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11521   Han      Joe          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11522   Han      Jim          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11523   Han      Jo           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11524   Han      Johnny       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11525   Han      Jung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11526   Han      Xiao         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11527   Han      Arlene       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11528   Han      Bonnie       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11529   Han      Jian         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11530   Ho       Steven       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11531   Ho       Tha          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11532   Ho       Kim          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11533   Ho       Sonny        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11534   Ho       Sonny        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11535   Ho       Marine       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11536   Ho       Thuan        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11537   Ho       Thanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11538   Ho       Thang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11539   Ho       Tuan         Tran, et al v. BP, PLC
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 11540   Ho       Hung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11541   Ho       Lang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11542   Ho       Le           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11543   Ho       Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11544   Ho       George       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11545   Ho       Sau          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11546   Ho       Quang        Tran, et al v. BP, PLC
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 11547   Ho       Viet         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11548   Ho       Chanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11549   Ho       Vu           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11550   Ho       Ford         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11551   Ho       Bill         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11552   Ho       Dung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11553   Ho       Nam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11554   Ho       Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11555   Ho       Tai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11556   Hoang    Minh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11557   Hoang    Nguyen       Tran, et al v. BP, PLC
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 11558   Hoang    Anh          Tran, et al v. BP, PLC
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 11559   Hoang    Huong        Tran, et al v. BP, PLC
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Tab E                                                                                                Page 196 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 198 of 247

 11560   Hoang    Nanh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11561   Hoang    Thanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11562   Hoang    Van          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11563   Hoang    Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11564   Hoang    Duc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11565   Hoang    Dinh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11566   Hoang    Cuong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11567   Hoang    Billy        Tran, et al v. BP, PLC
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 11568   Hoang    Tien         Tran, et al v. BP, PLC
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 11569   Hoang    Binh         Tran, et al v. BP, PLC
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 11570   Hoang    Bao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11571   Hoang    Dung         Tran, et al v. BP, PLC
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 11572   Hoang    Vinh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11573   Hoang    Thuan        Tran, et al v. BP, PLC
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 11574   Hoang    Tam          Tran, et al v. BP, PLC
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 11575   Hoang    Thanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11576   Hoang    Tien         Tran, et al v. BP, PLC
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 11577   Hoanh    Dominic      Tran, et al v. BP, PLC
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 11578   Hong     Qui          Tran, et al v. BP, PLC
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 11579   Hong     Quy          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11580   Hong     Qui          Tran, et al v. BP, PLC
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 11581   Hong     Chanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11582   Hong     Chi          Tran, et al v. BP, PLC
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 11583   Hong     Quyen        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11584   Hong     Lam          Tran, et al v. BP, PLC
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 11585   Hong     Quyen        Tran, et al v. BP, PLC
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 11586   Hong     Hung         Tran, et al v. BP, PLC
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 11587   Hung     Chanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11588   Huynh    Trieu        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11589   Huynh    Chi          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11590   Huynh    Kiem         Tran, et al v. BP, PLC
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 11591   Huynh    Duke         Tran, et al v. BP, PLC
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 11592   Huynh    Lam          Tran, et al v. BP, PLC
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 11593   Huynh    Linda        Tran, et al v. BP, PLC
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 11594   Huynh    Linda        Tran, et al v. BP, PLC
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 11595   Huynh    Linda        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11596   Huynh    Loan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11597   Huynh    Long         Tran, et al v. BP, PLC
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 11598   Huynh    Hai          Tran, et al v. BP, PLC
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 11599   Huynh    Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11600   Huynh    Hue          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11601   Huynh    Nam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11602   Huynh    Lucky        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11603   Huynh    Myngoc       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11604   Huynh    My           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11605   Huynh    Nam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11606   Huynh    Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11607   Huynh    Evana        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11608   Huynh    Hua          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11609   Huynh    Chi          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11610   Huynh    Binh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11611   Huynh    Dan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11612   Huynh    Vu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11613   Huynh    Anh          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11614   Huynh    Trang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11615   Huynh    Den          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11616   Huynh    Diem         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11617   Huynh    Duc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11618   Huynh    Ann          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No

Tab E                                                                                                Page 197 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 199 of 247

 11619   Huynh    Be           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11620   Kim      Dongnyoung   Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11621   Kim      Meri         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11622   Lai      Cam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11623   Lai      Chou         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11624   Lai      Aiden        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11625   Lai      Charles      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11626   Lai      Dit          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11627   Lai      Chu          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11628   Lam      Ricky        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11629   Lam      Hanh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11630   Lam      Huyhnanh     Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11631   Lam      Mark         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11632   Lam      Alisha       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11633   Lam      Audrey       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11634   Lam      Lieu         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11635   Lam      Ky           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11636   Lam      Nhung        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11637   Lam      Quy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11638   Lam      Quy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11639   Lam      Gun          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11640   Lam      Charles      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11641   Lam      Bing         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11642   Lam      Khien        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11643   Lam      Duc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11644   Lam      James        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11645   Lam      Khang        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11646   Lam      Terry        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11647   Lam      Mee          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11648   Lam      Quam         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11649   Lam      Sivan        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11650   Lam      Sam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11651   Lam      Samantha     Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11652   Lam      Tu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11653   Lam      Yat          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11654   Le       Vennessa     Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11655   Le       Luan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11656   Le       Phi          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11657   Le       Chan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11658   Le       Ken          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11659   Le       Huong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11660   Le       Trevor       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11661   Le       Tam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11662   Le       Tam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11663   Le       Quyen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11664   Le       Hien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11665   Le       Phoung       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11666   Le       Phuong       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11667   Le       Phuong       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11668   Le       Quy          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11669   Le       Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11670   Le       Nancy        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11671   Le       Thach        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11672   Le       Phuc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11673   Le       Thinh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11674   Le       Thanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11675   Le       Toan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11676   Le       Thanh        Tran, et al v. BP, PLC
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 11677   Le       Thanh        Tran, et al v. BP, PLC
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Tab E                                                                                                Page 198 of 246
              Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 200 of 247

 11678   Le         Chau          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11679   Le         Chu           Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11680   Le         Chuong        Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11681   Le         Dao           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11682   Le         Christopher   Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11683   Le         Dien          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11684   Le         Duoc          Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11685   Le         Bich          Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11686   Le         Quan          Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11687   Le         Peter         Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11688   Le         Viet          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11689   Le         Hoi           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11690   Le         Ky            Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11691   Le         Hai           Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11692   Le         Duoc          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11693   Le         Quan          Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11694   Le         Jimmie        Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11695   Le         John          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11696   Le         Huan          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11697   Le         Anh           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11698   Le         Hai           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11699   Le         Thien         Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11700   Le         Thi           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11701   Le         Ma            Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11702   Le         Minh          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11703   Le         Sang          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11704   Le         Si            Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11705   Le         Chuong        Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11706   Le         John          Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11707   Le         Tony          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11708   Le         Ha            Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11709   Le         Dung          Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11710   Le         Ken           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11711   Le         Chung         Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11712   Le         Hat           Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11713   Le         Thanh         Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11714   Le         Lai           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11715   Le         Nhieu         Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11716   Le         Nga           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11717   Le         Rlgu          Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11718   Le         Poppy         Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11719   Le         Eric          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11720   Le         Ha            Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11721   Le         Thuong        Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11722   Le         Phuoc         Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11723   Le         Mau           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11724   Le         Linda         Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11725   Le         Duoc          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11726   Le         Hung          Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11727   Le         Duoc          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11728   Le         Jamie         Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11729   Le         Phuoc         Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11730   Le         Truong        Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No
 11731   Le         Anh           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11732   Le         Cuc           Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11733   Le         Cuong         Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11734   Le         Vicky         Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11735   Le         Dong          Tran, et al v. BP, PLC
                                                     USDCet al
                                                            Southern District of Texas   10-3179   No      No
 11736   Le         Cam           Tran, et al v. BP, PLC
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                                                            Southern District of Texas   10-3179   No      No

Tab E                                                                                                   Page 199 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 201 of 247

 11737   Le       Lehang       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11738   Le       Amanda       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11739   Le       Lieu         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11740   Le       Linda        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11741   Le       Lan          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11742   Le       An           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11743   Le       Linh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11744   Le       Canh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11745   Le       Chai         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11746   Le       Danny        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11747   Le       Chinh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11748   Le       Cuc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11749   Le       Nick         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11750   Le       Tony         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11751   Le       Tan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11752   Le       Bui          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11753   Le       Binh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11754   Le       Dau          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11755   Le       Di           Tran, et al v. BP, PLC
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 11756   Le       Duong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11757   Le       Galen        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11758   Le       Giau         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11759   Le       Phuc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11760   Le       Hoang        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11761   Le       An           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11762   Le       Anh          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11763   Lee      Young        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11764   Lieu     Phung        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11765   Lieu     Ka           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11766   Lieu     Fred         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11767   Lu       Xiaojie      Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11768   Luiu     Daniel       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11769   Luong    Ling         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11770   Luong    Kha          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11771   Luu      Stew         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11772   Luu      Tuoi         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11773   Luu      Chong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11774   Luu      Sieu         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11775   Luu      Mau          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11776   Luu      Nicholas     Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11777   Luu      Scott        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11778   Luu      Sieu         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11779   Luu      Marie        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11780   Luu      Mau          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11781   Mai      Diem         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11782   Mai      Diem         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11783   Mai      Dat          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11784   Mai      Dat          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11785   Mai      Danh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11786   Mai      Lang         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11787   Mai      Thai         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11788   Mai      Ty           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11789   Mai      Alan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11790   Mai      Chinh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11791   Mai      Wang         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11792   Mai      Hung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11793   Mai      Felipe       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11794   Mai      Hoa          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11795   Mai      Dang         Tran, et al v. BP, PLC
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Tab E                                                                                                Page 200 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 202 of 247

 11796   Mai      Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11797   Mai      Dai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11798   Mai      Tien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11799   Mai      Long         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11800   Mai      Linh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11801   Mai      Liieu        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11802   Mai      Hieu         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11803   Mai      Kien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11804   Mai      Khanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11805   Mai      Kel          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11806   Mai      Johnny       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11807   Mai      John         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11808   Mai      Agnes        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11809   Mai      Mei          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11810   Mai      Phuong       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11811   Mai      Phuong       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11812   Mai      Pat          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11813   Mai      Ho           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11814   Mai      Nien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11815   Mai      Vu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11816   Mai      Canh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11817   Mai      Tho          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11818   Mai      Wayne        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11819   Mai      Toan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11820   Mai      Tan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11821   Mai      Tuan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11822   Mai      Van          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11823   Mai      Michael      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11824   Mai      Kim          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11825   Ngo      Nhan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11826   Ngo      Thien        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11827   Ngo      Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11828   Ngo      Martin       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11829   Ngo      Linh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11830   Ngo      Linh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11831   Ngo      Linh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11832   Ngo      Linh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11833   Ngo      Nam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11834   Ngo      Thomas       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11835   Ngo      Thuyet       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11836   Ngo      Thuyet       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11837   Ngo      Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11838   Ngo      Lan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11839   Ngo      Hoa          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11840   Ngo      Allen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11841   Ngo      Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11842   Ngo      Tuyen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11843   Ngo      Tina         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11844   Ngo      Trieu        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11845   Nguyen   Rang         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11846   Nguyen   Sang         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11847   Nguyen   Ngoc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11848   Nguyen   Wanda        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11849   Nguyen   Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11850   Nguyen   Oahn         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11851   Nguyen   Son          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11852   Nguyen   Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11853   Nguyen   Thang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11854   Nguyen   Khai         Tran, et al v. BP, PLC
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Tab E                                                                                                Page 201 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 203 of 247

 11855   Nguyen   Vuong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11856   Nguyen   Diem         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11857   Nguyen   Suong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11858   Nguyen   Bich         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11859   Nguyen   Thanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11860   Nguyen   Chan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11861   Nguyen   Chat         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11862   Nguyen   Dung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11863   Nguyen   Tot          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11864   Nguyen   Duc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11865   Nguyen   Dung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11866   Nguyen   Peter        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11867   Nguyen   Bao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11868   Nguyen   Manh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11869   Nguyen   Jim          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11870   Nguyen   Bong         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11871   Nguyen   Ly           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11872   Nguyen   Mike         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11873   Nguyen   Minh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11874   Nguyen   Luyen        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11875   Nguyen   Lieu         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11876   Nguyen   Liem         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11877   Nguyen   Brandon      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11878   Nguyen   Lap          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11879   Nguyen   Lien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11880   Nguyen   Billy        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11881   Nguyen   Khoa         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11882   Nguyen   Duy          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11883   Nguyen   Kim          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11884   Nguyen   Lam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11885   Nguyen   Thao         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11886   Nguyen   Cao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11887   Nguyen   Hoa          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11888   Nguyen   Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11889   Nguyen   Buu          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11890   Nguyen   Trung        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11891   Nguyen   Thomas       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11892   Nguyen   Antione      Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11893   Nguyen   Thong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11894   Nguyen   Bau          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11895   Nguyen   Bien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11896   Nguyen   Su           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11897   Nguyen   Phung        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11898   Nguyen   Steve        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11899   Nguyen   Frank        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11900   Nguyen   Kiet         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11901   Nguyen   Johnny       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11902   Nguyen   Hoang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11903   Nguyen   Hiep         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11904   Nguyen   Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11905   Nguyen   Hoan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11906   Nguyen   Hiep         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11907   Nguyen   Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11908   Nguyen   Bao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11909   Nguyen   Bao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11910   Nguyen   Anhdao       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11911   Nguyen   Alvin        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11912   Nguyen   Andrew       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11913   Nguyen   Dan          Tran, et al v. BP, PLC
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Tab E                                                                                                Page 202 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 204 of 247

 11914   Nguyen   Dan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11915   Nguyen   Hiep         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11916   Nguyen   Bao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11917   Nguyen   Bao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11918   Nguyen   Bao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11919   Nguyen   Bich         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11920   Nguyen   B            Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11921   Nguyen   Bachmai      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11922   Nguyen   Anthony      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11923   Nguyen   Albert       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11924   Nguyen   Bich         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11925   Nguyen   Joe          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11926   Nguyen   Chad         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11927   Nguyen   Peter        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11928   Nguyen   Peter        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11929   Nguyen   Roy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11930   Nguyen   Steven       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11931   Nguyen   Mike         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11932   Nguyen   Mark         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11933   Nguyen   Luyen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11934   Nguyen   Harry        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11935   Nguyen   Hai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11936   Nguyen   Phong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11937   Nguyen   Sang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11938   Nguyen   Terry        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11939   Nguyen   Thuan        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11940   Nguyen   Cuong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11941   Nguyen   Duyen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11942   Nguyen   Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11943   Nguyen   Bryan        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11944   Nguyen   Canh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11945   Nguyen   Hiep         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11946   Nguyen   Tony         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11947   Nguyen   Tan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11948   Nguyen   Dat          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11949   Nguyen   Hung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11950   Nguyen   Liem         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11951   Nguyen   Bao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11952   Nguyen   Dan          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11953   Nguyen   Thanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11954   Nguyen   Ken          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11955   Nguyen   Khoa         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11956   Nguyen   Vinh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11957   Nguyen   Tommy        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11958   Nguyen   La           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11959   Nguyen   Tien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11960   Nguyen   Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11961   Nguyen   Duy          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11962   Nguyen   Alan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11963   Nguyen   Canh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11964   Nguyen   Danh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11965   Nguyen   Adam         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11966   Nguyen   Andy         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11967   Nguyen   Hau          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11968   Nguyen   Ly           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11969   Nguyen   Benny        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11970   Nguyen   Mike         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11971   Nguyen   Nick         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11972   Nguyen   Luyen        Tran, et al v. BP, PLC
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Tab E                                                                                                Page 203 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 205 of 247

 11973   Nguyen   Nam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11974   Nguyen   Karen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11975   Nguyen   My           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11976   Nguyen   My           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11977   Nguyen   Muoi         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11978   Nguyen   Muoi         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11979   Nguyen   Minh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11980   Nguyen   Michael      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11981   Nguyen   Allen        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11982   Nguyen   Khoa         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11983   Nguyen   Hung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11984   Nguyen   Liem         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11985   Nguyen   Bao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11986   Nguyen   Johnathan    Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11987   Nguyen   Ang          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 11988   Nguyen   Anthony      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11989   Nguyen   Quyet        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11990   Nguyen   Brandon      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11991   Nguyen   Tuong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11992   Nguyen   Eric         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11993   Nguyen   Micheal      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11994   Nguyen   Micheal      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11995   Nguyen   Melissa      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11996   Nguyen   Mary         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11997   Nguyen   Maria        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11998   Nguyen   Mai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 11999   Nguyen   Mai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12000   Nguyen   Lu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12001   Nguyen   Loc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12002   Nguyen   Leon         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12003   Nguyen   Kim          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12004   Nguyen   Kim          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12005   Nguyen   Kiet         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12006   Nguyen   Khanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12007   Nguyen   Khan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12008   Nguyen   Kham         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12009   Nguyen   Guong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12010   Nguyen   Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12011   Nguyen   Canh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12012   Nguyen   Carmen       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12013   Nguyen   Ha           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12014   Nguyen   Am           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12015   Nguyen   Phat         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12016   Nguyen   Huy          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12017   Nguyen   Donald       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12018   Nguyen   On           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12019   Nguyen   Chu          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12020   Nguyen   Binh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12021   Nguyen   Binh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12022   Nguyen   Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12023   Nguyen   Phi          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12024   Nguyen   Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12025   Nguyen   David        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12026   Nguyen   Brian        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12027   Nguyen   Dan          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12028   Nguyen   Dieu         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12029   Nguyen   Phuoc        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12030   Nguyen   Simon        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12031   Nguyen   Phuong       Tran, et al v. BP, PLC
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Tab E                                                                                                Page 204 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 206 of 247

 12032   Nguyen   Ngan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12033   Nguyen   Ha           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12034   Nguyen   Alan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12035   Nguyen   Ana          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12036   Pham     Thuy         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12037   Pham     Hao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12038   Pham     Tung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12039   Pham     Trung        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12040   Pham     Tana         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12041   Pham     Vinh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12042   Pham     Trung        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12043   Pham     Henry        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12044   Pham     Hon          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12045   Pham     Huy          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12046   Pham     Lai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12047   Pham     Lan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12048   Pham     Lien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12049   Pham     Liem         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12050   Pham     Myly         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12051   Pham     Nha          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12052   Pham     Phuong       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12053   Pham     Thang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12054   Pham     Thanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12055   Pham     Vinh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12056   Pham     Vu           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12057   Pham     Xuan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12058   Pham     Andy         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12059   Pham     Benny        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12060   Pham     Canh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12061   Pham     Chat         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12062   Pham     Cuong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12063   Pham     Cuong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12064   Pham     Duc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12065   Pham     Suan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12066   Pham     Quyen        Tran, et al v. BP, PLC
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 12067   Pham     Tho          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12068   Pham     Lam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12069   Pham     Cuong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12070   Pham     Hon          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12071   Pham     Myly         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12072   Pham     Ngoc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12073   Pham     Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12074   Pham     Trang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12075   Pham     Nhu          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12076   Pham     Chanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12077   Pham     Nha          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12078   Pham     Robert       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12079   Pham     Suan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12080   Pham     An           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12081   Pham     Hue          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12082   Pham     Tina         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12083   Pham     Thu          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12084   Phan     Trang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12085   Phan     Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12086   Phan     Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12087   Phan     Tommy        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12088   Phan     Nam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12089   Phan     Cathy        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12090   Phan     Cathy        Tran, et al v. BP, PLC
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Tab E                                                                                                Page 205 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 207 of 247

 12091   Phan     Chuong       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12092   Phan     Phoung       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12093   Phan     Son          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12094   Phan     Thao         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12095   Phan     Trang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12096   Phung    Qua          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12097   Phung    Ken          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12098   Phung    Bick         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12099   Phung    Hung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12100   Phung    Nem          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12101   Quach    Yen          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12102   Ta       Mi           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12103   Ta       Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12104   Ta       Kha          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12105   Ta       Ken          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12106   Ta       Binh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12107   Ta       Banh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12108   Tan      Te           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12109   Tan      Thang        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12110   Tang     Huago        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12111   Tang     Thuong       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12112   Tang     Thong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12113   Tang     Tony         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12114   Tang     Hang         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12115   Tang     Huy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12116   Tang     Sean         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12117   Tang     Lewis        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12118   Tang     Johnny       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12119   Tang     Rick         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12120   Tang     Richard      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12121   Tang     Heather      Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12122   Tang     Helena       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12123   Tang     Jing         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12124   Tang     James        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12125   Tang     Ken          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12126   Tang     Nga          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12127   Tang     Simon        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12128   Tang     Alain        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12129   Tang     Abby         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12130   Tang     Jaye         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12131   Tang     Jim          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12132   Tang     Chong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12133   Thach    Kevin        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12134   Thach    Lam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12135   Thach    Tham         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12136   Thach    Thuan        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12137   Thach    Tuan         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12138   Thach    Thu          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12139   Thach    Chris        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12140   Thach    Danh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12141   Thach    Sol          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12142   Thach    Shawn        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12143   Thach    Rel          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12144   Thach    Reo          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12145   Thach    Duong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12146   Thach    Ha           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12147   Than     Mong         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12148   Thuy     Trinh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12149   Ton      Cuong        Tran, et al v. BP, PLC
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Tab E                                                                                                Page 206 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 208 of 247

 12150   Ton      Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12151   Ton      Thong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12152   Tran     Cuc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12153   tran     Huong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12154   Tran     Chau         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12155   Tran     Thuy         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12156   Tran     An           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12157   Tran     Hanh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12158   Tran     Hoang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12159   Tran     Chanh        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12160   Tran     Danh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12161   Tran     Thong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12162   Tran     Jacky        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12163   Tran     Viet         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12164   Tran     My           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12165   Tran     Chi          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12166   Tran     Duy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12167   Tran     Don          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12168   Tran     Nam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12169   Tran     Viet         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12170   Tran     Tan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12171   Tran     John         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12172   Tran     Chong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12173   Tran     Dan          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12174   Tran     Tina         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12175   Tran     Dam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12176   Tran     De           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12177   Tran     Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12178   Tran     Andrew       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12179   Tran     Bgui         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12180   Tran     Bichgiao     Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12181   Tran     Bich         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12182   Tran     Gina         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12183   Tran     Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12184   Tran     Henry        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12185   Tran     Henry        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12186   Tran     Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12187   Tran     Phuc         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12188   Tran     Hang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12189   Tran     David        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12190   Tran     David        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12191   Tran     Anne         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12192   Tran     Dao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12193   Tran     Danny        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12194   Tran     Danny        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12195   Tran     Anna         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12196   Tran     Anna         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12197   Tran     Dan          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12198   Tran     Dan          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12199   Tran     Danny        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12200   Tran     Be           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12201   Tran     Be           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12202   Tran     Bettina      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12203   Tran     Anh          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12204   Tran     Binh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12205   Tran     Tina         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12206   Tran     Cuc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12207   Tran     Cuc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12208   Tran     Cuc          Tran, et al v. BP, PLC
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Tab E                                                                                                Page 207 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 209 of 247

 12209   Tran     Dac          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12210   Tran     Hivano       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12211   Tran     Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12212   Tran     Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12213   Tran     Hao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12214   Tran     Huu          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12215   Tran     Han          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12216   Tran     Hun          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12217   Tran     Hong         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12218   Tran     Hoang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12219   Tran     Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12220   Tran     Han          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12221   Tran     Hoang        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12222   Tran     Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12223   Tran     Dung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12224   Tran     Kai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12225   Tran     Kai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12226   Tran     Khuong       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12227   Tran     Canh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12228   Tran     Cuc          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12229   Tran     Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12230   Tran     Hieu         Tran, et al v. BP, PLC
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 12231   Tran     Ha           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12232   Tran     Hieu         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12233   Tran     Ha           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12234   Tran     Howie        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12235   Tran     Hung         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12236   Tran     Hau          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12237   Tran     Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12238   Tran     Hoi          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12239   Tran     Hieu         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12240   Tran     Diep         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12241   Tran     Diep         Tran, et al v. BP, PLC
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 12242   Tran     Duy          Tran, et al v. BP, PLC
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 12243   Tran     Duy          Tran, et al v. BP, PLC
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 12244   Tran     Dong         Tran, et al v. BP, PLC
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 12245   Tran     Dan          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12246   Tran     A            Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12247   Tran     Han          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12248   Tran     Hau          Tran, et al v. BP, PLC
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 12249   Tran     Han          Tran, et al v. BP, PLC
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 12250   Tran     Ha           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12251   Tran     Hien         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12252   Tran     Hao          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12253   Tran     Hien         Tran, et al v. BP, PLC
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 12254   Tran     Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12255   Tran     Hanh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12256   Tran     Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12257   Tran     Hanh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12258   Tran     Ha           Tran, et al v. BP, PLC
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 12259   Tran     Hai          Tran, et al v. BP, PLC
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 12260   Tran     Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12261   Tran     Hai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12262   Tran     Hau          Tran, et al v. BP, PLC
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 12263   Tran     Dun          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12264   Tran     Duong        Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12265   Tran     Men          Tran, et al v. BP, PLC
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 12266   Tran     Minh         Tran, et al v. BP, PLC
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 12267   Tran     Manh         Tran, et al v. BP, PLC
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Tab E                                                                                                Page 208 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 210 of 247

 12268   Tran     Mot          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12269   Tran     Mat          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12270   Tran     Phi          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12271   Tran     Muoi         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12272   Tran     Nghiem       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12273   Tran     Ngo          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12274   Tran     Thanh        Tran, et al v. BP, PLC
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 12275   Tran     Phuc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12276   Tran     Quang        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12277   Tran     Bac          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12278   Tran     Nhut         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12279   Tran     Nhan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12280   Tran     Phuoc        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12281   Tran     Nhut         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12282   Tran     Sang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12283   Tran     Taiwah       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12284   Tran     Ngo          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12285   Tran     Tho          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12286   Tran     Tang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12287   Tran     Thao         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12288   Tran     Toan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12289   Tran     Tao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12290   Tran     Trinh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12291   Tran     Thomas       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12292   Tran     Thanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12293   Tran     Thang        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12294   Tran     Tung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12295   Tran     Hien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12296   Tran     Duc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12297   Tran     Dam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12298   Tran     Duy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12299   Tran     Duy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12300   Tran     Eric         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12301   Tran     Ha           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12302   Tran     Ha           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12303   Tran     Duc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12304   Tran     Du           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12305   Tran     Am           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12306   Tran     Duy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12307   Tran     Karl         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12308   Tran     Ka           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12309   Tran     Anh          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12310   Tran     Kiet         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12311   Tran     Kieu         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12312   Tran     Luan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12313   Tran     Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12314   Tran     Huu          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12315   Tran     Loc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12316   Tran     Canh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12317   Tran     Henry        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12318   Tran     Luc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12319   Tran     Luoc         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12320   Tran     Nem          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12321   Tran     Anh          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12322   Tran     Bao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12323   Tran     Dave         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12324   Tran     Mung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12325   Tran     Mong         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12326   Tran     Nate         Tran, et al v. BP, PLC
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Tab E                                                                                                Page 209 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 211 of 247

 12327   Tran     Phuon        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12328   Tran     Kyle         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12329   Tran     Phu          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12330   Tran     Michael      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12331   Tran     Nhanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12332   Tran     Phong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12333   Tran     Nam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12334   Tran     Nuoi         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12335   Tran     Ryan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12336   Tran     Tuyet        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12337   Tran     Tu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12338   Tran     Hung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12339   Tran     Terry        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12340   Tran     Tang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12341   Tran     Chau         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12342   Tran     Connie       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12343   Tran     Connie       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12344   Tran     Ha           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12345   Tran     Duy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12346   Tran     Dong         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12347   Tran     Diep         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12348   Tran     Desuu        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12349   Tran     Destiny      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12350   Tran     Giao         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12351   Tran     Di           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12352   Tran     Diep         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12353   Tran     Karlene      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12354   Tran     Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12355   Tran     Kai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12356   Tran     Luc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12357   Tran     Ky           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12358   Tran     Minh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12359   Tran     Matt         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12360   Tran     Mung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12361   Tran     Tom          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12362   Tran     Binh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12363   Tran     Tun          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12364   Tran     Vuong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12365   Tran     Sonny        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12366   Tran     Thoung       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12367   Tran     Tuan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12368   Tran     Van          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12369   Tran     Viet         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12370   Tran     Lee          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12371   Tran     Vong         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12372   Tran     Vu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12373   Tran     Duy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12374   Tran     Vinh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12375   Tran     Vang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12376   Tran     Voung        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12377   Tran     Vy           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12378   Tran     Danny        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12379   Tran     Cuc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12380   Tran     Quan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12381   Tran     Thomas       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12382   Tran     Xuan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12383   Tran     Thong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12384   Tran     Thi          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12385   Tran     Lam          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No

Tab E                                                                                                Page 210 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 212 of 247

 12386   Tran     Vinh         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12387   Tran     Men          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12388   Tran     Nghiem       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12389   Tran     Huy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12390   Tran     Hen          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12391   Tran     Vinnie       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12392   Tran     Tin          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12393   Tran     Tam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12394   Tran     Tam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12395   Tran     Tan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12396   Tran     Tan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12397   Tran     Thai         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12398   Tran     Thai         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12399   Tran     Binh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12400   Tran     Timmy        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12401   Tran     Di           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12402   Tran     Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12403   Tran     Hon          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12404   Tran     Hau          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12405   Tran     Hai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12406   Tran     Minh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12407   Tran     Linh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12408   Tran     Lex          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12409   Tran     David        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12410   Tran     Phu          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12411   Tran     Phuc         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12412   Tran     Phouc        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12413   Tran     Nga          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12414   Tran     Steve        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12415   Tran     Stephen      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12416   Tran     Tu           Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12417   Tran     Tai          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12418   Tran     Beo          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12419   Tran     Viet         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12420   Tran     Duc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12421   Tran     Dao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12422   Tran     Cam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12423   Tran     Tina         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12424   Tran     Tina         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12425   Tran     Cris         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12426   Tran     Duc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12427   Tran     Hieu         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12428   Tran     Hau          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12429   Tran     Huu          Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12430   Tran     Lang         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12431   Tran     Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12432   Tran     Lang         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3179   No      No
 12433   Tran     Lee          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12434   Tran     Lenny        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12435   Tran     Vu           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12436   Tran     Hau          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12437   Tran     Henry        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12438   Tran     Cuc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12439   Tran     Nam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12440   Tran     Men          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12441   Tran     Phat         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12442   Tran     Phuc         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12443   Tran     Kenny        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12444   Tran     Lan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No

Tab E                                                                                                Page 211 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 213 of 247

 12445   Tran     Simon        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12446   Tran     Son          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12447   Tran     Son          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12448   Tran     Suong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12449   Tran     Jeni         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12450   Tran     Tim          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12451   Tran     Chung        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12452   Tran     Charles      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12453   Tran     Cecila       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12454   Tran     Thanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12455   Tran     Thang        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12456   Tran     Tam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12457   Tran     Steven       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12458   Trang    Hun          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12459   Trinh    Marcus       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12460   Trinh    Alisha       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12461   Trinh    Doan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12462   Trinh    Thong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12463   Trinh    Thong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12464   Trinh    Tra          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12465   Trinh    Thom         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12466   Trinh    Dao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12467   Trinh    Dung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12468   Trinh    Phuong       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12469   Trinh    Anh          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12470   Trong    Hai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12471   Troung   Cam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12472   Troung   Chanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12473   Troung   Bi           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12474   Trung    Be           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12475   Trung    Dat          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12476   Truong   Hien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12477   Truong   Dat          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12478   Truong   Tien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12479   Truong   Linh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12480   Truong   Sau          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12481   Truong   Bui          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12482   Truong   Dao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12483   Truong   Andy         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12484   Truong   Khoa         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12485   Truong   Bob          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12486   Truong   Bien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12487   Truong   David        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12488   Truong   Quyen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12489   Truong   Quyen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12490   Truong   Bao          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12491   Truong   Hai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12492   Truong   Phuong       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12493   Truong   Back         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12494   Truong   Dan          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12495   Truong   Bien         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12496   Truong   Bon          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12497   Truong   Daniel       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12498   Truong   Diep         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12499   Truong   Hai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12500   Truong   Andrew       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12501   Truong   Duy          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12502   Truong   Hal          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No
 12503   Tu       Ling         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3179   No      No

Tab E                                                                                                Page 212 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 214 of 247

 12504   Vo       Chun         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12505   Vo       Anh          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12506   Vo       Anna         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12507   Vo       Duyen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12508   Vo       Tram         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12509   Vo       Nhan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12510   Vo       Van          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12511   Vo       Buu          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12512   Vo       Phi          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12513   Vo       Jack         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12514   Vo       Liem         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12515   Vo       Le           Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12516   Vo       Khanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12517   Vo       Long         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12518   Vo       Phoi         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12519   Vo       John         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12520   Vo       Vinh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12521   Vo       Truong       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12522   Vo       Tuan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12523   Vo       Dong         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12524   Vo       Tai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12525   Vo       Nhan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12526   Vo       Tam          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12527   Vo       Shawn        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12528   Vo       Trung        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12529   Vo       Duyen        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12530   Vo       Hoi          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12531   Vo       Huong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12532   Vo       Anh          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12533   Vo       Tai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12534   Vo       Jose         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12535   Vo       Mai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12536   Vo       Tai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12537   Vo       Thau         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12538   Vo       Nhan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12539   Vo       Anna         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12540   Vu       Minh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12541   Vu       Van          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12542   Vu       Victor       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12543   Vu       Victor       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12544   Vu       Hung         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12545   Vu       Hai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12546   Vu       Duc          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12547   Vu       Phillip      Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12548   Vu       Friend       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12549   Vu       Thau         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12550   Vu       Felicia      Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12551   Vu       Hai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12552   Vu       Hal          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12553   Vu       Victor       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12554   Yang     Robert       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3179   No      No
 12555   Berger   Tina         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12556   Bui      Nan          Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12557   Bui      Nang         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12558   Bui      Thuy         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12559   Da       Christina    Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12560   Dan      Aaron        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12561   Dan      Joseph       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12562   Dang     Loc          Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No

Tab E                                                                                                 Page 213 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 215 of 247

 12563   Denning   Rebecca     Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12564   Diep      Long        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12565   Dinh      Tai         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12566   Do        Minh        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12567   Do        Hung        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12568   Do        Lan         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12569   Do        Anh         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12570   Do        Tuyen       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12571   Do        San         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12572   Do        Hoang       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12573   Do        Hung        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12574   Do        Tuan        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12575   Do        Hien        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12576   Do        Nuong       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12577   Do        Phi         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12578   Do        Duc         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12579   Do        Tri         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12580   Do        Son         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12581   Do        Thach       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12582   Do        Trat        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12583   Do        Chau        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12584   Doan      Duong       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12585   Duong     Kim         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12586   Duong     Tri         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12587   Ha        T           Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12588   Hall      Lindsey     Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12589   Ho        Van         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12590   Hoang     Khai        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12591   Hoang     Khanh       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12592   Hoang     Khiem       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12593   Hoang     John        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12594   Hoang     Kimberly    Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12595   Hoang     Khiem       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12596   Hoang     Thuong      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12597   Hoang     Hong        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12598   Hua       Teo         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12599   Hua       Hoa         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12600   Hua       Thanh       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12601   Hua       Quyen       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12602   Hua       Phuc        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12603   Hua       Lan         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12604   Hua       Nu          Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12605   Hua       Linda       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12606   Huynh     T           Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12607   Huynh     Dung        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12608   Huynh     Alan        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12609   Huynh     Phuong      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12610   Huynh     Thiet       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12611   Kinn      Sary        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12612   Lam       Hen         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12613   Lam       Thang       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12614   Lam       Phuoc       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12615   Lam       Hoai        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12616   Lam       Ricky       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12617   Lan       Bertha      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12618   Le        Hung        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12619   Le        Loan        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12620   Le        Tony        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12621   Le        Cuong       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No

Tab E                                                                                                 Page 214 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 216 of 247

 12622   Le         Thach      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12623   Le         Ho         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12624   Le         Ba         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12625   Le         Marie      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12626   Le         Ngoc       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12627   Luc        Beverly    Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12628   Luc        William    Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12629   Luong      Loc        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12630   Mai        Barbara    Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12631   Ngo        Long       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12632   Ngo        Tinh       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12633   Ngo        Thuy       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12634   Ngo        Long       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12635   Nguyen     Xuan       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12636   Nguyen     Xuan       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12637   Nguyen     Hung       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12638   Nguyen     Hang       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12639   Nguyen     Hieu       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12640   Nguyen     Thien      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12641   Nguyen     Phi        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12642   Nguyen     Diem       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12643   Nguyen     Danh       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12644   Nguyen     Diem       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12645   Nguyen     Chau       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12646   Nguyen     Anh        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12647   Nguyen     Thuy       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12648   Nguyen     Thuy       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12649   Nguyen     Maria      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12650   Nguyen     Andy       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12651   Nguyen     An         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12652   Nguyen     Phan       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12653   Nguyen     Hai        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12654   Nguyen     Thai       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12655   Nguyen     Hung       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12656   Nguyen     Bi         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12657   Nguyen     Mike       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12658   Nguyen     Tuyet      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12659   Nguyen     Hung       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12660   Nguyen     Thao       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12661   Nguyen     Phi        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12662   Pham       Sandy      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12663   Pham       Thao       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12664   Pham       Ton        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12665   Pham       Hoai       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12666   Phan       Anh        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12667   Phengsisomboun
                    Jacklyn    Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12668   Phu        Tong       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12669   Phu        Lisa       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12670   Quinn      Tonya      Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12671   Simon      Lucy       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12672   Simons     Roderick   Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12673   Stewart    Jessica    Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12674   Tai        Mai        Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12675   Tang       Ay         Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12676   Tang       Leng       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12677   Tang       Jean       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12678   Tang       Heng       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12679   Tran       Hang       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No
 12680   Tran       Lien       Do, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3180   No      No

Tab E                                                                                                 Page 215 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 217 of 247

 12681   Tran        Hau           Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12682   Tran        Annie         Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12683   Tran        Jackie        Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12684   Tran        Frank         Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12685   Tran        Giup          Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12686   Tran        Vy            Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12687   Trung       Phan          Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12688   Vo          Tam           Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12689   Vo          Jean          Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12690   Vo          Son           Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12691   Vo          Christina     Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12692   Walker      Barbara       Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12693   Yonn        Kimhoum       Do, et al v. BP, PLC
                                                      USDC
                                                        et al Southern District of Texas   10-3180   No      No
 12694   Adams       Henry         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12695   Alexander   Sheila        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12696   Averhart    Vmeke         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12697   Averhart    Brandynette   Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12698   Barrera     Antonio       Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12699   Bituin      Tala          Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12700   Brought     Zachary       Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12701   Budro       Seneca        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12702   Bui         Joseth        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12703   Burt        Logan         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12704   Ca          Hang          Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12705   Cao         Gio           Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12706   Cao         Darrel        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12707   Cao         Dung          Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12708   Cardenas    Nelson        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12709   Chandler    Billy         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12710   Chandler    Eleandor      Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12711   Coleman     Norman        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12712   Cummings    Jimmy         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12713   Dang        Dap           Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12714   Dang        James         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12715   Dang        Tam           Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12716   Dang        Dien          Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12717   Dao         Thu           Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12718   Dinh        Hoa           Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12719   Do          Bien          Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12720   Do          Liet          Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12721   Do          Lien          Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12722   Doan        Jenny         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12723   Duong       Huyen         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12724   Edgerton    Justin        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12725   Edwards     Erica         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12726   Ford        La            Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12727   Fortnes     Kenny         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12728   Gabel       Lorraine      Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12729   Gayton      Richard       Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12730   Guerrero    Libardo       Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12731   Hamilton    Daniel        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12732   Harrison    Josh          Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12733   Harvey      Rashard       Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12734   Hawkins     Antonio       Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12735   Ho          Lily          Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12736   Ho          Huong         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12737   Ho          Trang         Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12738   Hong        Kristy        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No
 12739   Howard      Nissan        Van, et al v. BP, PLC
                                                      USDC
                                                         et alSouthern District of Texas   10-3181   No      No

Tab E                                                                                                     Page 216 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 218 of 247

 12740   Huer         Helen       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12741   Huy          Duc         Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12742   Huynh        Hiep        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12743   Huynh        Pearl       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12744   Ibarra       Claudia     Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12745   Jackson      Eric        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12746   Jarrell      Katherine   Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12747   Jarrell      Jennifer    Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12748   Jarrell      Joeallen    Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12749   Jarrell      Bret        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12750   Jarrell      Clayton     Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12751   Johnson      Keithon     Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12752   Jones        Dale        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12753   Jr           Alton       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12754   Knewbel      Chaz        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12755   Lan          Phan        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12756   Le           Ngoc        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12757   Le           Phat        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12758   Le           Kent        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12759   Le           Thanh       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12760   LE           Tony        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12761   Le           Trinh       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12762   Le           Truong      Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12763   Le           Ngoc        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12764   Le           Tuan        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12765   Le           Steven      Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12766   Le           Vinh        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12767   Le           Luyen       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12768   Le           Nam         Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12769   Le           Romeo       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12770   Le           Tommy       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12771   Le           Trang       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12772   Linda        Tang        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12773   Loan         Nguyen      Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12774   Ly           Chau        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12775   Marion       Darnell     Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12776   Mccalrin     Ayhoma      Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12777   Mcintosh     Brandon     Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12778   Mcqueen      Henry       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12779   Mendenhall   Leron       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12780   Mizelle      Nicholas    Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12781   Montgermy    Robert      Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12782   Moore        Sandy       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12783   Moore        Darrien     Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12784   Ng           William     Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12785   Ngo          Quy         Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12786   Ngoc         Ngo         Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12787   Nguyen       Thanh       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12788   Nguyen       Mai         Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12789   Nguyen       Tuyet       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12790   Nguyen       Keo         Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12791   Nguyen       Hang        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12792   Nguyen       Nhan        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12793   Nguyen       Kieu        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12794   Nguyen       Hien        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12795   Nguyen       Sang        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12796   Nguyen       Ro          Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12797   Nguyen       Tuoi        Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No
 12798   Nguyen       Tuyet       Van, et al v. BP, PLC
                                                     USDC
                                                        et alSouthern District of Texas   10-3181   No      No

Tab E                                                                                                    Page 217 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 219 of 247

 12799   Nguyen   Tuyet        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12800   Nguyen   Uyen         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12801   Nguyen   Thanh        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12802   Nguyen   Ngan         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12803   Nguyen   Hang         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12804   Nguyen   Ho           Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12805   Nguyen   Hung         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12806   Nguyen   Thoa         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12807   Nguyen   Rachel       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12808   Nguyen   Thanh        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12809   Nguyen   Sang         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12810   Nguyen   Tuan         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12811   Nguyen   Bich         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12812   Nguyen   Duc          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12813   Nguyen   Minh         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12814   Nguyen   Van          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12815   Nguyen   Phuoc        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12816   Nguyen   Dung         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12817   Nguyen   Hang         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12818   Nguyen   Goong        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12819   Nguyen   Thanh        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12820   Nguyen   Mai          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12821   Nguyen   Bang         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12822   Nguyen   Hanh         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12823   Nguyen   John         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12824   Nguyen   Thuy         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12825   Nguyen   Lua          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12826   Nguyen   Lynda        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12827   Nguyen   Minh         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12828   Nguyen   Nhieu        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12829   Nguyen   Tuyet        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12830   Nguyen   Viet         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12831   Nguyen   James        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12832   Nguyen   Kim          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12833   Nguyen   Hien         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12834   Nguyen   Roger        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12835   Nguyen   Lien         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12836   Nguyen   Kim          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12837   Nguyen   Lien         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12838   Nguyen   Dung         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12839   Nguyen   Nghia        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12840   Nguyen   Tuan         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12841   Nguyen   Phi          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12842   Nguyen   James        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12843   Nguyen   Dung         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12844   Nguyen   Goong        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12845   Nguyen   Ly           Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12846   Nguyen   Thuy         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12847   Nguyen   William      Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12848   Nguyen   Tuyet        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12849   Nguyen   Hieu         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12850   Nguyen   Jessica      Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12851   Nguyen   Lan          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12852   Nguyen   Cindy        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12853   Nhung    Tran         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12854   Oneal    Timothy      Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12855   Oneeal   Ivan         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12856   Ortiz    Leticia      Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12857   Ortiz    Adrian       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No

Tab E                                                                                                 Page 218 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 220 of 247

 12858   Owmpo     Melissa     Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12859   Pham      Long        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12860   Pham      Phai        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12861   Pham      Se          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12862   Pham      Quang       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12863   Pham      Vuong       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12864   Pham      Nam         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12865   Pham      Hai         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12866   Phan      Can         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12867   Phan      Thanh       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12868   Phan      Thuy        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12869   Phan      Nam         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12870   Phuoc     Trinh       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12871   Pinott    Alex        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12872   Quach     Mai         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12873   Russell   Chris       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12874   Tra       Porsha      Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12875   Tran      Sang        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12876   Tran      Tom         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12877   Tran      Le          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12878   Tran      Tony        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12879   Tran      Nga         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12880   Tran      Tuan        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12881   Tran      Tam         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12882   Tran      Sau         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12883   Tran      Sang        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12884   Tran      Thap        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12885   Tran      Doan        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12886   Tran      Chan        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12887   Tran      Doc         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12888   Tran      Xuan        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12889   Tran      Trinh       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12890   Tran      Thu         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12891   Tran      Ngoc        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12892   Tran      Sang        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12893   Tran      Nhung       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12894   Tran      Mua         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12895   Tran      Van         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12896   Tran      Van         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12897   Trinh     Tammy       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12898   Troung    Tam         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12899   Trumor    Shayla      Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12900   Tyler     Debra       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12901   Van       Dan         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12902   Vo        Hong        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12903   Vo        Phi         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12904   Vo        Quan        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12905   Vo        Nguyen      Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12906   Vo        Sanh        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12907   Vo        Quan        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12908   Vo        Loi         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12909   Vonburg   Jason       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12910   Vu        Dan         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12911   Vu        Dang        Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12912   Vu        Ha          Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12913   Vu        Leanna      Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12914   Vu        Kathleen    Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12915   Vu        Nghia       Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No
 12916   Vuong     Luu         Van, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3181   No      No

Tab E                                                                                                 Page 219 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 221 of 247

 12917   W         Nicholas     Van, et al v. BP, PLC
                                                   USDC
                                                      et alSouthern District of Texas   10-3181   No      No
 12918   Walker    Ernest       Van, et al v. BP, PLC
                                                   USDC
                                                      et alSouthern District of Texas   10-3181   No      No
 12919   Walker    Gary         Van, et al v. BP, PLC
                                                   USDC
                                                      et alSouthern District of Texas   10-3181   No      No
 12920   Weaver    Larry        Van, et al v. BP, PLC
                                                   USDC
                                                      et alSouthern District of Texas   10-3181   No      No
 12921   Wordlaw   De'vontage   Van, et al v. BP, PLC
                                                   USDC
                                                      et alSouthern District of Texas   10-3181   No      No
 12922   Andy      Le           Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12923   Bui       Loanne       Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12924   Chu       T            Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12925   Chu       Simon        Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12926   Dinh      Adam         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12927   Doan      Phong        Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12928   Hoang     Minh         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12929   Hoang     Pham         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12930   Lam       Rachel       Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12931   Le        Justin       Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12932   Le        Thanh        Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12933   Le        Minh         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12934   Le        Phuong       Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12935   Le        Phuc         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12936   Le        Dat          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12937   Ngueyn    Qua          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12938   Nguyen    Thanh        Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12939   Nguyen    Derrick      Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12940   Nguyen    Phung        Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12941   Nguyen    Hai          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12942   Nguyen    Vu           Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12943   Nguyen    Hai          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12944   Nguyen    Den          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12945   Nguyen    An           Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12946   Nguyen    Nguyet       Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12947   Nguyen    Nhung        Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12948   Nguyen    Sanh         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12949   Nguyen    Nancy        Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12950   Nguyen    Tony         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12951   Nguyen    Tony         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12952   Nguyen    Brooks       Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12953   Nguyen    Tony         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12954   Nguyen    Angie        Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12955   Nguyen    Dan          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12956   Nguyen    Alan         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12957   Nguyen    Hung         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12958   Nguyen    Danh         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12959   Nguyen    Nhut         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12960   Nguyen    Anh          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12961   Nguyen    Ann          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12962   Nguyen    Adrienne     Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12963   Nguyen    Anna         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12964   Nguyen    Anna         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12965   Nguyen    Anhtuyet     Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12966   Nguyen    Bang         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12967   Nguyen    Alexander    Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12968   Nguyen    Adrian       Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12969   Nguyen    Thanh        Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12970   Nguyen    Thao         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12971   Nguyen    Tao          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12972   Nguyen    Tony         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12973   Nguyen    Toni         Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12974   Nguyen    Jackie       Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No
 12975   Nguyen    Loc          Nguyen, et al v. BPUSDC
                                                    PLC etSouthern
                                                             al     District of Texas   10-3182   No      No

Tab E                                                                                                  Page 220 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 222 of 247

 12976   Nguyen    Lyn         Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
                                                        Southern
                                                           al     District of Texas   10-3182   No      No
 12977   Nguyen    Binh        Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
                                                        Southern
                                                           al     District of Texas   10-3182   No      No
 12978   Nguyen    Al          Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
                                                        Southern
                                                           al     District of Texas   10-3182   No      No
 12979   Nguyen    Ai          Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
                                                        Southern
                                                           al     District of Texas   10-3182   No      No
 12980   Nugyen    Eric        Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
                                                        Southern
                                                           al     District of Texas   10-3182   No      No
 12981   Pham      On          Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
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                                                           al     District of Texas   10-3182   No      No
 12982   Pham      Hong        Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12983   Pham      Trang       Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
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                                                           al     District of Texas   10-3182   No      No
 12984   Pham      Duytan      Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
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                                                           al     District of Texas   10-3182   No      No
 12985   Pham      Duong       Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 12986   Pham      Giang       Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12987   Pham      Diep        Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12988   Phan      Dat         Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12989   Phan      Nick        Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
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                                                           al     District of Texas   10-3182   No      No
 12990   Thai      Hoa         Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12991   Tnguyen   Anh         Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12992   Tran      Kia         Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12993   Tran      Tonio       Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12994   Tran      Phuong      Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 12995   Tran      Thi         Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 12996   Tran      Dzung       Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12997   Tran      Sang        Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12998   Tran      Minh        Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 12999   Tran      Ming        Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 13000   Tran      Mieu        Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 13001   Tran      Thuong      Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 13002   Tran      Nhiem       Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13003   Tran      Neim        Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13004   Tran      Nam         Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13005   Tran      Duy         Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13006   Tran      Nguyen      Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13007   Tran      Danh        Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13008   Tran      Minh        Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13009   Tran      Duy         Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13010   Tran      David       Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13011   Tran      Quan        Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13012   Tran      Quang       Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13013   Tran      Cung        Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13014   Tran      David       Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13015   Tran      Dat         Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13016   Tran      Mike        Nguyen, et al v. BP
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                                                           al     District of Texas   10-3182   No      No
 13017   Tran      Luke        Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
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                                                           al     District of Texas   10-3182   No      No
 13018   Tran      Michael     Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
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                                                           al     District of Texas   10-3182   No      No
 13019   Tran      Dinh        Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
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                                                           al     District of Texas   10-3182   No      No
 13020   Tran      Phong       Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
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                                                           al     District of Texas   10-3182   No      No
 13021   Vu        Jimmy       Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 13022   Vu        Quoc        Nguyen, et al v. BP
                                                 USDC
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                                                           al     District of Texas   10-3182   No      No
 13023   Vu        Binh        Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
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                                                           al     District of Texas   10-3182   No      No
 13024   Vu        Joshua      Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
                                                        Southern
                                                           al     District of Texas   10-3182   No      No
 13025   Vu        Dung        Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
                                                        Southern
                                                           al     District of Texas   10-3182   No      No
 13026   Vu        Khoa        Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
                                                        Southern
                                                           al     District of Texas   10-3182   No      No
 13027   Vu        Binh        Nguyen, et al v. BP
                                                 USDC
                                                   PLC et
                                                        Southern
                                                           al     District of Texas   10-3182   No      No
 13028   Bao       Wei         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13029   Bui       Daniel      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13030   Bui       Tai         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13031   Bui       Cuong       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13032   Cao       Dan         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13033   Cao       Nhiman      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13034   Cao       Ant         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No

Tab E                                                                                                Page 221 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 223 of 247

 13035   Dan      Kimthu       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13036   Dang     Minh         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13037   Dang     Son          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13038   Dinh     Zung         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13039   Dinh     Nghiep       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13040   Do       Hai          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13041   Doan     Tien         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13042   Ha       Y            Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13043   Ha       Hong         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13044   Ho       George       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13045   Ho       Helen        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13046   Ho       Kinh         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13047   Ho       Christine    Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13048   Ho       Kit          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13049   Hoang    Stephanie    Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13050   Hoang    Billy        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13051   Hoang    Dinh         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13052   Hoang    Trien        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13053   Huynh    Christina    Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13054   Huynh    Truc         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13055   Huynh    Trinh        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13056   Huynh    Duc          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13057   Lam      Hung         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13058   Le       Jolenne      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13059   Le       Vu           Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13060   Le       Duc          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13061   Le       Nguyet       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13062   Le       Chung        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13063   Le       Nhat         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13064   Le       Long         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13065   Le       Bich         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13066   Le       Bien         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13067   Le       Van          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13068   Le       George       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13069   Lieu     T            Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13070   Luc      Jourdain     Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13071   Luu      Meng         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13072   Ly       Thai         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13073   Ngo      Hao          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13074   Ngo      Anthony      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13075   Ngo      Tsong        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13076   Nguyen   Hang         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13077   Nguyen   Chau         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13078   Nguyen   Billy        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13079   Nguyen   Mai          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13080   Nguyen   Dua          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13081   Nguyen   Linh         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13082   Nguyen   Loi          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13083   Nguyen   Than         Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13084   Nguyen   Angela       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13085   Nguyen   Bao          Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13086   Nguyen   Johnathan    Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13087   Nguyen   Peter        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13088   Nguyen   Quyen        Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13089   Nguyen   Le           Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13090   Nguyen   Steve        Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13091   Nguyen   Ted          Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13092   Nguyen   Jennifer     Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13093   Nguyen   Lai          Lam, et al v. BP PLC
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Tab E                                                                                                Page 222 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 224 of 247

 13094   Nguyen   Nuong        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13095   Nguyen   Quong        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13096   Nguyen   Quy          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13097   Nguyen   Phan         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13098   Nguyen   Joanna       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13099   Nguyen   Phung        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13100   Nguyen   Thi          Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13101   Nguyen   Chau         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13102   Nguyen   Dung         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13103   Nguyen   Bao          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13104   Nguyen   Nghia        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13105   Nguyen   Phuc         Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13106   Nguyen   Phu          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13107   Nguyen   H            Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13108   Nguyen   Harry        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13109   Nguyen   Vyna         Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13110   Nguyen   Uyen         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13111   Nguyen   Kelly        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13112   Nguyen   Cindy        Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13113   Nguyen   Hien         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13114   Nguyen   Francis      Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13115   Nguyen   Bach         Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas   10-3183   No      No
 13116   Nguyen   Van          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13117   Nguyen   Melissa      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13118   Nguyen   Kim          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13119   Nguyen   Bao          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13120   Nguyen   Hung         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13121   Nguyen   Hoa          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13122   Nguyen   Larry        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13123   Nguyen   Tam          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13124   Nguyen   Scott        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13125   Nguyen   Joe          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13126   Nguyen   Con          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13127   Nguyen   Johnathan    Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13128   Nguyen   Ty           Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13129   Nguyen   Thinh        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13130   Nguyen   Bao          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13131   Nhuyen   Minh         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13132   Ninh     Anh          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13133   Pham     Tam          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13134   Pham     Linda        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13135   Pham     Xuan         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13136   Pham     Nhan         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13137   Pham     Toan         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13138   Pham     Ngoc         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13139   Pham     Lan          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13140   Pham     Ngoc         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13141   Pham     Tam          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13142   Pham     Trung        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13143   Phan     Thu          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13144   Phan     Theresa      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13145   Phan     Thach        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13146   Phan     Theng        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13147   Phan     An           Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13148   T        Xuan         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13149   Tang     Phuong       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13150   Tran     Phuong       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13151   Tran     Sidney       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No
 13152   Tran     Tho          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas   10-3183   No      No

Tab E                                                                                                Page 223 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 225 of 247

 13153   Tran      Dan         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13154   Tran      Thuy        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13155   Tran      Diem        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13156   Tran      Joe         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13157   Tran      Thien       Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13158   Tran      Trang       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13159   Tran      Dien        Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13160   Tran      Chan        Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13161   Tran      Long        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13162   Tran      Mai         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13163   Tran      Binh        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13164   Tran      Steven      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13165   Tran      Tommy       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13166   Tran      Duyen       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13167   Tran      Khen        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13168   Tran      Quang       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13169   Tran      Jennifer    Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13170   Tran      Quan        Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13171   Tran      Tof         Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13172   Tran      Hy          Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13173   Tran      Thao        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13174   Tran      Carter      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13175   Tran      Nguyen      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13176   Tran      Khuyen      Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13177   Truong    Be          Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13178   Truong    Hieu        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13179   Van       Hendrik     Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13180   Vo        Thanh       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13181   Vo        Sac         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13182   Vo        Quang       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13183   Vo        Mu          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13184   Vo        Chinh       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13185   Vu        Doa         Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13186   Vu        Thanh       Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13187   Vu        Chuong      Lam, et al v. BP PLC
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                                                    et alSouthern District of Texas    10-3183     No      No
 13188   Vu        Huong       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13189   Vu        Ly          Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13190   Vu        T           Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13191   Vu        Hang        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13192   Vu        Huyen       Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13193   Vu        Robert      Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13194   Warrich   Ejaz        Lam, et al v. BP PLC
                                                 USDC
                                                    et alSouthern District of Texas    10-3183     No      No
 13195   Au        Charlie     Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13196   Bao       Yaxin       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13197   Bao       Zhengying   Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13198   Bui       Lang        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13199   Bui       Dat         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13200   Bui       Phuoc       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13201   Bui       Phong       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
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                                                                                           et al   No      No
 13202   Bui       Truong      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13203   Bui       Doan        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13204   Bui       Manh        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13205   Bui       Jonny       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13206   Bui       Luke        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13207   Bui       Giang       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13208   Bui       Andy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13209   Bui       Thang       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13210   Bui       Alvin       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13211   Bui       Lang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 224 of 246
           Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 226 of 247

 13212   Bui     Anthony       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13213   Bui     Phi           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13214   Bui     Anthony       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13215   Bui     Quan          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13216   Bui     Thanh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13217   Bui     Thanh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13218   Bui     Huong         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13219   Bui     John          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13220   Bui     Lien          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13221   Bui     Kristine      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13222   Bui     Jimmy         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13223   Bui     Billy         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13224   Bui     Billy         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13225   Bui     Bangtam       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13226   Bui     Tot           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13227   Bui     Boa           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13228   Bui     Diego         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13229   Bui     Brian         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13230   Bui     Bao           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13231   Bui     Chung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13232   Bui     Andy          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13233   Bui     Brian         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13234   Bui     Hong          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13235   Bui     Anne          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13236   Bui     Lang          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13237   Bui     Pauline       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13238   Bui     Thuoc         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13239   Bui     Ann           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13240   Bui     Pat           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13241   Bui     Khanh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13242   Bui     Binh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13243   Bui     My            Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13244   Cam     Soon          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13245   Cao     Jacqueline    Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13246   Cao     Long          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13247   Cao     Danielle      Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13248   Cao     Chi           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13249   Cao     Thuy          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13250   Cao     Catherin      Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13251   Cao     Steve         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13252   Cao     Ngoc          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13253   Cao     Christopher   Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13254   Cao     Feifei        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13255   Cao     Quan          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13256   Cao     Tamara        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13257   Cao     Annie         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13258   Cao     Trung         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13259   Cao     Tom           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13260   Cao     Jinlian       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13261   Cao     Thu           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13262   Cao     Thanh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13263   Cao     Hong          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13264   Cao     Angela        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13265   Cao     Yang          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13266   Cao     Ying          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13267   Cao     Hoa           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13268   Cao     Hua           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13269   Cao     Dung          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13270   Cao     Nam           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 225 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 227 of 247

 13271   Cao      Muchael      Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13272   Cao      Giang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13273   Cao      Zhigang      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13274   Cao      Sun          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13275   Cao      Son          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13276   Cao      Quang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13277   Chu      Tsun         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13278   Chung    Charlotte    Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13279   Chung    Kevin        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13280   Chung    Ling         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13281   Chung    Jiwon        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13282   Dang     Bryan        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13283   Dang     Pham         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13284   Dang     Hanh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13285   Dao      Tram         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13286   Dao      Cam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13287   Dinh     Anh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13288   Dinh     Dat          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13289   Dinh     James        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13290   Dinh     Chi          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13291   Dinh     Harry        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13292   Dinh     Chi          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13293   Dinh     Cuong        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13294   Dinh     Cuong        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13295   Dinh     Huong        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13296   Dinh     Chau         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13297   Dinh     Pauline      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13298   Dinh     Michael      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13299   Dinh     Richard      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13300   Dinh     Thanh        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13301   Dinh     Tony         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13302   Dinh     David        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13303   Dinh     Dung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13304   Dinh     Tom          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13305   Dinh     Sang         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13306   Dinh     Quoc-Bao     Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13307   Dinh     Huy          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13308   Dinh     Ky           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13309   Dinh     Michael      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13310   Dinh     Joseph       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13311   Dinh     Ty           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13312   Dinh     Joseph       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13313   Dinh     Hiep         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13314   Dinh     Hieu         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13315   Dinh     Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13316   Dinh     Hung         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13317   Dinh     Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13318   Do       Tu           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13319   Do       Hanh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13320   Do       Cong         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13321   Do       Huy          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13322   Doan     Diem         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13323   Doan     Manh         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13324   Doan     Nu           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13325   Doan     Dung         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13326   Dung     Kim          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13327   Duong    Duc          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13328   Duong    Thi          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13329   Duong    Quang        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 226 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 228 of 247

 13330   Duong    Phillip      Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13331   Duong    Harry        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13332   Garcia   Luis         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13333   Ha       Thuy         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13334   Ha       Duy          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13335   Ha       Robby        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13336   Ha       Dung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13337   Ha       Mary         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13338   Ha       Camilla      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13339   Ha       Hee          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13340   Han      Gregory      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13341   Han      Kumsum       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13342   Ho       Kevin        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13343   Ho       Henry        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13344   Ho       Hoang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13345   Ho       Cindy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
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                                                                                           et al   No      No
 13346   Ho       Kwai         Cuch Nguyen, et alTX
                                                  v.-BP
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 13347   Ho       Ngoc         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13348   Ho       Dennis       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13349   Ho       Tan          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                                           et al   No      No
 13350   Ho       Phat         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13351   Hoang    San          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13352   Hoang    Thang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13353   Hoang    Joshua       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13354   Hoang    Kham         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13355   Hoang    Peter        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13356   Hoang    Phat         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
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 13357   Hoang    Phuc         Cuch Nguyen, et alTX
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13358   Hoang    Tom          Cuch Nguyen, et alTX
                                                  v.-BP
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 13359   Hoang    Manh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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 13360   Hoang    Lee          Cuch Nguyen, et alTX
                                                  v.-BP
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 13361   Hoang    Van          Cuch Nguyen, et alTX
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 13362   Hoang    De           Cuch Nguyen, et alTX
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                                                                                       10-3188
                                                                                           et al   No      No
 13363   Hoang    Danny        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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 13364   Hoang    Dao          Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13365   Hoang    Hai          Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13366   Hoang    Hua          Cuch Nguyen, et alTX
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 13367   Hoang    Harry        Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13368   Hoang    Dang         Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13369   Hoang    Mo           Cuch Nguyen, et alTX
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 13370   Hoang    Luong        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13371   Hoang    Phil         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13372   Hoang    Tuan         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13373   Hoang    Tommy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13374   Hoang    Lori         Cuch Nguyen, et alTX
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 13375   Hoang    Dong         Cuch Nguyen, et alTX
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 13376   Hoang    Hieu         Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13377   Hoang    Albert       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13378   Hoang    Ben          Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13379   Hoang    Henry        Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13380   Hoang    Duc          Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13381   Hoang    Phuoc        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
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                                                                                           et al   No      No
 13382   Hoang    Dung         Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13383   Hoang    Do           Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13384   Hoang    Phong        Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13385   Hoang    Quoc         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13386   Hoang    Khanh        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13387   Hoang    David        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13388   Hoang    Mike         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 227 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 229 of 247

 13389   Hoang    Tom          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13390   Hoang    Quyenh       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13391   Hoang    Minh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13392   Hoang    Tu           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13393   Hoang    Dien         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13394   Hoang    Diep         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13395   Hoang    David        Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13396   Hoang    Mike         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13397   Hoang    Lang         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13398   Hoang    Loc          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13399   Huyenh   Duc          Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13400   Huyh     Nhat         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13401   Huynh    Tony         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13402   Huynh    Tu           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13403   Huynh    Jimson       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13404   Huynh    Sonny        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13405   Huynh    Phuoc        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13406   Huynh    Tam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13407   Huynh    Tot          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13408   Huynh    Tot          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13409   Huynh    Thu          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13410   Huynh    Bonny        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13411   Huynh    Huy          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13412   Huynh    Ngoc         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13413   Huynh    Tran         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13414   Huynh    Mike         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13415   Huynh    Mik          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13416   Huynh    John         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13417   Huynh    Thuy         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13418   Huynh    Sang         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13419   Huynh    Robert       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13420   Huynh    Rit          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13421   Huynh    Mindy        Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13422   Huynh    Mike         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13423   Huynh    John         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13424   Huynh    Daphne       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13425   Huynh    Harold       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13426   Huynh    Thang        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13427   Huynh    Ty           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13428   Huynh    Trinh        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13429   Huynh    Truong       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13430   Huynh    Tuy          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13431   Huynh    Tom          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13432   Huynh    Sal          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13433   Huynh    Minh         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13434   Huynh    Lang         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13435   Kim      Song         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13436   Kim      Dare         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13437   Kim      Yung         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13438   Kim      Chull        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13439   Kim      Hun          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13440   Kim      Hye          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13441   Kim      Deuk         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13442   Kim      Do           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13443   Kim      Dong         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13444   Lac      Hong         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13445   Lai      Yiquing      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13446   Lai      Chuong       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13447   Lai      Gui          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 228 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 230 of 247

 13448   Lai        Amir       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13449   Lam        Robert     Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13450   Lam        Kam        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13451   Lam        Hoa        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13452   Lam        Kevin      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13453   Lam        Phat       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13454   Lam        Donna      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13455   Lam        May        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13456   Lam        Lily       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
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 13457   Lam        Phuong     Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13458   Lam        Jennifer   Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13459   Lam        Kim        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13460   Lam        Tammy      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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 13461   Lam        Linh       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
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 13462   Lam        Phu        Cuch Nguyen, et alTX
                                                  v.-BP
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 13463   Lam        On         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13464   Lam        Eri        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13465   Lawrence   Bennie     Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13466   Le         Vinh       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13467   Le         Tien       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13468   Le         Jennier    Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13469   Le         Billy      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13470   Le         Jeffrey    Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13471   Le         Thuong     Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13472   Le         Bao        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13473   Le         Xuyen      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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 13474   Le         Julie      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13475   Le         Nhi        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13476   Le         Thang      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
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                                                                                           et al   No      No
 13477   Le         Thanh      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13478   Le         Amy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13479   Le         Bao        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13480   Le         Ana        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13481   Le         Bao        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13482   Le         Chau       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
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                                                                                           et al   No      No
 13483   Le         Tot        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13484   Le         Pan        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13485   Le         Ai         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13486   Le         Tan        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13487   Le         Aaron      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13488   Le         Ricky      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13489   Le         Chuong     Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13490   Le         Dung       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13491   Le         Dzung      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13492   Le         Thai       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13493   Le         Hai        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13494   Le         Hoi        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13495   Le         Hoi        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13496   Le         Thuan      Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13497   Le         Hoa        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13498   Le         Huong      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13499   Le         Hao        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13500   Le         Jason      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13501   Le         Hoa        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13502   Le         James      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13503   Le         Huy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13504   Le         An         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13505   Le         Chuong     Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13506   Le         Cong       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 229 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 231 of 247

 13507   Le       Danny        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13508   Le       Dat          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13509   Le       David        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13510   Le       David        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13511   Le       Derer        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13512   Le       Diara        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13513   Le       Deep         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13514   Le       Diem         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13515   Le       Dui          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13516   Le       Dieu         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13517   Le       Do           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13518   Le       Anh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13519   Le       Hai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13520   Le       Doug         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13521   Le       Duc          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13522   Le       Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13523   Le       Dung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13524   Le       Hoa          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13525   Le       Huong        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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 13526   Le       Jay          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13527   Le       Kathleen     Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13528   Le       Dan          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13529   Le       Randy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13530   Le       Lang         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13531   Le       Tai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13532   Le       Sang         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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 13533   Le       Ricky        Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13534   Le       Bao          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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 13535   Le       Ana          Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13536   Le       An           Cuch Nguyen, et alTX
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 13537   Le       Amy          Cuch Nguyen, et alTX
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 13538   Le       Hung         Cuch Nguyen, et alTX
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 13539   Le       Anhvu        Cuch Nguyen, et alTX
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 13540   Le       Bich         Cuch Nguyen, et alTX
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 13541   Le       Binh         Cuch Nguyen, et alTX
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 13542   Le       Bu           Cuch Nguyen, et alTX
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 13543   Le       Chanh        Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13544   Le       E            Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                       10-3188
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 13545   Le       Edward       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13546   Le       Elizabeth    Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                       10-3188
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 13547   Le       Glyn         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13548   Le       Hai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13549   Le       Hai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13550   Le       Hai          Cuch Nguyen, et alTX
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 13551   Le       Hiep         Cuch Nguyen, et alTX
                                                  v.-BP
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 13552   Lieu     Chan         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13553   Lieu     Betty        Cuch Nguyen, et alTX
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 13554   Lu       Jimmy        Cuch Nguyen, et alTX
                                                  v.-BP
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 13555   Lu       Phong        Cuch Nguyen, et alTX
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 13556   Lu       George       Cuch Nguyen, et alTX
                                                  v.-BP
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 13557   Lu       Jr           Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13558   Lu       Mike         Cuch Nguyen, et alTX
                                                  v.-BP
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 13559   Lu       John         Cuch Nguyen, et alTX
                                                  v.-BP
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 13560   Lu       Timmy        Cuch Nguyen, et alTX
                                                  v.-BP
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 13561   Lu       Gang         Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13562   Luong    Pat          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13563   Luong    Vivien       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13564   Luu      Lan          Cuch Nguyen, et alTX
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                                                                           Production,
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 13565   Luu      Duc          Cuch Nguyen, et alTX
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 230 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 232 of 247

 13566   Luu      Vi           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13567   Luu      Diem         Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13568   Luu      Dina         Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13569   Luu      Micheal      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13570   Luu      Calvin       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13571   Ly       Phai         Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13572   Mai      Paulette     Cuch Nguyen, et alTX
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 13573   Mai      Ba           Cuch Nguyen, et alTX
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                                                                                       10-3188
                                                                                           et al   No      No
 13574   Mai      Dao          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13575   Mai      Susan        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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 13576   Mai      Cuong        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13577   Mai      Crystal      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13578   Minh     Van          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13579   Ngo      Phieu        Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13580   Ngo      Truong       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13581   Ngo      Trung        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13582   Ngo      Si           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13583   Ngo      Tuan         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13584   Ngo      Patrick      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13585   Ngo      Kiet         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13586   Ngo      Hoa          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13587   Ngoc     Dugen        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13588   Ngoc     Nguyen       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13589   Ngoc     Tran         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13590   Nguyen   Tinh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13591   Nguyen   Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13592   Nguyen   Anh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13593   Nguyen   Mary         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13594   Nguyen   Ngoc         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13595   Nguyen   Dan          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13596   Nguyen   Hao          Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13597   Nguyen   Khanh        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13598   Nguyen   Dang         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13599   Nguyen   Dan          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13600   Nguyen   Nhon         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13601   Nguyen   Tu           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13602   Nguyen   Andy         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13603   Nguyen   Dam          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13604   Nguyen   Don          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13605   Nguyen   Tai          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13606   Nguyen   Tien         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13607   Nguyen   Eve          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13608   Nguyen   Ai           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13609   Nguyen   Tai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13610   Nguyen   Nam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13611   Nguyen   Binh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13612   Nguyen   Peter        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13613   Nguyen   Bang         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13614   Nguyen   Dac          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13615   Nguyen   Hiep         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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 13616   Nguyen   Lai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13617   Nguyen   George       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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 13618   Nguyen   Giap         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13619   Nguyen   Hai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13620   Nguyen   Tam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13621   Nguyen   Khanh        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13622   Nguyen   Minh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13623   Nguyen   Phan         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13624   Nguyen   Thanh        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 231 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 233 of 247

 13625   Nguyen   Tri          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13626   Nguyen   Loi          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13627   Nguyen   Wyn          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13628   Nguyen   Mai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13629   Nguyen   Chi          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13630   Nguyen   Chi          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13631   Nguyen   Nhan         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13632   Nguyen   Linh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13633   Nguyen   Lein         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13634   Nguyen   Cuong        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13635   Nguyen   Clarice      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13636   Nguyen   David        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13637   Nguyen   Tuyet        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13638   Nguyen   Thuy         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13639   Nguyen   Nguyet       Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13640   Nguyen   Tony         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13641   Nguyen   Alice        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13642   Nguyen   Allan        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13643   Nguyen   Dana         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13644   Nguyen   Dinh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13645   Nguyen   Andrew       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13646   Nguyen   Chelsea      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13647   Nguyen   Antoine      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13648   Nguyen   Huy          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13649   Nguyen   Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13650   Nguyen   Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13651   Nguyen   Hue          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13652   Nguyen   Hong         Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13653   Nguyen   James        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13654   Nguyen   Kevin        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13655   Nguyen   Bichtan      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13656   Nguyen   Luci         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13657   Nguyen   Bing         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13658   Nguyen   Chinh        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13659   Nguyen   Chong        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13660   Nguyen   Chuong       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13661   Nguyen   Cong         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13662   Nguyen   Nick         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13663   Nguyen   Ni           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13664   Nguyen   Phi          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13665   Nguyen   Lan          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13666   Nguyen   Le           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
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                                                                                           et al   No      No
 13667   Nguyen   Phong        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13668   Nguyen   Linh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13669   Nguyen   Lin          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13670   Nguyen   Linh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13671   Nguyen   Linh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13672   Nguyen   Jerry        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13673   Nguyen   Lee          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13674   Nguyen   Ngoc         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13675   Nguyen   Nhung        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13676   Nguyen   Nam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13677   Nguyen   Nam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13678   Nguyen   Vu           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13679   Nguyen   Xuan         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13680   Nguyen   Tuan         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13681   Nguyen   Phuoc        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13682   Nguyen   Phung        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13683   Nguyen   Phuoc        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 232 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 234 of 247

 13684   Nguyen   Ly           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13685   Nguyen   Ly           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13686   Nguyen   Luu          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13687   Nguyen   Lam          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13688   Nguyen   Tooanh       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13689   Nguyen   Trang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13690   Nguyen   Tri          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13691   Nguyen   Ethel        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13692   Nguyen   Fred         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13693   Nguyen   Luci         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13694   Nguyen   Mike         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13695   Nguyen   Ly           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13696   Nguyen   Tony         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13697   Nguyen   Diane        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13698   Nguyen   Ethel        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13699   Nguyen   Eric         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13700   Nguyen   Duc          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13701   Nguyen   Que          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13702   Nguyen   Quoc         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13703   Nguyen   Randi        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13704   Nguyen   Roberty      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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 13705   Nguyen   Sen          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13706   Nguyen   Sidac        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13707   Nguyen   Long         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13708   Nguyen   Tom          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13709   Nguyen   Van          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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 13710   Nguyen   Vinh         Cuch Nguyen, et alTX
                                                  v.-BP
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 13711   Nguyen   Duc          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13712   Nguyen   Luci         Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13713   Nguyen   Bua          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13714   Nguyen   Chau         Cuch Nguyen, et alTX
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 13715   Nguyen   Danny        Cuch Nguyen, et alTX
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 13716   Nguyen   Diem         Cuch Nguyen, et alTX
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 13717   Nguyen   Vinnie       Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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 13718   Nguyen   Linh         Cuch Nguyen, et alTX
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                                                                           Production,
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 13719   Nguyen   Luu          Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13720   Nguyen   Phan         Cuch Nguyen, et alTX
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 13721   Nguyen   Trung        Cuch Nguyen, et alTX
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                                                                       Harris
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                                                                                           et al   No      No
 13722   Nguyen   Binh         Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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 13723   Nguyen   Son          Cuch Nguyen, et alTX
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                                                         Exploration
                                                               Court - and
                                                                       Harris
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 13724   Nguyen   Nga          Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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 13725   Nguyen   Tony         Cuch Nguyen, et alTX
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13726   Nguyen   Hy           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13727   Nguyen   Tran         Cuch Nguyen, et alTX
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 13728   Nguyen   Nancy        Cuch Nguyen, et alTX
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 13729   Nguyen   Chau         Cuch Nguyen, et alTX
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 13730   Nguyen   Van          Cuch Nguyen, et alTX
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 13731   Nguyen   Man          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13732   Nguyen   Thoan        Cuch Nguyen, et alTX
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 13733   Nguyen   Thuy         Cuch Nguyen, et alTX
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 13734   Nguyen   Peter        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13735   Nguyen   Chau         Cuch Nguyen, et alTX
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 13736   Nguyen   Binh         Cuch Nguyen, et alTX
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 13737   Nguyen   Cathy        Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13738   Nguyen   Chin         Cuch Nguyen, et alTX
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 13739   Nguyen   Trang        Cuch Nguyen, et alTX
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 13740   Nguyen   Vu           Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13741   Nguyen   Thuy         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13742   Nguyen   Thao         Cuch Nguyen, et alTX
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 233 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 235 of 247

 13743   Nguyen   Kha          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13744   Nguyen   Duc          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13745   Nguyen   Dinh         Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13746   Nguyen   Daot         Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13747   Nguyen   Lisa         Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13748   Nguyen   Hung         Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13749   Nguyen   Phillip      Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13750   Nguyen   Dat          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13751   Nguyen   Que          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
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                                                                                           et al   No      No
 13752   Nguyen   Nicole       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13753   Nguyen   Peter        Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13754   Nguyen   Thai         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13755   Nguyen   Mai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13756   Nguyen   Tung         Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13757   Nguyen   Sonnie       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13758   Nguyen   Monique      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13759   Nguyen   Jessica      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13760   Nguyen   Cam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13761   Nguyen   Kathy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13762   Nguyen   Kimthuy      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13763   Nguyen   Dung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13764   Nguyen   Viet         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13765   Nguyen   Chi          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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 13766   Nguyen   Phien        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13767   Nguyen   The          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13768   Nguyen   Tu           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13769   Nguyen   Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13770   Nguyen   Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13771   Nguyen   Tam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13772   Nguyen   An           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13773   Nguyen   Be           Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13774   Nguyen   Andrew       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13775   Nguyen   Anh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                       10-3188
                                                                                           et al   No      No
 13776   Nguyen   Anhtuan      Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13777   Nguyen   Bach         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13778   Nguyen   Bachhoa      Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13779   Nguyen   Bang         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13780   Nguyen   Bao          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13781   Nguyen   Bay          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13782   Nguyen   Bein         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13783   Nguyen   Loi          Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13784   Nguyen   Andie        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13785   Nguyen   Danny        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13786   Nguyen   Danh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13787   Nguyen   Bing         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13788   Nguyen   Ben          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13789   Nguyen   Krys         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13790   Nguyen   Eric         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13791   Nguyen   Khac         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13792   Nguyen   Khai         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13793   Nguyen   Khang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13794   Nguyen   John         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13795   Nguyen   Kim          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13796   Nguyen   Cung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13797   Nguyen   Binh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13798   Nguyen   Minh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13799   Nguyen   Alvin        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13800   Nguyen   James        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13801   Nguyen   Duy          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 234 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 236 of 247

 13802   Nguyen   Andrew       Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13803   Nguyen   Albert       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13804   Nguyen   Chuong       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13805   Nguyen   Chau         Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13806   Nguyen   Huu          Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13807   Nguyen   Hien         Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13808   Nguyen   Duc          Cuch Nguyen, et alTX
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                                                                           Production,
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 13809   Nguyen   Hai          Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13810   Nguyen   Khanh        Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13811   Nguyen   Cy           Cuch Nguyen, et alTX
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 13812   Nguyen   Chinh        Cuch Nguyen, et alTX
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 13813   Nguyen   Jr           Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13814   Nguyen   Khac         Cuch Nguyen, et alTX
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 13815   Nguyen   Kathy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13816   Nguyen   Jimmy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13817   Nguyen   Jimmy        Cuch Nguyen, et alTX
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 13818   Nguyen   Danh         Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13819   Nguyen   Ba           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13820   Nguyen   Duc          Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13821   Nuynh    Hyuyen       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13822   Pham     Lien         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13823   Pham     Hieu         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13824   Pham     Phoung       Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13825   Pham     Cindy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13826   Pham     Hai          Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13827   Pham     Tam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13828   Pham     Hien         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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 13829   Pham     Dao          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13830   Pham     Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13831   Pham     Peter        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13832   Pham     Duong        Cuch Nguyen, et alTX
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                                                                           Production,
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                                                                                           et al   No      No
 13833   Pham     Tren         Cuch Nguyen, et alTX
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13834   Pham     Janet        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13835   Pham     Choung       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13836   Pham     Connie       Cuch Nguyen, et alTX
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13837   Pham     Dac          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13838   Pham     Dai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13839   Pham     Anh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13840   Pham     Anthony      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13841   Pham     Dang         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13842   Pham     Anh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13843   Pham     Canh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13844   Pham     Cap          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13845   Pham     Ban          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13846   Pham     Anh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13847   Pham     Amy          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13848   Pham     Amy          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13849   Pham     Anh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13850   Pham     Nhut         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13851   Pham     Nga          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13852   Pham     Duc          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13853   Pham     Chuong       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13854   Pham     Dennis       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13855   Pham     Trang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13856   Pham     Viet         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13857   Pham     Tommy        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13858   Pham     Khanh        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13859   Pham     That         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
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                                                                                           et al   No      No
 13860   Pham     Tan          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 235 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 237 of 247

 13861   Pham     Tuong        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 13862   Pham     Yem          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                       Harris
                                                                           Production,
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                                                                                       10-3188
                                                                                           et al   No      No
 13863   Pham     Tuyet        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13864   Pham     Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13865   Pham     Loan         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13866   Pham     Trang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
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                                                                                           et al   No      No
 13867   Pham     Tam          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
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                                                                                           et al   No      No
 13868   Pham     Dat          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 13869   Pham     Luan         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13870   Pham     Cao          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13871   Pham     Hanh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13872   Pham     Rien         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13873   Pham     Dan          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13874   Pham     Tu           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13875   Pham     Anh          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13876   Pham     Minh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13877   Pham     Lanh         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13878   Pham     Ly           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13879   Pham     Huy          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13880   Pham     Quang        Cuch Nguyen, et alTX
                                                  v.-BP
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 13881   Pham     Nam          Cuch Nguyen, et alTX
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 13882   Phan     Nav          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 13883   Phan     Luyen        Cuch Nguyen, et alTX
                                                  v.-BP
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 13884   Phan     Thanh        Cuch Nguyen, et alTX
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 13885   Phan     Hung         Cuch Nguyen, et alTX
                                                  v.-BP
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 13886   Phan     Danh         Cuch Nguyen, et alTX
                                                  v.-BP
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 13887   Phan     Tom          Cuch Nguyen, et alTX
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 13888   Phan     Johnny       Cuch Nguyen, et alTX
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 13889   Phan     Vi           Cuch Nguyen, et alTX
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 13890   Phan     Giao         Cuch Nguyen, et alTX
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 13891   Phan     Loc          Cuch Nguyen, et alTX
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 13892   Phan     Ly           Cuch Nguyen, et alTX
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 13893   Phan     Anh          Cuch Nguyen, et alTX
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 13894   Phan     Han          Cuch Nguyen, et alTX
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 13895   Phan     Tuoi         Cuch Nguyen, et alTX
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 13896   Phan     Tony         Cuch Nguyen, et alTX
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 13897   Phan     Andrew       Cuch Nguyen, et alTX
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 13898   Phan     Lao          Cuch Nguyen, et alTX
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 13899   Quach    Si           Cuch Nguyen, et alTX
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 13900   Quach    Joe          Cuch Nguyen, et alTX
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 13901   Quach    Thi          Cuch Nguyen, et alTX
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 13902   Quach    Alexander    Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 13903   Quach    Nate         Cuch Nguyen, et alTX
                                                  v.-BP
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 13904   Quach    Don          Cuch Nguyen, et alTX
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 13905   Rim      Jog          Cuch Nguyen, et alTX
                                                  v.-BP
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 13906   Ruiz     Eden         Cuch Nguyen, et alTX
                                                  v.-BP
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 13907   Ta       Phuong       Cuch Nguyen, et alTX
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 13908   Ta       Andrew       Cuch Nguyen, et alTX
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 13909   Tai      Alex         Cuch Nguyen, et alTX
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 13910   Tam      Tommy        Cuch Nguyen, et alTX
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 13911   Tang     Cheng        Cuch Nguyen, et alTX
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 13912   Tang     Ho           Cuch Nguyen, et alTX
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 13913   Tang     Ho           Cuch Nguyen, et alTX
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 13914   Tang     Lid          Cuch Nguyen, et alTX
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 13915   Tang     Rong         Cuch Nguyen, et alTX
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 13916   Tang     Xin          Cuch Nguyen, et alTX
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 13917   Tang     Yu           Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 13918   Thai     Spoon        Cuch Nguyen, et alTX
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 13919   Thai     Thao         Cuch Nguyen, et alTX
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 236 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 238 of 247

 13920   Tram     Nghia         Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
                                                                        Harris
                                                                            Production,
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                                                                                            et al   No      No
 13921   Tran     Tuan          Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13922   Tran     Harry         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13923   Tran     Victor        Cuch Nguyen, et alTX
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 13924   Tran     Vu            Cuch Nguyen, et alTX
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 13925   Tran     Xuan          Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13926   Tran     Lucy          Cuch Nguyen, et alTX
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 13927   Tran     Thanh         Cuch Nguyen, et alTX
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 13928   Tran     Hung          Cuch Nguyen, et alTX
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 13929   Tran     Ha            Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13930   Tran     Tinh          Cuch Nguyen, et alTX
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 13931   Tran     Toan          Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13932   Tran     Chris         Cuch Nguyen, et alTX
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 13933   Tran     Allen         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13934   Tran     Su            Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13935   Tran     Long          Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13936   Tran     Hew           Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13937   Tran     Anne          Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13938   Tran     Tu            Cuch Nguyen, et alTX
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 13939   Tran     Tia           Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13940   Tran     Thong         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13941   Tran     Tamie         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                                            et al   No      No
 13942   Tran     Tam           Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13943   Tran     Ringo         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13944   Tran     Truyen        Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13945   Tran     Anthony       Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                                            et al   No      No
 13946   Tran     Anothony      Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13947   Tran     Huong         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13948   Tran     Giang         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13949   Tran     Diem          Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13950   Tran     Dinh          Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13951   Tran     Khanh         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13952   Tran     Brenda        Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
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                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 13953   Tran     Tuyen         Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
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                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 13954   Tran     Minh          Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
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                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 13955   Tran     Gaby          Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
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                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 13956   Tran     Man           Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
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                                                                            Production,
                                                                               County Inc.,
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                                                                                            et al   No      No
 13957   Tran     Nikki         Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
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                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 13958   Tran     Tan           Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
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                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 13959   Tran     Hung          Cuch Nguyen, et alTX
                                                   v.-BP
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                                                          Exploration
                                                                Court - and
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                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 13960   Tran     Amy           Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
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                                                                            Production,
                                                                               County Inc.,
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                                                                                            et al   No      No
 13961   Tran     Huong         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                          Exploration
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                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 13962   Tran     Hui           Cuch Nguyen, et alTX
                                                   v.-BP
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                                                          Exploration
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                                                                            Production,
                                                                               County Inc.,
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                                                                                            et al   No      No
 13963   Tran     Felix         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13964   Tran     Muoi          Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13965   Tran     Dung          Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                                            et al   No      No
 13966   Tran     Dung          Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 13967   Tran     Diana         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 13968   Tran     Hung          Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13969   Tran     Ngoc          Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                                            et al   No      No
 13970   Tran     Anh           Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13971   Tran     Nguyen        Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                                            et al   No      No
 13972   Tran     Nam           Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                                            et al   No      No
 13973   Tran     Christopher   Cuch Nguyen, et alTX
                                                   v.-BP
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 13974   Tran     Huong         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                                            et al   No      No
 13975   Tran     Marcus        Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                        Harris
                                                                            Production,
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                                                                                            et al   No      No
 13976   Tran     Nhan          Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13977   Tran     Lien          Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13978   Tran     Trung         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                        Harris
                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No

Tab E                                                                                                    Page 237 of 246
             Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 239 of 247

 13979   Tran      Kym          Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
                                                          Exploration
                                                                Court - and
                                                                        Harris
                                                                            Production,
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                                                                                        10-3188
                                                                                            et al   No      No
 13980   Tran      Tiffany      Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                        10-3188
                                                                                            et al   No      No
 13981   Tran      Tuyet        Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                        10-3188
                                                                                            et al   No      No
 13982   Tran      Dao          Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                        10-3188
                                                                                            et al   No      No
 13983   Tran      Kevin        Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                        10-3188
                                                                                            et al   No      No
 13984   Tran      Cuong        Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 13985   Tran      Danielle     Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13986   Tran      Chinh        Cuch Nguyen, et alTX
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                                                                        Harris
                                                                            Production,
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                                                                                            et al   No      No
 13987   Tran      Minh         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13988   Tran      David        Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13989   Tran      Mark         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                                            et al   No      No
 13990   Tran      Nghia        Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13991   Tran      Henry        Cuch Nguyen, et alTX
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 13992   Tran      Nhut         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13993   Tran      Nhut         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13994   Tran      Trieu        Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13995   Tran      Casedy       Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 13996   Tran      Binh         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 13997   Tran      Bryant       Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 13998   Tran      Chaun        Cuch Nguyen, et alTX
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                                                                        Harris
                                                                            Production,
                                                                               County Inc.,
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                                                                                            et al   No      No
 13999   Tran      Anh          Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14000   Tran      Cam          Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 14001   Tran      Dien         Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 14002   Tran      Dennis       Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14003   Tran      Dennis       Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14004   Tran      Dinh         Cuch Nguyen, et alTX
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                                                                            Production,
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 14005   Tran      Denise       Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 14006   Tran      Jack         Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14007   Tran      Jack         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 14008   Tran      Yen          Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14009   Tran      Moa          Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14010   Tran      Tony         Cuch Nguyen, et alTX
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                                                                        Harris
                                                                            Production,
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                                                                                            et al   No      No
 14011   Tran      Van          Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14012   Tran      Dinh         Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14013   Tran      Dien         Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14014   Tran      Dung         Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14015   Tran      Du           Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
                                                                               County Inc.,
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                                                                                            et al   No      No
 14016   Tran      Phat         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                Court - and
                                                                        Harris
                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 14017   Tran      Phuong       Cuch Nguyen, et alTX
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                                                                        Harris
                                                                            Production,
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                                                                                        10-3188
                                                                                            et al   No      No
 14018   Tran      Quy          Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14019   Tran      Sang         Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14020   Tran      Si           Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                Court - and
                                                                        Harris
                                                                            Production,
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                                                                                            et al   No      No
 14021   Tran      Nick         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 14022   Tran      Minh         Cuch Nguyen, et alTX
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                                                                            Production,
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                                                                                            et al   No      No
 14023   Tran      Tuan         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
                                                                               County Inc.,
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                                                                                            et al   No      No
 14024   Tran      Tuan         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                        Harris
                                                                            Production,
                                                                               County Inc.,
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                                                                                            et al   No      No
 14025   Tran      Barbara      Cuch Nguyen, et alTX
                                                   v.-BP
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                                                          Exploration
                                                                Court - and
                                                                        Harris
                                                                            Production,
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                                                                                            et al   No      No
 14026   Tran      Anh          Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 14027   Tran      Anh          Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                            Production,
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                                                                                            et al   No      No
 14028   Tran      Anh          Cuch Nguyen, et alTX
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                                                                                            et al   No      No
 14029   Tran      Anh          Cuch Nguyen, et alTX
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                                                                        Harris
                                                                            Production,
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                                                                                            et al   No      No
 14030   Tran      Anne         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                Court - and
                                                                        Harris
                                                                            Production,
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                                                                                            et al   No      No
 14031   Tran      Ba           Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                Court - and
                                                                        Harris
                                                                            Production,
                                                                               County Inc.,
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                                                                                            et al   No      No
 14032   Tran      Dominic      Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                        Harris
                                                                            Production,
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                                                                                            et al   No      No
 14033   Tran      Mason        Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                Court - and
                                                                        Harris
                                                                            Production,
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                                                                                        10-3188
                                                                                            et al   No      No
 14034   Tran      Tan          Cuch Nguyen, et alTX
                                                   v.-BP
                                                       District
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                                                                Court - and
                                                                        Harris
                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 14035   Tran      Chance       Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                        Harris
                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No
 14036   Trieu     Terry        Cuch Nguyen, et alTX
                                                   v.-BP
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                                                                Court - and
                                                                        Harris
                                                                            Production,
                                                                               County Inc.,
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                                                                                            et al   No      No
 14037   Trieu     Dung         Cuch Nguyen, et alTX
                                                   v.-BP
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                                                          Exploration
                                                                Court - and
                                                                        Harris
                                                                            Production,
                                                                               County Inc.,
                                                                                        10-3188
                                                                                            et al   No      No

Tab E                                                                                                    Page 238 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 240 of 247

 14038   Trinh    Mary         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 14039   Trinh    Can          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 14040   Trinh    Adam         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 14041   Trinh    Ba           Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 14042   Trinh    Alex         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 14043   Trinh    Binh         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14044   Trinh    Duphu        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
                                                                       Harris
                                                                           Production,
                                                                              County Inc.,
                                                                                       10-3188
                                                                                           et al   No      No
 14045   Trinh    Judy         Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14046   Trinh    Thanh        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14047   Trinh    Trang        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14048   Trong    Chris        Cuch Nguyen, et alTX
                                                  v.-BP
                                                      District
                                                         Exploration
                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14049   Trong    Kalvin       Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14050   Trong    Jeffrey      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14051   Troung   Lee          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14052   Troung   Richard      Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14053   Troung   Ai           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                               Court - and
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14054   Trung    Ngoc         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                         Exploration
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                                                                           Production,
                                                                              County Inc.,
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                                                                                           et al   No      No
 14055   Truong   Tommy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 14056   Truong   Dino         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 14057   Truong   Kim          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 14058   Truong   Ty           Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 14059   Truong   Thom         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 14060   Truong   Jimmy        Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                           Production,
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                                                                                           et al   No      No
 14061   Truong   Tai          Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 14062   Truong   Johnny       Cuch Nguyen, et alTX
                                                  v.-BP
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 14063   Truong   Tan          Cuch Nguyen, et alTX
                                                  v.-BP
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 14064   Truong   Tan          Cuch Nguyen, et alTX
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 14065   Truong   Sonny        Cuch Nguyen, et alTX
                                                  v.-BP
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 14066   Truong   Kim          Cuch Nguyen, et alTX
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 14067   Tu       Yong         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 14068   Vinh     Anh          Cuch Nguyen, et alTX
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 14069   Vo       Kua          Cuch Nguyen, et alTX
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 14070   Vo       Nhan         Cuch Nguyen, et alTX
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 14071   Vo       Hai          Cuch Nguyen, et alTX
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 14072   Vo       Dan          Cuch Nguyen, et alTX
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 14073   Vo       Song         Cuch Nguyen, et alTX
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 14074   Vo       Lien         Cuch Nguyen, et alTX
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 14075   Vo       Luong        Cuch Nguyen, et alTX
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 14076   Vo       Huy          Cuch Nguyen, et alTX
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 14077   Vo       Thinh        Cuch Nguyen, et alTX
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 14078   Vo       Tom          Cuch Nguyen, et alTX
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                                                                                           et al   No      No
 14079   Vo       Andy         Cuch Nguyen, et alTX
                                                  v.-BP
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                                                                                           et al   No      No
 14080   Vo       Amando       Cuch Nguyen, et alTX
                                                  v.-BP
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 14081   Vo       Sang         Cuch Nguyen, et alTX
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 14082   Vo       Hai          Cuch Nguyen, et alTX
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 14083   Vo       Hieu         Cuch Nguyen, et alTX
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 14084   Vo       Lieu         Cuch Nguyen, et alTX
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 14085   Vo       Mikey        Cuch Nguyen, et alTX
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 14086   Vu       Danny        Cuch Nguyen, et alTX
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 14087   Vu       Jessie       Cuch Nguyen, et alTX
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 14088   Vu       Yen          Cuch Nguyen, et alTX
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 14089   Vu       Quang        Cuch Nguyen, et alTX
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 14090   Vu       Hue          Cuch Nguyen, et alTX
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 14091   Vu       John         Cuch Nguyen, et alTX
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 14092   Vu       Cuong        Cuch Nguyen, et alTX
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 14093   Vu       Cuong        Cuch Nguyen, et alTX
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 14094   Vu       Doc          Cuch Nguyen, et alTX
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 14095   Vu       Duc          Cuch Nguyen, et alTX
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 14096   Vu       Duc          Cuch Nguyen, et alTX
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                                                                                       10-3188
                                                                                           et al   No      No

Tab E                                                                                                   Page 239 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 241 of 247

 14097   Vu       Anh          Cuch Nguyen, et alTX v.-BP
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                                                           Exploration
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                                                                         Harris
                                                                             Production,
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                                                                                             et al   No      No
 14098   Vu       Dawn         Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14099   Vu       Thi          Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14100   Vu       Thinh        Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14101   Vu       Giang        Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14102   Vu       Jennifer     Cuch Nguyen, et alTX v.-BP
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                                                                                         10-3188
                                                                                             et al   No      No
 14103   Vu       Long         Cuch Nguyen, et alTX v.-BP
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 14104   Vu       Joseph       Cuch Nguyen, et alTX v.-BP
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 14105   Vu       Hung         Cuch Nguyen, et alTX v.-BP
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 14106   Vu       Kkhoa        Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14107   Vu       Nhan         Cuch Nguyen, et alTX v.-BP
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 14108   Vu       Lanh         Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14109   Vu       Phat         Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14110   Vu       Peter        Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14111   Vu       Ken          Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14112   Vu       Minh         Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14113   Vu       Huy          Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14114   Vu       Joseph       Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14115   Vu       Michael      Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14116   Vu       Thanh        Cuch Nguyen, et alTX v.-BP
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 14117   Vu       Thiep        Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14118   Vu       Gwendolyn    Cuch Nguyen, et alTX v.-BP
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 14119   Vu       Hai          Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14120   Vu       Hang         Cuch Nguyen, et alTX v.-BP
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 14121   Vu       Heather      Cuch Nguyen, et alTX v.-BP
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 14122   Vu       Ho           Cuch Nguyen, et alTX v.-BP
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 14123   Vu       Hoang        Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14124   Vu       Hoang        Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14125   Vu       Hong         Cuch Nguyen, et alTX v.-BP
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 14126   Vu       Hung         Cuch Nguyen, et alTX v.-BP
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 14127   Vu       Huy          Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14128   Vu       Ivy          Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14129   Vu       Ivy          Cuch Nguyen, et alTX v.-BP
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                                                                                             et al   No      No
 14130   Vu       Lan          Cuch Nguyen, et alTX v.-BP
                                                        District
                                                           Exploration
                                                                 Court - and
                                                                         Harris
                                                                             Production,
                                                                                County Inc.,
                                                                                         10-3188
                                                                                             et al   No      No
 14131   Vu       Ru           Cuch Nguyen, et alTX v.-BP
                                                        District
                                                           Exploration
                                                                 Court - and
                                                                         Harris
                                                                             Production,
                                                                                County Inc.,
                                                                                         10-3188
                                                                                             et al   No      No
 14132   Vu       Sang         Cuch Nguyen, et alTX v.-BP
                                                        District
                                                           Exploration
                                                                 Court - and
                                                                         Harris
                                                                             Production,
                                                                                County Inc.,
                                                                                         10-3188
                                                                                             et al   No      No
 14133   Bui      Alexander    Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14134   Bui      Oai          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14135   Cao      Vicky        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14136   Chu      Mike         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14137   D        Kiem         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14138   Dam      Nam          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14139   Dang     Linh         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14140   Dang     Thomas       Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14141   Dinh     Kim          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14142   Dinh     Tai          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14143   Dinh     Vien         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14144   Dinh     Dung         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14145   Dinh     Lam          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14146   Dung     Grey         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14147   Duong    Thoi         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14148   Duong    Quang        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14149   Duong    Timmy        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14150   Ha       Steve        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14151   Han      Wade         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14152   Han      Suz          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14153   Ho       Ban          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14154   Ho       Thi          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No
 14155   Ho       Quang        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas     10-3189     No      No

Tab E                                                                                                     Page 240 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 242 of 247

 14156   Hoang    Thanh        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14157   Huong    Vu           Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14158   Huynh    Mai          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14159   Lam      Lary         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14160   Lam      Andrew       Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14161   Lam      Hung         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14162   Lam      Oliver       Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14163   Lam      Quy          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14164   Lam      Quynh        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14165   Le       Dung         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14166   Le       Hien         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14167   Le       Mike         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14168   Le       Nam          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14169   Le       Nam          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14170   Le       Sang         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14171   Le       Viet         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14172   Le       Map          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14173   Le       Thanh        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14174   Le       Thuan        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14175   Le       Duoc         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14176   Le       John         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14177   Le       Peter        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14178   Le       Johnny       Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14179   Le       John         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14180   Le       Hung         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14181   Le       Tony         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14182   Le       Martin       Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14183   Le       Vinh         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14184   Le       Van          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14185   Le       Kevin        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14186   Le       Hoa          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14187   Le       Thu          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14188   Nghiem   Hiep         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14189   Ngo      Peter        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14190   Nguyen   Amanda       Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14191   Nguyen   Khang        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14192   Nguyen   Mai          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14193   Nguyen   Nga          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14194   Nguyen   Chien        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14195   Nguyen   Huey         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14196   Nguyen   Maria        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14197   Nguyen   Bao          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14198   Nguyen   Sang         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14199   Nguyen   Doi          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14200   Nguyen   Hoang        Le, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3189   No      No
 14201   Nguyen   Jason        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14202   Nguyen   Thao         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14203   Nguyen   Nam          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14204   Nguyen   Minh         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14205   Nguyen   Hien         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14206   Pham     Tana         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14207   Pham     Thanh        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14208   Pham     Tho          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14209   Pham     Trung        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14210   Pham     Khuyen       Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14211   Pham     Chat         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14212   Phan     Steven       Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14213   Phan     Nieu         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14214   Ta       Ca           Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No

Tab E                                                                                                 Page 241 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 243 of 247

 14215   Ta       Hao          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14216   Ta       Hoang        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14217   Ta       Dong         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14218   Ta       Luc          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14219   Ta       Man          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14220   Ta       Minh         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14221   Ta       Phoenix      Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14222   Ta       Trang        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14223   Ta       Tuan         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14224   Ta       Tuyen        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14225   Ta       Tho          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14226   Ta       Tho          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14227   Thuy     Linh         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14228   Ton      Banh         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14229   Ton      Chris        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14230   Tran     Duvan        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14231   Tran     Ethan        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14232   Tran     Lang         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14233   Tran     Manh         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14234   Tran     Phan         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14235   Trinh    Bich         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14236   Trinh    Dan          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14237   Truong   Thanh        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14238   Truong   Binh         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14239   Tu       Chung        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14240   Tu       Danny        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14241   Tu       Dan          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14242   Vo       Son          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14243   Vo       Nhan         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14244   Vo       Tai          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14245   Vo       Thanh        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14246   Vo       Phong        Le, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3189   No      No
 14247   Vo       Dau          Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14248   Vo       Thao         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14249   Vo       Manh         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14250   Vo       Ricky        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14251   Vo       Quoc         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14252   Vo       Long         Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14253   Vo       Chung        Le, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3189   No      No
 14254   Vu       Trung        Le, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3189   No      No
 14255   Bui      Huong        Mai, et al v. BP, PLC
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                                                     et alSouthern District of Texas   10-3190   No      No
 14256   Dang     Lely         Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14257   Dang     Hong         Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14258   Danh     Nga          Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14259   Dinh     Hai          Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14260   Do       Toni         Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14261   Do       Ngoc         Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14262   Do       Phuong       Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14263   Huyen    An           Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14264   Huynh    Tam          Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14265   Huynh    Dung         Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14266   Le       Hoa          Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14267   Le       Hong         Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14268   Le       Hoang        Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14269   Le       Pham         Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14270   Le       Kim          Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14271   Long     Khanh        Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14272   Ngo      Van          Mai, et al v. BP, PLC
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                                                     et alSouthern District of Texas   10-3190   No      No
 14273   Nguyen   Luan         Mai, et al v. BP, PLC
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                                                     et alSouthern District of Texas   10-3190   No      No

Tab E                                                                                                 Page 242 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 244 of 247

 14274   Nguyen      Tham      Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14275   Nguyen      Can       Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14276   Nguyen      Dong      Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14277   Nguyen      Mai       Mai, et al v. BP, PLC
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                                                     et alSouthern District of Texas   10-3190   No      No
 14278   Nguyen      Ly        Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14279   Nguyen      Phuong    Mai, et al v. BP, PLC
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                                                     et alSouthern District of Texas   10-3190   No      No
 14280   Nguyen      Son       Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14281   Thai        Hiep      Mai, et al v. BP, PLC
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                                                     et alSouthern District of Texas   10-3190   No      No
 14282   Thi         Thanh     Mai, et al v. BP, PLC
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                                                     et alSouthern District of Texas   10-3190   No      No
 14283   Tran        Minh      Mai, et al v. BP, PLC
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                                                     et alSouthern District of Texas   10-3190   No      No
 14284   Tran        Giup      Mai, et al v. BP, PLC
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                                                     et alSouthern District of Texas   10-3190   No      No
 14285   Tran        Nhan      Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14286   Tran        John      Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14287   Vo          Hue       Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14288   Vu          Hong      Mai, et al v. BP, PLC
                                                  USDC
                                                     et alSouthern District of Texas   10-3190   No      No
 14289   Armstrong   Lamar     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14290   Bui         Nuoi      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14291   Bui         Huong     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14292   Bui         Minh      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14293   Cao         Dung      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14294   Chu         David     Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14295   Dang        Tung      Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14296   Dinh        Thanh     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14297   Do          Kiet      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14298   Do          Tho       Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14299   Do          Vui       Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14300   Duong       Hoa       Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14301   Ho          Li        Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14302   Hoang       Khanh     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14303   Huynh       John      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14304   Huynh       Sanh      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14305   Huynh       David     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14306   La          Myle      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14307   Le          Khoa      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14308   Le          Tommy     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14309   Mai         Cuong     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14310   Mcdonald    Mary      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14311   Nguyen      Thai      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14312   Nguyen      Thuy      Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14313   Nguyen      Nghiem    Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14314   Nguyen      Khanh     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14315   Nguyen      Jenny     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14316   Nguyen      Thai      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14317   Nguyen      Ashley    Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14318   Nguyen      Diem      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14319   Nguyen      Thuy      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14320   Nguyen      Hung      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14321   Nguyen      Khang     Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14322   Nguyen      Khang     Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14323   Nguyen      Giang     Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14324   Nguyen      Lien      Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14325   Nguyen      Thuy      Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14326   Nguyen      Van       Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14327   Nguyen      Nam       Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14328   Nguyen      Hoa       Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14329   Ohan        Thomas    Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14330   Pham        Tham      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14331   Phan        Steven    Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14332   Phan        Tam       Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No

Tab E                                                                                                 Page 243 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 245 of 247

 14333   Son       Kristin     Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14334   Tran      Tuan        Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14335   Tran      Nghi        Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14336   Tran      Nhon        Vo, et al v. BP, PLC
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                                                    et al Southern District of Texas   10-3191   No      No
 14337   Tran      Billy       Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14338   Vo        Quy         Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14339   Vo        Kim         Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14340   Vu        Hoa         Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14341   Vu        Victor      Vo, et al v. BP, PLC
                                                  USDC
                                                    et al Southern District of Texas   10-3191   No      No
 14342   Bui       Thanh       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14343   Bui       Thuan       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14344   Buu       Ho          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14345   Cao       Ban         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14346   Cao       Ban         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14347   Cao       Joshua      Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14348   Dao       Lien        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14349   Dao       Julie       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14350   Dao       Giau        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14351   Gollott   Ha          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14352   Hong      Hoang       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14353   Huynh     Tony        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14354   Huynh     Dung        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14355   Le        Tri         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14356   Le        Tenea       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14357   Le        Dinh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14358   Le        Minh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14359   Le        Tommy       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14360   Le        Anh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14361   Le        Linda       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14362   Le        Dung        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14363   Le        Anh         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14364   Le        Truong      Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14365   Nguyen    Lien        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14366   Nguyen    Le          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14367   Nguyen    Tony        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14368   Nguyen    Chrysti     Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14369   Nguyen    Dinh        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14370   Nguyen    Hong        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14371   Nguyen    Tai         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14372   Nguyen    Nhu         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14373   Nguyen    Thu         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14374   Nguyen    Loi         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14375   Nguyen    Nu          Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14376   Nguyen    Tuoi        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14377   Nguyen    Hung        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14378   Nguyen    Huy         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14379   Nguyen    Timmy       Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14380   Nguyen    Anh         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14381   Nguyen    Hung        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14382   Nguyen    Jr          Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14383   Nguyen    Xuyen       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14384   Nguyen    Can         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14385   Nguyen    Nhan        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14386   Nguyen    Dat         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14387   Nguyen    Nhan        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14388   Nguyen    Lan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14389   Nguyen    Binh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14390   Nguyen    Chinh       Tran, et al v. BP, PLC
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 14391   Nguyen    Loan        Tran, et al v. BP, PLC
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Tab E                                                                                                 Page 244 of 246
             Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 246 of 247

 14392   Nguyen     Chi         Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14393   Nguyen     Cydney      Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14394   Nguyen     Khieu       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14395   Nguyen     Quy         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14396   Nguyen     Anh         Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14397   Nguyen     Phouc       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14398   Nguyen     Lan         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14399   Nguyen     An          Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14400   Nguyen     Charlie     Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14401   Nguyen     Cuong       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14402   Nguyen     Hai         Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14403   Nguyen     John        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14404   Nguyen     Hung        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14405   Nguyen     Huong       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14406   Nguyen     Tony        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14407   Nguyen     Sofia       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14408   Nguyen     Richard     Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14409   Nguyen     Mark        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14410   Nguyen     Lisa        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14411   Nguyen     Linda       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14412   Nguyen     Kim         Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14413   Nguyen     Kathy       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14414   Nguyen     John        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14415   Nguyen     John        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14416   Nguyen     John        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14417   Nguyen     Thu         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14418   Nguyen     Yeu         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14419   Nguyen     Phuoc       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14420   Nguyen     Phuoc       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14421   Nguyen     Oanh        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14422   Nguyen     Hoa         Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14423   Nguyen     Dien        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14424   Nguyen     Amy         Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14425   Nguyen     Alan        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14426   Nguyen     Dien        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14427   Nguyen     Claire      Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14428   Nguyen     Trang       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14429   Nguyen     Jimmy       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14430   Nguyen     Sang        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14431   Nguyen     Vuong       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14432   Nguyen     Victoria    Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14433   Pham       Thai        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14434   Pham       Chau        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14435   Pham       Ngoc        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14436   Pham       Cong        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14437   Prentice   Melanie     Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14438   Thai       Seng        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14439   Thai       Lim         Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14440   Thi        Orr         Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14441   Tran       Kimy        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14442   Tran       Phong       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14443   Tran       Phong       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14444   Tran       Bryan       Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14445   Tran       Robert      Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14446   Tran       Loan        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14447   Tran       Quang       Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14448   Tran       Ngoi        Tran, et al v. BP, PLC
                                                   USDCet al
                                                          Southern District of Texas   10-3192   No      No
 14449   Tran       Kira        Tran, et al v. BP, PLC
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                                                          Southern District of Texas   10-3192   No      No
 14450   Tran       Thanh       Tran, et al v. BP, PLC
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Tab E                                                                                                 Page 245 of 246
            Case 2:10-md-02179-CJB-DPC Document 1440-15 Filed 02/28/11 Page 247 of 247

 14451   Tran     Cau          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14452   Tran     Sai          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14453   Tran     Giao         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3192   No      No
 14454   Tran     Liep         Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3192   No      No
 14455   Tran     Chuong       Tran, et al v. BP, PLC
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                                                         Southern District of Texas   10-3192   No      No
 14456   Trang    Jem          Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14457   Trieu    Ly           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14458   Trieu    Hiep         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14459   Trieu    Jasmine      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14460   Trieu    Ly           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14461   Trinh    Troung       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14462   Trinh    Chau         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14463   Trinh    Phuoc        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14464   Truong   Oanh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14465   Truong   Hieu         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14466   Truong   Brenda       Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14467   Truong   Aj           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14468   Truong   Brendon      Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14469   Truong   Binh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14470   Van      Barneveld    Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14471   Vo       Quan         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14472   Vo       Elizabeth    Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14473   Vo       Sanh         Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14474   Vo       Misty        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14475   Vu       Ti           Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14476   Vu       Billy        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14477   Vu       Thanh        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14478   Xuan     Jamie        Tran, et al v. BP, PLC
                                                  USDCet al
                                                         Southern District of Texas   10-3192   No      No
 14479   Ho       Howard       Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14480   Huynh    Hai          Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14481   Le       Tom          Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14482   Le       Thuy         Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14483   Lee      Amanda       Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14484   Nguyen   Cheiu        Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14485   Nguyen   Liem         Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14486   Nguyen   Thao         Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14487   Nguyen   Men          Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14488   Nguyen   Julie        Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14489   Pham     Chuc         Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14490   Tai      Marlam       Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14491   Trinh    Luan         Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No
 14492   Trinh    Phi          Nguyen, et al v. BP,
                                                  USDC
                                                    PLC Southern
                                                         et al    District of Texas   10-3193   No      No




Tab E                                                                                                Page 246 of 246
